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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
                                                                :
 In re                                                          :       Chapter 11
                                                                :
 SEARS HOLDINGS CORPORATION, et al.,                            :       Case No. 18-23538 (RDD)
                                                                :
                   Debtors.   1                                 :       (Jointly Administered)
                                                                :
 ---------------------------------------------------------------x

             DISCLOSURE STATEMENT FOR JOINT CHAPTER 11 PLAN OF
           SEARS HOLDINGS CORPORATION AND ITS AFFILIATED DEBTORS



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                                                               Garrett A. Fail
                                                               Sunny Singh

                                                               Attorneys for Debtors and
                                                               Debtors in Possession


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
 Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
 Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
 Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
 Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
 (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
 Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
 Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
 Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings
 Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
 LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding Corporation (4816). The location of
 the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.




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 Dated: April 17, 2019
        New York, New York


 THIS IS NOT A SOLICITATION OF VOTES OF ACCEPTANCE OR REJECTION OF THE
 PLAN.    ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A
 DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THE
 DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT YET
 BEEN APPROVED BY THE BANKRUPTCY COURT.




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                               DISCLOSURE STATEMENT, DATED APRIL 17, 2019

                                          Solicitation of Votes on the
                                              Chapter 11 Plan of

                                  SEARS HOLDINGS CORPORATION, ET AL.

                   THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS
                   5:00 P.M., (PREVAILING EASTERN TIME), ON [___], 2019,
                   UNLESS EXTENDED BY THE DEBTORS. THE RECORD DATE
                   FOR DETERMINING WHICH HOLDERS OF CLAIMS MAY VOTE
                   ON THE PLAN IS [___], 2019 (THE “RECORD DATE”).


                                 RECOMMENDATION BY THE DEBTORS
             It is the Debtors’ opinion that confirmation and implementation of the Plan is in the
             best interests of the Debtors’ estates and creditors. Therefore, the Debtors
             recommend that all creditors whose votes are being solicited submit a ballot to
             accept the Plan.



 A HEARING TO CONSIDER CONFIRMATION OF THE PLAN (THE “CONFIRMATION
 HEARING”) WILL BE HELD BEFORE THE HONORABLE ROBERT D. DRAIN, UNITED STATES
 BANKRUPTCY JUDGE, IN COURTROOM 118 OF THE UNITED STATES BANKRUPTCY COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK, 300 QUARROPAS STREET, WHITE PLAINS,
 NEW YORK 10601-4140, ON [_____], 2019 AT 10:00 A.M. (PREVAILING EASTERN TIME), OR
 AS SOON THEREAFTER AS COUNSEL MAY BE HEARD. THE BANKRUPTCY COURT HAS
 DIRECTED THAT ANY OBJECTIONS TO CONFIRMATION OF THE PLAN BE SERVED AND
 FILED ON OR BEFORE [____], 2019 AT 4:00 P.M. (PREVAILING EASTERN TIME).

 PLEASE READ THIS DISCLOSURE STATEMENT, INCLUDING THE PLAN, IN ITS ENTIRETY.
 A COPY OF THE PLAN IS ANNEXED HERETO AS EXHIBIT A. THE DISCLOSURE
 STATEMENT SUMMARIZES THE TERMS OF THE PLAN, BUT SUCH SUMMARY IS
 QUALIFIED IN ITS ENTIRETY BY THE ACTUAL PROVISIONS OF THE PLAN.
 ACCORDINGLY, IF THERE ARE ANY INCONSISTENCIES BETWEEN THE PLAN AND THIS
 DISCLOSURE STATEMENT, THE TERMS OF THE PLAN SHALL CONTROL.

 HOLDERS OF CLAIMS SHOULD NOT CONSTRUE THE CONTENTS OF THIS
 DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL, OR
 TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN ADVISORS BEFORE CASTING
 A VOTE WITH RESPECT TO THE PLAN.

 THE AVAILABILITY OF THE EXEMPTION UNDER SECTION 1145 OF THE BANKRUPTCY
 CODE OR ANY OTHER APPLICABLE SECURITIES LAWS SHALL NOT BE A CONDITION
 TO THE OCCURRENCE OF THE EFFECTIVE DATE.

 THE ISSUANCE OF THE LIQUIDATING TRUST INTERESTS TO BE ISSUED ON THE
 EFFECTIVE DATE HAS NOT BEEN APPROVED OR DISAPPROVED BY THE SECURITIES
 AND EXCHANGE COMMISSION (THE “SEC”) OR BY ANY STATE SECURITIES




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 COMMISSION OR SIMILAR PUBLIC, GOVERNMENTAL, OR REGULATORY
 AUTHORITY, AND NEITHER THE SEC NOR ANY SUCH AUTHORITY HAS PASSED UPON
 THE ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED IN THIS
 DISCLOSURE STATEMENT OR UPON THE MERITS OF THE PLAN.              ANY
 REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT, INCLUDING
 FORWARD-LOOKING STATEMENTS, ARE BASED ON ESTIMATES AND ASSUMPTIONS.
 THERE CAN BE NO ASSURANCE THAT SUCH STATEMENTS WILL BE REFLECTIVE OF
 ACTUAL OUTCOMES.

 FURTHER, READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING STATEMENTS
 HEREIN ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO BE REASONABLE,
 BUT ARE SUBJECT TO A WIDE RANGE OF RISKS IDENTIFIED IN THIS DISCLOSURE
 STATEMENT. DUE TO THESE UNCERTAINTIES, READERS CANNOT BE ASSURED THAT
 ANY FORWARD-LOOKING STATEMENTS WILL PROVE TO BE CORRECT. THE
 DEBTORS ARE UNDER NO OBLIGATION TO (AND EXPRESSLY DISCLAIM ANY
 OBLIGATION TO) UPDATE OR ALTER ANY FORWARD-LOOKING STATEMENTS
 WHETHER AS A RESULT OF NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE,
 UNLESS INSTRUCTED TO DO SO BY THE BANKRUPTCY COURT.

 NO INDEPENDENT AUDITOR OR ACCOUNTANT HAS REVIEWED OR APPROVED THE
 LIQUIDATION ANALYSIS HEREIN.

 THE DEBTORS HAVE NOT AUTHORIZED ANY PERSON TO GIVE ANY INFORMATION
 OR ADVICE, OR TO MAKE ANY REPRESENTATION, IN CONNECTION WITH THE PLAN
 OR THIS DISCLOSURE STATEMENT.

 THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE AS OF
 THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF THE PLAN
 GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THIS DISCLOSURE
 STATEMENT.

 THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED SOLELY
 FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN OR OBJECTING TO
 CONFIRMATION. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY
 PARTY FOR ANY OTHER PURPOSE.

 ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO AND
 ARE A PART OF THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.




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                                                           I.
                                                INTRODUCTION

           A.     Purpose

 This is the disclosure statement (the “Disclosure Statement”) of Sears Holdings Corporation (“Sears
 Holdings”) and its debtor affiliates (each, a “Debtor,” and collectively, the “Debtors,” or “Sears”), in the
 above-captioned chapter 11 cases (collectively, the “Chapter 11 Cases”) pending in the United States
 Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”). The Disclosure
 Statement has been filed pursuant to section 1125 of the Bankruptcy Code in connection with the
 solicitation of votes on the Joint Chapter 11 Plan of Sears Holdings Corporation and Its Affiliated
 Debtors, dated April 17, 2019 (the “Plan”), a copy of which is annexed to this Disclosure Statement as
 Exhibit A.

 The purposes of this Disclosure Statement is to provide holders of claims with adequate information
 regarding the (i) the Debtors’ history, businesses and these chapter 11 cases, (ii) the Plan, (iii) rights of
 interested parties pursuant to the Plan, and (iv) other information necessary to enable creditors entitled to
 vote on the Plan to make an informed judgment as to whether to vote to accept or reject and how to make
 elections with respect to the Plan.

           B.     Overview of the Plan 2

 The Debtors commenced these Chapter 11 Cases with the goal of selling substantially all of their assets
 (the “Global Assets”) as a going concern. As of the Commencement Date, approximately 400 of the
 Debtors’ stores were four-wall EBITDA positive, and the Debtors understood that a successful sale of
 these viable stores as a going concern could save the businesses and the jobs of tens of thousands of
 employees that depend on the continued operation of the Debtors’ stores. However, the Debtors
 determined early on that: (i) the Debtors must continue to explore all available alternatives to seek the
 most value maximizing option; and (ii) to help finance the Chapter 11 Cases, maximize value, and,
 importantly, fund their hard-fought Wind Down Account (as defined below), the Debtors would need to
 market and sell certain of their non-core and unencumbered assets, such as the specialty businesses.
 Importantly, at all times, the Debtors were aware that time was of the essence and they communicated
 that to all concerned, including communicating an aggressive timeline to conduct the Sale Process
 (defined below). The Chapter 11 Cases had to progress with all deliberate speed to minimize the
 substantial operating losses that continued to decrease the value of the Debtors’ estates. To that end, on
 November 1, 2018, the Debtors filed the Debtors’ Motion for Approval of Global Bidding Procedures
 (the “Global Bidding Procedures Motion”) (ECF No. 429), and initiated a postpetition sale and
 marketing process for the Global Assets (the “Sale Process”).

 On November 19, 2018, the Bankruptcy Court entered the Order Approving Global Bidding Procedures
 and Granting Related Relief (the “Global Bidding Procedures Order”) (ECF No. 816), approving the
 relief requested in the Global Bidding Procedures Motion. The Global Bidding Procedures Order, among
 other things, approved global auction and sale procedures for the sale of the Global Assets (the “Global
 Bidding Procedures”) on an accelerated timeline.


 2
   This overview is qualified in its entirety by reference to the Plan. Capitalized terms used but not otherwise
 defined herein shall have the respective meanings ascribed to such terms in the Plan. The treatment of Claims and
 Interests (as defined in the Plan) under the Plan is not intended to, and will not, waive, compromise or limit any
 rights, claims or causes of action if the Plan is not confirmed. You should read the Plan in its entirety before voting
 to accept or reject the Plan.




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 Following the conclusion of the Auction (as defined herein) conducted pursuant to the Global Bidding
 Procedures approved by the Bankruptcy Court, on January 17, 2019, the Debtors entered into the Asset
 Purchase Agreement with Transform Holdco LLC (“Transform” or the “Buyer”), an entity controlled by
 ESL Investments, Inc. (together with its principals and affiliates, “ESL”), the controlling shareholder of
 the Debtors prior to the Commencement Date, dated as of January 17, 2019 (as amended, restated,
 supplemented, or otherwise modified from time to time, the “Asset Purchase Agreement”). On February
 7, 2019, the Debtors obtained approval of the sale of substantially all of their assets (the “Sale
 Transaction”). On February 8, 2019, the Bankruptcy Court entered an order approving the Sale
 Transaction and the Asset Purchase Agreement (ECF No. 2507) (the “Sale Order”). On February 11,
 2019, the Debtors and the Buyer completed the Sale Transaction (the “Sale Closing”) and substantially all
 of the Debtors’ assets were transferred to the Buyer. The applicable provisions of the Asset Purchase
 Agreement are reflected in the Plan. The Debtors and the Buyer are currently engaged in litigation
 regarding certain disputes arising from the Asset Purchase Agreement, as more fully described in Section
 IV.L of this Disclosure Statement.

 The Plan contemplates a Wind Down of the remaining assets of the Debtors’ estates—primarily litigation
 claims—and a distribution to creditors in accordance with the absolute priority rule and certain
 settlements, as described herein. Specifically, the Plan provides for the approval of the settlement with
 the Pension Benefit Guaranty Corporation (the “PBGC” and, such settlement, the “PBGC Settlement”).

 On the Effective Date of the Plan, all of the Debtors’ assets will be transferred to the Liquidating Trust
 (defined below) and the Debtor legal entities will be dissolved. A Liquidating Trustee and board of
 directors will be appointed to carry out the terms of the Plan. The Plan constitutes a single chapter 11
 plan for all of the Debtors and the classifications and treatment of Claims and Interests therein apply to
 each of the Debtors separately. The Plan does not propose to substantially consolidate the Debtors.

 Under Article VI of the Plan, on or before the Effective Date, the Liquidating Trustee shall execute the
 Liquidating Trust Agreement and shall take all other necessary steps to establish the Liquidating Trust,
 which shall be for the benefit of the Liquidating Trust Beneficiaries. The liquidating trust shall be
 established for the sole purpose of liquidating and administering the Liquidating Trust Assets (defined
 below) of the Debtors in accordance with Treas. Reg. 301.7701-4(d) (the “Liquidating Trust Assets”),
 with no objective to continue or engage in conduct of a trade or business (the “Liquidating Trust”). From
 and after the Effective Date, all assets of the Debtors that are not distributed on or prior to the Effective
 Date will become Liquidating Trust Assets. On the Effective Date, and in accordance with sections 1123
 and 1141 of the Bankruptcy Code and pursuant to the terms of the Plan, all title and interest in all of the
 Liquidating Trust Assets, as well as the rights and powers of each Debtor in such Liquidating Trust
 Assets, shall automatically vest in the Liquidating Trust, free and clear of all Claims and Interests for the
 benefit of the Liquidating Trust Beneficiaries. Upon the transfer of the Liquidating Trust Assets, the
 Debtors shall have no interest in or with respect to the Liquidating Trust Assets or the Liquidating Trust.
 Notwithstanding that there is only one Liquidating Trust, the Assets, Claims, and proceeds thereof that
 are contributed to the Liquidating Trust shall be allocated to the applicable Debtor in accordance with the
 Plan. Holders of Allowed Claims against a particular Debtor may only recover from the proceeds of the
 Assets and Claims allocated to such Debtor in accordance with the Plan.

 The Liquidating Trustee will, among other things, be responsible for all decisions and duties with respect
 to the Wind Down, General Assets, Specified Causes of Action, and/or Credit Bid Release Consideration,
 and will have the authority and right on behalf of the Debtors to carry out and implement all provisions of
 the Plan.

 The Liquidating Trustee will report to the Liquidating Trust Board, which will have the responsibilities as
 set forth under the Plan and the Liquidating Trust Agreement, including instructing and supervising the


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 Liquidating Trustee’s satisfaction of the responsibilities set forth under the Plan; reviewing and approving
 the prosecution of Causes of Action of the Debtors, including approving proposed settlements thereof;
 reviewing and approving objections to and proposed settlements of Disputed Claims; and performing
 such other duties as may be necessary and proper as provided under the Plan and the Liquidating Trust
 Agreement. The Liquidating Trust Board will be appointed in accordance with Section 6.5 of the Plan. 3

 The Plan contemplates distributions of Cash as assets are monetized, including from the following
 sources: 4

          Cash on hand as of the Effective Date;

          Cash from the Net Proceeds of the following assets:

                o    any Causes of Action (a) for constructive or actual fraudulent transfer under 11 U.S.C.
                     544(b), 547, 548 or 550(a) or any applicable state or federal Law, for breach of fiduciary
                     duty, or for illegal dividend under 8 Del. C. 170-174 or any other state Law (including,
                     but not limited to, any Claims for damages or equitable relief (other than disallowance of
                     the ESL Claims) in connection with the incurrence of any debt described on Exhibit G to
                     the Asset Purchase Agreement) or for common law fraud; (b) that are related to Lands’
                     End, Inc., the “spin-off” (as such term is defined in the Information Statement of Lands’
                     End, Inc. dated March 18, 2014), Seritage Growth Properties, Inc., Seritage Growth
                     Properties, L.P, or the “Transaction” (as that term is defined in the registration statement
                     on Form S-11 filed by Seritage Growth Properties, which registration statement became
                     effective on June 9, 2015), or (c) any Cause of Action involving any intentional
                     misconduct by ESL Parties (defined below) (collectively, the “Specified Causes of
                     Action”);

                o    all Causes of Action belonging to the Debtors’ Estates, other than the Specified Causes of
                     Action, that were not otherwise transferred to Buyer pursuant to the Sale Order (the
                     “Other Causes of Action”), including actions under Chapter 5 of the Bankruptcy Code;
                     and
                o    all remaining Assets of each of the Debtors, other than the Specified Causes of Action,
                     the Other Causes of Action, and the Credit Bid Release Consideration, including all Cash
                     owned by each of the Debtors on the Effective Date other than Cash used to fund or held
                     in the Disputed Claim Reserve Account(s) or the Carve Out Account (the “Other Assets,”
                     together with the Other Causes of Action, the “General Assets”).

          the Credit Bid Release Consideration (together with the General Assets and Specified Causes of
           Action, the “Total Assets”);

          Cash in the deposit account at Bank of America, N.A. established pursuant to the Final Junior
           DIP Order (as defined herein) in the amount of approximately $93 million as of the filing of this
           Disclosure Statement, which is available and may be used only to satisfy Wind Down costs (the
           “Wind Down Account”) but excluding any prepetition liens or any adequate protection liens or


 3
  The number of board members and composition of the board is subject to ongoing negotiations and discussions
 between the Debtors and the Creditors’ Committee.
 4
   All “proceeds” shall be net of costs, including but not limited to costs of pursuing Preserved Causes of Action,
 Liquidating Trustee fees, and amounts sufficient to fund the Disputed Claim Reserve Account.


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            superpriority claims granted under the Final DIP ABL Order (as defined herein) and the Final
            Junior DIP Order; and

           Cash in the Carve Out Account for the payment of estate professional fees (as defined in the Final
            DIP ABL Order).

 For the avoidance of doubt, the Debtors will retain all rights to commence and pursue all Causes of
 Action that are expressly preserved and not released, vested, settled or sold to a third party under the Plan,
 the Sale Transaction, or any other order of the Bankruptcy Court, including the Specified Causes of
 Action and the Other Causes of Action (the “Preserved Causes of Action”).

 In addition to the Cash sources noted above, up to approximately $347 million of Administrative Expense
 Claims are the responsibility of the Buyer pursuant to Section 2.3(k) of the Asset Purchase Agreement
 and the Sale Order comprised of: up to $139 million on account of Claims arising under section 503(b)(9)
 of the Bankruptcy Code (“503(b)(9) Claims”) and up to $166 million on account of Other Payables (as
 defined in the Asset Purchase Agreement), less any amounts previously paid by the Buyer in accordance
 with Section 2.3(k) of the Asset Purchase Agreement. 5

 The Plan contemplates an orderly liquidation of the Debtors’ assets and distributions in the following
 order of recovery from the identified sources. Distributions to junior classes will only be made if senior
 classes are satisfied (or adequately reserved for).

                    Claim                                                Recovery

     Fee Claims                              Satisfied in full from:
                                             •   Proceeds of the Carve Out Account; and
                                             •   Net Proceeds of the Total Assets.

     Other Secured Claims                    Satisfied in full from:
                                             Transfer of or net cash proceeds of the relevant collateral.

     Other 507(b) Priority Claims            Satisfied in full in Cash from the Net Proceeds of Total Assets.


     ESL 507(b) Priority Claims              Satisfied from:
                                             •   Net Proceeds of Other Causes of Action not to exceed $50
                                                 million in the aggregate (the “ESL 507(b) Cap”), with any
                                                 remaining ESL 507(b) Priority Claims that would have
                                                 resulted from Net Proceeds of Other Causes of Action treated
                                                 as General Unsecured Claims; and
                                             •   Net Proceeds from Other Assets;
                                             Any Allowed ESL 507(b) Priority Claim in excess of the ESL
                                             507(b) Cap shall be treated as an ESL Unsecured Claim without
                                             duplication in respect of any deficiency claim allocable to the
                                             subject debt instrument for which the ESL 507(b) Priority Claim

 5
     The Buyer has disputed all or some of these amounts.


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                    Claim                                         Recovery
                                       was Allowed.

  Administrative Expense Claims        Satisfied in full from:
                                       •   Proceeds of the Wind Down Account; and
                                       •   Net proceeds of the Total Assets.

  Priority Tax Claims, Priority Non-   Satisfied in full from:
  Tax Claims
                                       •   Proceeds of the Wind Down Account; and
                                       •   Net Proceeds of the Total Assets.

  PBGC Claims                          Satisfied from:
                                       •   A beneficial interest in the Liquidating Trust granted to
                                           PBGC, which shall entitle PBGC to and be secured by the
                                           first $80 million of Net Proceeds of: (i) Specified Causes of
                                           Action, after payment in full satisfaction of all
                                           Administrative Expense Claims, Priority Non-Tax Claims,
                                           Priority Tax Claims, Other 507(b) Priority Claims, and Other
                                           Secured Claims (or the maintenance of amounts in the
                                           Disputed Claim Reserve Account on account of any of the
                                           foregoing Claims that are Disputed); and (ii) Other Causes of
                                           Action arising under Chapter 5 of the Bankruptcy Code, after
                                           payment in full satisfaction of all Administrative Expense
                                           Claims, Priority Non-Tax Claims, Priority Tax Claims, Other
                                           507(b) Priority Claims, ESL 507(b) Priority Claims, and
                                           Other Secured Claims (or the maintenance of amounts in the
                                           Disputed Claim Reserve Account on account of any of the
                                           foregoing Claims that are Disputed).
                                       •   Sharing with General Unsecured Claims in General
                                           Unsecured Claim recoveries

  General Unsecured Claims             Satisfied from:
                                       •   Net Proceeds of General Assets, after payment in full
                                           satisfaction of all Allowed Other Secured Claims, ESL
                                           507(b) Priority Claims (subject to the ESL 507(b) Cap),
                                           Other 507(b) Priority Claims, Administrative Expense
                                           Claims, Priority Tax Claims, Priority Non-Tax Claims (or
                                           maintenance of amounts in the Disputed Claim Reserve
                                           Account(s) on account of any of the foregoing claims that are
                                           Disputed), and the PBGC Liquidating Trust Priority Interest;
                                           and
                                       •   (i) proceeds of the Wind Down Account, subject to the full
                                           satisfaction of all Allowed Administrative Expense Claims,
                                           Priority Non-Tax Claims, and Priority Tax Claims (or
                                           maintenance in the Disputed Claim Reserve Account(s) on


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                    Claim                                           Recovery
                                            account of any of the foregoing Claims that are Disputed);
                                            and (ii) Net Proceeds of the Specified Causes of Action and
                                            the Credit Bid Release Consideration, subject to payment in
                                            full satisfaction of all Allowed Administrative Expense
                                            Claims, Priority Tax Claims, Other 507(b) Priority Claims,
                                            Priority Non-Tax Claims, Other Secured Claims (or
                                            maintenance in the Disputed Claim Reserve Account(s) on
                                            account of any of the foregoing Claims that are Disputed),
                                            and the PBGC Liquidating Trust Priority Interest.

  ESL Unsecured Claims                  Satisfied from:
                                        Net Proceeds of General Assets, after payment in full satisfaction
                                        of all Allowed Other Secured Claims, ESL 507(b) Priority
                                        Claims (subject to the ESL 507(b) Cap), Other 507(b) Priority
                                        Claims, Administrative Expense Claims, Priority Tax Claims,
                                        Priority Non-Tax Claims (or maintenance of amounts in the
                                        Disputed Claim Reserve Account(s) on account of any of the
                                        foregoing claims that are Disputed), and the PBGC Liquidating
                                        Trust Priority Interest.

 Throughout the Chapter 11 Cases, the Debtors have worked closely and in coordination with their key
 stakeholders, including the PBGC, and the Creditors’ Committee. As of the date of the filing, the Debtors
 continue to negotiate with the Creditors’ Committee and the PBGC on the Plan.

 Section V of this Disclosure Statement provides a more detailed description of the Plan.

           C.     Summary of Plan Classification and Treatment of Claims and Interests

 WHO IS ENTITLED TO VOTE: As explained further in Section X.C of this Disclosure Statement,
 under the Bankruptcy Code, only holders of Claims or Interests in “impaired” Classes are entitled to vote
 on the Plan (unless, for reasons discussed in more detail below, such holders are deemed to reject the Plan
 pursuant to section 1126(g) of the Bankruptcy Code). Under section 1124 of the Bankruptcy Code, a
 class of claims or interests is deemed to be “impaired” unless (i) the Plan leaves unaltered the legal,
 equitable, and contractual rights to which such claim or interest entitles the holder thereof or
 (ii) notwithstanding any legal right to an accelerated payment of such claim or interest, the Plan, among
 other things, cures all existing defaults (other than defaults resulting from the occurrence of events of
 bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.




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 Holders of Claims and Interests in the following Classes are being solicited under and are entitled to vote
 on the Plan:

                   1. PBGC Claims;

                   2. General Unsecured Claims; and

                   3. ESL Unsecured Claims.

 The estimated recoveries for holders of Claims and Interests, to the extent calculable, will be provided for
 in the Recovery Analysis, annexed hereto as Exhibit C. The recoveries are qualified in their entirety by
 reference to the full text of the Plan. For a more detailed summary of the terms and provisions of the
 Plan, see Section V—Summary of the Plan below.

           D.       Summary of Plan Release and Exculpation Provisions

 Sections 11.9 and 11.10 of the Plan provides for the release of the Released Parties (as defined below) and
 the exculpation of the Exculpated Parties (as defined below), respectively. The Debtors’ releases of the
 Released Parties pursuant to Section 11.9(a) of the Plan (the “Debtor Releases”), the third-party releases
 of the Released Parties pursuant to Section 11.9(b) of the Plan (the “Third-Party Releases”), and the
 exculpation of the Exculpated Parties pursuant to Section 11.10 of the Plan are an integral part of the
 Plan.

 With respect to Third-Party Releases, the “Releasing Parties” are, collectively:

           (i)        the holders of all Claims or Interests who vote to accept or are presumed to accept the
                      Plan;

           (ii)       the holders of Claims or Interests who reject the Plan or abstain from voting on the Plan
                      but do not opt out of these releases on the Ballots;

           (iii)      each of the Released Parties (other than the Debtors); and

           (iv)       with respect to any entity in the foregoing clauses (i) through (iii), (x) such entity’s
                      predecessors, successors, and assigns, and (y) all persons entitled to assert Claims
                      through or on behalf of such entities with respect to the matters for which the releasing
                      entities are providing releases.

 The “Released Parties” are, collectively, and in each case, solely in their capacities as such:

           (i)        the Debtors;

           (ii)       the Creditors’ Committee and each of its members;

           (iii)      the Liquidating Trustee;

           (iv)       the Liquidating Trust Board; and

           (v)        with respect to each of the foregoing entities in clauses (a) through (b), all Related
                      Parties.




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 The following entities shall not be “Released Parties” under the Plan:

           (i)       the ESL Parties (provided that Thomas J. Tisch shall not be an ESL Party in his capacity
                     as a director of the Debtors);

           (ii)      any person or Entity against which any action has been commenced on behalf of the
                     Debtors or their Estates, in this Bankruptcy Court or any court of competent jurisdiction
                     prior to the Confirmation Hearing;

           (iii)     any Entity identified as a potential defendant of an Estate Cause of Action in the Plan
                     Supplement; and

           (iv)      any subsequent transferee of any of the foregoing with respect to any Assets of the
                     Debtors; provided, that recovery on account of any Causes Action against the Specified
                     Directors and Officers, solely with respect to D&O Claims, shall be subject to the
                     limitations set forth in Section 11.11.

 Section 11.11 of the Plan provides:

 Any recovery by or on behalf of the Liquidating Trust (and the beneficiaries thereof) on account of any
 Preserved Cause of Action against any of the Specified Directors and Officers, solely in his or her
 capacity as a director of the Debtors prior to the Effective Date, or officer of the Debtors prior to the
 closing of the Sale Transaction, as applicable, including in each case by way of settlement or judgment,
 shall be limited to the Debtors’ available D&O Policies’ combined limits, after payment from such D&O
 Policies of any and all covered costs and expenses incurred by the covered parties in connection with the
 defense of any D&O Claim (the “Insurance Coverage”). No party, including the Liquidating Trustee,
 shall execute, garnish or otherwise attempt to collect on any settlement of or judgment in the D&O
 Claims upon any assets of the Specified Directors and Officers except to the extent necessary to trigger
 the Insurance Coverage. In the event Insurance Coverage is denied for any settlement or judgment in the
 Liquidating Trust’s favor, the Specified Directors and Officers shall assign any claims for coverage or
 other rights of recovery they may have against the D&O Policy insurers to the Liquidating Trust.

 “D&O Claim” means any Preserved Cause of Action against the Specified Directors and Officers.

 The “Exculpated Parties” are, collectively, in each case, solely in their capacities as such:

           (i)       the Debtors;

           (ii)      the Creditors’ Committee and each of its members; and

           (iii)     with respect to each of the foregoing entities in clauses (i) through (ii), all Related
                     Parties; provided, that ESL Parties shall not be Exculpated Parties under the Plan. For
                     the avoidance of doubt, each of the Debtors’ post-Commencement Date directors,
                     officers, and employees (other than the ESL Parties) shall be Exculpated Parties under the
                     Plan.

 The Debtors believe that the Debtor Releases satisfy the business judgment standard. In exchange for the
 material benefits already received and that the Debtors and their estates will receive through the Plan, the
 Debtors have determined to release the Released Parties. The Released Parties do not include, as more
 fully described in the Plan: ESL, ESL Partners, L.P., JPP, LLC, JPP II, LLC, Edward S. Lampert, Kunal
 S. Kamlani, RBS Partners LP, CRK Partners LLC, SPE Master I, ESL Partners L.P., SPE Partners I, RBS


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 Investment Management LLC, ESL Institutional Partners L.P., and any other entity managed or advised
 by ESL that at any time has held directly or indirectly equity interests or debt claims against the Debtors
 (collectively, the “ESL Parties”), among other excluded parties. With respect to the limited Third-Party
 Releases, the Debtors believe that such releases are appropriate and may become binding in accordance
 with section 1141(a) of the Bankruptcy Code and applicable law. Parties who are given an opportunity to
 opt out (including parties who abstain from voting or who vote to reject the plan) of the Third-Party
 Releases and do not opt out may be deemed to consent to such releases under section 1141(a) of the
 Bankruptcy Code and applicable law.

 If the Court determines that any of the releases by the Releasing Parties are not consensual, the Debtors
 will demonstrate at the Confirmation Hearing that the Released Parties are nevertheless entitled to such
 releases because they have made substantial and valuable contributions to the Debtors’ estates for the
 benefit of all economic parties in interest. In addition, each of the Exculpated Parties has made a
 substantial contribution to the Debtors’ estates in chapter 11 and played an integral role in working
 towards an expeditious resolution of these Chapter 11 Cases. The Debtors believe that the exculpation
 provisions are appropriately limited to the Exculpated Parties’ participation in these Chapter 11 Cases and
 have carve outs for liability resulting from gross negligence, willful misconduct, or intentional fraud.
 Accordingly, each of the Released Parties and the Exculpated Parties warrant the benefit of the release
 and exculpation provisions.

 The Debtors believe that the release and exculpation provisions in the Plan are necessary and appropriate
 and meet the requisite legal standard promulgated by the United States Court of Appeals for the Second
 Circuit (the “Second Circuit”). Additional discussion regarding the Debtors’ justification for providing
 the releases and exculpations contained in Article 11 of the Plan is provided in Section XII herein.

           E.     Disclosure Statement Enclosures

 The following three enclosures accompany this Disclosure Statement:

      1. Disclosure Statement Order. A copy of the Disclosure Statement Order (without exhibits), which,
         among other things, approves this Disclosure Statement, establishes procedures for voting on the
         Plan (the “Voting Procedures”), and schedules the Confirmation Hearing and the deadline for
         objecting to confirmation of the Plan.

      2. Confirmation Hearing Notice. A copy of the notice of the Voting Deadline and, among other
         things, notice of the date, time, and place of the Confirmation Hearing and the deadline for filing
         objections to confirmation of the Plan (the “Confirmation Hearing Notice”).

      3. Ballot. One or more Ballots (and return envelopes) for voting to accept or reject the Plan unless
         you are not entitled to vote because you are (a) not impaired under the Plan and are presumed to
         accept the Plan, (b) not receiving or retaining any property under the Plan and are deemed to
         reject the Plan, or (c) a holder of a Claim subject to an objection filed by the Debtors, which
         Claim is temporarily disallowed for voting purposes. See Section IX of this Disclosure Statement
         for an explanation of which parties are entitled to vote and a description of the Voting
         Procedures.

           F.     Inquiries

 If you have any questions about the packet of materials you have received, please contact Prime Clerk
 LLC, the Debtors’ voting agent (the “Voting Agent”), at (844) 384-4460 (domestic toll-free) or (929)
 955-2419 (international), or at searsballots@primeclerk.com. Additional copies of this Disclosure


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 Statement, the Plan, or the Plan Supplement are available upon written request made to the Voting Agent
 at the following address:

                                Sears Holding Corporation Ballot Processing

                                             c/o Prime Clerk LLC

                                        830 Third Avenue, 34rd Floor

                                             New York, NY 10022

 Copies of this Disclosure Statement, which includes the Plan are also available on the Voting Agent’s
 website, https://restructuring.primeclerk.com/sears. PLEASE DO NOT DIRECT INQUIRIES TO THE
 BANKRUPTCY COURT.

                                                       II.
                               OVERVIEW OF DEBTORS’ OPERATIONS

           A.     Corporate Overview

 Sears Holdings is the parent company of Kmart Corporation (“Kmart Corp.”) and Sears, Roebuck and
 Co. (“Sears Roebuck”), which was formed as a Delaware corporation in 2004 in connection with the
 merger of Kmart and Sears Roebuck on March 24, 2005 and many other Debtor and non-Debtor entities.
 Prior to the Sale Closing, Sears Holdings was an integrated retailer with significant physical and
 intangible assets, as well as virtual capabilities, which operated a national network of stores and websites.
 Sears Holdings’ principal place of business is in Hoffman Estates, Illinois. Sears Holdings is a direct or
 indirect parent company of the other Debtors. A chart illustrating the Debtor’s organizational structure as
 of the Commencement Date is annexed hereto as Exhibit B.

           B.     Debtors’ Business Operations

 As of the Commencement Date, the Company operated 687 retail stores in forty-nine states, Guam,
 Puerto Rico, and the U.S. Virgin Islands under the Sears® and Kmart® brands and employed
 approximately 68,000 individuals, of whom approximately 32,000 were full-time employees and
 approximately 36,000 were part-time employees (together, the “Employees”). A small percentage of the
 Employees were covered under collective bargaining agreements. For the fiscal year that ended February
 3, 2018 (the “2017 fiscal year”), the Company had total revenues of approximately $16.7 billion. For the
 2017 fiscal year, the Company had total assets of approximately $9.4 billion and total liabilities of
 approximately $13.5 billion and for the nine months ended November 3, 2018, the Company had total
 assets of $6.7 billion and total liabilities of approximately $12 billion (including $4.6 billion in liabilities
 subject to compromise).

           C.     Directors and Officers

 As of the Commencement Date, Sears Holdings’ Board was comprised of the following eight (8)
 members, which included five (5) directors who were unaffiliated with ESL:

                          Name                                       Position
             Edward S. Lampert                                       Chairman
             Alan J. Carr                                            Director
             Paul G. DePodesta                                       Director


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                         Name                                      Position
             Kunal S. Kamlani                                      Director
             William C. Kunkler, III                               Director
             Ann N. Reese                                          Director
             Thomas J. Tisch                                       Director
             William L. Transier                                   Director

 As of the Commencement Date, a special committee (the “Restructuring Committee”), formed by the
 Board for the purpose of overseeing the Debtors’ restructuring, comprised of the following four (4)
 members:

                          Name                                     Position
             Alan J. Carr                        Director, Restructuring Committee Member
             Paul G. DePodesta                   Director, Restructuring Committee Member
             Ann N. Reese                        Director, Restructuring Committee Member
             William L. Transier                 Director, Restructuring Committee Member

 As of the Commencement Date, the Debtors’ senior management team was comprised of the following
 individuals:

                     Name                                       Position
             Robert A. Riecker          Member of the Office of the Chief Executive, Chief
                                        Financial Officer
             Gregory Ladley             Member of the Office of the Chief Executive, President
                                        of Apparel and Footwear
             Leena Munjal               Member of the Office of the Chief Executive, Chief
                                        Digital Officer
             Robert J. “B.J.” Naedele   Chief Commercial Officer, Shop Your Way
             Perry “Dean” Schwartz      President, Hardlines
             J. Mitchell Bowling        Chief Executive Officer, Sears Home Services
             Stephen L. Sitley          General Counsel and Chief Compliance Officer

 In addition, effective as of the Commencement Date, Mohsin Meghji, a Managing Director of M-III
 Partners, LP, was appointed as Chief Restructuring Officer (the “CRO”), reporting directly to the
 Restructuring Committee of the Board.

 In December 2018, Mr. Schwartz resigned from the management team. Effective February 12, 2019 and
 in connection with the Sale Closing, Mr. Lampert and Mr. Kamlani resigned from the Board.

 The directors, managers, and/or officers, as applicable, of the Debtors other than Sears Holdings varied,
 but such directors, managers, and/or officers, as applicable, generally were employees of the Company
 unless otherwise required by applicable law. Furthermore, certain Debtor entities were limited liability
 companies without boards of managers, including: Kmart Operations LLC, Sears Operations LLC, SHC
 Licensed Business LLC, A&E Factory Service, LLC, A&E Home Delivery, LLC, A&E Lawn and
 Garden, LLC, A&E Signature Service, LLC, Sears Insurance Services, L.L.C., SYW Relay LLC, Wally
 Labs LLC, SHC Promotions LLC, Big Beaver of Florida Development, LLC, Kmart of Washington LLC,
 Kmart Stores of Illinois LLC, Kmart Stores of Texas LLC, MyGofer LLC, Sears Holdings Publishing
 Company, LLC, Sears Protection Company (Florida), L.L.C., SHC Desert Springs, LLC, StarWest, LLC,
 Troy Coolidge No. 13, LLC, Sears Brands, L.L.C., and Kmart.com LLC.


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 Instead, Kmart Operations LLC, SHC Licensed Business LLC, and Sears Operations LLC were and
 continue to be managed by their sole member, Sears Holdings; Big Beaver of Florida Development, LLC,
 Kmart of Washington LLC, Kmart Stores of Illinois LLC, Kmart Stores of Texas LLC, SHC Desert
 Springs LLC, Troy Coolidge No. 13 LLC, and MyGofer LLC were and continue to be managed by their
 sole member, Kmart Corp.; Kmart.com LLC was and continues to be managed by its sole member,
 BlueLight.com; Sears Brands, L.L.C. was and continue to be managed by its sole member, Sears
 Holdings Management Corporation; A&E Factory Service, LLC, A&E Signature Service, LLC, A&E
 Lawn & Garden, LLC, A&E Home Delivery, LLC, Sears Insurance Services, L.L.C., SYW Relay LLC,
 Wally Labs LLC, and SHC Promotions LLC were and continue to be managed by their sole member,
 Sears Roebuck; Sears Protection Company (Florida), L.L.C. was and continues to be managed by its sole
 member, Sears Protection Company; StarWest, LLC was and continues to be managed by its sole
 member, FBA Holdings, Inc.; and Sears Holdings Publishing Company, LLC was and continues to be
 managed by its sole member, Sears Procurement Services, Inc.

           D.        Regulation of Debtors’ Businesses

 Prior to the Sale Closing, the Debtors were subject to regulation by a variety of governmental authorities,
 including federal, state and local agencies that regulate imports, contractor and trade practices, automobile
 repair, home repair and installation, warranty sales, building standards, labor, health and safety matters,
 such as contractor boards, the U.S. Food and Drug Administration, the U.S. Department of Agriculture,
 and the Occupational Safety and Health Administration. As of the Commencement Date, the Debtors
 were also subject to the oversight of government agencies that regulate the distribution and sale of
 alcoholic beverages, pharmaceuticals, tobacco products, milk, plants, and other agricultural products,
 food and other consumer products.

           E.        Debtors’ Capital Structure

                1.      Prepetition Indebtedness

 As of the Commencement Date, the Debtors were indebted under the following facilities, as detailed
 below: (i) the Prepetition ABL Credit Facility; (ii) the Stand-Alone L/C Facility; (iii) the Second Lien
 Credit Facility; (iv) the Second Lien PIK Notes; (v) the Second Lien Notes; (vi) the IP/Ground Lease
 Term Loan; (vii) the Real Estate 2020 Loan Facility; (viii) the Unsecured PIK Notes; (ix) the Holdings
 Unsecured Notes; (x) the SRAC Unsecured PIK Notes; and (xi) the SRAC Unsecured Notes (each as
 defined herein). Additionally, certain of the Debtors and their non-Debtor affiliates issued intercompany
 notes (the “Intercompany Notes”), including KCD Notes and SRAC Medium Term Notes (each as
 defined herein).

 As of Commencement Date:                                                            Principal Outstanding
 Debt Facilities                                                                                ($ millions)
 Prepetition ABL Revolving Facility                                             $                   836.0
          Prepetition ABL L/C Subfacility                                                           123.8
 Prepetition ABL Term Loan Facility                                                                     --
 Prepetition ABL 2016 Term Loan Facility                                                            570.8
 Prepetition FILO Term Loan                                                                         125.0
          Total First Lien Debt                                                 $                 1,655.6
 Stand-Alone L/C Facility                                                       $                   271.1
 Second Lien Term Loan                                                          $                   317.1
 Second Lien Line of Credit                                                                         525.0
          Alternative Tranche Line of Credit Loans                                                   45.0
 Second Lien PIK Notes                                                                              175.4


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 As of Commencement Date:                                                            Principal Outstanding
 Debt Facilities                                                                                ($ millions)
 Second Lien Notes                                                                                   89.0
        Total Second Lien Debt                                                  $                 1,151.5
 IP/Ground Lease Term Loan                                                                          231.2
 Consolidated Secured Note A                                                                        108.1
 Consolidated Secured Note B                                                                        723.3
        Total Secured Loan Debt                                                 $                 1,062.6
 Unsecured PIK Notes                                                            $                   222.6
 Holdings Unsecured Notes                                                                           411.0
 SRAC Unsecured PIK Notes                                                                           107.9
 SRAC Unsecured Notes                                                                               185.6
        Total Unsecured Debt                                                    $                   927.0
        Total Funded Debt                                                       $                 5,067.8
 Intercompany Notes
 SRAC Medium Term Notes                                                                            2,311.8
        Total Intercompany Debt                                                 $                  2,311.8

 The below description of the Debtors’ prepetition indebtedness is for informational purposes only and is
 qualified in its entirety by reference to the specific agreements evidencing the indebtedness.

                       (a)     Prepetition ABL Credit Facility

 Pursuant to that certain Third Amended and Restated Credit Agreement, dated as of July 21, 2015 (as
 amended, supplemented, or otherwise modified prior to the date hereof, the “Prepetition ABL Credit
 Agreement”), between, among others, Bank of America, N.A., as administrative agent, co-collateral agent
 and swing line lender, Wells Fargo Bank, National Association, as co-collateral agent, a syndicate of
 financial institutions and other institutional lenders (collectively, the “Prepetition ABL Lenders”), Sears
 Roebuck Acceptance Corp. (“SRAC”) and Kmart Corp., as borrowers (together, the “Prepetition ABL
 Borrowers”), and Sears Holdings, the Prepetition ABL Lenders extended (a) an asset-based revolving
 credit facility with commitments of $1.5 billion (including a letter of credit sublimit of up to $1 billion
 (the “Prepetition ABL L/C Subfacility”)), subject to a borrowing base formula (the “Prepetition ABL
 Revolving Facility”); (b) a term loan in an original principal amount of $1 billion, which had been repaid
 in full (the “Prepetition ABL Term Loan Facility”); (c) a term loan in an original principal amount of
 $750 million (the “Prepetition ABL 2016 Term Loan Facility”); and (d) a “first-in, last-out” term loan in
 an original principal amount of $125 million (the “Prepetition FILO Term Loan” and, together with the
 Prepetition ABL Revolving Facility, the Prepetition ABL Term Loan Facility and the Prepetition ABL
 2016 Term Loan Facility, collectively, the “Prepetition ABL Credit Facility”), all of which would have
 matured on July 20, 2020.

 The obligations of the Prepetition ABL Borrowers under the Prepetition ABL Credit Facility were
 guaranteed by Sears Holdings and each domestic subsidiary of Sears Holdings that owned any credit card
 receivables, pharmacy receivables or inventory (collectively, together with Sears Holdings and the
 Prepetition ABL Borrowers, the “Prepetition ABL Guarantors”) and were secured by a lien on, among
 other things, the credit card receivables, pharmacy receivables, inventory, prescription lists, deposit
 accounts, and cash owned by the Prepetition ABL Guarantors (the “Prepetition ABL Collateral”). As of
 the Commencement Date, the Prepetition ABL Borrowers and the Prepetition ABL Guarantors were
 liable to the Prepetition ABL Lenders in the aggregate principal amount of approximately $1.656 billion
 in respect of loans and/or advances made and letters of credit or letter of credit guaranties issued pursuant
 to the Prepetition ABL Credit Agreement, plus unliquidated amounts, including interest thereon and fees,


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 expenses, charges, and other obligations incurred in connection therewith as provided under the
 Prepetition ABL Credit Agreement.

 As described in Section IV.D.1 below, during the Chapter 11 Cases, all of the extensions of credit and
 term loans (other than the Prepetition FILO Term Loan and bank products constituting the Stand-Alone
 L/C Facility (defined below)) outstanding under the Prepetition ABL Credit Facility held by lenders who
 agreed to participate in the new incremental DIP loans were rolled up and became obligations under the
 DIP ABL Facility (as defined below). Consequently, no amounts remain outstanding under the
 Prepetition ABL Credit Facility. As described in Section IV.L below, pursuant to the Sale Transaction
 and section 363(k) of the Bankruptcy Code, ESL credit bid its obligations under the Prepetition FILO
 Term Loan in the aggregate amount of approximately $125 million.

                       (b)     Stand-Alone L/C Facility

 Pursuant to that certain Letter of Credit and Reimbursement Agreement, dated as of December 28, 2016
 (as amended, supplemented, or otherwise modified prior to the date hereof, the “Stand-Alone L/C
 Facility Agreement”), among SRAC and Kmart Corp., as borrowers, Sears Holdings, Citibank, N.A., as
 administrative agent and issuing bank (the “Issuing Bank”), and a syndicate of financial institutions
 (including JPP, LLC and JPP II, LLC 6), as L/C lenders (collectively, the “Stand-Alone L/C Facility
 Lenders”), the Stand-Alone L/C Facility Lenders provided the Debtors with approximately $271.1
 million in letters of credit, which mature on December 28, 2019 (the “Stand-Alone L/C Facility”). The
 letters of credit issued under the Stand-Alone L/C Facility were posted to guarantee certain workers’
 compensation insurance policies and other obligations.

 The obligations of SRAC and Kmart Corp. under the Stand-Alone L/C Facility were guaranteed by the
 Prepetition ABL Guarantors and secured jointly and pari passu with the obligations under the Prepetition
 ABL Credit Facility by a lien on the Prepetition ABL Collateral. In any enforcement action with respect
 to the Prepetition ABL Collateral, proceeds of Prepetition ABL Collateral would be applied to repay
 obligations under the Stand-Alone L/C Facility only after all obligations under the Prepetition ABL
 Credit Facility are repaid in full. As of the Commencement Date, SRAC, Kmart Corp., and the other
 Prepetition ABL Guarantors were liable to the Stand-Alone L/C Facility Lenders in the aggregate
 principal amount of up to approximately $271.1 million in respect of letters of credit or letter of credit
 guaranties issued pursuant to the Stand-Alone L/C Facility Agreement, plus unliquidated amounts
 including interest thereon and fees, expenses, charges, and other obligations incurred in connection
 therewith as provided under the Stand-Alone L/C Facility Agreement.

 The Stand-Alone L/C Facility was not rolled up into the DIP ABL Facility upon the entry of the Final
 DIP ABL Order (defined below). Instead, the Issuing Bank received adequate protection as provided in
 the Final DIP ABL Order, and the Debtors’ authorization to extend, renew and continue of letters of
 credit under the Stand-Alone L/C Facility. As described in Section IV.L below, pursuant to the Sale
 Transaction, the Stand-Alone L/C Facility was refinanced by the Buyer. Consequently, as of the date
 hereof, there are no amounts outstanding under the Stand-Alone L/C Facility.

                       (c)     Second Lien Credit Facility

 Pursuant to that certain Second Lien Credit Agreement, dated as of September 1, 2016 (as amended,
 supplemented, or otherwise modified prior to the date hereof, the “Second Lien Credit Agreement”),
 among Sears Holdings, SRAC and Kmart Corp., as borrowers, Sears Holdings, certain subsidiaries of
 Sears Holdings, as guarantors, JPP, LLC as administrative agent and collateral administrator, and certain

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     JPP, LLC and JPP II, LLC are affiliates of ESL.


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 financial institutions and other institutional lenders (including JPP, LLC and JPP II, LLC), as lenders
 (collectively, the “Second Lien Credit Facility Lenders”), the Second Lien Credit Facility Lenders
 provided the Debtors with (i) a term loan in an original principal amount of $300 million, which matures
 on July 20, 2020 (the “Second Lien Term Loan”), (ii) a line of credit facility (the “Second Lien Line of
 Credit”), pursuant to which the Debtors could from time to time borrow line of credit loans, in the sole
 and absolute discretion of the applicable Second Lien Credit Facility Lenders, in an amount not to exceed
 $525 million at any time outstanding with maximum duration of 270 days, and (iii) an alternative tranche
 line of credit loan in an initial principal amount of approximately $45.0 million, maturing on October 15,
 2018 (the “Alternative Tranche Line of Credit Loans” and, together with the Second Lien Term Loan
 and the Second Lien Line of Credit, the “Second Lien Credit Facility”).

 The Debtors incurred the Alternative Tranche Line of Credit Loan as a result of a transaction that
 occurred in July 2018, pursuant to which an unaffiliated third-party holder of Second Lien Notes tendered
 such notes in exchange for a like principal amount of Alternative Tranche Line of Credit Loans (the
 “Alternative Tranche Exchange”). The obligations of SRAC and Kmart Corp., as applicable, under the
 Second Lien Credit Facility are guaranteed by Sears Holdings, SRAC, Kmart Corp. and each domestic
 subsidiary of Sears Holdings that owns any credit card receivables or inventory (collectively, together
 with Sears Holdings, SRAC, and Kmart Corp., the “Second Lien Guarantors”) and secured by a lien on,
 among other things, the credit card receivables and inventory owned by the Second Lien Guarantors (the
 “Second Lien Collateral”), which lien was junior in priority to the lien securing the Prepetition ABL
 Credit Facility and the Stand-Alone L/C Facility. The relative rights and priorities of the Prepetition ABL
 Credit Facility Lenders, the Second Lien Credit Facility Lenders, the holders of Second Lien PIK Notes
 (as defined herein), and the holders of Second Lien Notes (as defined herein) were set forth in that certain
 Second Amended and Restated Intercreditor Agreement, dated as of October 12, 2010 (as amended and
 restated on September 1, 2016 and as further amended and restated on March 20, 2018).

 The Second Lien Term Loan is convertible at the option of the applicable Second Lien Credit Facility
 Lenders or, under certain circumstances, Sears Holdings, into equity of Sears Holdings. Interest on the
 Second Lien Term Loan is payable, at the election of Sears Holdings, in whole or in part, in cash or by
 increasing the principal amount of the outstanding Second Lien Term Loan. As of the Commencement
 Date, Sears Holdings, SRAC, Kmart Corp., and the other Second Lien Guarantors were liable to the
 Second Lien Credit Facility Lenders in the aggregate principal amount of approximately $887.1 million in
 respect of advances, plus unliquidated amounts including interest thereon and fees, expenses, charges, and
 other obligations incurred in connection therewith as provided under the Second Lien Credit Agreement.
 As of the Commencement Date, ESL held approximately $819.6 million of the indebtedness under the
 Second Lien Credit Facility.

 As described in Section IV.L below, pursuant to the Sale Transaction, ESL credit bid its claims under the
 Second Lien Credit Facility pursuant to section 363(k) of the Bankruptcy Code in the aggregate amount
 of approximately $361.2 million.

                       (d)     Second Lien PIK Notes

 Pursuant to that certain Indenture, dated as of March 20, 2018 (as amended, supplemented, or otherwise
 modified prior to the date hereof, the “Second Lien PIK Notes Indenture”), among Sears Holdings,
 certain subsidiaries of Sears Holdings, as guarantors, and Computershare Trust Company, N.A. as trustee,
 Sears Holdings issued 6 5/8% Senior Secured Convertible PIK Toggle Notes due 2019 (the “Second Lien
 PIK Notes”) in an original principal amount of approximately $169.8 million. Sears Holdings issued the
 Second Lien PIK Notes as a result of an exchange transaction that occurred in March 2018 (the “Second
 Lien Notes Exchange”), pursuant to which certain holders of Second Lien Notes (as defined below)
 tendered such notes in exchange for a like principal amount of Second Lien PIK Notes. The effect of the


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 Second Lien Notes Exchange was to eliminate the cash interest expense associated with, and extend the
 maturity by one year on, the principal amount of Second Lien Notes that were tendered, while granting to
 tendering holders and, under certain circumstances, Sears Holdings, the right to convert Second Lien PIK
 Notes into equity of Sears Holdings.

 The Second Lien PIK Notes were scheduled to mature on October 15, 2019, and interest thereon is
 payable semi-annually, at the election of Sears Holdings, in whole or in part, in cash or by increasing the
 principal amount of the outstanding Second Lien PIK Notes. Sears Holdings’ obligations under the
 Second Lien PIK Notes are guaranteed by the Second Lien Guarantors and secured jointly and pari passu
 with the obligations under the Second Lien Credit Facility by a lien on the Second Lien Collateral. As of
 the Commencement Date, the outstanding principal amount of the Second Lien Notes was approximately
 $175.4 million, plus unliquidated amounts including interest thereon and fees, expenses, charges, and
 other obligations incurred in connection therewith as provided under the Second Lien PIK Notes
 Indenture.

 As described in Section IV.L below, pursuant to the Sale Transaction, ESL credit bid its claims under the
 Second Lien PIK Notes in the aggregate amount of approximately $72.3 million.

                       (e)     Second Lien Notes

 Pursuant to that certain Indenture, dated as of October 12, 2010 (as amended, supplemented, or otherwise
 modified prior to the date hereof, the “Second Lien Notes Indenture”), among Sears Holdings, certain
 subsidiaries of Sears Holdings, as guarantors, and Wilmington Trust, National Association as successor
 trustee and collateral agent, Sears Holdings issued 6 5/8% Senior Secured Notes due 2018 (the “Second
 Lien Notes”) in an original principal amount of $1.25 billion. The Second Lien Notes were scheduled to
 mature on October 15, 2018, and interest thereon was payable in cash semi-annually.

 Sears Holdings’ obligations under the Second Lien Notes are guaranteed by the Second Lien Guarantors
 and secured jointly and pari passu with the obligations under the Second Lien Credit Facility and the
 Second Lien PIK Notes by a lien on the Second Lien Collateral. In any enforcement action with respect
 to the Second Lien Collateral, proceeds of Second Lien Collateral would be applied to repay obligations
 under the Second Lien Notes only after all obligations under each of the Second Lien Credit Facility and
 the Second Lien PIK Notes are repaid in full. As of the Commencement Date, the outstanding principal
 amount of the Second Lien Notes was approximately $89.0 million, plus unliquidated amounts including
 interest thereon and fees, expenses, charges, and other obligations incurred in connection therewith as
 provided under the Second Lien Notes Indenture.

                       (f)     IP/Ground Lease Term Loan

 Pursuant to that certain Term Loan Credit Agreement, dated as of January 4, 2018 (as amended,
 supplemented, or otherwise modified prior to the date hereof, the “IP/Ground Lease Term Loan
 Agreement”), between, among others, SRAC and Kmart Corp., as borrowers, Sears Holdings, certain
 subsidiaries of Sears Holdings, as guarantors, JPP, LLC, as administrative agent and collateral
 administrator, and certain financial institutions and other institutional lenders (including JPP, LLC and
 JPP II, LLC), as lenders (collectively, the “IP/Ground Lease Lenders”), the IP/Ground Lease Lenders
 made a loan in an original principal amount of $100 million (the “IP/Ground Lease Term Loan
 Facility”), secured by a lien on, among other things, substantially all of the unencumbered intellectual
 property of Sears Holdings and its subsidiaries other than intellectual property relating to the Kenmore®
 and DieHard® brands, as well as by certain real property interests, in each case subject to certain
 exclusions.



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 The obligations of SRAC and Kmart Corp. under the IP/Ground Lease Term Loan Facility are guaranteed
 by Sears Holdings and each domestic subsidiary of Sears Holdings that is a Prepetition ABL Guarantor or
 owns certain material intellectual property (collectively, the “IP/Ground Lease Guarantors”). The
 IP/Ground Lease Term Loan Facility matures on July 20, 2020. As of the Commencement Date, SRAC,
 Kmart Corp., and the other IP/Ground Lease Guarantors were liable to the IP/Ground Lease Lenders in
 the aggregate amount of approximately $241.6 million, in respect of outstanding principal amount, plus
 unliquidated amounts including interest thereon and fees, expenses, charges, and other obligations
 incurred in connection therewith as provided under the IP/Ground Lease Term Loan Agreement.

 As described in Section IV.L below, pursuant to the Sale Transaction and section 363(k) of the
 Bankruptcy Code, ESL credit bid its claims under the IP/Ground Lease Term Loan Facility.

                       (g)     Real Estate 2020 Loan Facility

 Pursuant to that certain Third Amended and Restated Loan Agreement, dated as of June 4, 2018 (as
 amended, supplemented, or otherwise modified prior to the date hereof, the “Real Estate 2020 Loan”),
 between, among others, Sears, Kmart Stores of Illinois LLC, Kmart of Washington LLC, Kmart Corp.,
 SHC Desert Springs, LLC, Innovel Solutions, Inc., Sears Holdings Management Corporation, Maxserv,
 Inc., Troy Coolidge No. 13, LLC, Sears Development Co. and Big Beaver of Florida Development, LLC,
 as borrowers (collectively, the “Real Estate 2020 Loan Borrowers”), Sears Holdings, as guarantor, JPP,
 LLC, as agent, and JPP, LLC, JPP II, LLC, and Cascade Investment, L.L.C., as lenders (collectively, the
 “Real Estate 2020 Loan Facility Lenders”), the Consolidated Loan Facility Lenders consolidated certain
 outstanding loans and made additional advances in an aggregate original principal amount of
 approximately $779.1 million (the “Real Estate 2020 Loan Facility”), secured by a lien on, among other
 things, a portfolio of real estate assets.

 The obligations of the Real Estate 2020 Loan Borrowers under the Real Estate 2020 Loan Facility are
 guaranteed by Sears Holdings. The Real Estate 2020 Loan Facility matures on July 20, 2020. As of the
 Commencement Date, the aggregate principal amount of the Real Estate 2020 Loan Facility was
 approximately $831.4 million, including approximately $108.1 million structured as a “first out” tranche
 evidenced by promissory note “A” (“Consolidated Secured Note A”), which note is held by Cascade
 Investment, LLC, and approximately $723.3 million, evidenced by promissory note “B” (“Consolidated
 Secured Note B”), which note is held by JPP, LLC and JPP II, LLC.

 As described in Section IV.L below, pursuant to the Sale Transaction and section 363(k) of the
 Bankruptcy Code, ESL credit bid obligations held by the Buyer and its affiliates as of the Closing Date
 under the Real Estate 2020 Loan Facility in the aggregate amount of $544 million.

                       (h)     Unsecured PIK Notes

 Pursuant to that certain Second Supplemental Indenture, dated as of March 20, 2018, to that certain
 Indenture, dated as of November 21, 2014 (as amended, supplemented, or otherwise modified prior to the
 date hereof, the “Unsecured PIK Notes Indenture”), between Sears Holdings and Computershare Trust
 Company, N.A., as trustee, Sears Holdings issued 8% Senior Unsecured Convertible PIK Notes due 2019
 (the “Unsecured PIK Notes”) in an original principal amount of approximately $214 million. Sears
 Holdings issued the Unsecured PIK Notes as a result of an exchange transaction (the “Holdings
 Unsecured Notes Exchange”), pursuant to which certain holders of Holdings Unsecured Notes (as
 defined herein) tendered such notes in exchange for a like principal amount of Unsecured PIK Notes. The
 effect of the Holdings Unsecured Notes Exchange was to eliminate the cash interest expense associated
 with the principal amount of Holdings Unsecured Notes that were tendered, while granting to tendering



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 holders and, under certain circumstances, Sears Holdings, the right to convert Unsecured PIK Notes into
 equity of Sears Holdings.

 The Unsecured PIK Notes mature on December 15, 2019, and interest thereon is payable semi-annually,
 at the election of Sears Holdings, in whole or in part, in cash or by increasing the principal amount of the
 outstanding Unsecured PIK Notes. As of the Commencement Date, the outstanding principal amount of
 the Unsecured PIK Notes was approximately $222.6 million, plus unliquidated amounts including interest
 thereon and fees, expenses, charges, and other obligations incurred in connection therewith, as provided
 under the Unsecured PIK Notes Indenture.

                       (i)     Holdings Unsecured Notes

 Pursuant to the First Supplemental Indenture, dated as of November 21, 2014, to the Unsecured PIK
 Notes Indenture, Sears Holdings issued 8% Senior Unsecured Notes due 2019 (the “Holdings Unsecured
 Notes”) in an original principal amount of approximately $625 million. The Holdings Unsecured Notes
 mature on December 15, 2019, and interest thereon is payable semi-annually. As of the Commencement
 Date, the outstanding principal amount of the Holdings Unsecured Notes was approximately $411.0
 million, plus unliquidated amounts including interest thereon and fees, expenses, charges, and other
 obligations incurred in connection therewith as provided under the Holdings Unsecured PIK Notes
 Indenture.

                       (j)     SRAC Unsecured PIK Notes

 Pursuant to that certain Supplemental Indenture, dated as of March 20, 2018, to the Indenture, dated as of
 May 15, 1995 (as amended, supplemented, or otherwise modified prior to the date hereof, the “1995
 SRAC Indenture”), between SRAC and Wilmington Savings Fund Society, FSB, as successor trustee,
 SRAC issued 7%/12% PIK-Toggle Notes due 2028 (the “SRAC Unsecured PIK Notes”) in an original
 principal amount of approximately $101.9 million. SRAC issued the SRAC Unsecured PIK Notes as a
 result of an exchange transaction (the “SRAC Unsecured Notes Exchange”), pursuant to which certain
 holders of SRAC Unsecured Notes (as defined herein) tendered such notes in exchange for a like
 principal amount of SRAC Unsecured PIK Notes. The effect of the SRAC Unsecured Notes Exchange
 was to eliminate the cash interest expense associated with the principal amount of SRAC Unsecured
 Notes that were tendered.

 The SRAC Unsecured PIK Notes mature on March 31, 2028, and interest thereon is payable semi-
 annually, at the election of SRAC, in whole or in part, in cash at a rate of 7.00% per annum or by
 increasing the principal amount of the outstanding SRAC Unsecured PIK Notes at a rate of 12.00% per
 annum. SRAC’s obligations under the SRAC Unsecured PIK Notes are guaranteed by certain
 subsidiaries of Sears Holdings. As of the Commencement Date, the outstanding principal amount of the
 SRAC Unsecured PIK Notes was approximately $107.9 million plus unliquidated amounts including
 interest thereon and fees, expenses, charges, and other obligations incurred in connection therewith as
 provided under the 1995 SRAC Indenture.

                       (k)     SRAC Unsecured Notes

 Pursuant to the 1995 SRAC Indenture and that certain Indenture, dated as of October 1, 2002 (as
 amended, supplemented or otherwise modified prior to the date hereof, the “2002 SRAC Indenture”),
 between SRAC and The Bank of New York Mellon Trust Company, N.A., as successor trustee, SRAC
 issued certain notes having various interest rates and maturities (the “SRAC Unsecured Notes”). As of
 the Commencement Date, the weighted interest rate of the outstanding SRAC Notes was 7.049%, and the
 outstanding principal amount of the SRAC Unsecured Notes was approximately $185.6 million, plus


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 unliquidated amounts including interest thereon and fees, expenses, charges, and other obligations
 incurred in connection therewith as provided under the 2002 SRAC Indenture.

                       (l)     Trade Claims

 In the ordinary course of business, the Debtors incurred various fixed, liquidated, and undisputed payment
 obligations (the “Trade Claims”) to various third-party providers of goods and services (the “Trade
 Creditors”) that were sold in the Debtors’ stores or facilitated the Debtors’ business operations. Certain
 of the Trade Claims (a) are entitled to statutory priority, pursuant to section 503(b)(9) of the Bankruptcy
 Code; (b) may give rise to shippers’, warehousemen’s, or mechanics’ liens against the Debtors’ property
 if unpaid; (c) may relate to funds held in trust by the Debtors that are not the property of the Debtors’
 estates; or (d) may be secured by letters of credit, security deposits, or rights of setoff (collectively, the
 “Priority Trade Claims”).

 Pursuant to the first day orders for relief, including the order allowing payment of certain prepetition
 claims of critical vendors, the Debtors have paid approximately $126.8 million in Trade Claims, including
 approximately $96.4 million in Priority Trade Claims, during the Chapter 11 Cases. As described in
 Section IV.G below, as of April 10, 2019, over 17,000 proofs of Claim had been filed against the Debtors
 in the aggregate amount of approximately $75 billion, including approximately $480 million for Priority
 Trade Claims. The Debtors dispute the amount and priority of many of the Trade Claims. This amount
 includes joint and several Claims asserted against each of the Debtors.

                       (m)     Intercompany Claims and Notes

 Certain Debtors hold claims against other Debtors and/or non-Debtor affiliates, which claims primarily
 result from the normal functioning of the Debtors’ centralized cash management system, as well as, in
 some cases, the provision of intercompany services by one Company affiliate to another Company
 affiliate, such as, for example, administrative support services (the “Intercompany Claims”).
 Intercompany Claims are recorded in the Debtors’ books and records. Additionally, certain of the
 Debtors and their non-Debtor affiliates have issued Intercompany Notes, including the (x) KCD Notes
 and (y) SRAC Medium Term Notes (each as defined herein).

                                (i)   KCD Notes

 Pursuant to that certain Indenture, dated as of May 18, 2006 (as amended, supplemented or otherwise
 modified prior to the date hereof, the “KCD Indenture”), between non-Debtor KCD IP, LLC (“KCD”) and
 U.S. Bank, National Association, as trustee, KCD issued 6.90% KCD IP, LLC Asset-Backed Notes due
 2019 (the “KCD Notes”) in the original principal amount of $1.8 billion, secured by certain intellectual
 property related to Kenmore®, DieHard®, and Craftsman® brands (the “KCD IP”). Pursuant to the
 Craftsman Transaction (as defined herein), in March 2017, the intellectual property related to the
 Craftsman® brand was released from the collateral securing the KCD Notes, and $900 million in
 principal amount of KCD Notes were redeemed.

 The KCD Notes mature on June 25, 2029, and interest thereon is payable monthly. Pursuant to the
 Indenture, the current rate of interest on the KCD Notes is 7.60% per annum. As of the Commencement
 Date, the outstanding principal amount of the KCD Notes was approximately $900 million, plus
 unliquidated amounts including interest thereon and fees, expenses, charges, and other obligations
 incurred in connection therewith as provided under the KCD Indenture. The KCD Notes are held by
 Sears Reinsurance Company Ltd. (“Sears Re”), a non-Debtor affiliate of the Debtors.




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 In connection with the issuance of the KCD Notes, and in accordance with the terms of the KCD
 Indenture, KCD licensed the use of the KCD IP to two Debtors, Sears Roebuck and Kmart Corp. These
 Debtors, as licensees, are required to make certain royalty payments to KCD (the “Royalty Payments”).
 Pursuant to the Exclusive License, the Royalty Payments contained two components: (i) an actual royalty
 payment based on the sales of Kenmore® and DieHard® branded products (the “Actual Royalty”); and
 (ii) a required minimum payment each month (the “Minimum Royalty”). No Royalty Payments have
 been made by the Debtors since the Commencement Date. As described in Section IV.L below, pursuant
 to the Sale Transaction, the KCD Notes were sold to the Buyer as an Acquired Asset under the Asset
 Purchase Agreement (subject to the terms of the Asset Purchase Agreement including obtaining required
 approval from the Bermuda Monetary Authority).

 As more fully set forth in Section IV.N below, the PBGC Settlement provides that the PBGC will take all
 reasonable actions requested by the Debtors to cause KCD to waive any alleged administrative expense
 claim against the Debtors arising from the failure to make the Royalty Payments.

                                (ii)   SRAC Medium Term Notes

 Pursuant to the 2002 SRAC Indenture, SRAC has issued certain intercompany unsecured notes of various
 interest rates and maturities (the “SRAC Medium Term Notes”). As of the Commencement Date, the
 outstanding principal amount of the SRAC Medium Term Notes was approximately $2.3 billion, plus
 unliquidated amounts including interest thereon and fees, expenses, charges, and other obligations
 incurred in connection therewith as provided under the 2002 SRAC Indenture. Approximately $1.4
 billion in SRAC Medium Term Notes are held by Sears Re, a non-Debtor affiliate of the Debtors. As of
 the Commencement Date, the balance of the SRAC Medium Term Notes were held by other Debtors.
 Pursuant to the 2002 SRAC Indenture, the holder of the SRAC Medium Term Notes is not entitled to a
 distribution if it is an affiliate of the Debtors or of any such other obligor.

 As described in Section IV.N.2 below, on November 19, 2018 the Bankruptcy Court approved the sale of
 the Debtors’ interest in approximately $880 million principle amount of the SRAC Medium Term Notes
 to Cyrus Capital Partners, L.P. (“Cyrus”) for approximately $82.5 million (ECF Nos. 826, 1481).
 Further, certain non-Debtors were indebted, as of the Commencement Date, under the Sparrow Term
 Loan and Sparrow Mezzanine Term Loan.

                       (n)     Sparrow Term Loan

 Pursuant to that certain Term Loan Agreement, dated as of March 14, 2018 (as amended, supplemented,
 or otherwise modified prior to the date hereof, the “Sparrow Term Loan Agreement”), among non-
 Debtor SRC O.P. LLC, non-Debtor SRC Facilities LLC and non-Debtor SRC Real Estate (TX), LLC, as
 borrowers (collectively, the “Sparrow Borrowers”), UBS AG, Stamford Branch, as administrative agent,
 and the lenders party thereto (the “Sparrow Lenders”), the Sparrow Lenders extended a term loan facility
 to the Debtors in an original principal amount of $200.0 million (the “Sparrow Term Loan”), secured by,
 among other things, the Sparrow Borrowers’ interests in 138 real properties (the “Sparrow Properties”).
 Sears Holdings and Sears have provided a limited guaranty of the Sparrow Borrowers’ obligations under
 the Sparrow Term Loan. The Sparrow Properties are subject to that certain Amended and Restated
 Master Lease Agreement dated as of March 14, 2018. Since the Commencement Date, the Debtors have
 not made payments of rent under the Master Lease with respect to forty-one (41) stores that had closed
 prior to the Commencement Date.

 The Sparrow Term Loan matures on August 30, 2019. As of the Commencement Date, the Sparrow
 Borrowers were liable to the Sparrow Lenders under the Sparrow Term Loan Agreement in the aggregate
 amount of approximately $110.0 million in respect of outstanding principal amount, plus unliquidated


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 amounts including interest thereon and fees, expenses, charges, and other obligations incurred in
 connection therewith as provided under the Sparrow Term Loan Agreement.

 As described in Section IV.L below, pursuant to the Sale Transaction, the equity interests of SRC O.P.
 LLC owned by SRC Sparrow 2 LLC were sold to the Buyer as an Acquired Asset under the Asset
 Purchase Agreement.

                       (o)     Sparrow Mezzanine Term Loan

 Pursuant to that certain Term Loan Agreement, dated as of March 14, 2018 (as amended, supplemented,
 or otherwise modified prior to the date hereof, the “Sparrow Mezzanine Term Loan Agreement”), among
 non-Debtor SRC Sparrow 2 LLC, as borrower (the “Sparrow Mezzanine Borrower”), JPP, LLC, as
 administrative agent, and the lenders party thereto (including JPP, LLC and JPP II, LLC) (collectively,
 the “Sparrow Mezzanine Lenders”), the Sparrow Mezzanine Lenders extended a term loan to the Debtors
 in an original principal amount of $240.0 million (the “Sparrow Mezzanine Term Loan”). The Sparrow
 Mezzanine Term Loan was secured by a pledge of equity interests in non-Debtor SRC O.P. LLC, which is
 the parent company of the other Sparrow Borrowers. Sears Holdings and Sears provided a limited
 guaranty of the Sparrow Mezzanine Borrower’s obligations under the Sparrow Mezzanine Term Loan.

 The Sparrow Mezzanine Term Loan matures on July 20, 2020. As of the Commencement Date, the
 Sparrow Mezzanine Borrower was liable to the Sparrow Mezzanine Lenders in the aggregate amount of
 approximately $513.2 million, in respect of the outstanding principal amount, plus unliquidated amounts
 including interest thereon and fees, expenses, charges, and other obligations incurred in connection
 therewith as provided under the Sparrow Mezzanine Term Loan Agreement.

                2.     Pension Plan Protection and Forbearance Agreement

 Prior to the Commencement Date, the Debtors maintained two company-sponsored single employer
 pension plans: Sears Holdings Pension Plan 1 (“Plan 1”) and Sears Holdings Pension Plan 2 (“Plan 2”
 and together with Plan 1, the “Pension Plans”). The two Pension Plans were established effective
 December 1, 2016 when the Debtors amended the original Sears Holding Pension Plan (the “Original
 Pension Plan”) and transferred certain benefits liabilities and assets to Plan 2 and amended and renamed
 the Original Pension Plan as Sears Holdings Pension Plan 1. The Pension Plans cover approximately
 94,000 participants, who are current and former employees of the Debtors (the “Plan Participants”).
 Both Pension Plans are noncontributory defined benefit plans covering the Plan Participants of certain
 Debtors under sections 1342 and 1348 of Title IV of the Employee Retirement Income Security Act of
 1974, as amended §§ 1301-1461 (“ERISA”).

 The Pension Plans are administered by the PBGC. The PBGC guarantees payment of certain pension
 benefits upon termination of qualified plans such as the Pension Plans. The Pension Plans were frozen
 for purposes of benefit accruals in 1996 for certain of the Debtors’ Kmart participants. In 2005, Sears
 Holdings froze benefit accruals under the Pension Plans for certain Sears Holdings participants.
 Nevertheless, the Debtors maintained pension obligations for past services by certain of the Debtors’
 former employees. Accordingly, no new employees could participate in the Pension Plans after the
 applicable freeze date, and no existing employees could earn a benefit accrual under the Pension Plans for
 services performed after these dates.

 In addition, in connection with the Pension Plans, the Debtors are obligated to make certain statutory
 insurance premium payments to the PBGC (the “PBGC Premiums”). The PBGC Premiums are payable
 annually and the Debtors estimate that, absent the commencement of the Chapter 11 Cases, the PBGC
 Premium due in September 2019 would have been approximately $35 million. Inclusive of all direct and


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 indirect contributions to the Pension Plans, the Debtors contributed approximately $546.9 million during
 the 2017 fiscal year and, as of the Commencement Date, approximately $459.3 million during to the
 Pension Plans during the 2018 fiscal year.

 As of the Commencement Date, the Pension Plans were significantly underfunded, with the Debtors
 estimating an aggregate unfunded benefit liability (the “UBL”, and such claims by the PBGC, the “PBGC
 UBL Claim”) on an ongoing basis which, depending upon the interest rate used, could well exceed $1
 billion. Under ERISA section 1301(a)(18), unfunded benefit liabilities are defined as “the value of the
 benefit liabilities under the plan (determined as of such date on the basis of assumptions prescribed by the
 corporation for purposes of section 1344 of this title), over the current value (as of such date) of the assets
 of the plan.” 29 U.S.C. § 1301(a)(18).

 In addition to the PBGC UBL Claims, the PBGC could assert certain termination charges and penalties
 for up to $3,750 per Plan Participant, totaling approximately $340 million (the “Termination Premiums”).
 Generally, under ERISA section 1306(a)(7), if a defined benefit plan is terminated involuntarily or
 through a distressed termination “there shall be payable to the [PBGC], with respect to each applicable
 12–month period, a premium at a rate equal to $1,250 multiplied by the number of individuals who were
 participants in the plan immediately before the termination date.” 29 U.S.C. § 1306(a)(7). The PBGC is
 authorized to assert this $1,250 premium for three consecutive years. See 29 U.S.C. § 1306(a)(7)(C).

 In March 2016, the Debtors entered into a five-year pension plan protection and forbearance agreement
 (the “PPPFA”) with the PBGC. Pursuant to the PPPFA, the Debtors agreed to continue to “ring fence”
 the real estate assets and intellectual property (collectively, the “Ring-Fenced Assets”) held by certain of
 the Debtors’ subsidiaries (collectively, the “Ring-Fenced Subsidiaries”). The Ring-Fenced Subsidiaries
 granted the PBGC a “springing lien” on the Ring-Fenced Assets—which included the KCD IP—which
 lien would be triggered (subject to certain conditions) upon the occurrence of a limited set of conditions,
 including (i) the failure to make required contributions to the Pension Plans, (ii) a prohibited transfer of
 ownership interests in the Ring-Fenced Subsidiaries, (iii) the occurrence of a termination event under the
 Pension Plans, and (iv) bankruptcy- or insolvency-related events with respect to the Debtors or certain of
 its material subsidiaries (the “Springing Lien Events”). In exchange, the PBGC agreed to forbear from
 initiating an involuntary termination of the Company’s domestic pension plans. In connection with the
 Craftsman Transaction (defined below) described in Section III.C.(c) below, the cash proceeds of the sale
 of the Craftsman Deferred Payment Receivables (defined below) to a third party were deposited into an
 escrow account maintained by the PBGC for the benefit of the Pension Plans (the “PBGC Escrow”), to be
 distributed to the Pension Plans over time, and certain real estate was released from the springing liens.
 Because the conditions for the springing lien to be triggered on the remaining intellectual-property-related
 Ring-Fenced Assets include payment in full of the KCD Notes or the grant of such lien ceasing to
 constitute a default thereunder, neither of which has occurred, the springing lien in favor of the PBGC
 was not triggered.

 Proceeds from various transactions have resulted in cash being deposited into the PBGC
 Escrow. Pursuant to the PPPFA, as amended by the REMIC Amendment Agreement (as defined below)
 and further amended by the Amendment to Transaction Documents dated as of August 30, 2018, the
 escrow agent for the PBGC Escrow was required, by April 1, 2019, to transfer from the PBGC Escrow to
 the Pension Plans as much as needed to satisfy in full all estimated minimum funding obligations through
 the plan year starting December 1, 2018 or until all remaining funds were transferred. As of April 1,
 2019, [all] of the funds in the PBGC Escrow have been transferred to the Pension Plans

 As described in detail in Section IV.O below, the Debtors have entered into a settlement agreement with
 the PBGC that is incorporated in the Plan.



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                3.      Equity Ownership

 Sears Holdings has outstanding shares of common stock (the “Common Stock”) and warrants (the
 “Warrants”) that are registered with the Securities and Exchange Commission (“SEC”). Accordingly,
 Sear Holdings files annual, quarterly and current reports with, and furnishes other information to, the
 SEC. Prior to the Commencement Date, the Common Stock and Warrants were listed on the NASDAQ
 Global Market under the symbols “SHLD” and “SHLW” respectively. On the Commencement Date,
 Sears Holdings filed a Current Report on Form 8-K to report, among other things, the filing of the
 Chapter 11 Cases with the Bankruptcy Court. Sears Holdings also received a notice of delisting from
 NASDAQ on the Commencement Date as a result of the bankruptcy filings, which was not appealed. On
 October 24, 2018, the Common Stock and Warrants began trading over-the-counter on the OTC Pink
 market under symbols SHLDQ and SHLWQ. Trading volume of the Common Stock and the Warrants
 has fluctuated since the Commencement Date. Sears Holdings does not have the ability to control the
 over-the-counter trading market; however, Sears Holdings has disclosed in reports filed with or furnished
 to the SEC that Sears Holdings “does not believe that there will be sufficient funds or other assets in the
 [Estate] to allow holders of its Common Stock to receive any distribution of value in respect of their
 equity interests.” ESL directly and indirectly owns an aggregate of approximately 48.4% of the
 outstanding Common Stock. All other Debtors are direct or indirect subsidiaries of Sears Holdings.
 Sears Holdings has no preferred stock outstanding.

                                                      III.
         KEY EVENTS LEADING TO COMMENCEMENT OF CHAPTER 11 CASES

           A.        Market Conditions

 The retail department store business is a highly competitive market segment. The Company, in particular,
 competed with a wide variety of retailers, including other department stores, discounters, home-
 improvement stores, consumer-electronics dealers, automotive service providers, specialty retailers, and
 wholesale clubs, as well as many other retailers operating on a national, regional, or local level in the
 United States. Additionally, online retailers have significantly increased competitive pressures in the
 retail industry, particularly with respect to businesses that have large brick-and-mortar footprints, such as
 the Company. Due in part to the growth of e-commerce, mall traffic has steadily declined. Many
 traditional retailers have been forced to reduce prices to remain competitive and, in many cases, initiate
 massive store-closure initiatives in response to the challenging market conditions brought about by the
 growth of online retailers, which contributed to the closure of 71.7% of store locations since 2013 through
 the Commencement Date.

           B.        Declining Revenues and Liquidity Issues

 In recent years leading up to the Commencement Date, the Company’s revenues declined substantially, in
 large part due to declines in sales across Sears and Kmart stores, which led to a multitude of store closings
 across the United States. Indeed, over the past five (5) fiscal years prior to the Commencement Date, the
 Company’s revenues declined $19.5 billion, or approximately 53.8%. In fiscal year 2017, the Company’s
 revenues decreased by $5.4 billion—approximately 24.6%—to $16.7 billion, as compared to $22.1 billion
 in fiscal year 2016. Comparable store sales similarly declined 13.5% in fiscal year 2017, which
 contributed to $1.9 billion of the revenue decline relative to the prior year. When broken down by
 segment, in fiscal year 2017, Sears® comparable store sales declined 15.2%—driven primarily by
 decreased sales in the home appliance, apparel, consumer electronics, and lawn and garden categories—
 and Kmart® comparable store sales declined 11.4%—driven primarily by decreased sales in the
 pharmacy, grocery and household, home fashion, drugstore, consumer electronics, and apparel categories.



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 Moreover, the Debtors had been significantly limited in their ability to operate their business based on
 their liquidity needs. The Debtors concluded in their Quarterly Report on Form 10-Q for the quarter
 ended August 4, 2018 filed with the SEC on September 13, 2018, that substantial doubt was deemed to
 exist about their ability to continue as a going concern. In the following weeks leading up to the
 Commencement Date, the Debtors were unable to implement the actions to generate sufficient liquidity to
 continue normal business operations.

 As of the Commencement Date, the Debtors had approximately $5.6 billion in funded debt,
 approximately $922 million of which was unsecured; primarily incurred to offset declining revenues,
 honor its pension obligations, and obtain inventory following a contraction in trade terms. In addition,
 nearly all of the Debtors’ assets were encumbered including, among other things, over 200 real property
 locations, the Debtors’ most valuable intellectual property, the KCD IP, all of the Debtors’ credit card
 receivables, pharmacy receivables, and inventory, as well as much of the Debtors’ cash. Importantly,
 over $1.7 billion of the Debtors’ debt would mature in fiscal year 2018 and fiscal year 2019. As of the
 Commencement Date, the Debtors’ annual cash interest expense was approximately $440 million. The
 Debtors also had substantial legacy liabilities that consumed a significant amount of their cash on an
 annual basis. Although the Company’s employees did not earn pension benefits, the Company had legacy
 pension obligations with respect to past service performed by its retirees. The Company contributed to
 the Pension Plans (as defined below) approximately $546.9 million during fiscal year 2017 and
 approximately $459.3 million during fiscal year 2018 through the Commencement Date, inclusive of
 direct contributions and contributions into the PBGC Escrow.

 Additionally, the Debtors’ liquidity issues had been exacerbated by a contraction in trade terms. Certain
 vendors demanded reduced payment schedules, while others went further, requiring the Debtors to pay
 cash in advance as a condition to the continued delivery of merchandise. This resulted in a nearly 78%
 reduction in trade credit and required the Debtors to finance a significant portion of their inventory on
 their balance sheet, thereby limiting the Debtors’ ability to purchase inventory and, as a result, to operate
 their stores at productive levels. The resulting reduction in inventory further aggravated the Debtors’
 liquidity position by shrinking the borrowing base under the Revolving Credit Facility, on which the
 Debtors relied to fund their working capital requirements. In addition, vendors also reduced subsidies,
 which they historically provided to support the Debtors’ marketing efforts, by approximately $84 million
 on an annual basis.

           C.     Prepetition Restructuring Efforts

 Prior to the Commencement Date, the Debtors made efforts to transform its business outside of formal
 bankruptcy proceedings, including through initiatives to improve operational efficiencies, monetize the
 Debtors’ assets, reduce and manage the Debtors’ legacy liabilities, and refinance the Debtors’ debt. The
 Debtors were unable to generate sufficient liquidity and ultimately had to avail themselves of the
 protections and tools of chapter 11.

                       (a)     Strategic Operational Initiatives

 Over the past five years, the Debtors launched various initiatives to reduce expenses and stem their
 substantial operating losses. The Debtors, for example, worked to simplify their organizational structure,
 thereby reducing their payroll and benefits obligations. Additionally, the Debtors improved their supply
 chain and logistics, including by rationalizing and simplifying the Debtors’ distribution network and by
 improving load rates on existing freight.

 The Debtors also evaluated store-level performance to rationalize the size of their retail footprint, both in
 terms of the number of stores, as well as the square footage and layout of the stores that remained open.


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 As a result, the Debtors significantly reduced the number of stores that they operated. During the 2018
 fiscal year, the Debtors closed over 300 unprofitable locations. The Debtors also introduced a new format
 at many of their locations in order to reduce the stores’ footprints and more effectively utilize space.

 The reduction in the number of stores the Debtors operated, as well as the reconfiguration of the stores
 they continued to operate, was part of the Debtors’ business model transformation efforts to place a
 greater emphasis on providing dynamic online and in-person shopping experiences for their customers.
 As of the Commencement Date, however, the Debtors had not been able to reduce their substantial SG&A
 expenses to a manageable level.

                       (b)     Monetization of the Debtors’ Real Estate Portfolio

 In a further effort to generate cash, enhance their liquidity, and extend their runway, the Debtors
 monetized substantially all of their real estate portfolio. In April 2015, the Debtors entered into
 transactions (collectively, the “Real Estate JV Transactions”) to form three distinct real estate ventures
 with General Growth Properties, Inc., Simon Property Group, Inc., and The Macerich Company
 (collectively, the “Real Estate JVs”). The Debtors contributed thirty-one (31) properties, in the
 aggregate, to the Real Estate JVs in exchange for a fifty-percent (50%) interest in the Real Estate JVs.
 The Debtors received gross proceeds from the Real Estate JV Transactions of approximately $429 million
 in the aggregate. Further, in July 2015, Sears Holdings completed a rights offering, which was offered to
 all stockholders, and a sale-leaseback transaction (the “Seritage Transaction”) with Seritage Growth
 Properties (“Seritage”), a newly formed, publicly traded real estate investment trust (“REIT”). As part
 of the Seritage Transaction, the Debtors sold 235 properties (the “REIT Properties”) to Seritage, along
 with the Debtors’ fifty-percent (50%) interest in the Real Estate JVs. The Debtors received gross
 proceeds from the Seritage Transaction of approximately $2.7 billion in the aggregate. The Seritage
 Transaction was reviewed by an independent special committee of the Board with input from independent
 legal and financial advisors and then was approved by the full Board.

 The Debtors also pledged other real estate assets as collateral to obtain financing, including with respect
 to the 2016 Real Estate Loan, the 2017 Real Estate Loan, the Sparrow Term Loan, and the Sparrow
 Mezzanine Term Loan. A significant portion of the financing under the foregoing loans was provided by
 ESL or its affiliates following review by an independent special committee of the Board with input from
 independent legal and financial advisors and, subsequently, approval of the full Board.

                       (c)     Sale of the Craftsman® Brand

 In January 2017, the Debtors announced that they had entered into a definitive agreement under which
 Stanley Black & Decker, Inc. (“SB&D”) agreed to purchase the Craftsman® brand from the Debtors (the
 “Craftsman Transaction”). Under the Craftsman Transaction, the Debtors received (i) an initial upfront
 payment of approximately $525 million at closing, (ii) a deferred payment of approximately $250 million
 in cash on the third anniversary of the closing (the “Craftsman Deferred Payment”), and (iii) payments
 of between 2.5% and 3.5% on SB&D’s sales of Craftsman® products during the fifteen (15) year period
 following the closing (collectively, the “Craftsman Royalty Payments”).

 Inasmuch as the intellectual property with respect to the Craftsman® brand was a Ring-Fenced Asset,
 without the consent of the PBGC, the consummation of the Craftsman Transaction would have
 constituted a Springing Lien Event under the PPPFA. In March 2017, the PBGC consented to the
 consummation of the Craftsman Transaction, including the sale of the Craftsman®-related assets. As a
 condition to obtaining the PBGC’s consent, the Debtors agreed to grant the PBGC a lien on, and
 subsequently contributed to the Pension Plans, (i) the value of the Craftsman Deferred Payment, with
 such payment being fully credited against certain of the Debtors’ minimum pension funding obligations


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 in 2017, 2018, and 2019; (ii) a lien on the Craftsman Royalty Payments, with such payments contributed
 to the Pension Plans and credited against the Debtors’ minimum pension funding obligations starting no
 later than five (5) years from the date of consummation of the Craftsman Transaction; and (iii) a lien on
 twelve (12) real properties with an appraised value of $100 million (the “Craftsman Mortgaged
 Properties”), which properties previously were not Ring-Fenced Assets.

 During the second quarter of 2017, the Debtors sold the receivable related to the Craftsman Deferred
 Payment (the “Craftsman Deferred Payment Receivable”) to a third-party purchaser and deposited the
 proceeds therefrom into the PBGC Escrow. The Debtors subsequently contributed the proceeds realized
 from the sale of the Craftsman Deferred Payment Receivable to the Pension Plans, which contribution
 was credited against the Debtors’ minimum pension funding obligations.

 In August 2018, the Debtors entered into an agreement with the PBGC, whereby the PBGC agreed to
 release its liens on the Craftsman Mortgaged Properties. In consideration of the PBGC’s agreement to
 release its liens on the Craftsman Mortgaged Properties, which had a value of approximately $100
 million, the Debtors deposited $32 million into the PBGC Escrow. Once the liens were released, certain
 Craftsman Mortgage Properties were subsequently marketed and sold.

                       (d)     PPPFA REMIC Amendment

 In November 2017, the Debtors entered into another agreement with the PBGC (the “REMIC
 Amendment Agreement”) to amend the PPPFA to permit the Debtors to monetize 138 real properties (the
 “REMIC Properties”) that had been Ring-Fenced Assets under the PPPFA. Pursuant to the REMIC
 Amendment Agreement, the PBGC agreed to release the REMIC Properties from the ring-fence
 arrangement, such that the REMIC Properties would no longer be Ring-Fenced Assets, upon the Debtors’
 contribution to the Pension Plans and the PBGC Escrow of an aggregate amount of approximately $407
 million from the proceeds of a monetization of such REMIC Properties ($282 million to the Pension
 Plans and $125 million to the PBGC Escrow), which would be credited against the Debtors’ minimum
 funding obligations when contributed to the Debtors’ Pension Plans.

 Pursuant to the REMIC Amendment Agreement, the Debtors also agreed to make a $20 million
 supplemental contribution to the Pension Plans, which would not be so credited. In March 2018, the
 Debtors entered into the Sparrow Term Loan Agreement and the Sparrow Mezzanine Term Loan
 Agreement, pledging the REMIC Properties and the Debtors’ equity interests in the parent company of
 the subsidiaries that own the REMIC Properties, respectively, as security thereunder. The Debtors
 utilized the proceeds of the Sparrow Term Loan and the Sparrow Mezzanine Term Loan to contribute
 approximately $282 million to the Pension Plans and to deposit approximately $125 million into the
 PBGC Escrow.

                       (e)     Refinancing of Debt Facilities

 The Debtors had taken a number of actions with respect to their debt obligations to enhance their liquidity
 position, in light of the Debtors’ substantial operating losses and negative cash flow. In particular, the
 Debtors reached agreements with their lenders, including ESL, to extend the maturity of certain of their
 indebtedness, eliminate a portion of their cash interest expense, and enhance their overall flexibility.
 Since 2016, the Debtors had, among other things, extended the maturity of, and eventually repaid in full,
 the Prepetition ABL Term Loan Facility, amended the Prepetition ABL Credit Agreement to increase
 their general debt basket, increased the advance rate under the Second Lien Credit Facility, extended the
 maturity of approximately $169.8 million principal amount of Second Lien Notes pursuant to the Second
 Lien Notes Exchange, and eliminated approximately $15 million per quarter in cash interest expense
 pursuant to the Second Lien Notes Exchange, the Holdings Unsecured Notes Exchange, and the SRAC


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 Unsecured Notes Exchange. The Debtors also obtained various additional financings on both a secured
 and unsecured basis, primarily from ESL and its affiliates. In each case that the Debtors entered into a
 transaction with ESL to obtain additional financing, such transaction was reviewed by an independent
 special committee of the Board with input from independent legal and financial advisors and then was
 approved by the full Board.

                       (f)     Amendment of Credit Card Arrangement with Citibank

 In May 2018, the Debtors entered into an amendment of its credit card program agreement (the “Citibank
 Card Amendment”) with Citibank, N.A. (“Citibank”) to provide for a five (5) year extension of the
 Debtors’ credit card program through November 2025 (subject to the Debtors’ right to extend the
 program for an additional two (2) years and to certain financial preconditions). Pursuant to the Citibank
 Card Amendment, Citibank paid the Debtors $425 million, and the Debtors established a reserve for the
 benefit of Citibank in the amount of $25 million, immediately following the parties’ entry into the
 amendment. The Citibank Card Amendment provided the Debtors with significant liquidity.

                       (g)     Process for the Divestiture of Sale Assets

 In April 2018, the Board formed a special committee of independent members of the Board to oversee a
 formal process exploring the sale of the Kenmore brand and related assets, SHIP and the Parts Direct
 business of the Sears Home Services division (collectively, the “Sale Assets”) following the receipt of a
 letter from ESL expressing the view that the Debtors should pursue a divestiture of the Sale Assets in
 order to maximize their value and expressing interest in participating as a purchaser. The special
 committee engaged independent legal and financial advisors and conducted a sale process, including
 significant outreach to parties other than ESL. On August 14, 2018, the special committee received a
 non-binding proposal letter from ESL to acquire the Kenmore brand and related assets and SHIP, each
 subject to various conditions including obtaining debt financing, and, in the case of Kenmore, obtaining
 equity financing on terms acceptable to ESL. The Debtors and ESL were not able to enter into definitive
 agreements in respect of such Sale Assets were prior to the Commencement Date.

                                                          IV.
                                 OVERVIEW OF THE CHAPTER 11 CASES

           A.     Commencement of Chapter 11 Cases

 On October 15, 2018, the Debtors commenced the Chapter 11 Cases. The Debtors believed that the
 chapter 11 process would assure the Debtors’ continued access to sufficient liquidity necessary to
 continue normal business operations and provide a forum to evaluate restructuring options that would
 maximize value of the Debtors’ estates. The Debtors continue managing their properties as debtors in
 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

           B.     First Day Motions

 On the Commencement Date, the Debtors filed multiple motions seeking various relief from the
 Bankruptcy Court to enable the Debtors to facilitate a smooth transition into chapter 11 (the “First Day
 Motions”). The Bankruptcy Court granted substantially all of the relief requested in the First Day
 Motions and entered various orders authorizing the Debtors to, among other things:

      •    Continue paying employee wages and benefits;

      •    Continue the use of the Debtors’ cash management system, bank accounts, and business forms;


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      •    Pay certain critical vendors and obligations with respect to prepetition orders of goods to be
           delivered postpetition;

      •    Pay prepetition claims of shippers, warehousemen, and other non-merchandise lien claimants, and
           PACA/PASA claimants;

      •    Continue payments that constitute trust funds;

      •    Establish procedures for store closing sales to close unprofitable stores to eliminate the significant
           cash burn associated therewith;

      •    Continue customer programs;

      •    Establish procedures for the rejection of unexpired leases of nonresidential real property and the
           abandonment of certain property in connection therewith;

      •    Continue insurance programs, the processing of workers’ compensation claims, and the premium
           financing agreements under certain insurance policies;

      •    Pay certain prepetition taxes and assessments;

      •    Establish procedures for utility companies to request adequate assurance of payment and to
           prohibit utility companies from altering or discontinuing service; and

      •    Obtain senior secured superpriority financing and use of cash collateral, as discussed in more
           detail below in Section D.

           C.        Procedural Motions

 Throughout the Chapter 11 Cases, the Bankruptcy Court has entered various procedural orders common
 to Chapter 11 Cases of similar size and complexity, including, among others, orders authorizing the joint
 administration of the Debtors’ related Chapter 11 Cases (ECF No. 118), establishing procedures for the
 interim compensation and reimbursement of expenses of professionals (ECF No. 796), and authorizing
 the Debtors to employ professionals used in the ordinary course of business (ECF No. 2560).

           D.        Debtor-in-Possession Financing

                1.      DIP ABL Facility

 On the Commencement Date, the Debtors filed a motion (the “Senior DIP Motion”) (ECF No. 7) to
 obtain approval of senior secured superpriority debtor-in-possession financing, use of cash collateral, and
 provide adequate protection to the secured parties under the Prepetition ABL Facility. The financing
 consisted of an up to $1.83 billion senior secured superpriority priming debtor-in-possession asset-based
 credit facility (the “DIP ABL Facility”), provided under that certain Superpriority Senior Secured Debtor-
 in-Possession Asset-Based Credit Agreement, dated as of November 29, 2018 (as amended, the “DIP
 ABL Credit Agreement”), among the Prepetition ABL Borrowers, Bank of America as administrative
 agent, Bank of America, N.A. and Wells Fargo Bank, National Association each as co-collateral agents
 (together, the “DIP ABL Agents”), the other lenders party thereto, with $300 million of new incremental
 capacity consisting of (i) a revolving asset-based credit facility with aggregate commitments of
 approximately $188 million (the “DIP ABL Revolver”) and (ii) an asset-based term loan in the aggregate
 principal amount of approximately $112 million (the “DIP ABL Term Loan”). The DIP ABL Facility


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 was secured by liens on the same collateral as the Prepetition ABL Collateral plus all other assets
 (including the Specified Collateral (as defined below)) and other previously unencumbered assets of the
 Debtors party to the DIP ABL Facility (such continuing valid, binding, enforceable, non-avoidable,
 automatically and properly perfected post-petition security interests in and liens, the “DIP ABL Liens”).

 The DIP ABL Facility was essential to allowing the Debtors the ability to (i) operate in chapter 11,
 (ii) avoid irreparable harm to the Debtors’ estates, and (iii) be sold as a going concern or reorganize
 around a reduced footprint of stores.

 Upon entry of the order approving the Senior DIP Motion on an interim basis (the “Interim DIP ABL
 Order”) (ECF No. 101), (a) approximately $188 million was made available to the Debtors under the DIP
 ABL Revolver, including a $50 million letter of credit subfacility and a $25 million discretionary
 swingline facility, and (b) an aggregate initial principal amount of approximately $112 million was made
 available under the DIP ABL Term Loan. Upon entry of the order approving the Senior DIP Motion on a
 final basis (the “Final DIP ABL Order”) (ECF No. 955), all extensions of credit and term loans (other
 than the Prepetition FILO Term Loan and bank products constituting the Stand-Alone L/C Facility)
 outstanding under the Prepetition ABL Credit Facility held by lenders who agreed to participate in the
 new incremental DIP loans were rolled up and became obligations under the DIP ABL Facility.

                2.     Junior DIP Financing

 The Debtors began the marketing and solicitation process for junior debtor-in-possession financing
 prepetition, together with the DIP ABL Facility. But, in the interest of time and executing a thorough
 process, the Debtors continued the marketing postpetition, and on November 25, 2018, filed a
 supplemental motion (the “Junior DIP Motion”) (ECF No. 872) for approval of a $350 million multiple-
 draw junior debtor-in-possession term loan (the “Junior DIP Financing,” and together with the DIP
 ABL Facility, the “DIP Financing”), provided under that certain Superpriority Junior Lien Secured
 Debtor-in-Possession Credit Agreement, dated as of November 29, 2018 (as amended, the “Junior DIP
 Credit Agreement”), Cantor Fitzgerald Securities as administrative agent and collateral agent (in both
 capacities collectively, the “Junior DIP Agent”), for the lenders party thereto. The Junior DIP Financing
 was secured by (a) a junior lien on the Prepetition ABL Collateral, (b) a lien pari passu with the DIP ABL
 Liens on certain unencumbered assets (the “Specified Collateral”) junior only to the Carve-Out (as
 defined in the Final DIP ABL Order) and the Senior Permitted Liens (as defined in the Junior DIP Credit
 Agreement), (c) a lien junior only to the Carve-Out, the Senior Permitted Liens and DIP ABL Liens on
 other previously unencumbered assets, and (d) a lien junior only to the Carve-Out, Other Prepetition
 Liens (as defined in the Junior DIP Motion), other Senior Permitted Liens, and DIP ABL Liens on other
 collateral subject to prepetition liens. Importantly, it was agreed that one hundred percent (100%) of the
 net cash proceeds from dispositions of Prepetition Unencumbered Collateral (as defined in the Final
 Junior DIP Order (defined below)) would be used to (a) fund the Wind Down Account, (b) fund the cash
 collateral account in an amount sufficient to repay the DIP ABL Facility in full, and (c) upon discharge of
 the DIP ABL Facility obligations, the amounts would be held as collateral for the obligations under the
 Junior DIP Financing.

 The Junior DIP Financing was essential to allowing the Debtors to operate a larger number of stores while
 running the auction and sale process and to evaluate their “bubble” stores. The overlapping processes to
 obtain the DIP Financings were extensive and culminated in multi-party discussions in advance of the
 hearing for final relief on the DIP ABL Facility and interim relief for the Junior DIP Financing.
 Ultimately, a global settlement was reached with respect to both facilities with various objecting parties,
 including the Creditors’ Committee.




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 Upon entry of the order approving the Junior DIP Motion on an interim basis (the “Interim Junior DIP
 Order”) (ECF No. 951), up to $250 million was made available under the Junior DIP Financing. Upon
 entry of the order approving the Junior DIP Motion on a final basis (the “Final Junior DIP Order”) (ECF
 No. 1436), the remaining $100 million was made available to the Debtors under the Junior DIP
 Financing.

                3.      Effect of Sale Transaction on DIP Financing

 Upon the Sale Closing, the entire $350 million of outstanding principal amount under the Junior DIP
 Financing was rolled-over with the consent of the Junior DIP Lenders—Cantor Fitzgerald Securities,
 Cyrus Opportunities Master Fund II, Cyr Fund, L.P., Crescent 1, L.P., Cyrus Select Opportunities Master
 Fund, Ltd, Canary SC Fund, L.P., Cyrus 1740 Fund, L.P., and Cyrus Special Strategies Master Fund,
 L.P.—to Transform’s capital structure. In addition, the obligations owed under the DIP ABL Credit
 Agreement were refinanced with $850 million of cash that was funded with the proceeds of a new ABL
 facility by and among the Buyer (as defined below), Bank of America, N.A., Merrill Lynch, Pierce,
 Fenner & Smith Incorporated, Citigroup Global Markets, Inc. and Royal Bank of Canada and the other
 lenders party from time to time thereto.

           E.        Appointment of the Creditors’ Committee

 On October 24, 2018, the Creditors’ Committee was appointed by the Office of the United States Trustee
 for Region 2 (the “U.S. Trustee”) pursuant to section 1102 of the Bankruptcy Code to represent the
 interests of unsecured creditors in the Chapter 11 Cases (ECF No. 276).

 The members of the Creditors’ Committee are the PBGC, Oswaldo Cruz, Winiadaewoo Electronics
 America, Inc., Apex Tool Group, LLC, Computershare Trust Company, N.A., The Bank of New York
 Mellon Trust Company, Basil Vasiliou, Simon Property Group, L.P., and Brixmor Operating Partnership,
 L.P.

 The Creditors’ Committee retained Akin Gump Strauss Hauer & Feld LLP as its attorneys, Houlihan
 Lokey Capital, Inc. as its investment banker, and FTI Consulting, Inc. as its financial adviser.

 The Debtors have consulted extensively with the Creditors’ Committee throughout these Chapter 11
 Cases. Specifically, the Debtors have participated in numerous teleconferences and in-person meetings
 with the members of the Creditors’ Committee and their advisors to discuss and consult with respect to
 the administration of the Chapter 11 Cases, the Sale Process (defined below), and the Plan.

           F.        Lease and Store Portfolio Review

 As of the Commencement Date, the Debtors were lessees under approximately 964 leases, including 567
 leases for operating retail stores in forty-nine (49) states, Guam, Puerto Rico, and the U.S. Virgin Islands.
 The remaining leases relate to various non-retail buildings, including but not limited to, distribution
 centers, logistics locations, and offices.

 The Debtors’ leasehold interests are important assets of the Debtors’ estates and the treatment of such
 assets was integral to maximizing value for the Debtors’ estates. To that end, the Debtors retained A&G
 Realty Partners, LLC (“A&G”) as a non-exclusive real estate consultant and advisor, to provide certain
 valuation work and to negotiate with certain landlords the reduction of rent and/or other obligations of
 Debtors under certain of the Debtors’ unexpired leases. The Debtors also retained Jones Lang LaSalle
 Americas, Inc. (“JLL Americas”) as a non-exclusive real estate advisor to, among other things, nationally
 market the sale of certain of Debtors’ owned and leased real property. In addition, the Debtors separately


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 retained JLL Valuation and Advisory Services, LLC (“JLL Advisory” and, together with JLL Americas,
 “JLL”) to prepare appraisals of certain of the Debtor’s real estate assets to be used in connection with the
 Chapter 11 Cases.

 As described in Section L below, pursuant to the Sale Transaction, the Buyer acquired 425 retail stores
 under the “Sears” and “Kmart” banners and purchased the exclusive right to select, identify, and
 designate approximately 850 leases for assumption and assignment (the “Designation Rights”). The
 Buyer’s Designation Rights were initially scheduled to terminate upon the expiration of the period
 commencing on the Closing Date and ending on the earliest of (i) five (5) Business Days after delivery of
 the applicable Buyer Rejection Notice, (ii) the date on which an applicable agreement is assumed and
 assigned to an Assignee, (iii) the date which is sixty (60) days after the Closing Date and (iv) May 3,
 2019 (the “Designation Period”). On April 12, 2019, the Debtors filed with the Bankruptcy Court a
 notice reflecting an amendment of the Asset Purchase Agreement to, in relevant part, extend the
 Designation Period to May 3, 2019 for leases, subject to certain conditions (ECF No. 3171). As of the
 Designation Period, the Buyer has designated 78 leases and subleases for assumption and assignment, and
 has informed the Debtors that it is not assuming and assigning 191 leases.

                1.     Lease Rejection Procedures

 To facilitate the Debtors’ efforts to reject burdensome unexpired nonresidential real property leases, on
 November 16, 2018, the Bankruptcy Court approved procedures to reject unexpired leases and abandon
 certain personal property in connection therewith (the “Lease Rejection Procedures”) (ECF No. 800).

 Pursuant to the Lease Rejection Procedures, the Debtors have filed five (5) notices of rejection of certain
 unexpired leases of nonresidential real property and abandonment of property in connection therewith
 (each, a “Lease Rejection Notice” and collectively, the “Lease Rejection Notices”) (ECF Nos. 1076,
 1348, 2695, and 2972). The Lease Rejection Notices proposed rejection of 143 leases. To the extent that
 objections were filed to the Lease Rejection Notices, such objections have been resolved. The
 Bankruptcy Court entered the orders pertaining to the Lease Rejection Notices on December 26, 2018,
 February 5, 2019, March 13, 2019, and April 11, 2019 respectively (ECF Nos. 1418, 2401, 2805, and
 3150).

 The fifth Lease Rejection Notice filed by the Debtors on February 28, 2019, sought to reject that certain
 master lease, dated July 7, 2015, by and among Seritage SRC Finance LLC and Seritage KMT Finance
 LLC and Kmart Operations LLC and Sears Operations LLC (as amended on July 12, 2017, September 14,
 2018, and September 28, 2018) (the “Seritage Master Lease” and such Lease Rejection Notice, the
 “Seritage Lease Rejection Notice”) (ECF No. 2718). The objection deadline for the Seritage Lease
 Rejection Notice was March 11, 2019 at 4:00 p.m. Eastern Time. No objections were filed and the
 Bankruptcy Court entered an order approving rejection of those leases on March 12, 2019 (ECF No.
 2800).

                2.     Store Closing Sales

 In an attempt to rationalize their store footprint, the Debtors obtained authority from the Bankruptcy
 Court to (i) commence store closing sales (the “Store Closing Sales”) at stores identified for closure in
 accordance with certain procedures (the “Store Closing Procedures”), notwithstanding any contractual
 provisions or state and local laws restricting such sales; (ii) assume the Debtors’s liquidation consulting
 agreement with Abacus Advisors Group L.L.C., a liquidation consulting firm; and (iii) commence Store
 Closing Sales for the initial 142 closing stores listed on the schedule annexed to the final order granting
 such relief (ECF No. 876) (the “Final GOB Order”).



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 Pursuant to the Final GOB Order, three (3) notices of intent to commence Store Closing Sales (each, a
 “Store Closing Notice” and collectively, the “Store Closing Notices”) have been filed with the
 Bankruptcy Court. The Debtors conducted Store Closing Sales at 120 stores, five (5) auto centers, and
 four (4) distribution centers.

           G.     Claims Reconciliation Process

 On January 18, 2019, the Debtors filed with the Bankruptcy Court their schedules of assets and liabilities,
 schedules of executory contracts and unexpired leases, and statements of financial affairs.

 On February 22, 2019, the Bankruptcy Court entered an order (the “Bar Date Order”) (ECF No. 2676),
 which, among other things, (i) established April 10, 2019 at 5:00 p.m. (Prevailing Eastern Time) (the
 “General Bar Date”) as the deadline for certain persons and entities to file proofs of Claim in the Chapter
 11 Cases (including 503(b)(9) Claims), (ii) established September 3, 2019 at 5:00 p.m. (Prevailing
 Eastern Time) (the “Governmental Bar Date,” and, together with the General Bar Date, the “Bar Dates”)
 as the deadline for “Governmental Units” (as defined in section 101(27) of the Bankruptcy Code) to file
 proofs of Claim in the Chapter 11 Cases, (iii) approved the form and manner of notice of the Bar Dates,
 and (iv) approved the procedures for filing proofs of claim, and (iv) established procedures for the
 resolution of 503(b)(9) Claims.

 The Debtors provided notice of the Bar Date as required by the Bar Date Order, and published notice of
 the bar date in the national edition of the New York Times. As of April 10, 2019, over 17,000 proofs of
 Claim had been filed against the Debtors asserting in the aggregate approximately $75 billion. The
 Debtors continue to review, analyze, and reconcile objections to the filed Claims. The Debtors have
 identified Claims they believe should be disallowed because they are, among other things, duplicative,
 without merit, overstated, or have already been paid pursuant to orders of the Bankruptcy Court.

           H.     Exclusivity

 Section 1121(b) of the Bankruptcy Code provides for a period of 120 days after the commencement of a
 chapter 11 case during which time a debtor has the exclusive right to file a plan of reorganization (the
 “Exclusive Plan Period”). In addition, section 1121(c)(3) of the Bankruptcy Code provides that if a
 debtor files a plan within the Exclusive Plan Period, it has a period of 180 days after commencement of
 the chapter 11 case to obtain acceptances of such plan (the “Exclusive Solicitation Period,” and together
 with the Exclusive Plan Period, the “Exclusive Periods”). Pursuant to section 1121(d) of the Bankruptcy
 Code, the Bankruptcy Court may, upon a showing of cause, extend the Exclusive Periods.

 On February 15, 2019, the Bankruptcy Court entered an order extending the Exclusive Plan Period to
 April 15, 2019 and the Exclusive Solicitation Period to June 12, 2019 (ECF No. 2626). The Exclusive
 Periods may be further extended by the Bankruptcy Court subject to section 1121(d) of the Bankruptcy
 Code. On April 12, 2019, the Debtors filed their second motion to extend the Exclusive Plan Period
 through and including June 12, 2019 and the Exclusive Solicitation Period through and including August
 13, 2019 (ECF No. 3183).

           I.     Employee Compensation Matters

 As noted above, as of the Commencement Date, the Debtors employed approximately 68,000
 employees—approximately 32,000 full-time employees and approximately 36,000 part-time employees.
 The Debtors historically maintained compensation programs designed to attract, retain, or incentivize
 employees.



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 On November 15, 2018, the Debtors filed a motion (the “KEIP/KERP Motion”) (ECF No. 766) seeking
 Court approval of a key employee incentive plan (the “KEIP”) for the eighteen (18) members of the
 Debtors’ senior management team and a key employee retention plan (the “KERP”) for up to 322 key
 employees.

 On December 28, 2018, the Bankruptcy Court entered an Order approving the KEIP and KERP, reflecting
 certain modifications to the composition of the KEIP and KERP Participants since filing the KEIP/KERP
 Motion, discussed at the hearing, and made in consultation with the Creditors’ Committee, the U.S.
 Trustee, and the DIP lenders (ECF No. 1437).

 The KEIP is an incentive-based award opportunity for certain of the Debtors’ senior managers (the
 “KEIP Participants”), which provides for the payment of (i) fixed cash amounts in up to two installments
 over 6 months, each of which is conditioned upon the Debtors’ achievement of certain defined cash flow
 metrics in accordance with the KEIP (“Quarterly Incentive Payments”); and/or (ii) the accelerated
 remainder of any yet unpaid Quarterly Incentive Payments upon the Debtors’ achievement of a sale of
 substantially all of the Debtors’ assets or similar transaction in accordance with the KEIP (an
 “Acceleration Payment”). The aggregate amount maximum award to the KEIP Participants under the
 KEIP (including any Acceleration Payment) is approximately $4.2 million.

 The KERP is a retention program for certain of the Debtors’ non-insider key employees (the “KERP
 Participants”), which provides for the payment of (i) fixed cash amounts on a quarterly basis over a
 maximum 12 months conditioned upon continued employment of the particular employee in accordance
 with the KERP (a “Quarterly KERP Payment”) and (ii) discretionary payments approved by the
 Restructuring Committee upon recommendation by the CRO in accordance with the KERP (a
 “Discretionary Award”). The aggregate maximum potential payment (including any Discretionary
 Awards) under the KERP is approximately $16.9 million. Participation in both the KEIP and the KERP is
 conditioned upon the KEIP Participant or KERP Participant having timely executed an applicable
 agreement including a waiver of any rights to severance, retention, or other cash bonuses.

 As a result of the closing of the Sale Transaction, the Debtors, having determined that the conditions for
 making an Acceleration Payment were satisfied, having provided advanced written notice to the
 Creditors’ Committee and U.S. Trustee and having received no timely objection under the KEIP, have
 made the Acceleration Payment pursuant to the terms of the KEIP. The Debtors have also updated the
 composition of the KERP Participants in accordance with the KERP and have made Quarterly KERP
 Payments for the first quarterly period, with reasonable advance notice to the Creditors’ Committee and
 the DIP Lenders. Finally, the Debtors have paid a Discretionary Award to the KERP Participants, with
 approval by the Restructuring Committee upon recommendation of the CRO and with reasonable advance
 notice to the Creditors’ Committee and DIP Lenders.

           J.     Retiree Plans

 Sears Holdings sponsored the Sears Retiree Group Life Insurance Plan (the “Retiree Plan”), which
 provided retiree life insurance benefits to certain retired employees of the Sears covered under the
 “Allstate Financial Supplemental Group Life Plan for Retirees” (the “Allstate Policy”) or the “Securian
 Financial Group Life Insurance Policy” (the “Securian Policy”). As of March 15, 2019, the Allstate
 Policy covered twelve (12) retires and the Securian Policy covered approximately 32,000 retirees.

 The terms of the Retiree Plan provide that the plan may be amended or terminated by the Debtors at any
 time. On March 7, 2019, the board of directors of Sears Holdings approved the termination of the Retiree
 Plan, effective as of March 15, 2019. On March 8, 2019, Sears posted on the Sears Holdings Corporation
 Alumni webpage a “Notice – Termination of Retiree Life Insurance Plan” to notify all Retiree Plan


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 participants of the Retiree Plan termination and to provide information with regard to the opportunity to
 convert their coverage to individual life insurance policies, which conversion option has been offered to
 retirees by the insurance carriers.

 The Debtors have not made any premium payments under the Allstate Policy or the Securian Policy since
 December 31, 2018. As of the date of the Retiree Plan termination, the Debtors had unpaid premium
 contributions under the Retire Plan (i) with respect to the Allstate Policy, in the amount of $647,821, and
 (ii) with respect to the Securian Policy, in the amount of approximately $3.9 million.

 In 2001, Sears Roebuck had entered into a Stipulation of Settlement (In Re: Sears Retiree Group Life
 Insurance Litigation Civil Action No. 97 C 7453), in connection with the reduction of certain retiree life
 insurance benefits available to eligible retirees at that time. Under the Stipulation, Sears Roebuck agreed
 that it would not reduce or terminate the applicable retiree coverage, and would amend the applicable plan
 consistent with such limitation. The Debtors became aware of the 2001 Stipulation following the time of
 the recent termination of the Retiree Plan (and communication to the retirees) described above, and have
 not been able to identify any such amendment to the applicable plan. The Debtors do not currently have
 information with respect to the class of retirees that were covered by the Stipulation.

           K.        Restructuring Committee

                1.      Formation of the Restructuring Committee and Subcommittee

 On October 10, 2018, shortly in advance of the Commencement Date, the Board formed the Restructuring
 Committee composed solely of independent directors to, among other things, consider and evaluate
 various strategic alternatives that might be available to the Debtors and their subsidiaries and oversee the
 implementation of such alternatives. The members of the Restructuring Committee are: Ann N. Reese,
 Paul DePodesta, Alan J. Carr and William L. Transier. Messrs. Carr, and Transier were appointed to the
 Board in anticipation of the Commencement Date. The Board delegated authority to the Restructuring
 Committee to (i) recommend that the Debtors enter into transactions not involving ESL, including with
 respect to a potential restructuring of indebtedness and/or a sale, transfer or other disposition of certain
 assets and (ii) authorize and approve a transaction involving ESL, in which ESL had expressed an interest
 in participating, or where ESL has a conflict of interest by virtue of its security interest in an asset or
 otherwise.

 The Board also established a subcommittee of the Restructuring Committee (the “Subcommittee”),
 composed of Messrs. Carr and Transier, for the purpose of investigating any cause of action that the
 Debtors may have with respect to any transactions involving affiliates (including ESL) prior to October
 10, 2018. The Subcommittee was specifically authorized to, among other things, investigate and
 prosecute potential claims of the Debtors against ESL, control the Debtors’ attorney-client and attorney
 work product privilege for any information disclosed to or developed by the Subcommittee or its advisors
 during its investigation, and determine, on behalf of the Debtors, a party’s right to credit bid pursuant to
 11 U.S.C. 363(k) and whether to support releases or take other actions regarding directors, officers, or
 affiliates within the scope of the Subcommittee’s investigation, including whether a bid from an affiliate
 is higher or otherwise better solely to the extent of the value, if any, of the settlement or release of any
 cause of action of the Debtors against affiliates that is included in the bid. The Subcommittee retained
 Paul, Weiss, Rifkind, Wharton & Garrison LLP, as counsel, Alvarez & Marsal North America, LLC, as
 financial advisor, and Evercore Group LLC, as investment banker.

 The Restructuring Committee and the Subcommittee have been actively engaged and informed of the
 pertinent issues of the Chapter 11 Cases. Following the Commencement Date and through the Sale
 Transaction Closing, the Restructuring Committee held approximately 65 meetings, including meetings in


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 connection with critical milestones and decision-points and involving in person and/or full-day meetings
 with advisors to receive updates and review relevant materials. Following the Sale Transaction Closing,
 the Restructuring Committee has remained informed and convened meetings when appropriate. The
 Subcommittee also held frequent meetings with its professionals and advisors, generally including up to
 three regularly scheduled telephonic meetings each week and additional telephonic and in-person
 meetings as necessary. Following the closing of the Sale Transaction, the Restructuring Committee and
 the Subcommittee each continue to meet on an as-needed basis with frequent updates and correspondence
 from their advisors.

 In all dealings with ESL since the chapter 11 filings, the Debtors have maintained independence including
 through the independent oversight of the Restructuring Committee or the Subcommittee, as applicable.
 Further, the Restructuring Committee and the Subcommittee have and will continue to maintain sole
 oversight and authority over the Debtors through the chapter 11 plan process as a result of ESL’s interests
 in respect of the Debtors and the existence of claims between ESL and the Debtors in connection with the
 bankruptcy proceedings, including in respect of the Sale Transaction.

                2.      Restructuring Subcommittee Investigations

 Prior to and continuing after the Commencement Date, the Subcommittee and its advisors have conducted
 extensive diligence and discovery in furtherance of the Subcommittee’s investigation into prepetition
 related party transactions and have served broad document requests on the Debtors, ESL, and certain of
 their former attorneys and advisors (including Centerview Partners, Cushman & Wakefield, Fairholme
 Capital Management, Seritage Growth Properties, Deloitte & Touche, Duff & Phelps, and Wachtell
 Lipton Rosen & Katz). The Subcommittee has received and reviewed millions of pages of discovery and
 has conducted eleven (11) on-the-record interviews of key witnesses, including Edward Lampert, other
 senior Sears personnel, and representatives of certain of the aforementioned attorneys and advisors.
 Based on its findings, the Subcommittee negotiated the limited release embodied in Sale Transaction and
 approved by the Bankruptcy Court.

 The investigation into potential claims and causes of action relating to prepetition related party
 transactions is ongoing, and the Subcommittee continues to pursue all remaining claims, including by
 continuing to participate in the discovery process. The Subcommittee is in the process of drafting a
 complaint relating to the subjects of its investigation.

           L.        Global Sale Transaction

 As stated above, on November 19, 2018, the Bankruptcy Court entered the Global Bidding Procedures
 Order (ECF No. 816), approving the relief requested in the Global Bidding Procedures Motion. The
 Global Bidding Procedures were designed to provide the Debtors with flexibility to solicit proposals,
 negotiate transactions, hold auctions and consummate transactions for the highest or best value, all while
 protecting the due process rights of all interested parties and ensuring that there was a full and fair
 opportunity to review and consider proposed transactions carried out with the advice of the Debtors’
 advisors and in consultation with the DIP ABL Agents and the Creditors’ Committee (together with the
 DIP ABL Agents, the “Consultation Parties”).

 The CRO and other members of the Debtors’ management were active participants in the process,
 essential to the diligence and negotiations. But the ultimate decision making authority for the proposed
 transaction was delegated to the Debtors’ independent and disinterested Restructuring Committee and to
 the Subcommittee for any issues respecting ESL’s ability to credit bid. The Restructuring Committee
 actively participated in and oversaw the Sale Process, conferring with the Debtors’ advisors over 50 times



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  to discuss and deliberate at each step of the Sale Process, which process involved multiple in-person
  meetings and often conference calls multiple times per day on several occasions.

  Pursuant to the Sale Process approved by the Bankruptcy Court in the Global Bidding Procedures, the
  Debtors, led by Lazard Frères & Co.—the Debtors’ investment banker—also engaged in a public,
  transparent, and thorough sale process over a span of multiple months. Numerous indications of
  interest—for the businesses as a going-concern, parts or divisions of the businesses, real-estate, and
  liquidator bids—were all pursued simultaneously. Ultimately, ESL provided the only going-concern bid
  for the entire enterprise. Pursuant to the Global Bidding Procedures and under the supervision of the
  Bankruptcy Court, an auction for the Global Assets commenced on January 14, 2019 (the “Auction”).
  The Debtors compared ESL’s bid for substantially all of the assets of the Debtors with a Wind Down or
  liquidation scenario, which incorporated and took into consideration the liquidation values of
  merchandise inventory, remaining services and other stand-alone businesses, and real estate. The Debtors
  and their advisors worked diligently to increase the value reflected in the ESL bid to a level that would
  qualify as “highest or best,” i.e., higher or better than the modeled recoveries in a total Wind Down
  scenario. Over the course of the weeks leading up the Auction, and including the three days of the
  Auction itself, the Debtors and ESL, with direction from the Restructuring Committee and the
  Subcommittee, and in consultation with the Consultation Parties, engaged in many rounds of hard-fought,
  arm’s length negotiations and made significant improvements to ESL’s bid. During the Sale Process, the
  Restructuring Committee voted three times to reject ESL’s bid, enabling them to increase the value ESL
  offered and tailor the structure of the transaction such that the Debtors could reasonably ensure
  administrative solvency. Ultimately, after these hard-fought negotiations, the Restructuring Committee
  voted to approve ESL’s improved $5.2 billion bid (including cash and credit) that would allow the
  Debtors to continue as a going concern, preserve tens of thousands of jobs, and limit the terms of the
  release granted to ESL in connection with the bid.

  The Debtors successfully entered into the Asset Purchase Agreement within approximately three months,
  and consummated the Sale Transaction within approximately four months, from the Commencement
  Date. The completion of the Sale Transaction affords the opportunity for the Debtors’ businesses,
  employees, and creditors, to realize better outcomes and recoveries and also preserves tens of thousands
  of jobs and avoids a costly and risky liquidation of the Debtors’ enterprise. The following chart contains
  a summary of the material terms of the Asset Purchase Agreement, together with references to the
  applicable sections of the Asset Purchase Agreement. The summary set forth below does not contain all
  of the terms of the Asset Purchase Agreement and should not be used or relied upon as a substitute for the
  full terms and conditions set forth in the Asset Purchase Agreement. The summary of the Asset Purchase
  Agreement contained herein is qualified in its entirety by the actual terms and conditions thereof. To the
  extent that there is any conflict between any such summary and such actual terms and conditions, the
  actual terms and conditions shall control.


                         Summary of Material Terms of the Asset Purchase Agreement 7

                           The Buyer purchased substantially all of the Assets of the Debtors, including:
Acquired Assets                 a. A go-forward retail footprint of approximately 425 retail stores under the
(Section 2.1)                      “Sears” and “Kmart” brands (the “Retail Stores”) and certain other owned and
                                   leased real estate interests;


  7
    Capitalized terms used in this section but not defined therein shall have the respective meanings ascribed to such
  terms in the Asset Purchase Agreement.


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                               b. The Target Businesses, including, among others, businesses conducted at the
                                  Retail Stores, the “Sears Auto Centers” brand, the “PartsDirect” brand, the
                                  “ServiceLive” brand, the “Sears Home Services” brand, the “Wally” brand, the
                                  “Kenmore” and “Diehard” businesses, the “Monark Premium Appliance Co.”
                                  brand, a home delivery and retail installation business, various websites, the
                                  “Shop Your Way” membership program, and the “Sears Home Improvement”
                                  brand;
                               c. Certain contracts and agreements related to the Target Businesses including
                                  rights to have the Sellers assume and assign to Buyer certain leases after the
                                  closing occurs under the Asset Purchase Agreement (including certain
                                  manufacturer’s warranties and repaid services contracts);
                               d. All “Acquired Inventory”, all “Acquired Receivables”, all “Acquired
                                  Equipment” and all “Acquired Improvements” and the right to receive certain
                                  “Pending Inventory”;
                               e. Certain intellectual property owned by the Sellers (including certain
                                  “Collateral” assets;
                               f.   Certain goodwill associated with the Business;
                               g. Certain data owned or controlled by the Sellers;
                               h. Certain claims, causes of action, claims, rights of recovery or rights of set-off
                                  held by the Sellers related to intellectual property matters;
                               i.   Certain prepaid taxes and certain rights to any refund, rebate or credit of taxes;
                               j.   Rights to certain books and records held by the Sellers including non-disclosure
                                    or confidentiality, non-compete or non-solicitation agreements related to the
                                    Business, marketing materials and manuals;
                               k. Certain plans and permits related to the Business;
                               l.   Certain security deposits held by the Sellers;
                               m. Certain actions and claims of the Sellers as of the Closing;
                               n. Certain insurance proceeds;
                               o. Subject to compliance with the Asset Purchase Agreement including obtaining
                                  the required Bermuda Monetary Authority approval, the KCD Notes;
                               p. All equity interests of SRC O.P. LLC owned by SRC Sparrow 2 LLC as Seller
                                  (subject to certain conditions);
                               q. The release of certain claims in accordance with the Asset Purchase Agreement;
                               r.   Certain “Credit Card Claims” arising from Seller’s involvement as a class
                                    plaintiff in the class actions consolidated in the multi-district litigation In re
                                    Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, No.
                                    1:05-MD-01720 (E.D.N.Y.) against Visa Inc., Mastercard Inc., JPMorgan
                                    Chase & Co, Citigroup N.A., Bank of America N.A., and other defendants, and
                                    any proceeds or settlement proceeds thereof;
                               s. [The deposit/Certain assets as described in the SHIP Purchase Agreement];
                               t.   Cash held at the Retail Stores in an amount not to exceed $17,000,000;
                               u. To the extent permitted by law, all licenses or permits issued by governmental

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                                    authorities;
                                v. Any proceeds from the sale or other disposition of the collateral pledged to
                                   secure the applicable debt obligations with respect to certain credit bids;
                                w. Certain foreign assets; and

                                x. Certain bank accounts.

                           The consideration payable under the Asset Purchase Agreement was as follows:
Purchase Price
(Section 3.1)                   a. A “Closing Payment Amount” equal to (i) $1,408,450,000; plus (ii) an amount
                                   in Cash equal to the Store Cash (in an amount not to exceed $17,000,000) as of
                                   12:00 a.m. New York City time on the closing date; plus (iii) the credit bid
                                   release consideration of $35,000,000; less (iv) the aggregate amount of (A) the
                                   credit bid relating to the outstanding obligations under the Prepetition FILO
                                   Term Loan plus (B) the credit bid in an aggregate amount equal to
                                   $433,450,000 (related to the Second Lien Term Loan, the Second Lien Line of
                                   Credit and the Second Lien PIK Notes), plus (C) the “FILO Facility Buyout
                                   Amount” (if any);
                                b. A credit bid pursuant to Section 363(k) of the Bankruptcy Code of:
                                       i.   all outstanding obligations held by Buyer and its Affiliates as of the
                                            Closing Date under the IP/Ground Lease Term Loan Facility (together
                                            with the IP/Ground Lease Buyout Amount, approximately
                                            $245,783,936);
                                      ii.   all outstanding obligations held by Buyer and its Affiliates as of the
                                            Closing Date under the Prepetition FILO Term Loan (together with the
                                            FILO Buyout Amount, approximately $125,000,000);
                                     iii.   obligations held by Buyer and its Affiliates as of the Closing Date
                                            under the Real Estate 2020 Loan Facility (together with the Real Estate
                                            Loan 2020 Buyout Amount, in an amount equal to $544,000,000); and
                                     iv.    obligations held by, or credit bid at the discretion of, Buyer and its
                                            Affiliates as of the Closing Date in an aggregate amount equal to
                                            $433,450,000 under (x) the Second Lien Term Loan; (y) the Second
                                            Lien Line of Credit; and (z) the Second Lien PIK Notes.
                                c. Cash in the amount of the outstanding obligations owed to lenders other than
                                   Buyer or its Affiliates as of the Closing Date under (i) the IP/Ground Lease
                                   Term Loan Facility (the “IP/Ground Lease Buyout Amount”), (ii) the
                                   Prepetition FILO Term Loan (the “FILO Facility Buyout Amount”), and (iii)
                                   the Real Estate 2020 Loan Facility (the “Real Estate Loan 2020 Buyout
                                   Amount”), unless such lender(s) provide written confirmation to the Sellers that
                                   such Cash payment and the obligations owed to lenders by the Seller under the
                                   IP/Ground Lease Term Loan Facility, the Prepetition FILO Term Loan or the
                                   Real Estate 2020 Loan Facility, as applicable, are permanently waived and
                                   discharged against the Sellers;
                                d. The “Securities Consideration” as described on a schedule to the Asset
                                   Purchase Agreement;
                                e. The “Junior DIP Consideration” consisting of evidence reasonably satisfactory


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                                     to the Sellers that all obligations (including any accrued and unpaid interest) of
                                     the Sellers with respect to $350,000,000 aggregate principal amount
                                     outstanding under the Junior DIP Term Loan Agreement (or such lesser
                                     aggregate principal amount outstanding thereunder to the extent that the junior
                                     DIP facility under the Junior DIP Credit Agreement is not fully drawn as of the
                                     Closing Date) have been satisfied and released;
                                f.   The “L/C Facility Consideration” consisting of evidence reasonably satisfactory
                                     to the Sellers that all obligations of Sellers with respect to amounts outstanding
                                     or commitments under the Citi L/C Facility (but in no event with respect to a
                                     principal amount of greater than $271,000,000) have been satisfied and
                                     released, including as contemplated by the Cyrus Financing; and
                                g. The assumption of certain of the Sellers’ liabilities including:
                                        i.   All Liabilities of the Seller or any of its Subsidiaries arising out of the
                                             ownership of the Acquired Assets or operation of the Business or the
                                             Acquired Assets on or after the Closing Date that are Related to any
                                             Acquired Asset or to certain payment or performance of obligations
                                             with respect to the Assigned Agreements;
                                       ii.   Certain liabilities related to any claim, arbitration, audit, hearing,
Assumption of                                investigation, suit, litigation or other proceedings arising out of the
Liabilities                                  Assumed Liabilities, the Acquired Assets, or the operation of the
(Sections 2.3, 3.5)                          Business on or after the Closing Date;
                                      iii.   Buyer’s obligation to pay the Buyer Occupancy Costs;
                                      iv.    Certain Liabilities for warranties and protection agreements or other
                                             services contracts (other than warranties relating to Intellectual
                                             Property) for the goods and services of Sellers sold or performed prior
                                             to the Closing, including any Liabilities owed by Sears Re to any Seller
                                             in respect of reinsurance of such warranties and protection agreements;
                                       v.    All Assumed Customer Credits (which relate to existing customer
                                             loyalty programs, Shop Your Way, and any gift cards, gift certificates,
                                             merchandise credits, return credits, customer membership or customer
                                             loyalty discount programs, coupons, groupons or other similar credits
                                             or programs issued by, on behalf of or in relation to Sellers since
                                             January 1, 2018);
                                      vi.    All Cure Costs solely with respect to the Assigned Agreements;
                                     vii.    Certain tax related Liabilities including Excluded Asset-Sale Taxes;
                                     viii.   Certain employment related Liabilities including with respect to the
                                             Transferred Employees to the extent arising as a result of an event,
                                             action or omission that occurs on or following the Closing;
                                      ix.    The Severance Reimbursement Obligations, Assumed 503(b)(9)
                                             Liabilities, Other Payables and all payment obligations with respect to
                                             the Ordered Inventory in accordance with various terms set forth in the
                                             Asset Purchase Agreement provided that (A) the Severance
                                             Reimbursement Obligations shall not exceed $43,000,000 in the
                                             aggregate, (B) the Assumed 503(b)(9) Claims shall not exceed
                                             $139,000,000 in the aggregate, (C) the Other Payables shall not exceed


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                                           $166,000,000 in the aggregate and (D) in certain circumstances, the
                                           amount of these Liabilities will be reduced.
                                     x.    The Assumed Property Tax Liabilities;
                                    xi.    The SHIP Purchase Agreement Liabilities;
                                    xii.   All Liabilities relating to amounts required to be paid by Buyer under
                                           the Transaction Documents;
                                   xiii.   Certain environmental liabilities;
                                   xiv.    The claims underlying certain mechanics’ liens; and
                                    xv.    All fee and reimbursement obligations in connection with certain letters
                                           of credit.

Employees                  The Asset Purchase Agreement provided that Buyer would make offers of ongoing
(Section 9.7)              employment to approximately 45,000 employees following an initial period where
                           employees would be leased to the Buyer pursuant to an employee leasing agreement.

                           The Asset Purchase Agreement provided that the obligations owed under the DIP Credit
                           Agreement would be refinanced with $850,000,000 in Cash to be funded with the
New ABL Facility
                           proceeds of a new ABL facility by and among the Buyer, Bank of America, N.A.,
(Sections 7.4, 8.5)
                           Merrill Lynch, Pierce, Fenner & Smith Incorporated, Citigroup Global Markets, Inc.
                           and Royal Bank of Canada and the other lenders party from time to time thereto.

                           The Asset Purchase Agreement contemplates a roll-over of $621,000,000 of senior
Roll-Over of Senior
                           indebtedness (including $350,000,000 of the amounts owed under the Junior DIP Term
Debt
                           Loan and approximately $271,000,000 of the Citi L/C Facility) into exit facilities.
(Sections 3.1(e),
3.1(f))

                           The APA gave the Buyer the right to assign or assume and assign from the Seller to the
                           Buyer (i) the Leases and (ii) all other Contracts Related to the Business to which a
                           Seller is a party and all IP Licenses (excluding certain agreements), which are listed on
                           Schedule 2.7(a) to the Asset Purchase Agreement (the “Potential Transferred
                           Agreements”). Seller was required to provide the schedule of Potential Transferred
                           Agreements to the Buyer within five (5) Business Days of the date of the Asset
                           Purchase Agreement.

Assumption and             Within five (5) Business Days of delivery of the Potential Transferred Agreements list
Assignment of              from Seller to Buyer, Buyer had to deliver to the Seller a list of those Potential
Contracts and              Transferred Agreements proposed to be assigned to Buyer or assumed by Seller and
Leases                     assigned to Buyer on the Closing Date (the “Initial Assigned Agreements”). The Initial
(Section 2.7, 2.9)         Assigned Agreements shall be assigned to the Buyer or assumed by the Seller and
                           assigned to the Buyer on the Closing Date. The Buyer can amend the list of Initial
                           Assigned Agreements in accordance with the terms of the Asset Purchase Agreement
                           until the second (2nd) Business Day prior to the Closing Date.

                           The Asset Purchase Agreement also provides for certain rights for the Buyer to acquire
                           contracts after the Closing Date. At any time prior to the date that is sixty (60) days
                           after the Closing Date, but in no event later than May 3, 2019, Buyer may elect that
                           certain contract and agreements Related to the Business are assumed by the Sellers and


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                           assigned to the Buyer. The Buyer agreed to pay certain expenses to the extent that it
                           receives a benefit under any such contract after the Closing.

                           The Sellers and the Buyer agreed to prorate items of revenue and expense with respect
                           to certain properties with the Sellers being responsible for fees, costs and expenses
                           accrued or apportioned up to but not including the Closing Date and the Buyer being
Apportionments
                           responsible for such fees, costs and expenses from the Closing Date (except in relation
(Section 9.11)
                           to the “going out of business” stores where separate arrangements apply) as set out in
                           the Asset Purchase Agreement.


                           The Asset Purchase Agreement also included the purchase of the exclusive right to
                           irrevocably select, identify and designate certain Leases for assumption and assignment
                           (the “Designation Rights”) after the Closing Date.
Designation Rights
(Section 2.6 and           The Designation Rights terminate upon the expiration of the period commencing on the
Article V)                 Closing Date and ending on the earliest of (i) five (5) Business Days after delivery of
                           the applicable Buyer Rejection Notice, (ii) the date on which an applicable agreement is
                           assumed and assigned to an Assignee, (iii) the date which is sixty (60) days after the
                           Closing Date and (iv) May 3, 2019.

                           The Asset Purchase Agreement included settlement and release provisions to facilitate
                           Buyer’s ability to credit bid pursuant to section 363(k) of the Bankruptcy Code. In
                           particular, the Asset Purchase Agreement contained a release by the Debtors and their
                           estates and certain related parties of any and all Claims and causes of action of the
                           Debtors and their estates against ESL, JPP, LLC, JPP II, LLC, Edward S. Lampert and
                           any of their respective directors, officers, or employees, in such capacities and in their
                           individual capacities (collectively, “ESL Released Parties”) (i) arising under sections
                           363(k), 502(a) or 510(c) of the Bankruptcy Code, (ii) arising under equitable principles
                           of subordination or recharacterization, or (iii) challenging the allowance of Claims
                           described on Exhibit G to the Asset Purchase Agreement in respect of (a) the IP/Ground
                           Lease Term Loan Facility, (b) the Prepetition FILO Term Loan, (c) the Real Estate
Release and                Loan 2020, (d) the Second Lien Term Loan, (e) the Second Lien Line of Credit, (f) the
Consideration for          Second Lien PIK Notes, and (g) the Citi L/C Facility ((a) through (g) collectively, the
Ability to Credit          “Loans”).
Bid
(Section 9.13)
                           For the avoidance of doubt the Released Estate Claims (as defined in the Asset
                           Purchase Agreement) do not include any Claims or causes of action of the Debtors or
                           their estates against ESL or any other Person not specifically described in the preceding
                           sentence, including any Claims or causes of action (i) for constructive or actual
                           fraudulent transfer under 11 U.S.C. 544(b), 548 or 550(a) or any applicable state or
                           federal Law, for breach of fiduciary duty, or for illegal dividend under 8 Del. C. 170-
                           174 or any other state Law (including, but not limited to, any Claims for damages or
                           equitable relief (other than disallowance of the ESL Claims) in connection with the
                           incurrence of any debt described on Exhibit G to the Asset Purchase Agreement); (ii)
                           that are related to Lands’ End, Inc., the “spin-off” (as such term is defined in the
                           Information Statement of Lands’ End, Inc. dated March 18, 2014), Seritage Growth
                           Properties, Inc., Seritage Growth Properties, L.P, or the “Transaction” (as that term is
                           defined in the registration statement on Form S-11 filed by Seritage Growth Properties,

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                          which registration statement became effective on June 9, 2015), or (iii) that have been
                          asserted (or may be asserted in connection with these Claims and causes of action) by
                          or on behalf of any party in interest in the Companies’ Creditors Arrangement Act,
                          R.S.C. 1985, c. C-36 cases captioned In the Matter of a Plan of Compromise or
                          Arrangement of Sears Canada Inc., 9370-2751 Quebec Inc., 191020 Canada Inc., The
                          Cut Inc., Sears Contact Services Inc., Initium Logistics Services Inc., Initium
                          Commerce Labs Inc., Initium Trading and Sourcing Corp., Sears Floor Covering
                          Centers Inc., 173470 Canada Inc., 2497089 Ontario Inc., 6988741 Canada Inc.,
                          10011711 Canada Inc., 1592580 Ontario Limited, 955041 Alberta Ltd., 4201531
                          Canada Inc., 168886 Canada Inc., and 3339611 Canada Inc., Ontario Superior Court of
                          Justice Court File No.: CV-17-11846-00CL; and in the cases captioned Sears Canada
                          Inc., by its Court-appointed Litigation Trustee, J. Douglas Cunningham, Q.C. v. ESL
                          Invs. Inc., et al., Ont. Sup. Ct. J. (Commercial List) No.: CV-18-00611214-00CL;
                          Morneau Shepell Ltd. in its capacity as administrator of the Sears Canada Inc.
                          Registered Pension Plan v. ESL Invs. Inc., et al., Ont. Sup. Ct. J. (Commercial List)
                          No.: CV-18-00611217-00CL; FTI Consulting Canada Inc., in its capacity as Court-
                          appointed monitor in proceedings pursuant to the Companies’ Creditors Arrangement
                          Act, RSC 1985, c. c-36 v. ESL Invs. Inc., et al., Ont. Sup. Ct. J. (Commercial List) No.:
                          CV-18-00611219-00CL; and 1291079 Ontario Ltd. v. Sears Canada Inc., et al., Ont.
                          Sup. Ct. J. No.: 4114/15CP.

                          Effective upon the Closing, the ESL Released Parties’ Claims against the Debtors
                          arising under the Loans were each deemed allowed for all purposes in the Bankruptcy
                          Cases and under the Bankruptcy Code in the amounts set forth on Exhibit G to the
                          Asset Purchase Agreement, as reduced by the credit bid set forth in Section 3.1(b) of
                          the Asset Purchase Agreement.

                          After giving effect to the credit bid set forth in Section 3.1(b) of the Asset Purchase
                          Agreement, the ESL Released Parties were entitled to assert any deficiency Claims,
                          Claims arising under Section 507(b) of the Bankruptcy Code, or other Claims and
                          causes of action that they may have against the Debtors and their estates in the Chapter
                          11 Cases, provided that (i) no Claims or causes of action of the ESL Released Parties
                          shall have recourse to, or any other right of recovery from, any Claims or causes of
                          action of the Debtors or their estates related to Lands’ End, Inc., the “spin-off” (as such
                          term is defined in the Information Statement of Lands’ End, Inc. dated March 18,
                          2014), Seritage Growth Properties, Inc., Seritage Growth Properties, L.P, the
                          “Transaction” (as that term is defined in the registration statement on Form S-11 filed
                          by Seritage Growth Properties, which registration statement became effective on June
                          9, 2015), any Claim or cause of action involving any intentional misconduct by the ESL
                          Released Parties, or the proceeds of any of the foregoing, (ii) any ESL Claims arising
                          under Section 507(b) of the Bankruptcy Code shall be entitled to distributions of not
                          more than $50,000,000 from the proceeds of any Claims or causes of action of the
                          Debtors or their estates other than the Claims and causes of action described in the
                          preceding clause (i); provided further that, in the event that, in the absence of this
                          clause (ii), any such proceeds to the Debtors or their estates would have resulted in
                          distributions in respect of such ESL Claims in excess of $50,000,000, the right to
                          receive such distributions in excess of $50,000,000 shall be treated as an unsecured
                          claim and receive pro rata recoveries with general unsecured claims other than the
                          Claims and causes of action described in the preceding clause (i), and
                          (iii) notwithstanding any order of the Bankruptcy Court to the contrary or section 1129
                          of the Bankruptcy Code, it shall not be a condition to confirmation of any chapter 11


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                          plan filed in the Bankruptcy Cases that any ESL Claims arising under Section 507(b) of
                          the Bankruptcy Code be paid in full or in part.

                          In exchange for the settlement and release provisions, Buyer provided $35,000,000 in
                          Cash, and other good and valuable consideration as described in the Asset Purchase
                          Agreement.



 On February 4, 6, and 7, 2019, the Bankruptcy Court held an evidentiary hearing to consider approval of
 the Sale Transaction (the “Sale Hearing”). On February 7, 2019, the Debtors obtained approval of the
 Sale Transaction to the Buyer. On February 8, 2019, the Bankruptcy Court entered the Sale Order
 approving the Sale Transaction and Asset Purchase Agreement. On February 11, 2019, the Debtors
 closed the sale under the Asset Purchase Agreement. Also on February 11, 2019, the Debtors executed
 Amendment No. 1 to the Asset Purchase Agreement, which was filed with the Bankruptcy Court on
 February 14, 2019 (ECF No. 2599).

           M.     Post-Closing Transform Disputes

 On March 6, 2019, after the Sale Closing, Transform filed a motion to assign certain matters arising under
 the Asset Purchase Agreement to mediation, asserting that the Debtors were in breach of certain
 provisions of the Asset Purchase Agreement, and that the resolution of the disputes was best resolved
 through the mediation process (the “Motion to Mediate”) (ECF No. 2766). In relevant part, the Motion to
 Mediate asserted that the Debtors had breached their obligations under the Asset Purchase Agreement by:
 (i) failing to manage accounts payable in accordance with their pre-petition cash management policies and
 practices in the ordinary course of business; (ii) failing to order inventory in the ordinary course of
 business; (iii) mischaracterizing certain accounts receivables, with a book value of $255 million; (iv)
 requesting the return of certain credit card accounts receivable reserves, totaling approximately $14.6
 million in pre-Closing credit-card transaction proceeds that had, after Closing, been swept into bank
 accounts transferred to the Buyer along with the rest of the Debtors’ cash-management system, delivered
 to the Buyer during the Sale Closing; and (v) failing to deliver the full amount of warranty receivables
 required under the Asset Purchase Agreement. On March 11, 2019, the Debtors responded to the Motion
 to Mediate, requesting, in relevant part, that the Bankruptcy Court enforce the automatic stay by to
 compelling Transform to turn over $57.5 million in estate property being withheld by Transform in
 violation of the stay (the “Motion to Enforce”) (ECF No. 2769). The Motion to Enforce stated that (i)
 Transform had violated the automatic stay by failing and refusing to turn over the estate property, as those
 funds were the property of the Debtors’ estates, and (ii) mediation of the issues set forth in the Motion to
 Mediate was inappropriate, because the Bankruptcy Court was the more appropriate venue for resolving
 such disputes.

 On March 18, 2019, Transform filed its response to the Debtors’ Motion to Enforce (ECF No. 2864).
 Subsequently, on March 20, 2019, the Debtors submitted their reply in further support of the Motion to
 Enforce (ECF No. 2913). On the same day, the parties met to discuss resolution of the pending disputes
 and subsequently were able to reach an interim agreement concerning a substantial portion of the property
 being held by Transform and subject to the Debtors’ Motion to Enforce. The parties were not, however,
 able to reach any agreement concerning the $14.6 million credit-card transaction proceeds. Also on
 March 20, 2019, Transform filed a number of agreements between Sears and various credit-card payment
 processors (the “Processing Agreements”) which, Transform contended, were relevant to whether it was
 obligated to turn over the $14.6 million credit-card transaction proceeds to the Debtors.




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 At a hearing held on March 21, 2019, the Bankruptcy Court (i) deferred ruling on the Debtors’ Motion to
 Enforce until it could consider the substance and significance of the Processing Agreements and
 (ii) directed the parties to submit briefs addressing the same.

 Transform submitted supplemental briefing addressing the substance and significance of the Processing
 Agreements on April 2, 2019 (ECF No. 3011, an opening brief) and April 11, 2019 (ECF No. 3157, a
 reply brief); the Debtors submitted supplemental briefing on April 8, 2019 (ECF No. 3079, a response
 brief). The Bankruptcy Court is set to hear further oral argument on the issue on April 18, 2019.

           N.        Other Asset Sales

                1.      De Minimis Asset Sales

 In order for the Debtors to continue conducting periodic sales of assets, including any rights or interests
 therein, that were of relatively de minimis value compared to the Debtors’ total asset base, including
 certain of the Debtors’ real estate assets (the “De Minimis Assets”) in the ordinary-course, the Debtors
 obtained authority from the Bankruptcy Court to establish procedures to (i) sell or transfer De Minimis
 Assets (the “De Minimis Asset Sales”); (ii) pay fees and expenses incurred in connection with the De
 Minimis Asset Sales; and (ii) abandon De Minimis Assets for which the Debtors are unable to find
 purchasers (the “De Minimis Asset Procedures”) (ECF No. 856).

 Pursuant to the De Minimis Asset Procedures, to date, the Debtors have filed eight (8) notices of De
 Minimis Assets Sales (ECF Nos. 2652, 2360, 1785, 1784, 1516, 2946, 3086, and 3216). Six of the De
 Minimis Assets Sales have closed, generating approximately $11 million for the Debtors’ estates. The
 seventh De Minimis Asset Sale is anticipated to close by May 10, 2019 and to generate an additional
 $120,000 for the Debtors’ estates.

 The Debtors have also filed three (3) stipulations, agreements, and orders (the “Stipulations”) pursuant to
 the De Minimis Asset Procedures. Two of the Stipulations provided for the assumption and assignment
 of certain leases for nonresidential real property to third parties in exchange for monetary consideration
 (ECF Nos. 2659, 2702). The third Stipulation provided for the assumption of a lease termination
 agreement by a third party in exchange for monetary consideration (ECF No. 2435). Each of the
 transactions pursuant to the Stipulations have closed, generating approximately $1.2 million for the
 Debtors’ estates.

                2.      SRAC Medium Term Notes Sale

 On November 9, 2018, the Debtors filed a motion seeking emergency authorization from the Bankruptcy
 Court to sell their interest in the SRAC Medium Term Notes (the “MTN Motion”) (ECF No. 642). The
 emergency nature of the MTN Motion stemmed from the little amount of time the Debtors had to
 maximize the value of the SRAC Medium Term Notes by selling the notes prior to the date on which an
 auction held by the International Swaps and Derivatives Association (“ISDA,” such auction, the “ISDA
 Auction”) was scheduled. The Debtors wanted to sell the SRAC Medium Term Notes prior to the ISDA
 Auction so that the Debtors could take advantage of the increase in the marketability of the MTNs as a
 result of the upcoming ISDA Auction.

 On November 19, 2018, the Bankruptcy Court authorized auction and sale procedures for the sale of the
 SRAC Medium Term Notes (the “MTN Sale Order”) (ECF No. 826). An auction for the SRAC Medium
 Term Notes was held on November 20, 2018 (the “MTN Auction”), and nine bids were received. On
 November 28, 2018, the Debtors filed a notice of the MTN Auction results regarding the sale of the
 SRAC Medium Term Notes, declaring Cyrus the winning bidder at the MTN Auction for approximately


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 $82.5 million (ECF No. 1019). Pursuant to the agreement with Cyrus, Cyrus purchased approximately
 $880 million of principal amount of SRAC Medium Term Notes and agreed to waive collections with
 respect to all but $251 million of principal amount of the SRAC Medium Term Notes. The sale of the
 SRAC Medium Term Notes to Cyrus was confirmed in the Order Denying Motion to Invalidate the Sale
 and Lockup of Medium-Term Intercompany Notes and Granting Retroactive Approval of Lockup
 Provision, dated January 3, 2019 (the “MTN Order”) (ECF No. 1481). Pursuant to the MTN Sale Order,
 the Debtors preserved any rights, claims, or defenses that SRAC or its estate may have in connection with
 the sale of the SRAC Medium Term Notes.

                3.     SHIP Sale

 On November 2, 2018, Sears Holdings and Service.com entered into an asset purchase agreement (as
 amended on November 13, 2018, and together with all related documents, the “SHIP APA”), pursuant to
 which Service.com agreed to purchase the Debtors’ Sears Home Improvement business (the “SHIP
 Business”).

 On November 3, 2018, the Debtors filed with the Bankruptcy Court the Motion of Debtors for Entry of
 Order (i)(A) Approving Bidding Procedures for Sale of Sears Home Improvement Business (B) Approving
 Stalking Horse Bid Protections, (C) Scheduling Auction for and Hearing to Approve Sale of Sears Home
 Improvement Business, (D) Approving Form and Manner of Notice of Sale, Auction, and Sale Hearing,
 (E) Approving Assumption and Assignment Procedures, (ii) Approving the Sale of Sears Home
 Improvement Business in Accordance with the Stalking Horse Agreement, and (iii) Granting Related
 Relief (the “SHIP Motion”) (ECF No. 450), seeking, among other things, approval of the bidding
 procedures for soliciting bids for, conducting an auction of, and consummating the sale of the SHIP
 Business. On November 16, 2018, the Bankruptcy Court entered an order approving the SHIP Motion
 (ECF No. 775), and on December 26, 2018, the Bankruptcy Court entered the Order (I) Approving the
 Sale of the Sears Home Improvement Business and (II) Granting Related Relief (ECF No. 1417)
 approving the sale of the SHIP Business to Service.com (the “SHIP Transaction”).

 On November 5, 2018, a $6 million deposit escrow amount was deposited with the escrow agent on
 behalf of Service.com (the “Deposit Escrow Amount”). However, Service.com was unable to close the
 SHIP Transaction, and the Debtors terminated the SHIP APA in accordance with its terms on January 18,
 2019.

 Following termination of the SHIP APA, the Debtors sold the SHIP Business as part of the Sale
 Transaction with ESL pursuant to the Asset Purchase Agreement. The Debtors sought to recover the
 Deposit Escrow Amount under the SHIP APA, and entered into negotiations with Service.com to resolve
 the parties’ dispute over their respective entitlements to the Deposit Escrow Amount.

 On February 22, 2019, the Debtors filed a Stipulation, Agreement and Order Approving Settlement of
 Dispute with Service.com (the “SHIP Stipulation”) (ECF No. 2675), resolving the dispute with
 Service.com. The SHIP Stipulation was approved by the Bankruptcy Court on March 4, 2019 (ECF No.
 2739). In accordance with the SHIP Stipulation, $4.75 million of the Deposit Escrow Amount was
 deposited into the Debtors’ Wind Down Account on March 7, 2019.

                4.     Amerco Sale

 Since January 2017, Debtors Sears Roebuck, Kmart Corp., and Kmart Stores of Illinois, together with
 non-Debtor affiliate SRC Facilities LLC, had been actively seeking to monetize their respective fee
 interests by selling thirteen parcels of non-residential real property and assigning six unexpired leases.
 On November 3, 2018, the Debtors filed a motion seeking approval of the sale of such real property to


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 Amerco Real Estate Company (such buyer, “Amerco,” and such motion the “Amerco Motion”) (ECF No.
 450).

 On December 21, 2018, the Bankruptcy Court approved the Amerco Motion and authorized the sale
 transaction between the sellers and Amerco (the “Amerco Sale”) (ECF No. 1393), pursuant to which
 Amerco paid the aggregate purchase price of approximately $62 million.

           O.     PBGC Settlement

 On January 26, 2019, the PBGC objected to the Sale Transaction on the basis that (i) the Bankruptcy
 Court could not approve a “free and clear” sale of any non-debtor assets (including the KCD Notes or the
 KCD IP), (ii) KCD was not permitted grant an Exclusive License to Buyer to the KCD IP (the “Exclusive
 License”), and (iii) the Buyer must allocate the consideration associated with each acquired asset (the
 “PBGC Sale Objection”) (ECF No. 2002).

 The PBGC had taken the position that KCD had an Administrative Expense Claim for both the Minimum
 Royalty and the Actual Royalty an aggregate amount in in excess of $110 million, which would have to
 be paid in full upon confirmation of a plan. Given the Debtors’ limited assets available for payments of
 Administrative Expense Claims, the Debtors were keenly focused on resolving the dispute surrounding
 the Royalty Payments to minimize administrative expense.

 An additional dispute with PBGC related to the termination of the Pension Plans. In connection with the
 Chapter 11 Cases, on January 29, 2019, the Board approved the termination of the Pension Plans,
 effective March 31, 2019, subject to the approval of the PBGC, in a “distress termination” of the Pension
 Plans under ERISA section 4041(c). Accordingly, on January 29, 2019, the Debtors and other Sears
 Holdings subsidiaries filed notices of intent to terminate the Plans in a distress termination with PBGC.

 The PBGC had previously issued a notice of determination for an “involuntary termination” of the
 Pension Plans under ERISA section 4042 and on February 1, 2019, filed an action in the United States
 District Court for the Northern District of Illinois (Case No. 1:19-cv-00669) (the “PBGC Complaint”)
 against Sears Holdings, as administrator of the Pension Plans, seeking entry of an order, among other
 things, terminating the Pension Plans pursuant to ERISA sections 1342 and 1348.

 In an effort to reach a settlement with the PBGC on outstanding issues, the Debtors’ professionals and
 representatives of the PBGC engaged in a number of conferences to attempt to reach a consensual
 resolution. On February 6, 2019, the second day of the Sale Hearing, the Debtors reached a settlement
 with the PBGC and executed a settlement term sheet with the PBGC memorializing the same (the “PBGC
 Term Sheet”) (ECF No. 2529). The Debtors and the PBGC will memorialize the terms of the PBGC
 Settlement in an agreement that will be filed with the Plan Supplement (the “PBGC Settlement
 Agreement”).

 The PBGC Settlement resolves the Royalty Payments dispute by providing that the PBGC will take all
 reasonable actions requested by the Debtors to cause KCD to waive any alleged administrative expense
 claim against the Debtors. Because KCD has very few creditors besides the PBGC and Sears Re, the
 PBGC Settlement effectively ensures that KCD will not file an Administrative Expense Claim against the
 Debtors, thereby eliminating a potential $110 million administrative claim. The PBGC Settlement avoids
 the costly, time consuming and wasteful litigation that could have arose out of the Royalty Payments and
 KCD’s potential Administrative Expense Claim and increases recoveries to other creditors in these
 Chapter 11 Cases. In light of the Bankruptcy Code’s requirement that all administrative expense claims
 be paid in full to confirm a chapter 11 plan, the resolution to the Royalty Payments in the PBGC



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 Settlement substantially increases the likelihood that the Debtors’ can satisfy the requirements of section
 1129 of the Bankruptcy Code and confirm the Plan.

 The key components of the PBGC Settlement are set forth below:

                        i.     The PBGC withdrew the PBGC Sale Objection.

                       ii.     The Debtors and the PBGC agreed to consensual termination of the Pension
                               Plans, effective January 31, 2019. Accordingly, on February 11, 2019, the
                               Debtors and the PBGC executed an Agreement for Appointment of Trustee and
                               Termination of the Plan with respect to the Pension Plan and on February 12,
                               2019, the PBGC withdrew the PBGC Complaint.

                      iii.     The PBGC will receive an Allowed General Unsecured Claim against each
                               Debtor in the amount of $800 million in satisfaction of the UBL Claim.

                      iv.      On the effective date of the Plan, the PBGC will receive, in addition to the UBL
                               Claim, a beneficial interest in the Liquidating Trust, which shall entitle PBGC to
                               and be secured by the first $80 million of Net Proceeds of: (i) Specified Causes
                               of Action, after payment in full satisfaction of all Administrative Expense
                               Claims, Priority Non-Tax Claims, Priority Tax Claims, Other 507(b) Priority
                               Claims, and Other Secured Claims (or the maintenance of amounts in the
                               Disputed Claim Reserve Account on account of any of the foregoing Claims that
                               are Disputed); and (ii) Other Causes of Action arising under Chapter 5 of the
                               Bankruptcy Code, after payment in full satisfaction of all Administrative
                               Expense Claims, Priority Non-Tax Claims, Priority Tax Claims, Other 507(b)
                               Priority Claims, ESL 507(b) Priority Claims, and Other Secured Claims (or the
                               maintenance of amounts in the Disputed Claim Reserve Account on account of
                               any of the foregoing Claims that are Disputed).

                       v.      Under the Plan, the PBGC will grant a full release of all pension funding and
                               unfunded benefit liability claims against all Debtors, other than the agreed UBL
                               Claim and the PBGC Secured Note. All of the PBGC’s pension funding,
                               unfunded benefit liability claims, and claims and rights under the PPPFA and all
                               related agreements (each as amended) against non-Debtor members of the SHC
                               controlled group, including, without limitation, KCD and Sears Re, will remain
                               in full force and effect and not impaired in any respect whatsoever.

                      vi.      The PBGC will not assert the Termination Premiums pursuant to ERISA section
                               4006(a)(7) against any Debtor, including as a claim in bankruptcy. The PBGC
                               will retain its right to assert all such claims against all non-Debtor members of
                               the Sears Holdings controlled group and such claims will remain unimpaired in
                               every respect.

                      vii.     Subject to court approval of a disclosure statement, the PBGC has agreed to vote
                               in favor of the Plan so long as the terms of the Plan incorporate the terms of the
                               PBGC Term Sheet and are not otherwise adverse to the treatment of the PBGC or
                               the PBGC’s claims or rights as set forth in the PBGC Term Sheet. The Debtors
                               agreed that the Plan will incorporate the terms of the PBGC Term Sheet and not
                               contain additional terms that differ from or are otherwise adverse to the treatment
                               of the PBGC or the PBGC’s claims or rights as set forth in the PBGC Term


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                               Sheet. The Debtors also agreed that they will not propose a chapter 11 plan that
                               seeks to substantively consolidate the Debtors’ estates.

                     viii.     The PBGC agreed to all reasonably requested actions by the Debtors to ensure
                               that any claims of KCD against the Debtors are waived in total. The PBGC
                               agreed to waive the assertion of any administrative or superpriority
                               administrative expense claim in the Debtors’ Chapter 11 Cases.

                      ix.      Upon Bankruptcy Court approval of the PBGC Settlement, the Debtors and their
                               estates and the PBGC will each fully waive and release any and all claims or
                               causes of action against the PBGC and/or the Pension Plans, and the Debtors,
                               respectively, other than the PBGC’s and the Debtors’ rights to enforce the rights
                               and obligations under the PBGC Settlement.

           P.     Canadian Insolvency Proceeding of Sears Canada Inc.

 Sears Canada Inc. and certain of its affiliates (“Sears Canada”) are applicants in those certain insolvency
 proceedings under the Companies’ Creditors Arrangement Act (the “CCAA”), commenced on June 22,
 2017 in the Ontario Superior Court of Justice (the “CCAA Proceedings”). Sears Holdings is a creditor of
 Sears Canada in the CCAA Proceedings.

 Sears Canada, at the direction of FTI Consulting Canada Inc., the monitor in the CCAA Proceedings (the
 “Monitor”), proposed a Joint Plan of Compromise and Arrangement in the CCAA Proceedings on
 February 15, 2019.

 The CCAA Proceedings include litigation against certain parties, including Sears Holdings, relating to the
 dividends declared and paid by Sears Canada in 2012 and 2013, and efforts by the creditors of Sears
 Canada to claw back these dividends (the “Dividend Litigation”). Four (4) separate proceedings
 pertaining to the Dividend Litigation were brought by: (i) the Monitor, (ii) the litigation trustee appointed
 in the CCAA Proceedings, (iii) Morneau Shepell Ltd. in its capacity as administrator of the Sears Pension
 Plan, and (iv) a putative class of “Sears Hometown” dealers throughout Canada (the “Canadian Class
 Action”). The four proceedings are expected to be resolved together. Discovery for the Dividend
 Litigation is ongoing, and the trial for the Dividend Litigation is currently scheduled to commence in
 February of 2020.

 Currently, Sears Holdings is only a defendant in the Canadian Class Action and a consensual stay is in
 place for Sears Holdings with regard to that action. Recently, counsel for the Sears Canada requested the
 Debtors’ consent to lift the stay, so that Sears Holdings could be named in the other three actions and the
 consensual stay with respect to the Canadian Class Action would end. Relief from the stay, whether by
 Court order or agreement, would permit the Dividend Litigation to proceed as to Sears Holdings. The
 Debtors, in consultation with the Creditors’ Committee, have decided not to agree to lift the stay. On
 April 16, 2019, Sears Canada filed a motion with the Bankruptcy Court to lift the automatic stay in these
 Chapter 11 Cases to allow the Dividend Litigation to proceed against Sears Holdings. The Debtors intend
 to object to such motion.

           Q.     Administrative Claims

 As of April 9, 2019, the Debtors’ estimate that Administrative Expense Claims, excluding any claim
 entitled to administrative priority under section 507(b) of the Bankruptcy Code, total approximately $558
 million in the aggregate for all of the Debtors, including, but not limited to, $181 million in 503(b)(9)
 claims, $180 million of Accounts Payable, and $20 million of severance costs. Based on the Debtors’


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 current estimates, assets available to satisfy such Administrative Expense Claims total approximately
 $564 million, which are comprised of, among other assets, an agreement by Transform to absorb up to
 $270 million of these liabilities (subject to reduction in accordance with the Asset Purchase Agreement),
 $113 million in various cash operating accounts, $92 million in the professional fee Carve Out Account,
 and $53 million in cash and inventory currently being withheld by Transform Holdco. The Debtors’
 current analysis does not currently reflect any litigation recoveries, including preference and other
 avoidance actions, that the Debtors intend to prosecute in the near term. Recoveries from such causes of
 action could be substantial.

                                                         V.
                                             SUMMARY OF PLAN

 This section of the Disclosure Statement summarizes the Plan, a copy of which is annexed hereto as
 Exhibit A. This summary is qualified in its entirety by reference to the Plan.

           A.        Administrative Expense and Priority Claims

                1.      Treatment of Administrative Expense Claims

                   (a)     Subject to Section V.A.1.(b) below. Except to the extent that a holder of an
 Allowed Administrative Expense Claim agrees to less favorable treatment, each holder of an Allowed
 Administrative Expense Claim (other than a Fee Claim) shall receive, in final satisfaction, settlement,
 release, and discharge of such Claim from the respective Debtor or Liquidating Trust, as applicable, Cash
 in an amount equal to such Allowed Administrative Expense Claim on the latest of (i) the Effective Date,
 (ii) the first Business Day after the date that is thirty (30) calendar days after the date such Administrative
 Expense Claim becomes an Allowed Administrative Expense Claim, and (iii) the next Distribution Date
 after such Administrative Expense Claim becomes an Allowed Administrative Expense Claim.
 Administrative Expense Claims shall be paid (x) first out of the Wind Down Account; and (y) if the
 amount available for Distribution pursuant to the foregoing clause (x) is insufficient to remit all
 Distributions required to be made to such holders pursuant to this sentence, subject to the payment in full
 of any Allowed ESL 507(b) Priority Claims and Other 507(b) Priority Claims in accordance with Sections
 2.4 and 2.5 of the Plan, respectively, from the Net Proceeds of Total Assets. For the avoidance of doubt,
 this Section 2.1 shall not govern Distributions on Allowed ESL 507(b) Claims and Other 507(b) Priority
 Claims, and Distributions on such Claims shall be governed by Sections 2.4 and 2.5 of the Plan,
 respectively.

                      (b)      In accordance with the Asset Purchase Agreement:

                              (i)      Holders of Allowed Administrative Expense Claims arising under
                      section 503(b)(9) of the Bankruptcy Code shall be paid, (x) first by or on behalf of the
                      Debtors on or after the date that Transform pays amounts owed pursuant to section
                      2.3(k)(iv) of the Asset Purchase Agreement up to $139 million in the aggregate less any
                      amounts previously paid by Transform in accordance with Section 2.3(k) of the Asset
                      Purchase Agreement, and (y) if the amount available for Distribution pursuant to the
                      foregoing clause (x) is insufficient to remit all Distributions required to be made to such
                      holders pursuant to this sentence, in accordance with Section 2.1(a) of the Plan.

                              (ii)    Holders of Allowed Administrative Expense Claims arising under Other
                      Payables (as defined in the Asset Purchase Agreement) shall be paid, (x) first by or on
                      behalf of the Debtors on or after the date that Transform pays amounts owed pursuant to
                      section 2.3(k)(v) of the Asset Purchase Agreement up to $166 million in the aggregate


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                     less any amounts previously paid by Transform in accordance with Section 2.3(k) of the
                     Asset Purchase Agreement, and (y) if the amount available for Distribution pursuant to
                     the foregoing clause (x) is insufficient to remit all Distributions required to be made to
                     such holders pursuant to this sentence, in accordance with Section 2.1(a) of the Plan.

                 (c)      Holders of Administrative Expense Claims that are required to file a Claim for
 payment of such Administrative Expense Claims and that did not file such a Claim by the Administrative
 Expense Claims Bar Date shall be forever barred, estopped, and enjoined from asserting such
 Administrative Expense Claims against the Debtors or their property (including the Liquidating Trust),
 and such Administrative Expense Claims shall be deemed compromised, settled, and released without
 consideration as of the Effective Date.

                2.     Treatment of Fee Claims

                  (a)      All Entities seeking an award by the Bankruptcy Court of Fee Claims shall file
 and serve on counsel to (i) the Debtors, (ii) the Creditors’ Committee, (iii) the Liquidating Trustee, (iv)
 the Fee Examiner, and (v) the U.S. Trustee on or before the date that is forty-five (45) days after the
 Effective Date, their respective final applications for allowance of compensation for services rendered and
 reimbursement of expenses incurred from the Commencement Date through the Effective Date.
 Objections to any Fee Claims must be filed and served on counsel to the Debtors, the Creditors’
 Committee, the Liquidating Trustee, the Fee Examiner, and the U.S. Trustee, and the requesting party no
 later than twenty-one (21) calendar days after the filing of the final applications for compensation or
 reimbursement (unless otherwise agreed by the party requesting compensation of a Fee Claim).

                   (b)     Allowed Fee Claims shall be paid in full, in Cash, by the Debtors or Liquidating
 Trust, as applicable, in such amounts as are Allowed by the Bankruptcy Court (i) on the date upon which
 an order relating to any such Allowed Fee Claim is entered or as soon as reasonably practicable
 thereafter; or (ii) upon such other terms as may be mutually agreed upon between the holder of such an
 Allowed Fee Claim, the Debtors (in consultation with the Creditors’ Committee) or the Liquidating
 Trustee, as applicable, (x) first out of the Carve Out Account; and (y) if the amount available for
 Distribution pursuant to the foregoing clause (x) is insufficient to remit all Distributions required to be
 made to such holders pursuant to this sentence, from the Net Proceeds of Total Assets. Notwithstanding
 the foregoing, any Fee Claims that are authorized to be paid pursuant to any administrative orders entered
 by the Bankruptcy Court may be paid at the times and in the amounts authorized pursuant to such orders.

                  (c)      On or about the Effective Date, holders of Fee Claims shall provide a reasonable
 estimate of unpaid Fee Claims incurred in rendering services five (5) Business Days before the Effective
 Date to the Debtors, the Creditors’ Committee, and the Liquidating Trustee and the Debtors or
 Liquidating Trustee, as applicable, shall fund such estimated amounts into the Carve Out Account for the
 benefit of the holders of the Fee Claims until the fee applications related thereto are resolved by Final
 Order or agreement of the parties. If a holder of a Fee Claim does not provide an estimate, the Debtors, in
 consultation with the Creditors’ Committee, or Liquidating Trustee, as applicable, may estimate the
 unpaid and unbilled reasonable and necessary fees and out-of-pocket expenses of such holder of a Fee
 Claim. When all such Allowed Fee Claims have been paid in full, any remaining amount in such Carve
 Out Account shall promptly be released from such escrow and revert to, and ownership thereof shall vest
 in, the Debtor(s) that funded such amounts without any further action or order of the Bankruptcy Court.

                (d)    The Liquidating Trustee is authorized to pay compensation for services rendered
 or reimbursement of expenses incurred after the Effective Date in the ordinary course and without the
 need for Bankruptcy Court approval.



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                3.     Treatment of Priority Tax Claims

 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable treatment,
 each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction, settlement,
 release, and discharge of such Allowed Priority Tax Claim from the applicable Debtor(s) or the
 Liquidating Trust, as applicable, (a) Cash in an amount equal to such Allowed Priority Tax Claim on the
 latest of (i) the Effective Date, to the extent such Claim is an Allowed Priority Tax Claim on the Effective
 Date; (ii) the first Business Day after the date that is thirty (30) calendar days after the date such Priority
 Tax Claim becomes an Allowed Priority Tax Claim; (iii) the next Distribution Date after such Priority
 Tax Claim becomes an Allowed Priority Tax Claim; and (iv) the date such Allowed Priority Tax Claim is
 due and payable in the ordinary course as such obligation becomes due; or (b) equal annual Cash
 payments in an aggregate amount equal to the amount of such Allowed Priority Tax Claim, together with
 interest at the applicable rate under section 511 of the Bankruptcy Code, over a period not exceeding five
 (5) years from and after the Commencement Date, paid (x) first out of the Wind Down Account, subject
 to the payment in full of Administrative Expense Claims, and pro rata with any Priority Non-Tax Claims;
 and (y) if the amount available for Distribution pursuant to the foregoing clause (x) is insufficient to remit
 all Distributions required to be made to such holders pursuant to this sentence, from the Net Proceeds of
 Total Assets; provided, that the Debtor reserves the right to prepay all or a portion of any such amounts at
 any time under this option without penalty or premium.

 In accordance with the Asset Purchase Agreement holders of Allowed Priority Tax Claims that are
 Assumed Property Tax Liabilities as defined in Section 1.1 of the Asset Purchase Agreement shall be
 paid, (x) first by or on behalf of the Debtors on or after the date that Transform pays amounts owed
 pursuant to section 2.1(i) of the Asset Purchase Agreement up to $135 million in the aggregate, and (y) if
 the amount available for Distribution pursuant to the foregoing clause (x) is insufficient to remit all
 Distributions required to be made to such holders pursuant to this sentence, in accordance with Section
 2.1(a) of the Plan.

                4.     Treatment of ESL 507(b) Priority Claims

 Unless otherwise agreed by the holder of such Claims, to the extent any ESL 507(b) Priority Claims are
 Allowed, ESL shall receive, from the respective Second Lien Loan Party or the Liquidating Trust, as
 applicable, and, in full and final satisfaction, settlement, release, and discharge of such ESL 507(b)
 Priority Claims at the applicable Debtor(s) against which such ESL 507(b) Priority Claims are Allowed,
 payment in Cash from (a) Net Proceeds of Other Causes of Action up to the ESL 507(b) Cap, with any
 remaining ESL 507(b) Priority Claims that would have resulted in Distributions from the Net Proceeds of
 Other Causes of Action treated as ESL Unsecured Claims and (b) Net Proceeds from Other Assets;
 provided, that, for the avoidance of doubt, any Allowed ESL 507(b) Priority Claim in excess of the ESL
 507(b) Cap shall be treated as an ESL Unsecured Claim without duplication in respect of any deficiency
 claim allocable to the subject debt instrument for which the ESL 507(b) Priority Claim was Allowed.

 Holders of Allowed ESL 507(b) Priority Claims, if any, shall be entitled to superpriority administrative
 expense status (a) on a pro rata basis with Other 507(b) Priority Claims against the Second Lien Loan
 Parties (solely with respect to the Net Proceeds of General Assets at the applicable Second Lien Loan
 Party), and (b) senior to all Administrative Expense Claims against the Second Lien Loan Parties, and
 shall be entitled to payment pursuant to the Plan from the Net Proceeds of General Assets, prior to the
 payment of any other Administrative Expense Claims at the Second Lien Loan Parties other than Fee
 Claims from such Net Proceeds (provided, that, Distributions to administrative and junior Claims may be
 made if an adequate Disputed Claim Reserve Account is maintained for Disputed ESL 507(b) Priority
 Claims).



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 Notwithstanding the foregoing, in accordance with the DIP Order, the ESL 507(b) Priority Claims, if any,
 shall not be entitled to any Cash proceeds of the Wind Down Account. For the avoidance of doubt,
 pursuant to the terms of the Sale Order and the Asset Purchase Agreement, notwithstanding any order of
 the Bankruptcy Court to the contrary or section 1129 of the Bankruptcy Code, it shall not be a condition
 to confirmation of the Plan that the ESL 507(b) Priority Claims be paid in full or in part.

                5.      Treatment of Other 507(b) Priority Claims

 Unless otherwise agreed by the holders of such Claims, to the extent any Other 507(b) Priority Claims are
 Allowed, each holder of such Allowed 507(b) Priority Claim shall receive, from the respective Second
 Lien Loan Party or Liquidating Trust, as applicable, and, in full and final satisfaction, settlement, release,
 and discharge of such Other 507(b) Priority Claims at the applicable Debtor(s) against which such Other
 507(b) Priority Claims are Allowed, payment in full in Cash from the Net Proceeds of Total Assets on the
 latest of (i) the Effective Date, (ii) the first Business Day after the date that is thirty (30) calendar days
 after the date such Other 507(b) Priority Claim becomes an Allowed Other 507(b) Priority Claim, and (iii)
 the next Distribution Date after such Other 507(b) Priority Claim becomes an Allowed Other 507(b)
 Priority Claim.

 Holders of Other 507(b) Priority Claims shall be entitled to superpriority administrative expense priority
 status (a) on a pro rata basis with ESL 507(b) Priority Claims against the Second Lien Loan Parties
 (solely with respect to the Net Proceeds of General Assets at the applicable Second Lien Loan Party), and
 (b) senior to all other Administrative Expense Claims against the Second Lien Loan Parties and payment
 pursuant to the Plan prior to the payment of any other Administrative Expense Claims against the Second
 Lien Loan Parties other than Fee Claims (provided, that, Distributions to administrative and junior Claims
 may be made if an adequate Disputed Claim Reserve Account is maintained for disputed Other 507(b)
 Priority Claims).

 Notwithstanding the foregoing, in accordance with the DIP Order, the Other 507(b) Priority Claims shall
 not be entitled to any Cash proceeds of the Wind Down Account.

           B.        Classification of Claims and Interests

                1.      Classification in General

 A Claim or Interest is placed in a particular Class for all purposes, including voting, confirmation, and
 Distribution under the Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy Code; provided,
 that a Claim or Interest is placed in a particular Class for the purpose of receiving Distributions pursuant
 to the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in that
 Class and such Allowed Claim or Allowed Interest has not been satisfied, released, or otherwise settled
 prior to the Effective Date.

                2.      Summary of Classification

 The following table designates the Classes of Claims against and Interests in the Debtors and specifies
 which of those Classes are (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to accept or reject
 the Plan in accordance with section 1126 of the Bankruptcy Code; and (c) presumed to accept or deemed
 to reject the Plan.         In accordance with section 1123(a)(1) of the Bankruptcy Code,
 Administrative Expense Claims, Other 507(b) Priority Claims, ESL 507(b) Priority Claims, and Priority
 Tax Claims have not been classified.




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    Class                  Designation                 Treatment              Entitled to Vote
      1         Priority Non-Tax Claims                Unimpaired         No (Presumed to Accept)
      2         Other Secured Claims                   Unimpaired         No (Presumed to Accept)
      3         PBGC Claims                             Impaired                    Yes
      4         General Unsecured Claims                Impaired                    Yes
      5         ESL Unsecured Claims                    Impaired                    Yes
      6         Intercompany Claims                     Impaired           No (Deemed to Reject)
      7         Intercompany Interests                  Impaired           No (Deemed to Reject)
      8         Subordinated Securities Claims          Impaired           No (Deemed to Reject)
      9         Existing SHC Equity Interests           Impaired           No (Deemed to Reject)

                3.     Special Provision Governing Unimpaired Claims

 Nothing under the Plan shall affect the rights of the Debtors, as applicable, in respect of any Unimpaired
 Claims, including all rights in respect of legal and equitable defenses to, or setoffs or recoupments
 against, any such Unimpaired Claims.

                4.     Elimination of Vacant Classes

 Any Class of Claims against or Interests in the Debtors that, as of the commencement of the Confirmation
 Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
 zero for voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan satisfies
 section 1129(a)(8) of the Bankruptcy Code with respect to that Class.

                5.     Voting Classes; Presumed Acceptance by Non-Voting Classes

 If a Class contains Claims eligible to vote and no holders of Claims eligible to vote in such Class vote to
 accept or reject the Plan, the Debtors shall request the Bankruptcy Court at the Confirmation Hearing to
 deem the Plan accepted by the holders of such Claims in such Class.

                6.     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
                       Code

 The Debtors shall seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with
 respect to any rejecting Class of Claims or Interests. The Debtors reserve the right to modify the Plan in
 consultation with the Creditors’ Committee, to the extent, if any, that Confirmation pursuant to section
 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment applicable
 to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
 permitted by the Bankruptcy Code and the Bankruptcy Rules.

                7.     Second Lien Debt Claims

 Claims arising under the Second Lien Debt are undersecured pursuant to section 506(a) of the Bankruptcy
 Code and are classified entirely as deficiency Claims.




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           C.        Treatment of Claims and Interests

                1.      Priority Non-Tax Claims (Class 1)

                      (a)      Classification: Class 1 consists of Priority Non-Tax Claims.

                      (b)      Treatment: Except to the extent that a holder of an Allowed Priority Non-Tax
                               Claim agrees to less favorable treatment of such Claim in full and final
                               satisfaction, settlement, release, and discharge of such Allowed Priority Non-Tax
                               Claim, at the option of the Debtors (in consultation with the Creditors’
                               Committee) or the Liquidating Trustee, each such holder shall receive from the
                               respective Debtor or the Liquidating Trust, as applicable:

                               (i)     payment in full in Cash in an amount equal to such Claim, payable on the
                                       latest of (i) the Effective Date, (ii) the date that is ten (10) Business Days
                                       after the date on which such Priority Non-Tax Claim becomes an
                                       Allowed Priority Non-Tax Claim, or (iii) the next Distribution Date after
                                       such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax
                                       Claim, paid (x) first out of the Wind Down Account, subject to the
                                       payment in full of Administrative Expense Claims, and pro rata with any
                                       Priority Tax Claims; and (y) if the amount available for Distribution
                                       pursuant to the foregoing clause (x) is insufficient to remit all
                                       Distributions required to be made to such holders pursuant to this
                                       sentence, from the Net Proceeds of Total Assets; or

                               (ii)    such other treatment so as to render such holder’s Allowed Priority Non-
                                       Tax Claim Unimpaired.

                      (c)      Voting: Class 1 is Unimpaired, and holders of Priority Non-Tax Claims are
                               conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                               the Bankruptcy Code. Therefore, holders of Priority Non-Tax Claims are not
                               entitled to vote to accept or reject the Plan, and the votes of such holders will not
                               be solicited with respect to Priority Non-Tax Claims.

                2.      Other Secured Claims (Class 2)

                      (a)      Classification: Class 2 consists of the Other Secured Claims. To the extent that
                               Other Secured Claims are secured by different collateral or different interests in
                               the same collateral, such Claims shall be treated as separate subclasses of Class 2
                               for purposes of voting to accept or reject the Plan and receiving Distributions
                               under the Plan.

                      (b)      Treatment: Except to the extent that a holder of an Allowed Other Secured
                               Claim agrees to different treatment, on the latest of (i) the Effective Date, (ii) the
                               date that is ten (10) Business Days after the date such Other Secured Claim
                               becomes an Allowed Claim, or (iii) the next Distribution Date after such Other
                               Secured Claim becomes an Allowed Other Secured Claim, each holder of an
                               Allowed Other Secured Claim will receive, on account of such Allowed Claim, at
                               the option of the Debtors (in consultation with the Creditors’ Committee) or
                               Liquidating Trustee, as applicable:



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                               (i)     Cash in an amount equal to the Allowed amount of such Other Secured
                                       Claim;

                               (ii)    transfer of the collateral securing such Other Secured Claim in
                                       satisfaction of the Allowed amount of such Other Secured Claim; or

                               (iii)   such other treatment sufficient to render such holder’s Allowed Other
                                       Secured Claim Unimpaired.

                     (c)       Voting: Class 2 is Unimpaired, and holders of Other Secured Claims are
                               conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                               the Bankruptcy Code. Therefore, holders of Other Secured Claims are not
                               entitled to vote to accept or reject the Plan, and the votes of such holders will not
                               be solicited with respect to such Other Secured Claims.

                3.     PBGC Claims (Class 3)

                     (a)       Classification: Class 3 consists of the PBGC Claims.

                     (b)       Allowance: Pursuant to the PBGC Settlement, the PBGC shall have an Allowed
                               unsecured claim in the aggregate amount of $800 million against each Debtor
                               (the “Allowed PBGC Unsecured Claims”).

                     (c)       Treatment: Confirmation of the Plan shall constitute approval of the PBGC
                               Settlement Agreement. In accordance therewith, PBGC shall receive from the
                               Liquidating Trust, (i) the PBGC Liquidating Trust Priority Interest and (ii) in
                               respect of the Allowed PBGC Unsecured Claims, PBGC’s Pro Rata share of
                               (x) the General Unsecured Liquidating Trust Interests and (y) the Specified
                               Unsecured Liquidating Trust Interests, in full and final satisfaction, settlement,
                               release, and discharge of all PBGC Claims.

                     (d)       Voting: Class 3 is Impaired and, thus, PBGC, as the holder of the PBGC Claims
                               in Class 3, is entitled to vote to accept or reject the Plan.

                4.     General Unsecured Claims (Class 4)

                     (a)       Classification: Class 4 consists of General Unsecured Claims.

                     (b)       Treatment: Except to the extent that a holder of an Allowed General Unsecured
                               Claim agrees to less favorable treatment, in full and final satisfaction, settlement,
                               release, and discharge of an Allowed General Unsecured Claim, each such holder
                               thereof shall receive its Pro Rata share of (i) the General Unsecured Liquidating
                               Trust Interests and (ii) the Specified Unsecured Liquidating Trust Interests.

                     (c)       Voting: Class 4 is Impaired and, thus, holders of General Unsecured Claims are
                               entitled to vote to accept or reject the Plan.




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                5.     ESL Unsecured Claims (Class 5)

                     (a)       Classification: Class 5 consists of ESL Unsecured Claims.

                     (b)       Treatment: Except to the extent that a holder of an Allowed ESL Unsecured
                               Claim agrees to less favorable treatment, in full and final satisfaction, settlement,
                               release, and discharge of an Allowed ESL Unsecured Claim, each such holder
                               thereof shall receive its Pro Rata share of the General Unsecured Liquidating
                               Trust Interests.

                     (c)       Voting: Class 5 is Impaired, and, thus, holders of Allowed ESL Unsecured
                               Claims are entitled to vote to accept or reject the Plan.

                6.     Intercompany Claims (Class 6)

                     (a)       Classification: Class 6 consists of Intercompany Claims.

                     (b)       Treatment: In full and final satisfaction, settlement, release, and discharge of an
                               Allowed Intercompany Claim, each such holder thereof shall receive its Pro Rata
                               share of (i) the General Unsecured Liquidating Trust Interests and (ii) the
                               Specified Unsecured Liquidating Trust Interests.

                     (c)       Voting: Class 6 is Impaired. Holders of Intercompany Claims are conclusively
                               presumed to have rejected the Plan pursuant to section 1126(f) of the Bankruptcy
                               Code. Therefore, holders of Intercompany Claims are not entitled to vote to
                               accept or reject the Plan, and the votes of such holders will not be solicited with
                               respect to such Intercompany Claims.

                7.     Intercompany Interests (Class 7)

                     (a)       Classification: Class 7 consists of Intercompany Interests.

                     (b)       Treatment: On or after the Effective Date, all Intercompany Interests shall be
                               cancelled. Each such holder thereof shall neither receive nor retain any property
                               of the Estate or direct interest in property of the Estate of the Debtors on account
                               of such Intercompany Interest.

                     (c)       Voting: Class 7 is Unimpaired. Holders of Intercompany Interests are
                               conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                               Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled
                               to vote to accept or reject the Plan, and the votes of such holders will not be
                               solicited with respect to such Intercompany Interests.

                8.     Subordinated Securities Claims (Class 8)

                     (a)       Classification: Class 8 consists of Subordinated Securities Claims.

                     (b)       Treatment: Holders of Subordinated Securities Claims shall not receive or retain
                               any property under the Plan on account of such Subordinated Securities Claims.
                               On the Effective Date, all Subordinated Securities Claims shall be deemed



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                               cancelled without further action by or order of the Bankruptcy Court, and shall be
                               of no further force and effect, whether surrendered for cancellation or otherwise.

                       (c)     Voting: Class 8 is Impaired. Holders of Subordinated Securities Claims are
                               conclusively deemed to have rejected the Plan. Therefore, holders of
                               Subordinated Securities Claims are not entitled to vote to accept or reject the
                               Plan, and the votes of such holders of Subordinated Securities Claims will not be
                               solicited.

                 9.      Existing SHC Equity Interests (Class 9)

                       (a)     Classification: Class 9 consists of Existing SHC Equity Interests.

                       (b)     Treatment: On the Effective Date, all Existing SHC Equity Interests shall be
                               cancelled. Each such holder thereof shall: neither receive nor retain any property
                               of the Estate or direct interest in property of the Estate of SHC on account of
                               such Existing SHC Equity Interest.

                       (c)     Voting: Class 9 is Impaired. Holders of Existing SHC Equity Interests are
                               conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                               Bankruptcy Code. Therefore, holders of Existing SHC Equity Interests are not
                               entitled to vote to accept or reject the Plan, and the votes of such holders will not
                               be solicited with respect to such Existing SHC Equity Interests.

            D.        Means for Implementation

                 1.      [No Substantive Consolidation

 The Plan is being proposed as a joint plan of reorganization of the Debtors for administrative purposes
 only, and constitutes a separate chapter 11 plan of reorganization for each Debtor. The Plan is not
 premised upon the substantive consolidation of the Debtors with respect to the Classes of Claims or
 Interests set forth in the Plan. Accordingly, if the Bankruptcy Court does not confirm the Plan with
 respect to one or more Debtors, the Debtors may request that the Bankruptcy Court confirm the Plan with
 respect to any Debtor that satisfies the confirmation requirements of section 1129 of the Bankruptcy
 Code.] 8

                 2.      Compromise and Settlement of Claims, Interests, and Controversies

 Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019 and in
 consideration for the Distributions and other benefits provided pursuant to the Plan, the provisions of the
 Plan shall constitute a good faith compromise of Claims, Interests, and controversies relating to the
 contractual, legal, and subordination rights that a creditor or an Interest holder may have with respect to
 any Claim or Interest or any Distribution to be made on account of an Allowed Claim or Interest. The
 entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
 settlement of all such Claims, Interests, and controversies, as well as a finding by the Bankruptcy Court
 that such compromise or settlement is in the best interests of the Debtors, their Estates, and holders of
 such Claims and Interests, and is fair, equitable, and reasonable.

                 3.      Sources of Consideration for Plan Distributions

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     [NTD: Subject to further review and discussion with the Creditors’ Committee and PBGC.]


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 The Debtors and Liquidating Trust shall fund Distributions and satisfy applicable Allowed Claims under
 the Plan using: (a) Cash on hand; (b) Cash from Net Proceeds of Total Assets (subject to the limitations
 set forth in the Plan); (c) Cash from the Wind Down Account (subject to the limitations set forth in the
 DIP Order and the Plan); provided, that the Cash proceeds of the Wind Down Account shall first be used
 to pay Administrative Expense Claims; provided, further, that any funds remaining in the Wind Down
 Account at the Closing Date shall be distributed by the Liquidating Trustee as General Assets in
 accordance with the Plan and the Liquidating Trust Agreement; and (d) Cash from the Carve Out
 Account; provided, that the Cash proceeds of the Carve Out Account shall first be used to pay Fee
 Claims; provided, further, that any funds remaining in the Carve Out Account after the payment in full of
 Allowed Fee Claims shall be distributed by the Liquidating Trustee as General Assets in accordance with
 the Plan and the Liquidating Trust Agreement.

 [To the extent a particular Debtor has insufficient Assets to satisfy Allowed Administrative Expense
 Claims, Allowed ESL 507(b) Claims or Allowed Other 507(b) Claims, another Debtor with sufficient
 Assets may, in consultation with the Creditors’ Committee and PBGC, make an intercompany loan to the
 applicable Debtor on or about the Effective Date to allow such Debtor to satisfy such Claims. Such
 intercompany loan shall be secured by the proceeds and Preserved Causes of Action of the borrowing
 Debtor.] 9

                4.     Preservation of Causes of Action

 Other than Causes of Action against an Entity that are waived, relinquished, exculpated, released,
 compromised, or settled in the Plan or by a Bankruptcy Court order, the Debtors reserve any and all
 Preserved Causes of Action, including for the avoidance of doubt all Specified Causes of Action. No
 Entity may rely on the absence of a specific reference in the Plan or the Disclosure Statement to any
 Cause of Action against them as any indication that the Debtors or the Liquidating Trustee will not pursue
 any and all available Causes of Action against them. No preclusion doctrine, including the doctrines of res
 judicata, collateral estoppel, issue preclusion, claim preclusion (judicial, equitable, or otherwise), or
 laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation Date or
 Consummation. Prior to the Effective Date, the Debtors, and after the Effective Date, the Liquidating
 Trustee shall retain and shall have, including through its authorized agents or representatives, the
 exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon,
 settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to
 do any of the foregoing without the consent or approval of any third party or further notice to or action,
 order, or approval of the Bankruptcy Court except as provided in Section 6.7 of the Plan.

                5.     Corporate Governance; Dissolution

 On the Effective Date, all Liquidating Trust Assets of the Debtors shall be transferred to the respective
 Liquidating Trust of such Debtor in accordance with Article VI of the Plan and all Debtors shall be
 dissolved without the necessity for any other or further actions to be taken by or on behalf of such
 dissolving Debtor or its shareholder or any payments to be made in connection therewith, other than the
 filing of a certificate of dissolution with the appropriate governmental authorities. All directors and
 officers of the dissolved Debtors shall be deemed to have resigned in their capacity as of the Effective
 Date.




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     [NTD: Subject to further review and discussion with the Creditors’ Committee and PBGC.]


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                6.     Effectuating Documents; Further Transactions

                 (a)      The Debtors or the Liquidating Trustee, as applicable, subject to any approvals or
 direction of the Liquidating Trust Board as set forth in the Liquidating Trust Agreement, may take all
 actions to execute, deliver, file, or record such contracts, instruments, releases and other agreements or
 documents and take such actions as may be necessary or appropriate to effectuate and implement the
 provisions of the Plan, including, without limitation, the distribution of the Liquidating Trust Interests to
 be issued pursuant hereto without the need for any approvals, authorizations, actions or consents except
 for those expressly required pursuant hereto. The secretary and any assistant secretary of each Plan
 Debtor or the Liquidating Trustee shall be authorized to certify or attest to any of the foregoing activities.

                  (b)     Before, on or after the Effective Date (as appropriate), all matters provided for
 pursuant to the Plan that would otherwise require approval of the shareholders, directors or members of
 the Debtors shall be deemed to have been so approved and shall be in effect before, on or after the
 Effective Date (as appropriate) pursuant to applicable law and without any requirement of further action
 by the shareholders, directors, managers or partners of the Debtors, or the need for any approvals,
 authorizations, actions or consents.

                  (c)     The restrictions imposed by the NOL Order shall remain effective and binding
 even after the Effective Date with respect to all SHC Equity Interests.

                7.     Cancellation of Existing Securities and Agreements

                  (a)      The Second Lien Credit Agreement, Second Lien Notes Indenture, Senior
 Unsecured Notes Indenture, and Unsecured PIK Notes Indenture, shall continue in effect solely to the
 extent necessary to (i) allow the holders of such Claims to receive Distributions under the Plan; (ii) allow
 the Debtors, the Liquidating Trustee, the Second Lien Credit Facility Agent, Second Lien Notes Trustee,
 or Unsecured Notes Trustee, to make post-Effective Date distributions or take such other action pursuant
 to the Plan on account of such Claims and to otherwise exercise their rights and discharge their
 obligations relating to the interests of the holders of such Claims; (iii) allow holders of Claims to retain
 their respective rights and obligations vis-à-vis other holders of Claims pursuant to any applicable loan
 documents; (iv) allow the Second Lien Credit Facility Agent, Second Lien Notes Trustee, and Unsecured
 Notes Trustee to enforce their rights, claims, and interests vis-à-vis any party other than the Debtors,
 including any rights with respect to priority of payment and/or to exercise charging liens; (v) preserve any
 rights of the Second Lien Credit Facility Agent, Second Lien Notes Trustee, and Unsecured Notes Trustee
 to payment of fees, expenses, and indemnification obligations as against any money or property
 distributable to lenders under the Second Lien Credit Agreement and holders under the Second Lien
 Notes Indenture, Senior Unsecured Notes Indenture, Unsecured PIK Notes Indenture, as applicable,
 including any rights to priority of payment and/or to exercise charging liens; (vi) allow the Second Lien
 Credit Facility Agent, Second Lien Notes Trustee, and Unsecured Notes Trustee to enforce any
 obligations owed to them under the Plan; (vii) permit the Second Lien Credit Facility Agent, the Second
 Lien Notes Trustee, and the Unsecured Notes Trustee to perform any function necessary to effectuate the
 foregoing; and (viii) allow the Second Lien Credit Facility Agent, Second Lien Notes Trustee, and
 Unsecured Notes Trustee to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court
 or any other court relating to the Second Lien Credit Agreement, Second Lien Notes Indenture, Senior
 Unsecured Notes Indenture, or Unsecured PIK Notes Indenture, as applicable; provided, that nothing in
 Section 5.7 of the Plan shall affect the discharge of Claims pursuant to the Bankruptcy Code, the
 Confirmation Order, or the Plan or result in any liability or expense to the Liquidating Trustee.




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                  (b)     Except for the foregoing, subsequent to the performance by the Second Lien
 Credit Facility Agent of its obligations pursuant to the Plan, the Second Lien Credit Facility Agent and its
 agents shall be relieved of all further duties and responsibilities related to the Second Lien Credit
 Agreement.

                  (c)      Except for the foregoing, subsequent to the performance by the Second Lien
 Notes Trustee of its obligations pursuant to the Plan, the Second Lien Notes Trustee and its agents shall
 be relieved of all further duties and responsibilities related to the Second Lien Notes Indenture.

                  (d)     Except for the foregoing, subsequent to the performance by the Unsecured Notes
 Trustee of its obligations pursuant to the Plan, the Unsecured Notes Trustee and its agents shall be
 relieved of all further duties and responsibilities related to the Senior Unsecured Notes Indenture and
 Unsecured PIK Notes Indenture, as applicable.

                (e)      Notwithstanding anything to the contrary herein, all rights under the Second Lien
 Credit Agreement, Second Lien Notes Indenture, Senior Unsecured Notes Indenture, and Unsecured PIK
 Notes Indenture shall remain subject to the Intercreditor Agreement.

                  (f)     Notwithstanding the foregoing, any provision in any document, instrument, lease,
 or other agreement that causes or effectuates, or purports to cause or effectuate, a default, termination,
 waiver, or other forfeiture of, or by, the Debtors as a result of the cancellations, terminations, satisfaction,
 releases, or discharges provided for in the Plan shall be deemed null and void and shall be of no force and
 effect.

           E.        Liquidating Trust

                1.      Establishment of the Liquidating Trust

 On the Effective Date, the Liquidating Trust shall be established and become effective for the benefit of
 the Liquidating Trust Beneficiaries. The powers, authority, responsibilities, and duties of the Liquidating
 Trust and the Liquidating Trustee are set forth in and shall be governed by the Plan and the Liquidating
 Trust Agreement. The Liquidating Trust Agreement shall contain provisions customary to trust
 agreements utilized in comparable circumstances, including, without limitation, any and all provisions
 necessary to ensure the continued treatment of the Liquidating Trust as a grantor trust and the Liquidating
 Trust Beneficiaries as the grantors and owners thereof for federal income tax purposes. The Liquidating
 Trust Agreement may provide powers, duties, and authorities in addition to those explicitly stated in the
 Plan, but only to the extent that such powers, duties, and authorities do not affect the status of the
 Liquidating Trust as a “liquidating trust” for United States federal income tax purposes. In the event of
 any conflict between the terms of this Section 6.1 and the terms of the Liquidating Trust Agreement as
 such conflicts relate to the establishment of the Liquidating Trust, the terms of this Section 6.1 shall
 govern.

 On the Effective Date, the Liquidating Trustee, on behalf of the Debtors, shall execute the Liquidating
 Trust Agreement and shall take all other steps necessary to establish the Liquidating Trust pursuant to the
 Liquidating Trust Agreement and consistent with the Plan.

                2.      Purpose of the Liquidating Trust

 The Liquidating Trust shall be established pursuant to the Liquidating Trust Agreement for the sole
 purpose of liquidating and administering the Liquidating Trust Assets and making distributions on
 account thereof as provided for under the Plan in accordance with Treas. Reg. § 301.7701-4(d). The


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 Liquidating Trust is intended to qualify as a liquidating trust pursuant to Treas. Reg. § 301.7701-4(d),
 with no objective to continue or engage in the conduct of a trade or business. The Liquidating Trust shall
 not be deemed a successor in interest of the Debtors for any purpose other than as specifically set forth in
 the Plan or in the Liquidating Trust Agreement.

                3.     Liquidating Trust Assets

 On the Effective Date, and in accordance with sections 1123 and 1141 of the Bankruptcy Code and
 pursuant to the terms of the Plan, all title and interest in all of the Liquidating Trust Assets, as well as the
 rights and powers of each Debtor in such Liquidating Trust Assets, shall automatically vest in the
 Liquidating Trust, free and clear of all Claims and Interests for the benefit of the Liquidating Trust
 Beneficiaries. Upon the transfer of the Liquidating Trust Assets, the Debtors shall have no interest in or
 with respect to the Liquidating Trust Assets or the Liquidating Trust. Upon delivery of the Liquidating
 Trust Assets to the Liquidating Trust, the Debtors and their predecessors, successors and assigns, shall be
 discharged and released from all liability with respect to the delivery of such distributions and shall have
 no reversionary or further interest in or with respect to the Liquidating Trust Assets or the Liquidating
 Trust. Notwithstanding the foregoing, for purposes of section 553 of the Bankruptcy Code, the transfer of
 the Liquidating Trust Assets to the Liquidating Trust shall not affect the mutuality of obligations which
 otherwise may have existed prior to the effectuation of such transfer. Such transfer shall be exempt from
 any stamp, real estate transfer, mortgage reporting, sales, use, or other similar tax, pursuant to section
 1146(a) of the Bankruptcy Code. In connection with the transfer of such assets, any attorney client
 privilege, work product privilege, or other privilege or immunity attaching to any documents or
 communications (whether written or oral) transferred to the Liquidating Trust shall vest in the Liquidating
 Trust and its representatives, and the Debtors and the Liquidating Trustee are directed to take all
 necessary actions to effectuate the transfer of such privileges. The Liquidating Trustee shall agree to
 accept and hold the Liquidating Trust Assets in the Liquidating Trust for the benefit of the Liquidating
 Trust Beneficiaries, subject to the terms of the Plan and the Liquidating Trust Agreement.

 The Debtors, the Liquidating Trustee, the Liquidating Trust Beneficiaries, and any party under the control
 of such parties will execute any documents or other instruments and shall take all other steps as necessary
 to cause title to the Liquidating Trust Assets to be transferred to the Liquidating Trust.

                4.     Administration of the Liquidating Trust

 The Liquidating Trust shall be administered by the Liquidating Trustee pursuant to the Liquidating Trust
 Agreement and the Plan. Subject to Section 6.1, in the event of any inconsistency between the Plan and
 the Liquidating Trust Agreement as such conflict relates to anything other than the establishment of a
 Liquidating Trust, the Liquidating Trust Agreement shall control.

                5.     Post-Effective Date Liquidating Trust Board Members

                 (a)      Liquidating Trust Board Composition. On the Effective Date, the Liquidating
 Trust Board will be appointed in accordance with the terms of the Liquidating Trust Agreement. The
 initial members of the Liquidating Trust Board shall consist of: [●]. 10

                  (b)      Following the Confirmation Date, the Liquidating Trust Board shall, in addition
 to its other duties including those listed in Section 6.7 of the Plan be responsible for (v) instructing and
 supervising the Liquidating Trustee with respect to their responsibilities under the Plan; (w) reviewing

 10
      [TBD – Number of board members and composition of board subject to ongoing negotiations and discussions
       between the Debtors and the Creditors’ Committee].

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 and approving the prosecution of adversary and other proceedings, if any, including approving proposed
 settlements thereof; (x) settling Specified Causes of Action pursuant to Section 6.7 of the Plan;
 (y) reviewing and approving objections to and proposed settlements of Disputed Claims; and (z)
 performing such other duties that may be necessary and proper to assist the Debtors and the Liquidating
 Trustee and their retained professionals as set forth in the Liquidating Trust Agreement. In its discretion,
 following the Effective Date, the Liquidating Trust Board may delegate any duties assigned to the
 Liquidating Trustee to any other committee, entity or individual.

                  (c)    The members of the Liquidating Trust Board may be removed in accordance with
 the terms of the Liquidating Trust Agreement. Any objection to any such notice to remove a member of
 the Liquidating Trust Board will be determined by the Bankruptcy Court.

                  (d)     Notwithstanding anything in the Plan or Liquidating Trust Agreement to the
 contrary, the Liquidating Trust Board shall always act consistently with, and not contrary to, the purpose
 of the Liquidating Trust as set forth in the Plan.

                6.     Liquidating Trustee

                  (a)     Appointment. The Liquidating Trustee shall be [___], 11 who will serve on and
 after the Effective Date in accordance with the Liquidating Trust Agreement and the Plan, reporting to,
 [and seeking approval for all material, non-ordinary course decisions from the Liquidating Trust Board.
 The Liquidating Trustee shall be appointed as the representative of each of the Debtors’ Estates pursuant
 to sections 1123(a)(5), (a)(7) and (b)(3)(B) of the Bankruptcy Code, subject to the terms of the Plan, the
 Confirmation Order, and the Liquidating Trust Agreement.

                  (b)      Authority. The duties and powers of the Liquidating Trustee shall include all
 powers necessary to implement the Plan and to administer and monetize the Liquidating Trust Assets,
 including, without limitation, the duties and powers listed in the Plan. The Liquidating Trustee will
 administer the Liquidating Trust in accordance with the Liquidating Trust Agreement. The Liquidating
 Trustee, with the approval of the Liquidating Trust Board and in the exercise of their collective
 reasonable business judgment, shall, in an expeditious but orderly manner, liquidate and convert to Cash
 the assets of the Liquidation Trust, make timely distributions and not unduly prolong the duration of the
 Liquidation Trust. More specifically, the Liquidating Trustee shall have the authority and the right
 (subject to approval by the Liquidating Trust Board as set forth in the Liquidating Trust Agreement),
 without the need for Bankruptcy Court approval (unless otherwise indicated), to carry out and implement
 all provisions of the Plan, including, without limitation:

                             (i)     except to the extent Claims have been previously Allowed, control and
                     effectuate the Claims reconciliation process, including to object to, seek to subordinate,
                     compromise or settle any and all Claims; provided, that the settlement of Specified
                     Causes of Action shall be subject to the procedures set forth in Section 6.7 of the Plan;

                            (ii)    make Distributions to Holders of Allowed Claims as set forth in, and
                     implement the Wind Down pursuant to, the Plan;

                               (iii)   determine Distribution Dates, in accordance with the Plan;




 11
      [TBD – Selection of Liquidating Trustee subject to ongoing negotiations and discussions between the Debtors
       and the Creditors’ Committee].

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                             (iv)     exercise its reasonable business judgment to direct and control the wind
                     down, liquidation, sale and/or abandoning of the remaining Assets of the Debtors under
                     the Plan and in accordance with applicable law as necessary to maximize Distributions to
                     holders of Allowed Claims;

                             (v)     prosecute any remaining Causes of Action, including Preserved Causes
                     of Action, on behalf of the Liquidating Trust, elect not to pursue any Causes of Action,
                     and determine whether and when to compromise, settle, abandon, dismiss, or otherwise
                     dispose of any such Causes of Action, as the Liquidating Trustee may determine, subject
                     to approval by the Liquidating Trust Board, is in the best interests of the Liquidating
                     Trust;

                              (vi)   retain professionals to assist in performing its duties under the Plan,
                     subject to approval of the Liquidating Trust Board;

                               (vii)   maintain the books and records and accounts of the Liquidating Trust;

                             (viii) invest Cash of the Liquidating Trusts,, including any Cash from Net
                     Proceeds realized from the liquidation of any Assets of the Liquidating Trust, including
                     any Preserved Causes of Action, and any income earned thereon;

                             (ix)     incur and pay reasonable and necessary expenses in connection with the
                     performance of duties under the Plan, including the reasonable fees and expenses of
                     professionals retained by the Liquidating Trustee, which shall be subject to approval by
                     the Liquidating Trust Board;

                             (x)       administer each Debtor’s tax obligations, including (a) filing tax returns
                     and paying tax obligations, (b) requesting, if necessary, an expedited determination of
                     any unpaid tax liability of each Debtor or its estate under section 505(b) of the
                     Bankruptcy Code for all taxable periods of such Debtor ending after the Commencement
                     Date through the liquidation of such Debtor as determined under applicable tax laws, and
                     (c) representing the interest and account of each Debtor or its estate before any taxing
                     authority in all matters including, without limitation, any action, suit, proceeding or audit;

                              (xi)    administer each Liquidating Trust’s tax obligations, including (a) filing
                     tax returns and paying tax obligations, (b) requesting, if necessary, an expedited
                     determination of any unpaid tax liability of each Liquidating Trust for all taxable periods
                     of such Liquidating Trust through the dissolution of the applicable Liquidating Trust as
                     determined under applicable tax laws, and (c) representing the interest and account of
                     each Liquidating Trust before any taxing authority in all matters including, without
                     limitation, any action, suit, proceeding or audit;

                              (xii)   prepare and file any and all returns, reports, statements, or disclosures
                     relating to the Debtors and the Liquidating Trust that are required under the Plan, by any
                     governmental unit or applicable law;

                             (xiii) prepare and file on behalf of the Debtors and any non-Debtor
                     subsidiaries, certificates of dissolution and any and all other corporate and company
                     documents necessary to effectuate the Wind Down without further action under
                     applicable law, regulation, order, or rule, including any action by the stockholders,



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                     members, the board of directors, or board of directors or similar governing body of the
                     Debtors;

                             (xiv) maintain appropriate liability insurance for the Liquidating Trustee and
                     the Liquidating Trust Board;

                               (xv)   pay statutory fees; and

                            (xvi) perform other duties and functions that are consistent with the
                     implementation of the Plan and the Liquidating Trust Agreement.

 Notwithstanding anything in the Plan or Liquidating Trust Agreement to the contrary, the Liquidating
 Trustee shall always act consistently with, and not contrary to, the purpose of the Liquidating Trust as set
 forth in Section 6.2 of the Plan. The Liquidating Trustee and the members of the Liquidating Trust Board
 shall have fiduciary duties to the Liquidating Trust Beneficiaries consistent with the fiduciary duties that a
 member of an official committee appointed pursuant to section 1102 of the Bankruptcy Code has to the
 creditor constituents represented by such committee and shall exercise his, her or its responsibilities
 accordingly; provided, however, that the Liquidating Trustee and the members of the Liquidating Trust
 Board shall not owe fiduciary obligations to any defendants or potential defendants of Preserved Causes
 of Action in their capacities as such, it being the intent of such fiduciary duties to ensure that the
 Liquidating Trustee’s and the members’ of the Liquidating Trust Board obligations are to maximize the
 value of the Liquidating Trust Assets, including the Preserved Causes of Action.

                 (c)      Indemnification. Each of the Liquidating Trustee and each member of the
 Liquidating Trust Board (and each of their agents and professionals) shall be indemnified in accordance
 with the terms of the Liquidating Trust Agreement.

                  (d)     Reporting. The Liquidating Trustee shall file with the Bankruptcy Court and the
 SEC periodic public reports on the status of claims reconciliation and Distributions, which reports may be
 included in the quarterly reporting required by the U.S. Trustee.

                 (e)     Payment. Unless an alternate fee arrangement has been agreed to, the fees and
 expenses of the Liquidating Trustee, including fees and expenses incurred by professionals retained by
 the Liquidating Trustee shall be paid from the Net Proceeds of Liquidating Trust Assets.

                7.     Settlement Procedures

 The settlement of any (a) Specified Cause of Action, (b) other Claim or Cause of Action against the ESL
 Parties, (c) Claim or Preserved Cause of Action for which the Net Proceeds from such settlement are
 equal or greater than $5,000,000.00, or (d) Intercompany Claims shall be subject to the following
 procedures; provided, however, that notwithstanding the foregoing, no avoidance action arising under
 section 547 of the Bankruptcy Code or any comparable “preference” action arising under applicable non-
 bankruptcy law shall be subject to the following procedures:

                 (a)     The Liquidating Trust Board first must determine whether the terms of a
 proposed settlement are in the best interests of the Liquidating Trust Beneficiaries, in the exercise of its
 reasonable business judgment as determined by majority vote.

                  (b)     Following such a determination by the Liquidating Trust Board, the
 Liquidating Trustee shall file or cause to be filed on the docket of the Chapter 11 Cases written notice of
 the material terms of the proposed settlement.


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                (c)     Any parties in interest with standing shall have fourteen (14) days to object to
 any proposed settlement after the filing of such proposed settlement by the Liquidating Trustee.

                 (d)     If any party in interest with standing imposes an objection to such settlement, a
 hearing before the Bankruptcy Court shall be scheduled and the Liquidating Trustee shall only be
 permitted to consummate the settlement by a finding by the Court that the terms of the proposed
 settlement meet the applicable standards set forth in 11 U.S.C. § 363 and Bankruptcy Rule 9019

                   (e)    If no party in interest with standing objects to the proposed settlement, the
 Bankruptcy Court shall be deemed to have approved such settlement pursuant to the applicable standards
 set forth in section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and the Liquidating Trustee
 shall be permitted to consummate the settlement.

                8.     Liquidating Trustee’s Tax Power for Debtors

 The Liquidating Trustee shall have the same authority in respect of all taxes of the Debtors, and to the
 same extent, as if the Liquidating Trustee were the Debtor.

                9.     Non-Transferability of Liquidating Trust Interests

 The Liquidating Trust Interests shall be non-transferable other than if transferred by will, intestate
 succession or otherwise by operation of law.

                10.    Cash Investments

 The Liquidating Trustee may invest Cash (including any earnings thereon or proceeds therefrom);
 provided, that such investments are investments permitted to be made by a “liquidating trust” within the
 meaning of Treas. Reg. § 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

                11.    Federal Income Tax Treatment of the Liquidating Trust

 Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary (including
 the receipt of an adverse determination by the IRS upon audit if not contested by such Liquidating
 Trustee), for all United States federal income tax purposes, all parties (including, without limitation, the
 Debtors, the Liquidating Trustee and the Liquidating Trust Beneficiaries) shall treat the transfer of
 Liquidating Trust Assets to the Liquidating Trust as (1) a transfer of Liquidating Trust Assets (subject to
 any obligations relating to those assets) directly to Liquidating Trust Beneficiaries (other than to the
 extent Liquidating Trust Assets are allocable to Disputed Claims), followed by (2) the transfer by such
 beneficiaries to the Liquidating Trust of Liquidating Trust Assets in exchange for Liquidating Trust
 Interests. Accordingly, except in the event of contrary definitive guidance, Liquidating Trust
 Beneficiaries shall be treated for United States federal income tax purposes as the grantors and owners of
 their respective share of Liquidating Trust Assets (other than such Liquidating Trust Assets as are
 allocable to Disputed Claims). The foregoing treatment shall also apply, to the extent permitted by
 applicable law, for state and local income tax purposes.

                12.    Tax Reporting

                 (a)     The Liquidating Trustee shall file tax returns for the Liquidating Trust treating
 the Liquidating Trust as a grantor trust pursuant to Treas. Reg. § 1.671-4(a) and in accordance with
 Section 6.12 of the Plan. A Liquidating Trustee also shall annually send to each holder of a Liquidating


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 Trust Interest a separate statement regarding the receipts and expenditures of the Liquidating Trust as
 relevant for U.S. federal income tax purposes and will instruct all such holders to use such information in
 preparing their U.S. federal income tax returns or to forward the appropriate information to such holders’
 underlying beneficial holders with instructions to utilize such information in preparing their U.S. federal
 income tax returns.

                  (b)      Allocations of Liquidating Trust taxable income among Liquidating Trust
 Beneficiaries (other than taxable income allocable to any assets allocable to, or retained on account of,
 Disputed Claims) shall be determined by reference to the manner in which an amount of Cash
 representing such taxable income would be distributed (were such Cash permitted to be distributed at
 such time) if, immediately prior to such deemed Distribution, the Liquidating Trust had distributed all its
 assets (valued at their tax book value, other than assets allocable Disputed Claims) to the holders of
 Liquidating Trust Interests, adjusted for prior taxable income and loss and taking into account all prior
 and concurrent Distributions from the Liquidating Trust. Similarly, taxable loss of the Liquidating Trust
 shall be allocated by reference to the manner in which an economic loss would be borne immediately
 after a hypothetical liquidating distribution of the remaining Liquidating Trust Assets. The tax book value
 of Liquidating Trust Assets for purpose of this paragraph shall equal their fair market value on the date
 Liquidating Trust Assets are transferred to the Liquidating Trust, adjusted in accordance with tax
 accounting principles prescribed by the IRC, the applicable Treasury Regulations, and other applicable
 administrative and judicial authorities and pronouncements.

                  (c)     As soon as reasonably practicable after Liquidating Trust Assets are transferred
 to the Liquidating Trust, but in no event later than 120 days thereafter, the Liquidating Trustee shall make
 a good faith valuation of Liquidating Trust Assets and the Liquidating Trustee shall apprise, in writing,
 the Liquidating Trust Beneficiaries of such valuation. In connection with the preparation of the valuation
 contemplated hereby and by the Plan, the Liquidating Trust shall be entitled to retain such professionals
 and advisors as the Liquidating Trust shall determine to be appropriate or necessary, and the Liquidating
 Trustee shall take such other actions in connection therewith as it determines to be appropriate or
 necessary. Such valuation shall be used consistently by such parties for all United States federal income
 tax purposes. The Liquidating Trust shall bear all of the reasonable costs and expenses incurred in
 connection with determining such value, including the fees and expenses of any professionals retained in
 connection therewith.

                  (d)       Subject to definitive guidance from the IRS or a court of competent jurisdiction
 to the contrary (including the receipt by the Liquidating Trustee of a private letter ruling if such
 Liquidating Trustee so requests one, or the receipt of an adverse determination by the IRS upon audit if
 not contested by such Liquidating Trustee), such Liquidating Trustee (i) may timely elect to treat any
 Liquidating Trust Assets allocable to Disputed Claims as a “disputed ownership fund” governed by Treas.
 Reg. § 1.468B-9, and (ii) to the extent permitted by applicable law, shall report consistently for state and
 local income tax purposes. If a “disputed ownership fund” election is made, all parties (including such
 Liquidating Trustee, the Debtors and Liquidating Trust Beneficiaries) shall report for United States
 federal, state and local income tax purposes consistently with the foregoing.

                  (e)     The Liquidating Trustee shall be responsible for payment, out of Liquidating
 Trust Assets, of any taxes imposed on the Liquidating Trust or the Liquidating Trust Assets.

                  (f)      The Liquidating Trustee may request an expedited determination of taxes of the
 Liquidating Trust, including any reserve for Disputed Claims, or of the Debtor as to whom the
 Liquidating Trust was established, under section 505(b) of the Bankruptcy Code for all tax returns filed
 for, or on behalf of, such Liquidating Trust or the Debtor for all taxable periods through the dissolution of
 such Liquidating Trust.


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                      (g)      Dissolution.

                               (i)     The Liquidating Trustee, the Liquidating Trust Board and the
                      Liquidating Trust shall be discharged or dissolved, as the case may be, at such time as (i)
                      all of the Liquidating Trust Assets have been distributed pursuant to the Plan and the
                      Liquidating Trust Agreement, (ii) the Liquidating Trustee determines, with the approval
                      of the Liquidating Trust Board, that the administration of any remaining Liquidating
                      Trust Assets is not likely to yield sufficient additional Liquidating Trust proceeds to
                      justify further pursuit, or (iii) all Distributions required to be made by the Liquidating
                      Trustee under the Plan and the Liquidating Trust Agreement have been made; provided,
                      that in no event shall the Liquidating Trust be dissolved later than five (5) years from the
                      creation of such Liquidating Trust pursuant to Section 6.1 of the Plan unless the
                      Bankruptcy Court, upon motion within the six-month period prior to the third (3rd)
                      anniversary (or within the six-month period prior to the end of an extension period),
                      determines that a fixed period extension (not to exceed three (3) years, together with any
                      prior extensions, without a favorable private letter ruling from the IRS or an opinion of
                      counsel satisfactory to the Liquidating Trustee that any further extension would not
                      adversely affect the status of the trust as a Liquidating Trust for United States federal
                      income tax purposes) is necessary to facilitate or complete the recovery and liquidation of
                      the Liquidating Trust Assets.

                               (ii)    If at any time the Liquidating Trustee determines, with the approval of
                      the Liquidating Trust Board, in reliance upon such professionals as the Liquidating
                      Trustee may retain, that the expense of administering the Liquidating Trust so as to make
                      a final Distribution to Liquidating Trust Beneficiaries is likely to exceed the value of the
                      assets remaining in such Liquidating Trust, such Liquidating Trustee may apply to the
                      Bankruptcy Court for authority to (i) reserve any amount necessary to dissolve such
                      Liquidating Trust, (ii) donate any balance to a charitable organization (A) described in
                      section 501(c)(3) of the IRC, (B) exempt from United States federal income tax under
                      section 501(a) of the IRC, (C) not a “private foundation”, as defined in section 509(a) of
                      the IRC, and (D) that is unrelated to the Debtors, such Liquidating Trust, and any insider
                      of such Liquidating Trustee, and (iii) dissolve such Liquidating Trust.

                13.     Separate Allocation

 Notwithstanding that there is only one Liquidating Trust, the Assets, Claims, and proceeds thereof that
 are contributed to the Liquidating Trust shall be allocated to the applicable Debtor in accordance with the
 Plan. Holders of Allowed Claims against a particular Debtor may only recover from the proceeds of the
 Assets and Claims allocated to such Debtor in accordance with the Plan.

           F.        Distributions

                1.      Distributions Generally

 On or after the Effective Date, the Liquidating Trust (with the assistance of the Disbursing Agent as
 necessary) shall make all Distributions under the Plan to holders of Allowed Claims in accordance with
 the terms of the Plan. After the Effective Date, the Liquidating Trustee (with the assistance of the
 Disbursing Agent as necessary) at least annually, shall make all Distributions under the Plan to holders of
 Allowed Claims from the Liquidating Trust, in accordance with the terms of the Plan.




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                2.     Distribution Record Date

 As of the close of business on the Distribution Record Date relating to each Distribution, which
 Distribution Record Date shall be the date that is thirty (30) calendar days prior to a Distribution Date, the
 various transfer registers for each of the Classes of Claims as maintained by the Debtors, the Liquidating
 Trustee or their respective agents shall be deemed closed for purposes of determining whether a holder of
 such a Claim or Interest is a record holder entitled to Distributions under the Plan, and there shall be no
 further changes in the record holders or the permitted designees of any such Claims for such Distribution.
 The Debtors or the Liquidating Trustee shall have no obligation to recognize any transfer or designation
 of such Claims for such Distribution occurring after the close of business on the Distribution Record Date
 relating to such Distribution. For the avoidance of doubt, the Distribution Record Date shall not apply to
 the Debtors’ publicly-traded securities including Second Lien Notes, Senior Unsecured Notes, and
 Unsecured PIK Notes, the holders of which shall receive a distribution in accordance with Article IV of
 the Plan and, as applicable, the customary procedures of the DTC on or as soon as practicable after the
 Effective Date.

                3.     Date of Distributions

 Except as otherwise provided in the Plan, any Distribution and deliveries to be made under the Plan shall
 be made on the Effective Date or as otherwise determined in accordance with the Plan, including, without
 limitation, the treatment provisions of Article IV of the Plan, or as soon as practicable thereafter;
 provided, that the Liquidating Trustee, shall from time to time (and at least annually) determine
 subsequent Distribution Dates as appropriate. In the event that any payment or act under the Plan is
 required to be made or performed on a date that is not a Business Day, then the making of such payment
 or the performance of such act may be completed on or as soon as reasonably practicable after the next
 succeeding Business Day, but shall be deemed to have been completed as of the required date.

                4.     Reserve on Account of Disputed Claims

                  (a)     From and after the Effective Date, and until such time as all Disputed Claims
 have been compromised and settled or determined by Final Order pursuant to Article VIII of the Plan, the
 Liquidating Trustee shall, consistent with and subject to section 1123(a)(4) of the Bankruptcy Code,
 reserve from Distributions under the Plan (to the extent such Disputed Claim would receive a Distribution
 under the Plan had it been an Allowed Claim at the time of such Distribution) in the Disputed
 Claim Reserve Account(s) of the respective Debtor, any amounts that would otherwise have been
 received by a holder of a Disputed Claim from the Debtors or the Liquidating Trust, as applicable, had
 such Disputed Claim been an Allowed Claim on the Effective Date, determined based on the least of: (i)
 the filed amount of such Disputed Claim, (ii) the amount determined, to the extent permitted by the
 Bankruptcy Code and Bankruptcy Rules, by the Bankruptcy Court for purposes of fixing the amount to be
 retained for such Disputed Claim, and (iii) such other amount as may be agreed upon by the holder of
 such Disputed Claim and the Liquidating Trustee. On the date of the first Distribution Date that is at least
 forty-five (45) days (or such fewer days as may be agreed between the applicable Debtor and the holder
 of the applicable Disputed Claim) after the date on which a Disputed Claim becomes an Allowed Claim
 against a Debtor, the Liquidating Trustee shall remit to the holder of such Allowed Claim, Net Proceeds
 equal to the amount that would have been distributed on account of such Claim under the Plan from the
 Effective Date through and including the date of such Distribution on account of such Allowed Claim had
 such Claim been Allowed as of the Effective Date; provided, that (x) such amount shall be paid first out
 of the Disputed Claim Reserve Account(s) and (y) if the amount available for Distribution pursuant to the
 foregoing clause (x) is insufficient to remit all Distributions required to be made to such holder pursuant
 to this sentence, such holder shall receive the amount of such insufficiency on the next subsequent



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 Distribution Dates before the holders of any other Claims against such Debtor receive any further
 Distributions out of the available General Assets from such Debtor under the Plan.

                  (b)     Nothing in Section 7.4 of the Plan shall preclude any holder of a Disputed Claim
 from seeking, on notice to the Liquidating Trustee, an order of the Bankruptcy Court in respect of or
 relating to the amount retained with respect to such holder’s Disputed Claim.

                (c)      Unless otherwise ordered by the Bankruptcy Court, the Disputed Claim Reserve
 Account(s) shall not be used by, on behalf of or for the benefit of a Debtor or Liquidating Trust for
 operating expenses, costs or any purpose other than as set forth in this section.

                 (d)     After the resolution of all Disputed Claims, the Liquidating Trustee shall treat
 any amounts that were reserved for Disputed Claims that do not become Allowed Claims as General
 Assets in accordance with this Plan and the Liquidating Trust Agreement.

                5.     Delivery of Distributions

 Subject to Bankruptcy Rule 9010, Distribution to any holder or permitted designee of an Allowed Claim
 shall be made to a Disbursing Agent, as applicable, who shall transmit such Distribution to the applicable
 holders or permitted designees of Allowed Claims on behalf of the Debtors. In the event that any
 Distribution to any holder or permitted designee is returned as undeliverable (see Section 7.11 of the
 Plan), no further Distributions shall be made to such holder or such permitted designee unless and until
 such Disbursing Agent is notified in writing of such holder’s or permitted designee’s, as applicable, then-
 current address, at which time all currently-due, missed Distributions shall be made to such holder as soon
 as reasonably practicable thereafter without interest. Nothing in the Plan shall require the Disbursing
 Agent to attempt to locate holders or permitted designees, as applicable, of undeliverable Distributions
 and, if located, assist such holders or permitted designees, as applicable, in complying with Section 7.21
 of the Plan.

                6.     Disbursing Agent

 Certain Distributions under this Plan shall be made by the applicable Disbursing Agent on and after the
 Effective Date as provided in the Paln. The Disbursing Agent shall not be required to give any bond or
 surety or other security for the performance of its duties. The Liquidating Trustee shall use all
 commercially reasonable efforts to provide the Disbursing Agent (if other than the Debtors or Liquidating
 Trustee) with the amounts of Claims and the identities and addresses of holders of Claims, in each case,
 as set forth in the Debtors’ books and records. The Liquidating Trustee shall cooperate in good faith with
 the applicable Disbursing Agent (if other than the Liquidating Trustee) to comply with the reporting and
 withholding requirements outlined in Section 7.21 of the Plan.

                7.     Rights and Powers of Disbursing Agent

                  (a)     From and after the Effective Date, the Disbursing Agent, solely in its capacity as
 Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of Claims
 against the Debtors and other parties in interest, from any and all Claims, Causes of Action, and other
 assertions of liability arising out of the discharge of the powers and duties conferred upon such
 Disbursing Agent by the Plan or any order of the Bankruptcy Court entered pursuant to or in furtherance
 of the Plan, or applicable law, except for actions or omissions to act arising out of the gross negligence or
 willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of such Disbursing Agent. No
 holder of a Claim other party in interest shall have or pursue any claim or Cause of Action against the
 Disbursing Agent, solely in its capacity as Disbursing Agent, for making Distributions in accordance with


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 the Plan or for implementing provisions of the Plan, except for actions or omissions to act arising out of
 the gross negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of
 such Disbursing Agent.

                 (b)     The Disbursing Agent shall be empowered to (i) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties hereunder; (ii) make all
 Distributions contemplated hereby; and (iii) exercise such other powers as may be vested in the
 Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing
 Agent to be necessary and proper to implement the provisions of the Plan.

                8.     Expenses of Disbursing Agent

 Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented fees and expenses
 incurred by the Disbursing Agent acting in such capacity (including reasonable documented attorneys’
 fees and expenses) on or after the Effective Date shall be paid in Cash by the Liquidating Trustee in the
 ordinary course of business.

                9.     No Postpetition Interest on Claims

 Except as otherwise provided in the Plan, the Confirmation Order or another order of the Bankruptcy
 Court or required by the Bankruptcy Code (including postpetition interest in accordance with sections
 506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue or be paid on any Claims on or
 after the Commencement Date; provided, that if interest is payable pursuant to the preceding sentence,
 interest shall accrue at the federal judgment rate pursuant to 28 U.S.C. § 1961 on a non-compounded basis
 from the date the obligation underlying the Claim becomes due and is not timely paid through the date of
 payment.

                10.    Distributions after Effective Date

 Distributions made after the Effective Date to holders of Disputed Claims that are not Allowed Claims as
 of the Effective Date but which later become Allowed Claims shall be deemed to have been made on the
 Effective Date.

                11.    Unclaimed Property

 Undeliverable Distributions or unclaimed Distributions shall remain in the possession of the Liquidating
 Trustee until such time as a Distribution becomes deliverable or holder accepts Distribution, or such
 Distribution reverts back to the Liquidating Trust, as applicable, and shall not be supplemented with any
 interest, dividends, or other accruals of any kind. Such Distributions shall be deemed unclaimed property
 under section 347(b) of the Bankruptcy Code at the expiration of three hundred and sixty-five (365) days
 from the date of Distribution. After such date all unclaimed property or interest in property shall revert to
 the Liquidating Trustee, and the Claim of any other holder to such property or interest in property shall be
 discharged and forever barred.

                12.    Time Bar to Cash Payments

 Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void if not
 negotiated within one hundred and twenty (120) days after the date of issuance thereof. Thereafter, the
 amount represented by such voided check shall irrevocably revert to the Liquidating Trust, and any Claim
 in respect of such voided check shall be discharged and forever barred, notwithstanding any federal or



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 state escheat laws to the contrary. Requests for re-issuance of any check shall be made to the Disbursing
 Agent by the holder of the Allowed Claim to whom such check was originally issued.

                13.    Manner of Payment under Plan

 Except as otherwise specifically provided in the Plan, at the option of the Debtors or the Liquidating
 Trustee, as applicable, any Cash payment to be made hereunder may be made by a check or wire transfer
 or as otherwise required or provided in applicable agreements or customary practices of the Debtors.

                14.    Satisfaction of Claims

 Except as otherwise specifically provided in the Plan, any Distributions and deliveries to be made on
 account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement, and
 discharge of and exchange for such Allowed Claims.

                15.    Minimum Cash Distributions

 The Liquidating Trustee shall not be required to make a Distribution pursuant to the Plan if the
 Liquidating Trustee determines that the expense associated with making the Distribution would likely
 utilize a substantial portion of the amount to be distributed, thus making the Distribution impractical;
 provided, that if any Distribution is not made pursuant to Section 7.15 of the Plan, such Distribution shall
 be added to any subsequent Distribution to be made on behalf of the holder’s Allowed Claim. Cash shall
 be rounded down to the nearest penny. DTC shall be considered a single holder for rounding and
 distribution purposes.

                16.    Setoffs and Recoupments

 The Debtors and the Liquidating Trustee, as applicable, or such entity’s designee (including, without
 limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup against any Claim,
 and any Distribution to be made on account of such Claim, any and all claims, rights, and Causes of
 Action of any nature whatsoever that the Debtors or the Liquidating Trustee may have against the holder
 of such Claim pursuant to the Bankruptcy Code or applicable non-bankruptcy law; provided, that neither
 the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by a
 Debtor or Liquidating Trustee or its successor of any claims, rights, or Causes of Action that a Debtor or
 Liquidating Trustee or its successor or assign may possess against the holder of such Claim.

                17.    Allocation of Distributions between Principal and Interest

 To the extent that any Allowed Claim entitled to a distribution under the Plan consists of indebtedness
 and other amounts (such as accrued but unpaid interest thereon), such distribution shall be allocated first
 to the principal amount of the Claim (as determined for federal income tax purposes) and then, to the
 extent the consideration exceeds the principal amount of the Claim, to other such amounts.

                18.    No Distribution in Excess of Amount of Allowed Claim

 Except as provided in Section 7.9 of the Plan, no holder of an Allowed Claim shall receive, on account of
 such Allowed Claim, Distributions in excess of the Allowed amount of such Claim.




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                19.    Distributions Free and Clear

 Except as otherwise provided in the Plan, any Distributions under the Plan shall be free and clear of any
 Liens, Claims and encumbrances, and no other entity, including the Debtors or the Liquidating Trustee
 shall have any interest, legal, beneficial or otherwise, in Assets transferred pursuant to the Plan.

                20.    Claims Register

 The register of Claims maintained by the Debtors shall remain open after the Effective Date and the
 Liquidating Trustee shall recognize any transfer of Claims at any time thereafter, provided that for
 purposes of each Distribution, the Liquidating Trustee will not recognize any transfer of Claims for such
 Distribution after the Distribution Record Date relating to such Distribution; and, provided, further, for
 the avoidance of doubt, [all Liquidating Trust Interests shall be non-transferable except as provided in
 Section 6.9 of the Plan]. Except as otherwise provided in the Plan, any transfer of a Claim, whether
 occurring prior to or after the Confirmation Date, shall not affect or alter the classification and treatment
 of such Claim under the Plan and any such transferred Claim shall be subject to classification and
 treatment under the Plan as if such Claim was held by the transferor who held such Claim on the
 Commencement Date.

                21.    Withholding and Reporting Requirements

                  (a)     Withholding Rights. In connection with the Plan, any party issuing any
 instrument or making any Distributions described in the Plan shall comply with all applicable withholding
 and reporting requirements imposed by any federal, state, or local taxing authority, and all Distributions
 pursuant to the Plan and all related agreements shall be subject to any such withholding or reporting
 requirements. In the case of a non-Cash Distribution that is subject to withholding, the distributing party
 may withhold an appropriate portion of such distributed property and either (i) sell such withheld property
 to generate Cash necessary to pay over the withholding tax (or reimburse the distributing party for any
 advance payment of the withholding tax), or (ii) pay the withholding tax using its own funds and retain
 such withheld property. Any amounts withheld pursuant to the preceding sentence shall be deemed to
 have been distributed to and received by the applicable recipient for all purposes of the Plan.
 Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity that receives a
 Distribution pursuant to the Plan shall have responsibility for any taxes imposed by any governmental
 unit, including, without limitation, income, withholding, and other taxes, on account of such Distribution.
 Any party issuing any instrument or making any Distribution pursuant to the Plan has the right, but not
 the obligation, not to make a Distribution until such holder has made arrangements satisfactory to such
 issuing or disbursing party for payment of any such tax obligations.

                    (b)     Forms. Any party entitled to receive any property as an issuance or Distribution
 under the Plan shall, upon request, deliver to the Disbursing Agent or such other Entity designated by the
 Liquidating Trustee (which Entity shall subsequently deliver to the Disbursing Agent any applicable IRS
 Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is a foreign Entity)
 Form W-8. If such request is made by the Liquidating Trustee, the Disbursing Agent, or such other Entity
 designated by the Liquidating Trustee or Disbursing Agent and the holder fails to comply before the
 earlier of (i) the date that is [one hundred and eighty (180) days] after the request is made and (ii) the date
 that is [one hundred and eighty (180) days] after the date of Distribution, the amount of such Distribution
 shall irrevocably revert to the applicable Liquidating Trustee and any Claim in respect of such
 Distribution shall be discharged and forever barred from assertion against such Liquidating Trustee or its
 respective property.




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           G.        Procedures for Disputed Claims

                1.      Claims Reconciliation

                  (a)     Subject to Section 6.7 of the Plan or any order of the Bankruptcy Court,
 including the Claims Procedures Order and the rights of the Creditors’ Committee set forth therein, the
 Liquidating Trustee shall be entitled to reconcile, object to, or settle Claims filed against the Debtors.
 After the Effective Date, the Liquidating Trustee shall have and retain any and all rights and defenses that
 the Debtors had with regard to any Claim to which they may object, except with respect to any Claim that
 is Allowed. Any objections to Claims (including any Administrative Expense Claims, Other Secured
 Claims, ESL 507(b) Priority Claims, Other 507(b) Priority Claims, Priority Tax Claims, Priority Non-Tax
 Claims, General Unsecured Claims, ESL Unsecured Claims), shall be served and filed on or before the
 later of (a) one-hundred and eighty (180) days after the Effective Date, and (b) on such later date as
 ordered by the Bankruptcy Court for cause.

                (b)      Intercompany Claims shall be determined and Allowed or Disallowed by the
 Liquidating Trustee subject to approval by the Liquidating Trust Board and compliance with Section 6.7
 of the Plan.

                2.      Resolution of Disputed Claims

 Except as provided in the Plan, on and after the Effective Date, the Liquidating Trustee shall have the
 authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims without
 approval of the Bankruptcy Court, other than with respect to Fee Claims.

                3.      Payments and Distributions with Respect to Disputed Claims

 Notwithstanding anything in the Plan to the contrary, if any portion of a Claim is a Disputed Claim, no
 payment or Distribution provided hereunder shall be made on account of such Claim unless and until such
 Disputed Claim becomes an Allowed Claim.

                4.      Estimations of Claims

 The Liquidating Trustee may (a) determine, resolve and otherwise adjudicate all contingent, unliquidated,
 and Disputed Claims in the Bankruptcy Court and (b) at any time request that the Bankruptcy Court
 estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy
 Code regardless of whether the Debtors previously objected to such Claim or whether the Bankruptcy
 Court has ruled on any such objection. The Bankruptcy Court will retain jurisdiction to estimate any
 Claim at any time during litigation concerning any objection to any Claim, including, without limitation,
 during the pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
 estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either
 the Allowed amount of such Claim or a maximum limitation on such Claim, as determined by the
 Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount of such
 Claim, the Debtors or the Liquidating Trustee, as applicable, may pursue supplementary proceedings to
 object to the allowance of such Claim; provided, that such limitation shall not apply to Claims requested
 by the Debtors to be estimated for voting purposes only.




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                5.      No Distributions Pending Allowance

 If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or Distribution
 provided under the Plan shall be made on account of such Claim unless and until (and only to the extent
 that) such Claim becomes an Allowed Claim.

                6.      Claim Resolution Procedures Cumulative

 All of the objection, estimation, and resolution procedures in the Plan are intended to be cumulative and
 not exclusive of one another. Claims may be estimated and subsequently settled, compromised,
 withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy Court approval.

                7.      Interest

 To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date, the holder of
 such Claim shall not be entitled to any interest that accrued thereon from and after the Effective Date.

           H.        Executory Contracts and Unexpired Leases

                1.      Rejection of Executory Contracts and Unexpired Leases

 On the Effective Date, except as otherwise provided in the Plan or Plan Supplement, each Executory
 Contract and Unexpired Lease not previously rejected, assumed, or assumed and assigned shall be
 deemed automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such
 Executory Contract or Unexpired Lease: (1) as of the Effective Date is subject to a pending motion to
 assume such Unexpired Lease or Executory Contract; (2) is a contract, engagement letter that has been
 approved by an order of the Bankruptcy Court, release, or other agreement or document entered into in
 connection with the Plan; or (3) is a D&O Policy or an insurance policy.

                2.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

 Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim based on the
 rejection of the Debtors’ Executory Contracts or Unexpired Leases pursuant to the Plan must be filed with
 Bankruptcy Court and served on the Liquidating Trustee no later than thirty (30) days after the filing and
 service of the notice of the occurrence of the Effective Date. In addition, any objection to the rejection of
 an Executory Contract or Unexpired Lease must be filed with the Bankruptcy Court and served on the
 Liquidating Trustee, no later than thirty (30) days after the filing and service of the notice of the
 occurrence of the Effective Date. All Allowed Claims arising from the rejection of the Debtors’
 Executory Contracts or Unexpired Leases shall be classified as General Unsecured Claims, except as
 otherwise provided by order of the Bankruptcy Court.

 Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not filed with the
 Bankruptcy Court within thirty (30) days after the filing and service of the notice of the occurrence of the
 Effective Date will be automatically disallowed, forever barred from assertion, and shall not be
 enforceable against the Debtors, the Liquidating Trustee, the Debtors’ Estates, or the property for any of
 the foregoing without the need for any objection by the Liquidating Trustee or further notice to, or action,
 order, or approval of the Bankruptcy Court or any other Entity, and any Claim arising out of the rejection
 of the Executory Contract or Unexpired Lease shall be deemed fully compromised, settled, and released,
 notwithstanding anything in the Schedules or a Proof of Claim to the contrary.




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                3.     Modifications, Amendments, Supplements, Restatements, or Other Agreements.

 Unless otherwise provided in the Plan, each assumed Executory Contract or Unexpired Lease shall
 include all modifications, amendments, supplements, restatements, or other agreements that in any
 manner affect such Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired
 Leases related thereto, if any, including all easements, licenses, permits, rights, privileges, immunities,
 options, rights of first refusal, and any other interests, unless any of the foregoing agreements has been
 previously rejected or repudiated or is rejected or repudiated under the Plan.

 Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
 Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be
 deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the validity,
 priority, or amount of any Claims that may arise in connection therewith.

                4.     Insurance Policies

 Notwithstanding anything to the contrary in the Definitive Documents, the Plan, the Plan Supplement,
 any bar date notice or claim objection, and any other document related to any of the foregoing, all
 insurance policies pursuant to which the Debtors have any obligations in effect as of the Effective Date
 shall be deemed and treated as executory contracts pursuant to the Plan and shall be assumed by the
 Debtors and Liquidating Trustee and shall continue in full force and effect thereafter in accordance with
 their respective terms. All other insurance policies shall vest in the Liquidating Trustee.

                5.     Indemnification Obligations

 Subject to the occurrence of the Effective Date, the obligations of each Debtor to indemnify, defend,
 reimburse or limit the liability of any Released Parties, against any Claims or Causes of Action as
 provided in the Debtor’s articles of organization, certificates of incorporation, bylaws, other
 organizational documents or applicable law, shall survive confirmation of the Plan, and shall be assumed
 by such Debtor solely to the extent necessary to recover and have access to insurance proceeds.
 Prepetition indemnification claims shall be treated as General Unsecured Claims against the Debtors to
 the extent Allowed. Postpetition indemnification claims shall be treated as Administrative Expense
 Claims to the extent Allowed.

                6.     Reservation of Rights

                 (a)      Neither the exclusion nor inclusion of any contract or lease by the Debtors on any
 exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the
 Plan, will constitute an admission by the Debtors that any such contract or lease is or is not in fact an
 executory contract or unexpired lease or that the Debtors or the Debtors’ Estates have any liability
 thereunder.

                  (b)     Except as otherwise provided in the Plan, nothing in the Plan shall waive, excuse,
 limit, diminish, or otherwise alter any of the defenses, Claims, Causes of Action, or other rights of the
 Debtors and the Liquidating Trustee under any executory or non-executory contract or any unexpired or
 expired lease.

                 (c)      Nothing in the Plan will increase, augment, or add to any of the duties,
 obligations, responsibilities, or liabilities of the Debtors, as applicable, under any executory or non-
 executory contract or any unexpired or expired lease.



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           I.        Conditions Precedent to Confirmation of Plan and Effective Date

                1.      Conditions Precedent to Effective Date

 The following are conditions precedent to the occurrence of the Effective Date of the Plan:

                      (a)      the Disclosure Statement Order shall have been entered;

                  (b)     the Plan Supplement and all of the schedules, documents, and exhibits contained
 therein shall have been filed;

                  (c)     the Confirmation Order shall have been entered by the Bankruptcy Court in form
 and substance reasonably acceptable to the Debtors and the Creditors’ Committee, be in full force and
 effect and not be subject to any stay or injunction;

                 (d)     all Definitive Documents shall be in form and substance reasonably acceptable to
 the Debtors and the Creditors’ Committee;

                 (e)      KCD IP, LLC shall have waived the assertion of any administrative or
 superpriority administrative expense claim in these Chapter 11 Cases;

                  (f)     all actions, documents, and agreements necessary to implement and consummate
 the Plan shall have been effected or executed and binding on all parties thereto and, to the extent required,
 filed with the applicable governmental units in accordance with applicable laws;

                  (g)     all governmental approvals and consents, including Bankruptcy Court approval,
 necessary in connection with the transactions contemplated by the Plan shall have been obtained, not be
 subject to unfulfilled conditions, and be in full force and effect, and all applicable waiting periods shall
 have expired without any action being taken or threatened by any competent authority that would restrain,
 prevent, or otherwise impose materially adverse conditions on such transactions; and

                      (h)      the Carve Out Account as provided for by the Plan shall be fully funded.

                2.      Waiver of Conditions Precedent

                 (a)     Except as otherwise provided in the Plan, all actions required to be taken on the
 Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
 shall be deemed to have occurred prior to the taking of any other such action. Each of the conditions
 precedent in Section 10.1 of the Plan may be waived in writing by the Debtors in consultation with the
 Creditors’ Committee.

                 (b)    The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e) shall be
 deemed waived by and upon the entry of the Confirmation Order, and the Confirmation Order shall take
 effect immediately upon its entry.

                3.      Effect of Failure of a Condition

 If the conditions listed in Section 10.1 of the Plan are not satisfied or waived in accordance with Section
 10.2 of the Plan on or before the first Business Day that is more than sixty (60) days after the date on
 which the Confirmation Order is entered or by such later date as set forth by the Debtors in a notice filed
 with the Bankruptcy Court prior to the expiration of such period, the Plan shall be null and void in all


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 respects and anything contained in the Plan or the Disclosure Statement shall not (a) constitute a waiver
 or release of any Claims by or against or any Interests in the Debtors, (b) prejudice in any manner the
 rights of any Entity, or (c) constitute an admission, acknowledgement, offer, or undertaking by the
 Debtors or any other Entity.

           J.        Effect of Confirmation of Plan

                1.      Vesting of Assets

 On and after the Effective Date, the Liquidating Trustee may take any action, including, without
 limitation, the operation of its businesses; the use, acquisition, sale, lease and disposition of property; and
 the entry into transactions, agreements, understandings, or arrangements, whether in or other than in the
 ordinary course of business, and execute, deliver, implement, and fully perform any and all obligations,
 instruments, documents, and papers or otherwise in connection with any of the foregoing, free of any
 restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects as if there was no pending
 case under any chapter or provision of the Bankruptcy Code, except as expressly provided in the Plan.
 Without limiting the foregoing, the Liquidating Trustee may pay the charges that they incur on or after the
 Effective Date for professional fees, disbursements, expenses, or related support services without
 application to the Bankruptcy Court.

                2.      Subordinated Claims

 The allowance, classification, and treatment of all Allowed Claims and Interests and the respective
 Distributions and treatments under the Plan take into account and conform to the relative priority and
 rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
 subordination rights relating thereto, whether arising under general principles of equitable subordination,
 section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code,
 the Liquidating Trustee reserves the right to reclassify any Allowed Claim or Interest in accordance with
 any contractual, legal, or equitable subordination relating thereto.

                3.      Binding Effect

 As of the Effective Date, the Plan shall bind all holders of Claims against and Interests in the Debtors and
 their respective successors and assigns, notwithstanding whether any such holders were (a) Impaired or
 Unimpaired under the Plan; (b) presumed to accept or deemed to reject the Plan; (c) failed to vote to
 accept or reject the Plan; (d) voted to reject the Plan; or (e) received any Distribution under the Plan.

                4.      Sale Order

 Nothing contained in the Plan, the Disclosure Statement or the Confirmation Order constitutes or shall be
 construed to be inconsistent with the terms of the Sale Order or any modification or amendment to the
 Sale Order.

                5.      Closing of Chapter 11 Cases

 After an Estate has been fully administered, the Liquidating Trustee shall seek authority from the
 Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the Bankruptcy Code and
 Bankruptcy Rules.




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                6.     Notice of Effective Date

 As soon as practicable, but not later than three (3) Business Days following the Effective Date, the
 Debtors shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.

                7.     Term of Injunctions or Stays

 Unless otherwise provided in the Plan, the Confirmation Order, or in a Final Order of the Bankruptcy
 Court, all injunctions or stays arising under or entered during the Chapter 11 Cases under section 105 or
 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
 force and effect until the later of the Effective Date and the date indicated in the order providing for such
 injunction or stay.

                8.     Injunction

                  (a)     Upon entry of the Confirmation Order, all holders of Claims and Interests
 and other parties in interest, along with their respective present or former employees, agents,
 officers, directors, principals, and affiliates, shall be enjoined from taking any actions to interfere
 with the implementation or consummation of the Plan.

                  (b)     Except as expressly provided in the Plan, the Confirmation Order, or a
 separate order of the Bankruptcy Court, all Entities who have held, hold, or may hold Claims
 against or Interests in any or all of the Debtors (whether proof of such Claims or Interests has been
 filed or not and whether or not such Entities vote in favor of, against or abstain from voting on the
 Plan or are presumed to have accepted or deemed to have rejected the Plan) and other parties in
 interest, along with their respective present or former employees, agents, officers, directors,
 principals, and affiliates are permanently enjoined, on and after the Effective Date, with respect to
 such Claims and Interests, from (i) commencing, conducting, or continuing in any manner, directly
 or indirectly, any suit, action, or other proceeding of any kind (including any proceeding in a
 judicial, arbitral, administrative or other forum) against or affecting the Debtors or the Liquidating
 Trustee or the property of any of the Debtors or the Liquidating Trustee, (ii) enforcing, levying,
 attaching (including any prejudgment attachment), collecting, or otherwise recovering by any
 manner or means, whether directly or indirectly, any judgment, award, decree, or order against the
 Debtors or the Liquidating Trustee or the property of any of the Debtors or the Liquidating
 Trustee, (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
 encumbrance of any kind against the Debtors or the Liquidating Trustee or the property of any of
 the Debtors or the Liquidating Trustee, (iv) asserting any right of setoff, directly or indirectly,
 against any obligation due from the Debtors or the Liquidating Trustee or against property or
 interests in property of any of the Debtors or the Liquidating Trustee; and (v) acting or proceeding
 in any manner, in any place whatsoever, that does not conform to or comply with the provisions of
 the Plan.

                 (c)     By accepting Distributions pursuant to the Plan, each holder of an Allowed
 Claim extinguished, discharged, or released pursuant to the Plan shall be deemed to have
 affirmatively and specifically consented to be bound by the Plan, including the injunctions set forth
 in Section 11.8 of the Plan.

               (d)      The injunctions in Section 11.8 of the Plan shall extend to any successors of
 the Debtors and their respective property and interests in property.




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                9.     Releases

                     (a)       Debtor Release.

 As of the Effective Date, except for the right to enforce the Plan or any right or obligation arising
 under the Definitive Documents that remain in effect after the Effective Date, for good and valuable
 consideration, on and after the Effective Date, the Released Parties shall be deemed released and
 discharged, by the Debtors, the Liquidating Trustee, and the Estates, and any Entity seeking to
 exercise the rights of or on behalf of the Estates, and any successors to the Debtors or any Estate
 representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy Code, to the
 maximum extent permitted by law, as such law may be extended subsequent to the Effective Date,
 from any and all Causes of Action that the Debtors, the Liquidating Trustee, or the Debtors’
 Estates would have been legally entitled to assert in their own right (whether individually or
 collectively) or on behalf of the holder of any Claim or Interest or other Entity, based on or relating
 to, or in any manner arising from, in whole or in part, the Debtors, the Debtors’ Estates, the
 conduct of the Debtors’ businesses, the filing and administration of the Chapter 11 Cases, including
 the Asset Purchase Agreement, the purchase, sale or rescission of the purchase or sale of any
 security of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim
 or Interest that is treated in the Plan, the business or contractual arrangements between any
 Debtor and any Released Party, the restructuring of any Claim or Interest before or during the
 Chapter 11 Cases, the Disclosure Statement, the Plan, and the Definitive Documents, or any related
 agreements, instruments, or other documents, and the negotiation, formulation, or preparation or
 implementation thereof, the solicitation of votes with respect to the Plan, or any other act or
 omission, in all cases based upon any act or omission, transaction, agreement, or other event taking
 place on or before the Effective Date; provided, that, nothing in Section 11.9(a) of the Plan shall be
 construed to release the Released Parties from gross negligence, willful misconduct, criminal
 misconduct or intentional fraud as determined by a Final Order by a court of competent
 jurisdiction; provided, further, that nothing shall be construed to release the Released Parties from
 any Canadian Causes of Action. For the avoidance of doubt, nothing in the Plan shall release any
 Claim or Cause of Action that is expressly preserved and not released pursuant to the terms of the
 Asset Purchase Agreement.

                     (b)       Third Party Release.

 As of the Effective Date, except for the right to enforce the Plan or any right or obligation arising
 under the Definitive Documents that remains in effect after the Effective Date (including the right
 of the Liquidating Trust Board to prosecute, enforce, abandon, settle, compromise, release,
 withdraw, or litigate to judgment any Preserved Causes of Action, including the Specified Causes of
 Action), for good and valuable consideration, on and after the Effective Date, in accordance with
 section 1141 of the Bankruptcy Code, each of the Released Parties shall be deemed released and
 discharged, to the maximum extent permitted by law, as such law may be extended subsequent to
 the Effective Date, except as otherwise provided in the Plan, by each of the following (all such
 persons or Entities, the “Releasing Parties”):

                           (i)     the holders of all Claims or Interests who vote to accept or are
                     presumed to accept the Plan,

                            (ii)    the holders of Claims or Interests who reject the Plan or abstain
                     from voting on the Plan but do not opt out of these releases on the Ballots,

                               (iii)   each of the Released Parties (other than the Debtors), and


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                             (iv)   with respect to any entity in the foregoing clauses (i) through (iii), (x)
                     such entity’s predecessors, successors, and assigns, and (y) all persons entitled to
                     assert Claims through or on behalf of such entities with respect to the matters for
                     which the releasing entities are providing releases.

 in each case, from any and all Causes of Action that such Entity would have been legally entitled to
 assert in its own right (whether individually or collectively) based on or relating to, or in any
 manner arising from, in whole or in part, the Debtors, the Debtors’ Estates, the Plan, the filing and
 administration of the Chapter 11 Cases, including the Asset Purchase Agreement, the Sale
 Transaction, the purchase, sale or rescission of the purchase or sale of any security of the Debtors,
 the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
 treated in the Plan, the business or contractual arrangements between any Debtor and any
 Released Party (other than assumed contracts or leases), the restructuring of Claims and Interests
 before or during the Chapter 11 Cases, the negotiation, formulation, preparation or consummation
 of the Plan (including the Plan Supplement), the Definitive Documents, or any related agreements,
 instruments or other documents, or the solicitation of votes with respect to the Plan, in all cases
 based upon any other act or omission, transaction, agreement, event or other occurrence taking
 place on or before the Effective Date; provided, that, nothing in Section 11.9(b) of the Plan shall be
 construed to release the Released Parties from gross negligence, willful misconduct, criminal
 misconduct or intentional fraud as determined by a Final Order by a court of competent
 jurisdiction; provided, further, that, nothing in Section 11.9(b) of the Plan shall be construed to
 release any Claim or Cause of Action relating to or arising from the Sale Transaction following
 entry of the Sale Order by the Bankruptcy Court. The Releasing Parties shall be permanently
 enjoined from prosecuting any of the foregoing Claims or Causes of Action released under Section
 11.9(b) of the Plan against each of the Released Parties.

                     (c)       PBGC Release.

 As of the Effective Date, to the maximum extent permitted by applicable law,

                             (i)    the Debtors, the Liquidating Trustee, the Liquidating Trust, and the
                     Estates, and any successors to the Debtors or any Estate representative appointed or
                     selected pursuant to section 1123(b)(3) of the Bankruptcy Code, and the Debtors’
                     professionals, employees, officers, directors, attorneys, financial advisors,
                     representatives, administrators, and all persons or entities acting by, through, or in
                     any way on behalf of the Debtors, for good and valuable consideration, shall be
                     deemed to be absolutely, unconditionally, and irrevocably released and forever
                     discharged by the PBGC and the Pension Plans from any and all pension funding
                     Claims, UBL Claims, and any Causes of Action based on or relating to the PBGC
                     Agreements other than the Allowed PBGC Unsecured Claims or the PBGC
                     Liquidating Trust Priority Interest; provided, that, notwithstanding the foregoing,
                     or any contrary term in any Definitive Document (including, without limitation, any
                     ballot executed by PBGC in connection with a Chapter 11 Plan), all of PBGC’s
                     claims and rights under the PBGC Agreements and all related agreements (each as
                     amended), pension funding Claims, UBL Claims, other claims, and any causes of
                     action against non-Debtor third parties (including, without limitation, any ESL
                     Party or any other party to any PBGC Agreement) and non-Debtor members of the
                     SHC controlled group, including, without limitation, KCD IP, LLC and Sears
                     Reinsurance Company, Ltd., shall remain in full force and effect and not impaired
                     in any respect whatsoever; provided, further, for the avoidance of doubt, that



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                      nothing in the Definitive Documents shall in any way release, affect, or impair any
                      lien or security interest held by PBGC as a result of any PBGC Agreement; and

                               (ii)   the Debtors, the Liquidating Trustee, the Liquidating Trust, the
                      Estates, and any successors to the Debtors or any Estate representative appointed or
                      selected pursuant to section 1123(b)(3) of the Bankruptcy Code, for good and
                      valuable consideration, shall be deemed to have absolutely, unconditionally, and
                      irrevocably released and forever discharged the Pension Plans, any of the Pension
                      Plans’ assets, PBGC, and PBGC’s professionals, employees, officers, directors,
                      attorneys, financial advisors, representatives, administrators, and all persons or
                      entities acting by, through, or in any way on behalf of PBGC, of and from any and
                      all Causes of Action (including, without limitation, all Causes of Action based on or
                      relating to the PBGC Agreements or arising pursuant to 11 U.S.C. §§ 544-550),
                      claims, debts, defenses, set off or recoupment rights, liabilities, costs, attorneys’ fees,
                      actions, suits at law or equity, demands, contracts, expenses, and damages, of any
                      kind or nature whatsoever; provided that nothing contained herein releases any
                      claims of any non-Debtors as against PBGC; provided, further, that nothing shall be
                      construed to release any party from any Canadian Causes of Action.

                   (d)     Notwithstanding anything to the contrary in the Plan, nothing in the Plan
 shall limit the liability of professionals to their clients pursuant to applicable law.

                10.     Exculpation

 To the maximum extent permitted by applicable law, no Exculpated Party will have or incur, and
 each Exculpated Party is hereby released and exculpated from, any claim, obligation, suit,
 judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and liability for conduct
 occurring on or after the Commencement Date in connection with or arising out of the filing and
 administration of the Chapter 11 Cases, including the Asset Purchase Agreement; the negotiation
 and pursuit of the Disclosure Statement, the restructuring transactions, the Plan, or the solicitation
 of votes for, or confirmation of, the Plan; the funding or consummation of the Plan (including the
 Plan Supplement), the Definitive Documents, or any related agreements, instruments, or other
 documents, the solicitation of votes on the Plan, the offer, issuance, and Distribution of any
 securities issued or to be issued pursuant to the Plan, whether or not such Distributions occur
 following the Effective Date; the occurrence of the Effective Date, negotiations regarding or
 concerning any of the foregoing; or the administration of the Plan or property to be distributed
 under the Plan; the wind down of the businesses of any of the Debtors; or the transactions in
 furtherance of any of the foregoing; except for acts or omissions of an Exculpated Party arising out
 of or related to acts or omissions that constitute fraud, gross negligence, criminal misconduct or
 willful misconduct. This exculpation shall be in addition to, and not in limitation of, all other
 releases, indemnities, exculpations, and any other applicable law or rules protecting such
 Exculpated Parties from liability.

                11.     Limitations on Executable Assets with Respect to the D&O Claims

 Any recovery by or on behalf of the Liquidating Trust (and the beneficiaries thereof) on account of any
 Preserved Cause of Action against any of the Specified Directors and Officers, solely in his or her
 capacity as a director of the Debtors prior to the Effective Date, or officer of the Debtors prior to the
 closing of the Sale Transaction, as applicable, including in each case by way of settlement or judgment,
 shall be limited to the Debtors’ available D&O Policies’ combined limits, after payment from such D&O
 Policies of any and all covered costs and expenses incurred by the covered parties in connection with the


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 defense of any D&O Claim (the “Insurance Coverage”). No party, including the Liquidating Trustee,
 shall execute, garnish or otherwise attempt to collect on any settlement of or judgment in the D&O
 Claims upon any assets of the Specified Directors and Officers except to the extent necessary to trigger
 the Insurance Coverage. In the event Insurance Coverage is denied for any settlement or judgment in the
 Liquidating Trust’s favor, the Specified Directors and Officers shall assign any claims for coverage or
 other rights of recovery they may have against the D&O Policy insurers to the Liquidating Trust.

                12.     Solicitation of Plan

 As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be deemed to have
 solicited acceptances of the Plan in good faith and in compliance with the applicable provisions of the
 Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the Bankruptcy Code, and any
 applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection
 with such solicitation; and (b) the Debtors and each of their respective directors, officers, employees,
 affiliates, agents, financial advisors, investment bankers, professionals, accountants, and attorneys shall
 be deemed to have participated in good faith and in compliance with the applicable provisions of the
 Bankruptcy Code in the offer and issuance of any securities under the Plan, and therefore are not, and on
 account of such offer, issuance, and solicitation shall not be, liable at any time for any violation of any
 applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or the
 offer and issuance of any securities under the Plan.

                13.     Corporate and Limited Liability Company Action

 Upon the Effective Date, all actions contemplated by the Plan (including any action to be undertaken by
 the Liquidating Trustee) shall be deemed authorized and approved in all respects, and, to the extent taken
 prior to the Effective Date, ratified without any requirement for further action by holders of Claims or
 Interests, the Debtors, or any other Entity or person. All matters provided for in the Plan involving the
 corporate structure of the Debtors, and any corporate action required by the Debtors in connection with
 the Plan shall be deemed to have occurred and shall be in effect, without any requirement of further action
 by the Security holders, directors, members, managers, or officers of the Debtors, the Liquidating Trust,
 the Liquidating Trustee or the Liquidating Trust Board. On or (as applicable) before the Effective Date,
 the authorized officers of the Debtors, as applicable, shall be authorized and directed to issue, execute,
 and deliver the agreements, documents, and instruments contemplated by the Plan (or necessary or
 desirable to effect the transactions contemplated by the Plan). The authorizations and approvals
 contemplated by this Section 11.13 shall be effective notwithstanding any requirements under non-
 bankruptcy law.

           K.        Retention of Jurisdiction

                1.      Retention of Jurisdiction

 On and after the Effective Date, the Bankruptcy Court shall retain non-exclusive jurisdiction over all
 matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the
 following purposes:

                  (a)     to allow, disallow, determine, liquidate, classify, estimate, or establish the
 priority, secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
 request for payment of any administrative or priority Claim and the resolution of any and all objections to
 the secured or unsecured status, priority, amount, or allowance of claims or interests;




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                  (b)     to hear and determine settlements and disputes with respect to any Liquidating
 Trust Asset, including the Preserved Causes of Action;

                 (c)      to decide and resolve all matters related to the granting and denying, in whole or
 in part, any applications for allowance of compensation or reimbursement of expenses to professionals
 authorized pursuant to the Bankruptcy Code or the Plan;

                  (d)     to resolve any matters related to: (1) the assumption, assumption and assignment,
 or rejection of any executory contract or unexpired lease to which a Debtor is party or with respect to
 which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any claims arising
 therefrom, including cure amounts pursuant to section 365 of the Bankruptcy Code, (2) any potential
 contractual obligation under any executory contract or unexpired lease that is assumed or assumed and
 assigned, and (3) any dispute regarding whether a contract or lease is or was executory or expired;

                 (e)      to ensure that Distributions to holders of Allowed claims are accomplished
 pursuant to the provisions of the Plan and the Liquidating Trust Agreement; enter and implement such
 orders as may be necessary or appropriate to execute, implement, or consummate the provisions of the
 Plan and all contracts, instruments, releases, indentures and other agreements or documents created in
 connection with the Plan or the Disclosure Statement;

                  (f)    to hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
 expedited determinations under section 505(b) of the Bankruptcy Code filed, or to be filed, with respect to
 tax returns of the Debtors and of any Liquidating Trust for any and all taxable periods ending after the
 Commencement Date through the dissolution of such Debtor or Liquidating Trust, as applicable);

                (g)      to issue injunctions, enter and implement other orders, or take such other actions
 as may be necessary to restrain interference by any entity with consummation or enforcement of the Plan;

                 (h)     to determine any other matters that may arise in connection with or relate to the
 Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release, indenture or
 other agreement or document created in connection with the Plan or the Disclosure Statement;

                     (i)       to enter an order or final decree concluding or closing the Chapter 11 Cases;

                 (j)     to consider any modifications of the Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

                  (k)     to determine requests for the payment of claims and interests entitled to priority
 pursuant to section 507 of the Bankruptcy Code;

                (l)     to hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising under
 agreements, documents or instruments executed or deemed executed in connection with the Plan;

                (m)     to hear and determine all disputes involving the existence, nature, scope or
 enforcement of any exculpations, discharges, injunctions and releases granted in the Plan;

                (n)      to enter, implement, or enforce such orders as may be appropriate in the event the
 Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;



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                (o)    to hear and determine all disputes with the respect to the Sale Order and the
 Asset Purchase Agreement;

                (p)    to determine disputes with respect to removal of Liquidating Trust Board
 Members or the Liquidating Trustee;

                      (q)      to enforce the PBGC Settlement and PBGC Settlement Agreement;

                      (r)      to enforce all orders previously entered by the Bankruptcy Court; and

                      (s)      to hear any other matter not inconsistent with the Bankruptcy Code.

                2.      Courts of Competent Jurisdiction

 If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
 without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of
 jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction
 by any other court having competent jurisdiction with respect to such matter.

           L.        Miscellaneous Provisions

                1.      Payment of Statutory Fees

 On the Effective Date and thereafter as may be required, the Liquidating Trustee shall pay all fees
 incurred pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States Code,
 together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for the Debtors’
 cases, or until such time as a final decree is entered closing the Debtors’ cases, a Final Order converting
 the Debtors’ cases to cases under chapter 7 of the Bankruptcy Code is entered, or a Final Order
 dismissing the Debtors’ cases is entered.

                2.      Substantial Consummation of the Plan

 On the Effective Date, the Plan shall be deemed to be substantially consummated under sections 1101 and
 1127(b) of the Bankruptcy Code.

                3.      Plan Supplement

 The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court. Upon its filing with the
 Bankruptcy Court, the Plan Supplement may be inspected in the office of the Clerk of the Bankruptcy
 Court during normal court hours. Documents included in the Plan Supplement will be posted at the
 website of the Debtors’ notice, claims, and solicitation agent.

                4.      Amendments

 (a)     Plan Modifications. The Debtors reserve the right, in accordance with the Bankruptcy Code and
 the Bankruptcy Rules, and in consultation with the Creditors’ Committee, to amend, modify, or
 supplement the Plan (i) prior to the entry of the Confirmation Order, including amendments or
 modifications to satisfy section 1129(b) of the Bankruptcy Code, and (ii) after entry of the Confirmation
 Order, in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by
 law, in each case, without additional disclosure pursuant to section 1125 of the Bankruptcy Code. In
 addition, after the Confirmation Date, so long as such action does not materially and adversely affect the


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 treatment of holders of Allowed Claims pursuant to this Plan, the Debtors may remedy any defect or
 omission or reconcile any inconsistencies in this Plan or the Confirmation Order with respect to such
 matters as may be necessary to carry out the purposes or effects of this Plan, and any holder of a Claim
 that has accepted this Plan shall be deemed to have accepted this Plan as amended, modified, or
 supplemented.

 (b)    Other Amendments. Before the Effective Date, the Debtors may make appropriate technical
 adjustments and modifications to the Plan, the documents contained in the Plan Supplement, and the
 documents prepared in connection herewith without further order or approval of the Bankruptcy Court.

                5.     Revocation or Withdrawal of Plan

 The Debtors reserve the right, in consultation with the Creditors’ Committee to revoke or withdraw the
 Plan prior to the Effective Date. If the Plan has been revoked or withdrawn prior to the Effective Date, or
 if confirmation or the occurrence of the Effective Date does not occur, then: (a) the Plan shall be null and
 void in all respects; (b) any settlement or compromise embodied in the Plan (including the fixing or
 limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption of executory
 contracts or unexpired leases affected by the Plan, and any document or agreement executed pursuant to
 the Plan shall be deemed null and void; and (c) nothing contained in the Plan shall (i) constitute a waiver
 or release of any Claim by or against, or any Interest in, the Debtors or any other Entity; (ii) prejudice in
 any manner the rights of the Debtors or any other Entity; or (iii) constitute an admission of any sort by the
 Debtors or any other Entity.

                6.     Dissolution of Creditors’ Committee

 On the Effective Date, the Creditors’ Committee shall dissolve and, on the Effective Date, each member
 (including each officer, director, employee, or agent thereof) of the Creditors’ Committee and each
 professional retained by the Creditors’ Committee shall be released and discharged from all rights, duties,
 responsibilities, and obligations arising from, or related to, the Debtors, their membership on the
 Creditors’ Committee, the Plan, or the Chapter 11 Cases; provided, however, that the Creditors’
 Committee shall stay in existence for the purposes of filing and prosecuting any final fee applications and
 any other matters concerning any Fee Claims held or asserted by any professional or any appeals of the
 Confirmation Order. The Debtors or the Liquidating Trust, as applicable, shall not be responsible for
 paying the fees or expenses incurred by the members of or advisors to the Creditors’ Committee after the
 Effective Date, except for the fees and expenses incurred by the professionals to the Creditors’ Committee
 in connection with any matters concerning any Fee Claims or any appeals of the Confirmation Order.




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                7.     Severability of Plan Provisions

 If, before the entry of the Confirmation Order, any term or provision of the Plan is held by the Bankruptcy
 Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have
 the power to alter and interpret such term or provision to make it valid or enforceable to the maximum
 extent practicable, consistent with the original purpose of the term or provision held to be invalid, void, or
 unenforceable, and such term or provision shall then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
 of the Plan will remain in full force and effect and will in no way be affected, impaired or invalidated by
 such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
 determination and shall provide that each term and provision of the Plan, as it may have been altered or
 interpreted in accordance with the foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral
 to the Plan and may not be deleted or modified without the consent of the Debtors or the Liquidating
 Trustee (as the case may be), and (c) nonseverable and mutually dependent.

                8.     Additional Documents

 On or before the Effective Date, the Debtors may file with the Bankruptcy Court such agreements and
 other documents as may be necessary or appropriate to effectuate and further evidence the terms and
 conditions of the Plan. The Debtors, the Liquidating Trustee and all holders of Claims receiving
 Distributions pursuant to the Plan and all other parties in interest shall, prepare, execute, and deliver any
 agreements or documents and take any other actions as may be necessary or advisable to effectuate the
 provisions and intent of the Plan.

                9.     Governing Law

 Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the extent an
 exhibit hereto or a schedule in the Plan Supplement or a Definitive Document provides otherwise, the
 rights, duties, and obligations arising under the Plan shall be governed by, and construed and enforced in
 accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
 laws thereof; provided, that corporate or entity governance matters relating to any Debtors shall be
 governed by the laws of the state of incorporation or organization of the applicable Debtors.

                10.    Time

 In computing any period of time prescribed or allowed by the Plan, unless otherwise set forth in the Plan
 or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

                11.    Dates of Actions to Implement the Plan

 In the event that any payment or act under the Plan is required to be made or performed on a date that is
 on a Business Day, then the making of such payment or the performance of such act may be completed on
 or as soon as reasonably practicable after the next succeeding Business Day, but shall be deemed to have
 been completed as of the required date.

                12.    Immediate Binding Effect

 Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the occurrence of the
 Effective Date, the terms of the Plan and Plan Supplement shall be immediately effective and enforceable
 and deemed binding upon and inure to the benefit of the Debtors, the holders of Claims and Interests, the



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 Released Parties, and each of their respective successors and assigns, including, without limitation, the
 Liquidating Trustee.

                13.     Deemed Acts

 Subject to and conditioned on the occurrence of the Effective Date, whenever an act or event is expressed
 under the Plan to have been deemed done or to have occurred, it shall be deemed to have been done or to
 have occurred without any further act by any party, by virtue of the Plan and the Confirmation Order.

                14.     Successor and Assigns

 The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on,
 and shall inure to the benefit of any heir, executor, administrator, successor, or permitted assign, if any, of
 each Entity.

                15.     Entire Agreement

 On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall supersede all
 previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, other than the PBGC Settlement Agreement, all of which have become
 merged and integrated into the Plan.

                16.     Exhibits to Plan

 All exhibits, schedules, supplements, and appendices to the Plan (including the Plan Supplement) are
 incorporated into and are a part of the Plan as if set forth in full in the Plan.

                17.     Notices

 All notices, requests, and demands to or upon the Debtors, the Creditors’ Committee, the Liquidating
 Trustee or the Liquidating Trust Board, as applicable, to be effective shall be in writing (including by
 electronic or facsimile transmission) and, unless otherwise expressly provided in the Plan, shall be
 deemed to have been duly given or made when actually delivered or, in the case of notice by facsimile
 transmission, when received and telephonically confirmed, addressed as follows:

                      (a)      If to the Debtors:

                               Sears Holding Corporation
                               3333 Beverly Road
                               Hoffman Estates, Illinois 60179
                               Attn: Mohsin Meghji
                               Email: mmeghji@miiipartners.com

                                       -and-




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                               Weil, Gotshal & Manges LLP
                               767 Fifth Avenue
                               New York, New York 10153
                               Attn: Ray C. Schrock, P.C.
                                       Jacqueline Marcus
                                       Garrett A. Fail
                                       Sunny Singh
                               Telephone: (212) 310-8000
                               Facsimile: (212) 310-8007
                               Email: ray.schrock@weil.com
                                       jacqueline.marcus@weil.com
                                       garrett.fail@weil.com
                                       sunny.singh@weil.com

                      (b)      If to the Creditors’ Committee:

                               Akin Gump Strauss Hauer & Feld LLP
                               One Bryant Park
                               New York, New York 10036
                               Attn: Ira S. Dizengoff
                                      Philip C. Dublin
                                      Sara L. Brauner
                               Telephone: (212) 872-1000
                               Facsimile: (212) 872-1002
                               Email: idizengoff@akingump.com
                                      pdublin@akingump.com
                                      sbrauner@akingump.com

                      (c)      If to the Liquidating Trustee or Liquidating Trust Board:

                               [●].


 After the Effective Date, the Liquidating Trustee has authority to send a notice to Entities that to continue
 to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request to receive
 documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Liquidating Trustee is
 authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those
 Entities who have filed such renewed requests.

                                                          VI.
                            TRANSFER RESTRICTIONS AND CONSEQUENCES
                                UNDER FEDERAL SECURITIES LAWS

           A.        Liquidating Trust Interests

                1.      Applicability of Section 1145 and Transfer Restrictions

 Section 1145 of the Bankruptcy Code genera1ly exempts from registration under the Securities Act the
 offer or sale, under a chapter 11 plan, of a security of a debtor, of an affiliate participating in a joint plan
 with the debtor, or of a successor to a debtor under a plan, if such securities are offered or sold in
 exchange for a claim against, or equity interest in, such debtor or affiliate or principally in such exchange


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 and partly for cash. Because the Liquidating Trust is a successor to the Debtors for purposes of section
 1145 of the Bankruptcy Code, the offer and sale of trust interests (to the extent that they are deemed to
 constitute “securities” within the meaning of the Securities Act) will be exempt from registration under
 the registration requirements of the Securities Act, all rules and regulations promulgated thereunder, and
 all applicable state and local securities laws and regulations. Pursuant to the terms of the Liquidating
 Trust Agreement, however, a Liquidating Trust Interest will not be certificated and is not transferable or
 assignable except by will, intestate succession or operation of law.

 Moreover, to the maximum extent provided by Section 1145 of the Bankruptcy Code and applicable non-
 bankruptcy laws, rules and regulations, the offer and sale under the Plan of the Liquidating Trust Interests
 will be exempt from registration under the Securities Act, all rules and regulations promulgated
 thereunder, and all applicable state and local securities laws and regulations.

                2.     Listing and SEC Reporting

 As noted above, the Liquidating Trust Interests are not transferable or assignable except by will, intestate
 succession or operation of law. The Liquidating Trust Interests will not be listed for trading on any
 national securities exchange or other organized trading market and the Liquidating Trustee does not
 intend to take any action to encourage or otherwise promote the development of an active trading market.
 [It is possible that the Liquidating Trust will make certain filings with the SEC on a voluntary basis, but
 there is no assurance that the Liquidating Trust will do so or continue to do so.]

                                            VII.
                     CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF PLAN

 The following discussion summarizes certain U.S. federal income tax consequences of the
 implementation of the Plan to the Debtors and to holders of certain Claims. This discussion does not
 address the U.S. federal income tax consequences to (i) creditors whose Claims are unimpaired or
 otherwise entitled to payment in full in Cash under the Plan (e.g., Secured Claims and Priority Non-Tax
 Claims), (ii) the PBGC (including with respect to any PBGC Unsecured Claims), (iii) the ESL Parties,
 (iv) holders whose Claims were part of the consideration under the Asset Purchase Agreement, or (v)
 purchasers of Claims following the Effective Date.

 The discussion of U.S. federal income tax consequences below is based on the U.S. Internal Revenue
 Code of 1986, as amended (the “Tax Code”), Treasury regulations, judicial authorities, published
 positions of the Internal Revenue Service (“IRS”), and other applicable authorities, all as in effect on the
 date of this Disclosure Statement and all of which are subject to change or differing interpretations,
 possibly with retroactive effect.

 The U.S. federal income tax consequences of the Plan are complex and subject to significant
 uncertainties. The Debtors have not requested an opinion of counsel or a ruling from the IRS with respect
 to any of the tax aspects of the Plan. In accordance with the Asset Purchase Agreement, however, the
 Debtors expect to receive an opinion from counsel to Transform that the Sale Transaction to Transform,
 together with the subsequent liquidation of the Debtors, more likely than not constitutes a tax
 reorganization under section 368(a)(1) of the Tax Code of certain of the Debtors. However, no assurance
 can be given that the IRS will agree with such opinion.

 This discussion does not address foreign, state, or local tax consequences of the Plan, nor does it purport
 to address the U.S. federal income tax consequences of the Plan to special classes of taxpayers (e.g.,
 foreign taxpayers, small business investment companies, regulated investment companies, real estate
 investment trusts, banks and certain other financial institutions, insurance companies, tax-exempt


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 organizations, retirement plans, individual retirement and other tax-deferred accounts, holders that are, or
 hold Claims through, S corporations, partnerships or other pass-through entities for U.S. federal income
 tax purposes, persons whose functional currency is not the U.S. dollar, dealers in securities or foreign
 currency, traders that mark-to-market their securities, persons subject to the alternative minimum tax or
 the “Medicare” tax on unearned income, persons who use the accrual method of accounting and report
 income on an “applicable financial statement,” and persons holding Claims that are part of a straddle,
 hedging, constructive sale, or conversion transaction). In addition, this discussion does not address U.S.
 federal taxes other than income taxes, nor does it address the Foreign Account Tax Compliance Act.

 The following discussion generally assumes that the Plan implements the liquidation of the Debtors for
 U.S. federal income tax purposes (including, as applicable, as distributions pursuant to the tax
 reorganization of the respective Debtors in accordance with the Asset Purchase Agreement) and that all
 distributions to holders of Claims will be taxed accordingly.

 Additionally, this discussion assumes that (i) the various debt and other arrangements to which any of the
 Debtors is a party will be respected for U.S. federal income tax purposes in accordance with their form
 and (ii) except where otherwise indicated, the Claims are held as “capital assets” (generally, property held
 for investment) within the meaning of section 1221 of the Tax Code.

 The following discussion of certain U.S. federal income tax consequences is for informational
 purposes only and is not a substitute for careful tax planning and advice based upon your individual
 circumstances. Each holder of a Claim or Interest is urged to consult its own tax advisor for the U.S.
 federal, state, local and other tax consequences applicable under the Plan.


 A.        Consequences to the Debtors

 Each of the Debtors is a member of an affiliated group of corporations that files a consolidated federal
 income tax return with Sears Holdings as the common parent (the “SHC Tax Group”) or an entity
 disregarded as separate from its owner for U.S. federal income tax purposes whose business activities and
 operations are reflected on the consolidated U.S. federal income tax returns of the SHC Tax Group. The
 Debtors estimate that, as of the Commencement Date, the SHC Tax Group had consolidated net operating
 losses (“NOLs”) of approximately $6 billion, among other tax attributes (including tax basis in assets).
 However, in accordance with the Asset Purchase Agreement, a substantial portion of such NOLs and
 certain of their other tax attributes are expected to be transferred to Transform as a result of the Sale
 Transaction (in combination with the subsequent liquidation of the Debtors) qualifying as one or more
 reorganizations for U.S. federal income tax purposes, subject to reduction with respect to any item of
 cancellation of debt (“COD”) incurred by such Debtors in the taxable year of the Sale Transaction or
 afterwards. The Debtors expect to incur certain additional losses in connection with the implementation
 of the Plan.

 The SHC Tax Group’s ability to utilize its NOLs and certain other tax attributes could be subject to
 limitation if the SHC Tax Group underwent or were to undergo an ownership change within the meaning
 of section 382 of the Tax Code after the Commencement Date. Accordingly, the Debtors obtained a
 Bankruptcy Court order, effective as of the Commencement Date, imposing certain restrictions with
 respect to trading in Sears Holdings stock (and the claiming of a worthless stock deduction by any 50-
 percent shareholder of Sears Holdings, within the meaning of section 382) so as to avoid such an
 ownership change. The Debtors believe that no ownership change of the SHC Tax Group for section 382
 purposes has occurred to date and expect that no such ownership change will occur prior to the liquidation
 of the Debtors as of the Effective Date.



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 The amount of any NOLs and other tax attributes, as well as the application of any limitations, remain
 subject to review and adjustment by the IRS.

           1.        Transfer of Assets to a Liquidating Trust; Dissolution of the Debtors

 Pursuant to the Plan, on or before the Effective Date, a single Liquidating Trust will be established for all
 Debtors for which there are remaining assets (including reserves) as of the end of the Effective Date, and
 on the Effective Date, all of the Liquidating Trust Assets of each Debtor will be transferred to the
 Liquidating Trust. The Debtors will thereafter be dissolved. Accordingly, as of the end of the Effective
 Date, all of the Debtors should be treated as having completely liquidated for U.S. federal income tax
 purposes. For U.S. federal income tax purposes, the transfer of the Liquidating Trust Assets to the
 Liquidating Trust generally is treated as equivalent to a sale of the assets at then fair market value. See
 “—C. Tax Treatment of the Liquidating Trusts and Holders of Beneficial Interests Therein,” below.

 Although the Debtors may recognize taxable income in connection with the transfer of the Liquidating
 Trust Assets to the Liquidating Trust and their liquidation (which is intended to occur prior to December
 31, 2019), the Debtors expect to have sufficient available NOLs and/or other tax attributes to avoid any
 meaningful U.S. federal, state, local or foreign income tax liability. In addition, if as expected, a
 substantial portion of the Debtors’ NOLs or certain of their other tax attributes are transferred to
 Transform as a result of the Sale Transaction qualifying as one or more reorganizations for U.S. federal
 income tax purposes, Transform has under the Asset Purchase Agreement indemnified the Debtors for
 any incremental tax liability incurred by reason of the Sale Transaction qualifying for tax reorganization
 treatment in contrast to taxable sale treatment (including any tax liability incurred in connection with the
 liquidation of the Debtors, other than with respect to any earnings on the Cash proceeds from the Sale
 Transaction).

           2.        Cancellation of Debt

 The Tax Code provides that a debtor must recognize COD income upon the elimination or reduction of
 debt for insufficient consideration. The Tax Code provides an exception to such income recognition
 treatment for any COD arising by reason of the discharge of the debtor’s indebtedness in the bankruptcy
 case or to the extent of the debtor’s insolvency immediately before the cancellation of the debt, but
 generally requires the debtor to reduce certain of its tax attributes – such as current year NOLs, NOL
 carryforwards, tax credits, capital losses and tax basis in assets – by the amount of any such excluded
 COD income. Under applicable Treasury Regulations, the reduction in certain tax attributes (such as
 NOL carryforwards) occurs under consolidated return principles, as in the case of the Debtors who are
 members of the SHC Tax Group. COD is generally the amount by which the adjusted issue price of
 cancelled debt exceeds the sum of the amount of Cash and the fair market value of any other property
 given in exchange therefor. In general, any reduction in tax attributes under the COD rules does not occur
 until the end of the tax year after such attributes have been applied to determine the tax for the year or, in
 the case of asset basis reduction, the first day of the taxable year following the tax year in which the COD
 occurs. Under applicable Treasury Regulations, if a debtor corporation incurs excluded COD income
 either during or after a taxable year in which its tax attributes are transferred in a tax reorganization, all
 tax attributes of such debtor in existence immediately prior to the tax reorganization (but after the
 determination of tax for such taxable year) are subject to reduction with respect to such excluded COD
 income. Accordingly, any tax attributes transferred to Transform in a tax reorganization of a Debtor are
 subject to potential reduction with respect to any COD incurred in connection with the liquidation of the
 Debtors. Also, where the debtor joins in the filing of a consolidated U.S. federal income tax return,
 applicable Treasury Regulations require, in certain circumstances, that the tax attributes of the
 consolidated subsidiaries of the debtor and other members of the group also be reduced. Although the
 Debtors expect that substantially all of the NOLs of the SHC Tax Group as of the Sale Transaction will be


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 transferred to Transform as a result of tax reorganizations of certain of the Debtors or reduced as a result
 of the COD rules applicable to such transactions, the Debtors expect to incur losses or otherwise have
 remaining sufficient tax attributes to offset any income or gain incurred in connection with the
 implementation of the Plan.

 B.        Consequences to Holders of Certain Claims

 Pursuant to the Plan, each holder of an Allowed General Unsecured Claim will receive, in full and final
 satisfaction of its applicable claim, a Liquidating Trust Interest representing such holder’s right to receive
 its pro rata share of certain Cash proceeds. As discussed below (see Section C.—“Tax Treatment of the
 Liquidating Trust and Holders of Beneficial Interests Therein”), each holder of an Allowed General
 Unsecured Claim that receives a beneficial interest in the Liquidating Trust will be treated for U.S. federal
 income tax purposes as directly receiving, and as a direct owner of, an undivided interest in the
 Liquidating Trust Assets consistent with its economic rights in the trust. In addition, if, as expected, the
 sale of Sears Holdings’ assets under the Asset Purchase Agreement is classified as a tax reorganization,
 holders of Second Lien Debt Claims will also take into account the receipt of any Securities
 Consideration in determining their U.S. federal income tax consequences under the Plan.

 The following discussion does not necessarily apply to holders who have Claims in more than one class
 relating to the same underlying obligation (such as where the underlying obligation is classified as
 partially secured and partially unsecured). Such holders should consult their tax advisor regarding the
 effect of such dual status obligations on the U.S. federal income tax consequences of the Plan to them.

           1.        Recognition of Gain or Loss

 In general, a holder of an Allowed General Unsecured Claim (other than a holder of a Second Lien Debt
 Claim, as discussed below) will recognize gain or loss with respect to its Allowed General Unsecured
 Claim in an amount equal to the difference between (i) the sum of the amount of any Cash and the fair
 market value of its undivided interest in the Liquidating Trust Assets consistent with its economic rights
 in the trust received in respect of its Claim (other than any consideration attributable to a Claim for
 accrued but unpaid interest or original issue discount (“OID”)) and (ii) the adjusted tax basis of the Claim
 exchanged therefor (other than any tax basis attributable to accrued but unpaid interest or accrued OID
 previously included in the holder’s taxable income). Pursuant to the Plan, the Liquidating Trustee will in
 good faith value the assets transferred to the Liquidating Trust, and all parties to the Liquidating Trusts
 (including holders of Allowed General Unsecured Claims receiving Liquidating Trust Interests) must
 consistently use such valuation for all U.S. federal income tax purposes. As discussed below, the amount
 of Cash or other property received in respect of an Allowed General Unsecured Claim for accrued but
 unpaid interest will be taxed as ordinary income, except to the extent previously included in income by a
 holder under its method of accounting. See Section B.2. below—“Distributions in Respect of Accrued
 But Unpaid Interest or OID.”

 Consistent with the treatment of distributions under the Plan as amounts received in respect of the
 liquidation of the Debtors, any loss realized by a holder of an Allowed General Unsecured Claim may not
 be recognizable until all of the distributions to such holder are received. In the event of the subsequent
 disallowance of any Disputed General Unsecured Claim or the reallocation of undeliverable distributions,
 it is possible that a holder of a previously Allowed Claim may receive additional distributions in respect
 of its Claim. Accordingly, it is possible that the recognition of any loss realized by a holder with respect
 to an Allowed General Unsecured Claim may be deferred until all General Unsecured Claims are
 Allowed or Disallowed. Alternatively, it is possible that a holder will have additional gain in respect of
 any additional distributions received. See also Section C.3.—“Tax Treatment of the Liquidating Trust



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 and Holders of Beneficial Interests Therein – Tax Reporting for Assets Allocable to Disputed Claims,”
 below.

 After the Effective Date, a holder’s share of any collections received on the assets of the Liquidating
 Trust (other than as a result of the subsequent disallowance of Disputed Claims or the reallocation of
 undeliverable distributions) should not be included, for federal income tax purposes, in the holder’s
 amount realized in respect of its Allowed Claim but should be separately treated as amounts realized in
 respect of such holder's ownership interest in the underlying assets of the Liquidating Trust.

 If gain or loss is recognized, such gain or loss may be long-term capital gain or loss if the Allowed
 General Unsecured Claim disposed of is a capital asset in the hands of the holder and has been held for
 more than one year. Each holder of an Allowed General Unsecured Claim should consult its tax advisor
 to determine whether gain or loss recognized by such holder will be long-term capital gain or loss and the
 specific tax effect thereof on such holder. The character of any gain or loss depends on, among other
 things, the origin of the holder’s Allowed General Unsecured Claim, when the holder receives payment in
 respect of such Allowed General Unsecured Claim, whether the holder reports income using the accrual
 or cash method of tax accounting, whether the holder acquired its Allowed General Unsecured Claim at a
 discount, whether the holder has taken a bad debt deduction with respect to such Allowed General
 Unsecured Claim, and/or whether (as intended and herein assumed) the Plan implements the liquidation
 of the Debtors for U.S. federal income tax purposes.

 A holder’s aggregate tax basis in its undivided interest in the Liquidating Trust Assets will equal the fair
 market value of such interest increased by its share of the Debtors’ liabilities to which such assets remain
 subject upon transfer to the Liquidating Trust, and a holder’s holding period generally will begin the day
 following establishment of the Liquidating Trust.

 Pursuant to the Asset Purchase Agreement, holders of Second Lien Debt Claims received a distribution of
 Securities Consideration (as such term is defined in the Asset Purchase Agreement), namely, preferred
 equity interests in Transform. The Securities Consideration was received by certain of the Debtors
 (including Sears Holdings) in partial consideration for the sale of their assets, and distributed (directly or
 indirectly) to holders of the Second Lien Debt. The U.S. federal income tax consequences to a holder of a
 Second Lien Debt Claim receiving Securities Consideration depends, in part, on whether the Second Lien
 Debt Claims constitute “securities” of Sears Holdings for U.S. federal income tax purposes. If, as
 expected, the sale of Sears Holdings’ assets under the Asset Purchase Agreement qualifies as a tax
 reorganization, the Debtors expect to treat the Second Lien Debt Claims as “securities” of Sears Holdings.
 Assuming the sale so qualifies, a holder of Second Lien Debt Claims generally would recognize any gain
 realized (taking into account the Securities Consideration as additional consideration received) to the
 extent of the amount of Cash and the fair market value of all consideration received other than the portion
 of the Securities Consideration that was received by Sears Holdings directly from Transform in partial
 consideration for its assets. However, a holder would not be able to recognize any loss. Holders of
 Second Lien Debt Claims are urged to consult their tax advisor regarding the tax treatment of the
 Securities Consideration and the Sale Transaction.

           2.        Distributions in Respect of Accrued Interest or OID

 In general, to the extent any amount received (whether stock, Cash, or other property) by a holder of a
 debt instrument is received in satisfaction of accrued interest or OID accrued during its holding period,
 such amount will be taxable to the holder as ordinary interest income (if not previously included in the
 holder’s gross income under the holder’s normal method of accounting). Conversely, a holder generally
 recognizes a deductible loss to the extent any accrued interest or OID was previously included in its gross
 income and is not paid in full. However, the IRS has privately ruled, in the case of a tax-free exchange,


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 that a holder could not claim an ordinary deduction with respect to any accrued OID. It is unclear
 whether the same result would obtain in the case of a taxable transaction.

 Pursuant to section 7.17 of the Plan, except as otherwise required by law (as reasonably determined by the
 Liquidating Trustee), distributions with respect to an Allowed Claim will be allocated first to the principal
 portion of such Allowed Claim (as determined for United States federal income tax purposes) and,
 thereafter, to the remaining portion of such Allowed Claim, if any. However, there is no assurance that
 such allocation would be respected by the IRS for U.S. federal income tax purposes. You are urged to
 consult your own tax advisor regarding the allocation of consideration received under the Plan, as well as
 the deductibility of accrued but unpaid interest (including OID) and the character of any loss claimed with
 respect to accrued but unpaid interest (including OID) previously included in gross income for U.S.
 federal income tax purposes.

 C.        Tax Treatment of The Liquidating Trust and Holders of Beneficial Interests Therein

 As indicated above, the Liquidating Trustee will transfer the Liquidating Trust Assets to the Liquidating
 Trust on behalf of all of the claimants and/or holders of Interests of the Debtors.

           1.        Classification of the Liquidating Trust

 The Liquidating Trust is intended to qualify as a “liquidating trust” for U.S. federal income tax purposes
 (other than in respect of any portion of the Liquidating Trust Assets allocable to, or retained on account
 of, Disputed Claims, as discussed below). In general, a liquidating trust is not a separate taxable entity
 but rather is treated for U.S. federal income tax purposes as a “grantor” trust (i.e., a pass-through entity).
 The IRS, in Revenue Procedure 94-45, 1994-2 C.B. 684, set forth the general criteria for obtaining an IRS
 ruling as to the grantor trust status of a liquidating trust under a chapter 11 plan. The Liquidating Trusts
 will be structured with the intention of complying with such general criteria. Pursuant to the Plan, and in
 conformity with Revenue Procedure 94-45 all parties (including, without limitation, the Debtors, the
 Liquidating Trustee and Liquidating Trust Beneficiaries) shall treat the transfer of Liquidating Trust
 Assets to the Liquidating Trust as (1) a transfer of the Liquidating Trust Assets (subject to any obligations
 relating to those assets) directly to Liquidating Trust Beneficiaries (other than to the extent Liquidating
 Trust Assets are allocable to Disputed Claims), followed by (2) the transfer by such beneficiaries to the
 Liquidating Trust of Liquidating Trust Assets in exchange for Liquidating Trust Interests. Accordingly,
 except in the event of contrary definitive guidance, Liquidating Trust Beneficiaries shall be treated for
 U.S. federal income tax purposes as the grantors and owners of their respective share of Liquidating Trust
 Assets (other than such Liquidating Trust Assets as are allocable to Disputed Claims).

 While the following discussion assumes that the Liquidating Trust would be so treated for U.S. federal
 income tax purposes, no ruling will be requested from the IRS concerning the tax status of the
 Liquidating Trust as a grantor trust. Accordingly, there can be no assurance that the IRS would not take a
 contrary position to the classification of the Liquidating Trust as a grantor trust. If the IRS were to
 challenge successfully such classification, the U.S. federal income tax consequences to the Liquidating
 Trusts and the holders of Claims could vary from those discussed herein.

           2.        General Tax Reporting by the Liquidating Trust and Liquidating Trust
                     Beneficiaries

 For all U.S. federal income tax purposes, all parties must treat the Liquidating Trust as a grantor trust of
 which the holders of Liquidating Trust Interests are the owners and grantors, and treat the Liquidating
 Trust Beneficiaries as the direct owners of an undivided interest in the Liquidating Trust Assets (other
 than any assets allocable to Disputed Claims), consistent with their economic interests therein. The


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 Liquidating Trustee will file tax returns for the Liquidating Trust treating the Liquidating Trust as a
 grantor trust pursuant to section 1.671-4(a) of the Treasury Regulations. The Liquidating Trustee also
 shall annually send to each holder of a Liquidating Trust Interest a separate statement regarding the
 receipts and expenditures of the Liquidating Trusts as relevant for U.S. federal income tax purposes.

 Allocations of taxable income of the Liquidating Trust (other than taxable income allocable to any assets
 allocable to, or retained on account of, Disputed Claims, if such income is otherwise taxable at the
 Liquidated Trust) among the Liquidating Trust Beneficiaries will be determined by reference to the
 manner in which an amount of Cash equal to such taxable income would be distributed (were such Cash
 permitted to be distributed at such time) if, immediately prior to such deemed distribution, the Liquidating
 Trust had distributed all its assets (valued at their tax book value, and, if applicable, other than assets
 allocable to Disputed Claims) to the Liquidating Trust Beneficiaries, adjusted for prior taxable income
 and loss and taking into account all prior and concurrent distributions from the Liquidating Trust.
 Similarly, taxable loss of the Liquidating Trust will be allocated by reference to the manner in which an
 economic loss would be borne immediately after a liquidating distribution of the remaining Liquidating
 Trust Assets. The tax book value of the Liquidating Trust Assets for purposes of allocating taxable
 income and loss shall equal their fair market value on the date of the transfer of the Liquidating Trust
 Assets to the Liquidating Trust, adjusted in accordance with tax accounting principles prescribed by the
 Tax Code, applicable Treasury Regulations, and other applicable administrative and judicial authorities
 and pronouncements.

 As soon as reasonably practicable after the transfer of the Liquidating Trust Assets to the Liquidating
 Trust, the Liquidating Trustee shall make a good faith valuation of the Liquidating Trust Assets. All
 parties to the Liquidating Trust (including, without limitation, the Debtors, holders of Allowed General
 Unsecured Claims, and the Liquidating Trust Beneficiaries) must consistently use such valuation for all
 U.S. federal income tax purposes. The valuation will be made available, from time to time, as relevant for
 tax reporting purposes.

 Taxable income or loss allocated to a Liquidating Trust Beneficiary will be treated as income or loss with
 respect to such Liquidating Trust Beneficiary’s undivided interest in the Liquidating Trust Assets, and not
 as income or loss with respect to its prior Allowed General Unsecured Claim. The character of any
 income and the character and ability to use any loss will depend on the particular situation of the
 Liquidating Trust Beneficiary.

 The U.S. federal income tax obligations of a holder with respect to its Liquidating Trust Interest are not
 dependent on the Liquidating Trust distributing any Cash or other proceeds. Thus, a holder may incur a
 U.S. federal income tax liability with respect to its allocable share of the Liquidating Trust’s income even
 if the Liquidating Trust does not make a concurrent distribution to the holder. In general, other than in
 respect of Cash retained on account of Disputed Claims and distributions resulting from undeliverable
 distributions (the subsequent distribution of which still relates to a holder’s Allowed General Unsecured
 Claim), a distribution of Cash by the Liquidating Trust will not be separately taxable to a Liquidating
 Trust Beneficiary since the beneficiary is already regarded for U.S. federal income tax purposes as
 owning the underlying assets (and was taxed at the time the Cash was earned or received by the
 Liquidating Trust). Holders are urged to consult their tax advisors regarding the appropriate U.S. federal
 income tax treatment of any subsequent distributions of Cash originally retained by the Liquidating Trust
 on account of Disputed Claims.

 The Liquidating Trustee will comply with all applicable governmental withholding requirements (see
 section 7.21 the Plan). Thus, in the case of any Liquidating Trust Beneficiaries that are not U.S. persons,
 the Liquidating Trustee may be required to withhold up to 30% of the income or proceeds allocable to
 such persons, depending on the circumstances (including whether the type of income is subject to a lower


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 treaty rate). As indicated above, the foregoing discussion of the U.S. federal income tax consequences of
 the Plan does not generally address the consequences to non-U.S. holders; accordingly, such holders
 should consult their tax advisors with respect to the U.S. federal income tax consequences of the Plan,
 including owning an interest in the Liquidating Trust.

           3.        Tax Reporting for Assets Allocable to Disputed Claims

 Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary (including
 the receipt by the Liquidating Trustee of an IRS private letter ruling if the Liquidating Trustee so requests
 one, or the receipt of an adverse determination by the IRS upon audit if not contested by the Liquidating
 Trustee), the Liquidating Trustee (A) may elect to treat any Liquidating Trust Assets allocable to, or
 retained on account of, Disputed Claims (i.e., a Disputed Claims Reserve) as a “disputed ownership fund”
 governed by section 1.468B-9 of the Treasury Regulations, if applicable, and (B) to the extent permitted
 by applicable law, will report consistently for state and local income tax purposes.

 Accordingly, if a “disputed ownership fund” election is made with respect to a Disputed Claims Reserve,
 such reserve will be subject to tax annually on a separate entity basis on any net income earned with
 respect to the Liquidating Trust Assets (including any gain recognized upon the disposition of such
 assets). All distributions from such reserves (which distributions will be net of the expenses, including
 taxes, relating to the retention or disposition of such assets) will be treated as received by holders in
 respect of their Claims as if distributed by the Debtors. All parties (including, without limitation, the
 Debtors, the Liquidating Trustee and the Liquidating Trust Beneficiaries) will be required to report for tax
 purposes consistently with the foregoing.

 A Disputed Claims Reserve will be responsible for payment, out of the assets of the Disputed Claims
 Reserve, of any taxes imposed on the Disputed Claims Reserve or its assets. In the event, and to the
 extent, any Cash in the Disputed Claims Reserve is insufficient to pay the portion of any such taxes
 attributable to the taxable income arising from the assets of such reserve (including any income that may
 arise upon the distribution of the assets in such reserve), assets of the Disputed Claims Reserve may be
 sold to pay such taxes.

 D.        Withholding on Distributions and Information Reporting

 All distributions to holders of Allowed General Unsecured Claims under the Plan are subject to any
 applicable tax withholding, including employment tax withholding. Under U.S. federal income tax law,
 interest, dividends, and other reportable payments may, under certain circumstances, be subject to
 “backup withholding” at the then applicable withholding rate (currently 24%). Backup withholding
 generally applies if the holder (a) fails to furnish its social security number or other taxpayer identification
 number, (b) furnishes an incorrect taxpayer identification number, (c) fails properly to report interest or
 dividends, or (d) under certain circumstances, fails to provide a certified statement, signed under penalty
 of perjury, that the tax identification number provided is its correct number and that it is not subject to
 backup withholding. Backup withholding is not an additional tax but merely an advance payment, which
 may be refunded to the extent it results in an overpayment of tax. Certain persons are exempt from
 backup withholding, including, in certain circumstances, corporations and financial institutions. Holders
 of Allowed General Unsecured Claims are urged to consult their tax advisors regarding the Treasury
 Regulations governing backup withholding and whether the transactions contemplated by the Plan would
 be subject to these Treasury Regulations.

 In addition, a holder of an Allowed General Unsecured Claim or a Liquidating Trust Beneficiary that is a
 not a U.S. person may be subject to up to 30% withholding, depending on, among other things, the
 particular type of income and whether the type of income is subject to a lower treaty rate. As to certain


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 Claims, it is possible that withholding may be required with respect to Distributions by the Debtors even
 if no withholding would have been required if payment was made prior to the Chapter 11 Cases. A non-
 U.S. holder may also be subject to other adverse consequences in connection with the implementation of
 the Plan. As discussed above, the foregoing discussion of the U.S. federal income tax consequences of
 the Plan does not generally address the consequences to non-U.S. holders. Non-U.S. holders are urged to
 consult their tax advisors regarding potential withholding on Distributions by the Debtors or payments
 from the Liquidating Trust.

 In addition, Treasury Regulations generally require disclosure by a taxpayer on its U.S. federal income
 tax return of certain types of transactions in which the taxpayer participated, including, among other types
 of transactions, certain transactions that result in the taxpayer’s claiming a loss in excess of specified
 thresholds. Holders are urged to consult their tax advisors regarding these Treasury Regulations and
 whether the transactions contemplated by the Plan would be subject to these Treasury Regulations and
 require disclosure on the holder’s tax returns.

                                                     VIII.
                               CERTAIN RISK FACTORS TO BE CONSIDERED

 Prior to voting to accept or reject the Plan, holders of Claims entitled to vote should read and carefully
 consider the risk factors set forth below, in addition to the information set forth in this Disclosure
 Statement together with any attachments, exhibits, or documents incorporated by reference hereto. The
 factors below should not be regarded as the only risks associated with the Plan or its implementation.

           A.        Certain Bankruptcy Law Considerations

                1.      Risk of Non-Confirmation of Plan

 Although the Debtors believe that the Plan will satisfy all requirements necessary for confirmation by the
 Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the same conclusion or
 that modifications to the Plan will not be required for confirmation or that such modifications would not
 necessitate re-solicitation of votes. Moreover, the Debtors can make no assurances that they will receive
 the requisite acceptances to confirm the Plan, and even if all voting Classes voted in favor of the Plan or
 the requirements for “cramdown” are met with respect to any Class that rejects the Plan, the Bankruptcy
 Court, which may exercise substantial discretion as a court of equity, may choose not to confirm the Plan.
 If the Plan is not confirmed, it is unclear what distributions holders of Claims or Interests ultimately
 would receive with respect to their Claims or Interests in a subsequent plan of reorganization or
 otherwise.

                2.      Risk of Failing to Satisfy the Vote Requirement

 In the event that the Debtors are unable to obtain sufficient votes from the Voting Classes, the Debtors
 may seek to accomplish an alternative chapter 11 plan or seek to cram down the Plan on non-accepting
 Classes. There can be no assurance that the terms of any such alternative chapter 11 plan would be
 similar or as favorable to holders of Allowed Claims as those proposed in the Plan.

                3.      Non-Consensual Confirmation

 If any impaired class of Claims or Interests does not accept or is deemed not to accept a plan of
 reorganization, a bankruptcy court may nevertheless confirm such plan at the proponent’s request if at
 least one impaired class has accepted the plan (with such acceptance being determined without including
 the vote of any “insider” in such class), and as to each impaired class that has not accepted the plan, the


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 bankruptcy court determines that the plan “does not discriminate unfairly” and is “fair and equitable” with
 respect to the dissenting impaired classes. Should any Class vote to reject the Plan, then these
 requirements must be satisfied with respect to such rejecting Classes. The Debtors believe that the Plan
 satisfies these requirements.

                4.     Risk Related to Parties in Interest Objecting to the Debtors’ Classification of
                       Claims and Interests

 Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest in a particular
 class only if such claim or interest is substantially similar to the other claims or interests in such class.
 The Debtors believe that the classification of Claims and Interests under the Plan complies with the
 requirements set forth in the Bankruptcy Code. However, there can be no assurance that a party in
 interest will not object or that the Bankruptcy Court will approve the classifications.

                5.     Risks Related to Possible Objections to the Plan

 There is a risk that certain parties could oppose and object to either the entirety of the Plan or specific
 provisions of the Plan. Although the Debtors believe that the Plan complies with all relevant Bankruptcy
 Code provisions, there can be no guarantee that a party in interest will not file an objection to the Plan or
 that the Bankruptcy Court will not sustain such an objection.

                6.     Releases, Injunctions, and Exculpations Provisions May Not Be Approved

 Sections 11.8, 11.9, and 11.10 of the Plan provides for certain releases, injunctions, and exculpations,
 respectively, for claims and Causes of Action that may otherwise be asserted against the Debtors, the
 Reorganized Debtors, the Exculpated Parties, or the Released Parties, as applicable. The releases,
 injunctions, and exculpations provided in the Plan are subject to objection by parties in interest and may
 not be approved. If the releases and exculpations are not approved, certain parties may not be considered
 Releasing Parties, Released Parties, or Exculpated Parties.

                7.     Risk of Non-Occurrence of Effective Date

 Although the Debtors believe that the Effective Date will occur soon after the Confirmation Date, there
 can be no assurance as to the timing of the Effective Date. If the conditions precedent to the Effective
 Date set forth in the Plan have not occurred or have not been waived as set forth in Article X of the Plan,
 then the Confirmation Order may be vacated, in which event no distributions would be made under the
 Plan, the Debtors and all holders of Claims or Interests would be restored to the status quo as of the day
 immediately preceding the Confirmation Date, and the Debtors’ obligations with respect to Claims and
 Interests would remain unchanged.

                8.     Failure to Satisfy Administrative Claims or Otherwise Agree to Alternative
                       Treatment

 To confirm a chapter 11 plan, section 1129(a)(9) of the Bankruptcy Code requires, among other things,
 that “except to the extent that the holder of a particular claim has agreed to a different treatment of such
 claim,” claims entitled to administrative priority under 507(a)(2) or 507(a)(3) must be paid in full in order
 for a debtor to confirm a chapter 11 plan. To the extent that a Debtor is unable to pay such claims in full
 or otherwise agree to treatment with the applicable holder, such Debtor may be unable to confirm a
 chapter 11 plan.




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                9.      Conversion to Chapter 7 Cases

 If no chapter 11 plan can be confirmed, or if the Bankruptcy Court otherwise finds that it would be in the
 best interest of holders of Claims and Interests, the Chapter 11 Cases may be converted to cases under
 chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed to liquidate the
 Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy Code. See
 Section XI.B hereof, as well as the Liquidation Analysis attached hereto as Exhibit D, for a discussion of
 the effects that a chapter 7 liquidation would have on the recoveries of holders of Claims and Interests.

           B.        Additional Factors Affecting Value of Reorganized Debtors

                1.      Claims Could Be More than Projected

 There can be no assurance that the estimated Allowed amount of Claims in certain Classes will not be
 significantly more than projected, which, in turn, could cause the value of distributions to be reduced
 substantially. Inevitably, some assumptions will not materialize, and unanticipated events and
 circumstances may affect the ultimate results. Therefore, the actual amount of Allowed Claims may vary
 from the Debtors’ feasibility analysis, and the variation may be material.

           C.        Risks Related to the Causes of Action

 There is no guarantee that the Debtors or the Liquidating Trustee will choose to prosecute any of the
 Causes of Action, including the Specified Causes of Action and Preserved Causes of Action, as
 applicable. Furthermore, to the extent the Debtors or Liquidating Trustee determine to prosecute a
 potential Cause of Action, there is no guarantee as to the success of pursuing the Causes of Action. The
 success of the Debtors or Liquidating Trustee in pursuing any Cause of Action, as well as the expenses
 incurred in investigating and prosecuting the Causes of Action, may materially affect the recoveries for
 the holders of Allowed Claims.

           D.        Risks Related to Labor

 There is a risk that the Bankruptcy Court may not approve the PBGC Settlement or the Plan as a result of
 the PBGC Settlement.

           E.        Additional Factors

                1.      Debtors Could Withdraw Plan

 The Plan may be revoked or withdrawn prior to the Confirmation Date by the Debtors.

                2.      Debtors Have No Duty to Update

 The statements contained in this Disclosure Statement are made by the Debtors as of the date hereof,
 unless otherwise specified herein, and the delivery of this Disclosure Statement after that date does not
 imply that there has been no change in the information set forth herein since that date. The Debtors have
 no duty to correct or update this Disclosure Statement unless ordered to do so by the Bankruptcy Court.

                3.      No Representations Outside this Disclosure Statement Are Authorized

 No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan are authorized
 by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure Statement.
 Any representations or inducements made to secure your acceptance or rejection of the Plan that are other

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 than those contained in, or included with, this Disclosure Statement should not be relied upon in making
 the decision to accept or reject the Plan.

                4.     No Legal or Tax Advice Is Provided by this Disclosure Statement

 The contents of this Disclosure Statement should not be construed as legal, business, or tax advice. Each
 holder of a Claim or Interest should consult their own legal counsel and accountant as to legal, tax, and
 other matters concerning their Claim or Interest.

 This Disclosure Statement is not legal advice to you. This Disclosure Statement may not be relied upon
 for any purpose other than to determine how to vote on the Plan or object to confirmation of the Plan.

                5.     No Admission Made

 Nothing contained herein or in the Plan shall constitute an admission of, or shall be deemed evidence of,
 the tax or other legal effects of the Plan on the Debtors or holders of Claims or Interests.

                6.     Failure to Identify Litigation Claims or Projected Objections

 No reliance should be placed on the fact that a particular litigation claim or a projected objection to a
 particular Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtors may seek to
 investigate, file, and prosecute Claims and Interests and may object to Claims or Interests after the
 Confirmation or Effective Date of the Plan irrespective of whether this Disclosure Statement identifies
 such Claims or Interests or objections to such Claims or Interests.

                7.     Certain Tax Consequences

 For a discussion of certain U.S. Federal income tax consequences of the implementation of the Plan to the
 Debtors and certain holders of Claims and Interests, see Section VII hereof.

                                                     IX.
                               VOTING PROCEDURES AND REQUIREMENTS

 Before voting to accept or reject the Plan, each holder of a Claim entitled to vote (an “Eligible Holder”)
 should carefully review the Plan attached hereto as Exhibit A. All descriptions of the Plan set forth in this
 Disclosure Statement are subject to the terms and provisions of the Plan.

 This section is qualified in its entirety by the Debtors’ Motion for an Order (I) Approving Notice of
 Disclosure Statement Hearing; (II) Approving Disclosure Statement; (III) Establishing a Record Date;
 (IV) Establishing Notice and Objection Procedures for Confirmation of the Plan; (V) Approving
 Solicitation Packages and Procedures for Distribution Thereof; (VI) Approving the Forms of Ballots and
 Establishing Procedures for Voting on the Plan; and (VII) Approving the Form of Notice to Non-Voting
 Classes Under the Plan and Related Matters, filed on April 17, 2019 the (“Solicitation Motion”) (ECF
 No. [__]).

           A.        Voting Deadline

 All Eligible Holders have been sent a Ballot together with this Disclosure Statement. Such holders should
 read the Ballot carefully and follow the instructions contained therein. Please use only the Ballot that
 accompanies this Disclosure Statement to cast your vote. Special procedures are set forth below for



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 holders of securities through a broker, dealer, commercial bank, trust company, or other agent or nominee
 (“Nominee”).

 Please complete the information requested on the Ballot, sign, date and indicate your vote on the Ballot,
 and return the completed Ballot in accordance with the instructions provided on the Ballot. Note that only
 a Master Ballot (as defined in the Solicitation Motion) may be transmitted via email. Only holders of
 Class 4 – General Unsecured Claims who receive a General Ballot (as defined in the Solicitation Motion),
 may vote through the E-Ballot platform on the Voting Agent’s website. Any other Ballot transmitted to
 the Voting Agent by facsimile, electronic transmission, or other electronic means will NOT be counted.

 FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY RECEIVED BY
 THE VOTING AGENT NO LATER THAN [●], 2019, 5:00 P.M. (PREVAILING EASTERN TIME)
 (THE “VOTING DEADLINE”), UNLESS EXTENDED BY THE DEBTORS.

 ELIGIBLE HOLDERS HOLDING SECOND LIEN PIK NOTES, SECOND LIEN NOTES,
 UNSECURED PIK NOTES, HOLDINGS UNSECURED NOTES, SRAC UNSECURED PIK NOTES,
 OR SRAC UNSECURED NOTES IN “STREET NAME” THROUGH A NOMINEE MAY VOTE AS
 FURTHER DESCRIBED BELOW.

 IF YOU MUST RETURN YOUR BALLOT TO YOUR NOMINEE, YOU MUST RETURN YOUR
 BALLOT TO THEM IN SUFFICIENT TIME FOR THEM TO PROCESS IT AND RETURN THE
 MASTER BALLOT TO THE VOTING AGENT BEFORE THE VOTING DEADLINE.

 IF A BALLOT IS DAMAGED OR LOST, YOU MAY CONTACT THE VOTING AGENT AT THE
 NUMBER SET FORTH BELOW TO RECEIVE A REPLACEMENT BALLOT. ANY BALLOT THAT
 IS EXECUTED AND RETURNED BUT (A) DOES NOT INDICATE AN ACCEPTANCE OR
 REJECTION OF THE PLAN, (B) PARTIALLY ACCEPTS AND PARTIALLY REJECTS THE PLAN,
 OR (C) INDICATES BOTH AN ACCEPTANCE AND REJECTION OF THE PLAN WILL NOT BE
 COUNTED.

 IF YOU HAVE ANY QUESTIONS CONCERNING VOTING PROCEDURES, YOU MAY CONTACT
 THE VOTING AGENT AT: (844) 384-4460 (domestic toll-free) or (929) 955-2419 (international).

 ALTERNATIVELY, YOU CAN EMAIL THE VOTING AGENT AT searsballots@primeclerk.com
 WITH A REFERENCE TO “SEARS” IN THE SUBJECT LINE.

           B.        Voting Procedures

 The Debtors are providing copies of this Disclosure Statement (including all exhibits and appendices) and
 related materials and a Ballot (collectively, a “Solicitation Package”) to Eligible Holders. Record holders
 of certain Claims may include Nominees. If such Nominees do not hold Claims for their own account,
 they must provide copies of the Solicitation Package to their customers that are the Eligible Holders
 thereof as of the Record Date. Any Eligible Holder that has not received a Ballot should contact its
 Nominee, or the Voting Agent.

 Each Ballot sets forth in detail, among other things, the deadlines, procedures, and instructions for voting
 to accept or reject the Plan, the Voting Record Date for voting purposes, and the applicable standards for
 tabulating Ballot. The record date for determining which holders are entitled to vote on the Plan is [May
 9], 2019. The applicable administrative agent or indenture trustee under any debt documents will not vote
 on behalf of its respective holders. Such holders must submit their own Ballot.



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            C.       Parties Entitled to Vote

 Under the Bankruptcy Code, only holders of Claims or Interests in “impaired” classes are entitled to vote
 on the Plan. Under section 1124 of the Bankruptcy Code, a class of Claims or Interests is “impaired”
 under the Plan unless (1) the Plan leaves unaltered the legal, equitable, and contractual rights to which
 such Claim or Interest entitles the holder thereof or (2) notwithstanding any legal right to an accelerated
 payment of such Claim or Interest, the Plan cures all existing defaults (other than defaults resulting from
 the occurrence of events of bankruptcy) and reinstates the maturity of such claim or interest as it existed
 before the default.

 If, however, the holder of an impaired Claim or Interest will not receive or retain any distribution under
 the Plan on account of such Claim or Interest, the Bankruptcy Code deems such holder to have rejected
 the Plan, and, accordingly, holders of such Claims and Interests do not actually vote on the Plan and will
 not receive a Ballot. If a Claim or Interest is not impaired by the Plan, the Bankruptcy Code presumes the
 holder of such Claim or Interest to have accepted the Plan and, accordingly, holders of such Claims and
 Interests are not entitled to vote on the Plan, and also will not receive a Ballot.

 A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e) of the
 Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with the provisions
 of the Bankruptcy Code.

 The Bankruptcy Code defines “acceptance” of a plan by a class of: (1) claims as acceptance by creditors
 in that class that hold at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of
 the claims that cast ballots for acceptance or rejection of the plan; and (2) interests as acceptance by
 interest holders in that class that hold at least two-thirds (2/3) in amount of the interests that cast ballots
 for acceptance or rejection of the plan.

 The Claims in the following classes are impaired under the Plan and entitled to vote to accept or reject the
 Plan:

        •    Class 3 – PBGC Claims
        •    Class 4 – General Unsecured Claims
        •    Class 5 – ESL Unsecured Claims

 Claims in all other Classes are either unimpaired and deemed to accept or impaired and deemed to reject
 the Plan and are not entitled to vote. For a detailed description of the treatment of Claims and Interests
 under the Plan, see Section I.C of this Disclosure Statement.

 The Debtors will request confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code
 over the deemed rejection of the Plan by all Class 6 – Intercompany Claims, Class 7 – Intercompany
 Interest, Class 8 – Subordinated Securities Claims, and Class 9 – Existing SHC Equity Interests. Section
 1129(b) of the Bankruptcy Code permits the confirmation of a chapter 11 plan notwithstanding the
 rejection of such plan by one or more impaired classes of Claims or Interests. Under section 1129(b), a
 plan may be confirmed by a bankruptcy court if it does not “discriminate unfairly” and is “fair and
 equitable” with respect to each rejecting class. For a more detailed description of the requirements for
 confirmation of a nonconsensual plan, see Section X.C of this Disclosure Statement.




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                1.     Beneficial Holders

 An Eligible Holder that holds a Claim as a record holder in its own name should vote on the Plan by
 completing and signing a Ballot (a “Beneficial Holder Ballot”) and returning it directly to the Voting
 Agent on or before the Voting Deadline using the enclosed self-addressed, postage-paid envelope.

 An Eligible Holder holding a Claim in “street name” through a Nominee may vote on the Plan by one of
 the following two methods (as selected by such Eligible Holder’s Nominee):

 •    Complete and sign the enclosed Beneficial Holder Ballot. Return the Beneficial Holder Ballot to
      your Nominee as promptly as possible and in sufficient time to allow such Nominee to process your
      instructions and return a completed “master” Ballot (each, a “Master Ballot”) to the Voting Agent by
      the Voting Deadline. If no self-addressed, postage-paid envelope was enclosed for this purpose,
      contact the Voting Agent for instructions; or
 •    Complete and sign the pre-validated Beneficial Holder Ballot (as described below) provided to you
      by your Nominee. Return the pre-validated Beneficial Holder Ballot to the Voting Agent by the
      Voting Deadline using the return envelope provided in the Solicitation Package.

 Any Beneficial Holder Ballot returned to a Nominee by an Eligible Holder will not be counted for
 purposes of acceptance or rejection of the Plan until such Nominee properly completes and delivers to the
 Voting Agent that Beneficial Holder Ballot (properly validated) or a Master Ballot casting the vote of
 such Eligible Holder.

 If any Eligible Holder owns a Claim through more than one Nominee, such Eligible Holder may receive
 multiple mailings containing the Beneficial Holder Ballot. The Eligible Holder should execute a separate
 Beneficial Holder Ballot for each block of a Claim that it holds through any particular Nominee and
 return each Beneficial Holder Ballot to the respective Nominee in the return envelope provided therewith.
 Eligible Holders that execute multiple Beneficial Holder Ballots with respect to a Claim in a single Class
 held through more than one Nominee must indicate on each Beneficial Holder Ballot the names of all
 such other Nominees and the additional amounts of such Claims so held and voted.

                2.     Nominees

 A Nominee that, on the Record Date, is the record holder of Claims for one or more Eligible Holders can
 obtain the votes of the Eligible Holders of such Claims, consistent with customary practices for obtaining
 the votes of securities held in “street name,” in one of the following two ways:

                       (a)     Pre-Validated Ballot

 The Nominee may “pre-validate” a Beneficial Holder Ballot by indicating thereon the record holder of the
 Claim, the amount of the Claim held by the beneficial owner, the appropriate account numbers through
 which the beneficial owner’s holdings are derived, and the applicable CUSIP number, executing the
 Beneficial Holder Ballot and forwarding such Beneficial Holder Ballot, together with the Disclosure
 Statement, a pre-addressed, postage-paid return envelope addressed to, and provided by, the Voting
 Agent, and other materials requested to be forwarded, to the Eligible Holder for voting. The Eligible
 Holder must then complete the information requested in the Beneficial Holder Ballot, and return the
 Beneficial Holder Ballot directly to the Voting Agent in the pre-addressed, postage-paid return envelope
 so that it is RECEIVED by the Voting Agent on or before the Voting Deadline. A list of the Eligible
 Holders to whom “pre-validated” Beneficial Holder Ballot were delivered should be maintained by
 Nominees for inspection for at least one year from the Voting Deadline.


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                       (b)     Master Ballot

 If the Nominee elects not to pre-validate Beneficial Holder Ballot, the Nominee may obtain the votes of
 Eligible Holders by forwarding to the Eligible Holders the unsigned Beneficial Holder Ballot, together
 with the Disclosure Statement, a pre-addressed, postage-paid return envelope provided by, and addressed
 to, the Nominee, and other materials requested to be forwarded. Each such Eligible Holder must then
 indicate his, her, or its vote on the Beneficial Holder Ballot, complete the information requested on the
 Beneficial Holder Ballot, review the certifications contained on the Beneficial Holder Ballot, execute the
 Beneficial Holder Ballot, and return the Beneficial Holder Ballot to the Nominee. After collecting the
 Beneficial Holder Ballot, the Nominee should, in turn, complete a Master Ballot compiling the votes and
 other information from the Beneficial Holder Ballot, execute the Master Ballot, and deliver the Master
 Ballot to the Voting Agent so that it is RECEIVED by the Voting Agent on or before the Voting
 Deadline. All Beneficial Holder Ballot returned by Eligible Holders should either be forwarded to the
 Voting Agent (along with the Master Ballot) or retained by Nominees for inspection for at least one year
 from the Voting Deadline. EACH NOMINEE SHOULD ADVISE ITS ELIGIBLE HOLDERS TO
 RETURN THEIR BENEFICIAL HOLDER BALLOT TO THE NOMINEE BY A DATE
 CALCULATED BY THE NOMINEE TO ALLOW IT TO PREPARE AND RETURN THE MASTER
 BALLOT TO THE VOTING AGENT SO THAT IT IS RECEIVED BY THE VOTING AGENT ON OR
 BEFORE THE VOTING DEADLINE.

                3.     Miscellaneous

 All Ballots must be signed by the Eligible Holder, or any person who has obtained a properly completed
 Ballot proxy from the Eligible Holder by the Record Date. Unless otherwise ordered by the Bankruptcy
 Court, Ballots that are signed, dated, and timely received, but that (a) do not indicate an acceptance or
 rejection of the Plan, (b) partially accept and partially reject the Plan, or (c) indicate both an acceptance
 and rejection of the Plan, will not be counted. The Debtors, in their sole discretion, may request that the
 Voting Agent attempt to contact such voters to cure any such defects in the Ballot. If you return more
 than one Ballot voting different Claims, and the Ballots are not voted in the same manner, those Ballots
 will not be counted.

 When tabulating votes, the Voting Agent may adjust the amount of such Eligible Holder’s Claim by
 multiplying the principal amount by a factor that reflects all amounts accrued between the Record Date
 and the Petition Date including interest.

 Under the Bankruptcy Code, for purposes of determining whether the requisite acceptances have been
 received, only Eligible Holders that actually vote will be counted. The failure of a holder to deliver a
 duly executed Ballot to the Voting Agent or its Nominee will be deemed to constitute an abstention by
 such holder with respect to voting on the Plan and such abstentions will not be counted as votes for or
 against the Plan.

 Except as provided below, unless the Ballot is timely submitted to the Voting Agent before the Voting
 Deadline together with any other documents required by such Ballot, the Debtors may, in their sole
 discretion, reject such Ballot as invalid, and therefore decline to utilize it in connection with seeking
 confirmation of the Plan.

                4.     Fiduciaries and Other Representatives

 If a Beneficial Holder Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-fact,
 officer of a corporation, or another person acting in a fiduciary or representative capacity, such person
 should indicate such capacity when signing and, if requested, must submit proper evidence satisfactory to


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 the Debtors of authority to so act. Authorized signatories should submit the separate Beneficial Holder
 Ballot of each Eligible Holder for whom they are voting.

 UNLESS THE BALLOT OR THE MASTER BALLOT IS SUBMITTED TO THE VOTING AGENT
 ON OR BEFORE THE VOTING DEADLINE, SUCH BALLOT WILL BE REJECTED AS INVALID
 AND WILL NOT BE COUNTED AS AN ACCEPTANCE OR REJECTION OF THE PLAN;
 PROVIDED, THAT THE DEBTORS RESERVE THE RIGHT, IN THEIR SOLE DISCRETION, TO
 REQUEST THE BANKRUPTCY COURT TO ALLOW SUCH BALLOT TO BE COUNTED.

                5.     Agreements upon Furnishing Ballot

 The delivery of an accepting Ballot pursuant to one of the procedures set forth above will constitute the
 agreement of the voter with respect to such Ballot to accept (a) all of the terms of, and conditions to, this
 solicitation; and (b) the terms of the Plan including the injunction, releases, and exculpations set forth in
 Sections 11.8, 11.9, and 11.10 therein. All parties in interest retain their right to object to confirmation of
 the Plan pursuant to section 1128 of the Bankruptcy Code.

                6.     Change of Vote

 Any party that has previously submitted a properly completed Ballot to the Voting Agent before the
 Voting Deadline may revoke such Ballot and change its vote by submitting to the Voting Agent a
 subsequent, properly completed Ballot for acceptance or rejection of the Plan before the Voting Deadline
 in which case the last properly completed Ballot or Master Ballot will be counted unless the holder of the
 Claim received Court approval otherwise.

           D.        Waivers of Defects, Irregularities, etc.

 Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form, eligibility
 (including time of receipt), acceptance, and revocation or withdrawals of Ballots will be determined by
 the Voting Agent and/or the Debtors, as applicable, in their sole discretion, which determination will be
 final and binding. The Debtors reserve the right to reject any and all Ballots submitted by any of their
 respective creditors not in proper form, the acceptance of which would, in the opinion of the Debtors or
 their counsel, as applicable, be unlawful. The Debtors further reserve their respective rights to waive any
 defects or irregularities or conditions of delivery as to any particular Ballot by any of their creditors. The
 interpretation (including the Ballot and the respective instructions thereto) by the applicable Debtor,
 unless otherwise directed by the Bankruptcy Court, will be final and binding on all parties. Unless
 waived, any defects or irregularities in connection with deliveries of Ballots must be cured within such
 time as the Debtors (or the Bankruptcy Court) determines. Neither the Debtors nor any other person will
 be under any duty to provide notification of defects or irregularities with respect to deliveries of Ballots
 nor will any of them incur any liabilities for failure to provide such notification. Unless otherwise
 directed by the Bankruptcy Court, delivery of such Ballot will not be deemed to have been made until
 such irregularities have been cured or waived. Ballots previously furnished (and as to which any
 irregularities have not theretofore been cured or waived) will be invalidated.




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           E.        Further Information, Additional Copies

 If you have any questions or require further information about the voting procedures for voting your
 Claim, or about the packet of material you received, or if you wish to obtain an additional copy of the
 Plan, this Disclosure Statement, or any exhibits to such documents, please contact the Voting Agent.

                                                           X.
                                       CONFIRMATION OF PLAN

           A.     Confirmation Hearing

 Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation hearing
 upon appropriate notice to all required parties. The Confirmation Hearing is scheduled for [●], 2019
 at _0:00 _.m. (Prevailing Eastern Time). The Confirmation Hearing may be adjourned from time to time
 by the Bankruptcy Court without further notice except for the announcement of the continuation date
 made at the Confirmation Hearing, at any subsequent continued Confirmation Hearing, or pursuant to a
 notice filed on the docket for the Chapter 11 Cases.

           B.     Objections to Confirmation

 Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the confirmation
 of a plan. Any objection to confirmation of the Plan must be in writing, must conform to the Bankruptcy
 Rules and the Local Rules, must set forth the name of the objector, the nature and amount of Claims or
 Interests held or asserted by the objector against the Debtors’ estates or properties, the basis for the
 objection and the specific grounds therefore, and must be filed with the Bankruptcy Court, with a copy to
 the chambers of Judge Robert D. Drain, together with proof of service thereof, and served upon all of the
 below parties.

    To the Debtors, at:
    Weil, Gotshal & Manges LLP
    767 Fifth Avenue
    New York, New York 10153
    Attn: Ray C. Schrock, P.C., Jacqueline Marcus, Esq.,
    Garrett A. Fail, Esq., and Sunny Singh, Esq.
    Telephone: (212) 310-8000
    Facsimile: (212) 310-8007
    E-mail: ray.schrock@weil.com
             jacqueline.marcus@weil.com
             garrett.fail@weil.com
             sunny.singh@weil.com

    To the U.S. Trustee, at                                     To the Creditors’ Committee, at:
    201 Varick Street, Suite 1006,                              Akin Gump Strauss Hauer & Feld LLP
    New York, New York 10014                                    One Bryant Park
    Attn: Paul Schwartzberg, Esq.                               New York, New York 10036
    Telephone: (212) 515-0500                                   Attn: Philip C. Dublin, Esq., Ira Dizengoff, Esq., and
    Facsimile: (212) 668-2255                                   Sara Lynne Brauner, Esq.
    E-mail: paul.schwartzberg@usdoj.gov                         Telephone: (212) 468-8000
                                                                Facsimile: (212) 468-7900
                                                                E-mail: pdublin@akingump.com
                                                                         idizengoff@akingump.com
                                                                         sbrauner@akingump.com



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    [To the PBGC, at:
    Locke Lord LLP
    111 South Wacker Drive
    Chicago, Illinois 60606
    Attn: Brian A. Raynor, Esq.
    Telephone: (312) 443-0700
    Facsimile: (312) 443-0336
    E-mail: braynor@lockelord.com]


  UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT MAY
               NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

           C.        Requirements for Confirmation of Plan

                1.      Requirements of Section 1129(a) of the Bankruptcy Code

 At the Confirmation Hearing, the Bankruptcy Court will determine whether the confirmation
 requirements specified in section 1129(a) of the Bankruptcy Code have been satisfied including, without
 limitation, whether:

                               (i)    the Plan complies with the applicable provisions of the Bankruptcy
                                      Code;

                               (ii)   the Debtors have complied with the applicable provisions of the
                                      Bankruptcy Code;

                               (iii) the Plan has been proposed in good faith and not by any means forbidden
                                     by law;

                               (iv)   any payment made or promised by the Debtors or by a person acquiring
                                      property under the Plan, for services or for costs and expenses in or in
                                      connection with the Chapter 11 Cases, or in connection with the Plan and
                                      incident to the Chapter 11 Cases, has been disclosed to the Bankruptcy
                                      Court, and any such payment made before confirmation of the Plan is
                                      reasonable, or if such payment is to be fixed after confirmation of the
                                      Plan, such payment is subject to the approval of the Bankruptcy Court as
                                      reasonable;

                               (v)    the Debtors have disclosed the identity and affiliations of any individual
                                      proposed to serve, after confirmation of the Plan, as a director or officer
                                      of the Liquidating Trust Board, an affiliate of the Debtors participating in
                                      a Plan with the Debtors, or a successor to the Debtors under the Plan, and
                                      the appointment to, or continuance in, such office of such individual is
                                      consistent with the interests holders of Claims and Interests and with
                                      public policy, and the Debtors have disclosed the identity of any insider
                                      who will be employed or retained by the Liquidating Trust, and the
                                      nature of any compensation for such insider;

                               (vi)   with respect to each Class of Claims or Interests, each holder of an
                                      impaired Claim has either accepted the Plan or will receive or retain
                                      under the Plan, on account of such holder’s Claim, property of a value, as


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                                       of the Effective Date of the Plan, that is not less than the amount such
                                       holder would receive or retain if the Debtors were liquidated on the
                                       Effective Date of the Plan under chapter 7 of the Bankruptcy Code;

                                (vii) except to the extent the Plan meets the requirements of section 1129(b)
                                      of the Bankruptcy Code (as discussed further below), each Class of
                                      Claims either accepted the Plan or is not impaired under the Plan;

                                (viii) except to the extent that the holder of a particular Claim has agreed to a
                                       different treatment of such Claim, the Plan provides that administrative
                                       expenses and Priority Claims, other than Priority Tax Claims, will be
                                       paid in full on the Effective Date, and that Priority Tax Claims will
                                       receive either payment in full on the Effective Date or deferred Cash
                                       payments over a period not exceeding five years after the
                                       Commencement Date, of a value, as of the Effective Date of the Plan,
                                       equal to the allowed amount of such Claims;

                                (ix)   at least one Class of impaired Claims has accepted the Plan, determined
                                       without including any acceptance of the Plan by any insider holding a
                                       Claim in such Class;

                                (x)    confirmation of the Plan is not likely to be followed by the liquidation, or
                                       the need for further financial reorganization, of the Debtors or any
                                       successor to the Debtors under the Plan; and

                                (xi)   all fees payable under section 1930 of title 28, as determined by the
                                       Bankruptcy Court at the Confirmation Hearing, have been paid or the
                                       Plan provides for the payment of all such fees on the Effective Date of
                                       the Plan.

 As provided above, among the requirements for confirmation are that the Plan is (A) accepted by all
 impaired Classes of Claims and Interests entitled to vote or, if rejected or deemed rejected by an impaired
 Class, that the Plan “does not discriminate unfairly” and is “fair and equitable” as to such Class; (B) in the
 “best interests” of the holders of Claims and Interests impaired under the Plan; and (C) feasible.

                       (b)     Acceptance of the Plan

 Under the Bankruptcy Code, a Class accepts a chapter 11 plan if (1) holders of two-thirds (2/3) in amount
 and (2) with respect to holders of Claims, more than a majority in number of the allowed claims in such
 class (other than those designated under section 1126(e) of the Bankruptcy Code) vote to accept the Plan.
 Holders of Claims or Interests that fail to vote are not counted in determining the thresholds for
 acceptance of the Plan.

 If any impaired Class of Claims or Interests does not accept the Plan (or is deemed to reject the Plan), the
 Bankruptcy Court may still confirm the Plan at the request of the Debtors if, as to each impaired Class of
 Claims or Interests that has not accepted the Plan (or is deemed to reject the Plan), the Plan “does not
 discriminate unfairly” and is “fair and equitable” under the so-called “cram down” provisions set forth in
 section 1129(b) of the Bankruptcy Code. The “unfair discrimination” test applies to classes of claims or
 interests that are of equal priority and are receiving different treatment under the Plan. A chapter 11 plan
 does not discriminate unfairly, within the meaning of the Bankruptcy Code, if the legal rights of a
 dissenting class are treated in a manner consistent with the treatment of other classes whose legal rights


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 are substantially similar to those of the dissenting class and if no class of claims or interests receives more
 than it legally is entitled to receive for its claims or interests. The test does not require that the treatment
 be the same or equivalent, but that such treatment be “fair.” The “fair and equitable” test applies to
 classes of different priority and status (e.g., secured versus unsecured; claims versus interests) and
 includes the general requirement that no class of claims receive more than 100% of the allowed amount of
 the claims in such class. As to the dissenting class, the test sets different standards that must be satisfied
 in order for the Plan to be confirmed, depending on the type of claims or interests in such class. The
 following sets forth the “fair and equitable” test that must be satisfied as to each type of class for a plan to
 be confirmed if such class rejects the Plan:

           •         Secured Creditors. Each holder of an impaired secured claim either (a) retains its liens
                     on the property, to the extent of the allowed amount of its secured claim, and receives
                     deferred Cash payments having a value, as of the effective date of the plan, of at least the
                     allowed amount of such secured claim, (b) has the right to credit bid the amount of its
                     claim if its property is sold and retains its lien on the proceeds of the sale, or (c) receives
                     the “indubitable equivalent” of its allowed secured claim.
           •         Unsecured Creditors. Either (a) each holder of an impaired unsecured claim receives or
                     retains under the plan, property of a value, as of the effective date of the plan, equal to the
                     amount of its allowed claim or (b) the holders of claims and interests that are junior to the
                     claims of the dissenting class will not receive any property under the plan.
           •         Interests. Either (a) each equity interest holder will receive or retain under the plan
                     property of a value equal to the greater of (i) the fixed liquidation preference or
                     redemption price, if any, of such equity interest and (ii) the value of the equity interest or
                     (b) the holders of interests that are junior to the interests of the dissenting class will not
                     receive or retain any property under the plan.

 The Debtors believe the Plan satisfies the “fair and equitable” requirement with respect to any rejecting
 Class.

 IF ALL OTHER CONFIRMATION REQUIREMENTS ARE SATISFIED AT THE CONFIRMATION
 HEARING, THE DEBTORS WILL ASK THE BANKRUPTCY COURT TO RULE THAT THE PLAN
 MAY BE CONFIRMED ON THE GROUND THAT THE SECTION 1129(b) REQUIREMENTS HAVE
 BEEN SATISFIED.

                       (c)     Best Interests Test

 As noted above, with respect to each impaired class of Claims and Interests, confirmation of a plan
 requires that each such holder either (i) accept the plan or (ii) receive or retain under the plan property of
 a value, as of the effective date of the plan, that is not less than the value such holder would receive or
 retain if the debtors were liquidated under chapter 7 of the Bankruptcy Code. This requirement is referred
 to as the “best interests test.”

 This test requires a Bankruptcy Court to determine what the holders of allowed claims and allowed equity
 interests in each impaired class would receive from a liquidation of the debtor’s assets and properties in
 the context of a liquidation under chapter 7 of the Bankruptcy Code. To determine if a plan is in the best
 interests of each impaired class, the value of the distributions from the proceeds of the liquidation of the
 debtor’s assets and properties (after subtracting the amounts attributable to the aforesaid claims) is then
 compared with the value offered to such classes of Claims and Interests under the plan.




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 The Debtors believe that under the Plan all holders of impaired Claims and Interests will receive property
 with a value not less than the value such holder would receive in a liquidation under chapter 7 of the
 Bankruptcy Code. The Debtors’ belief is based primarily on (i) consideration of the effects that a chapter
 7 liquidation would have on the ultimate proceeds available for distribution to holders of impaired Claims
 and Interests and (ii) the Liquidation Analysis attached hereto as Exhibit D.

 The Debtors believe that any liquidation analysis is speculative, as it is necessarily premised on
 assumptions and estimates which are inherently subject to significant uncertainties and contingencies,
 many of which would be beyond the control of the Debtors. The Liquidation Analysis provided in
 Exhibit D is solely for the purpose of disclosing the effects of a hypothetical chapter 7 liquidation of the
 Debtors, subject to the assumptions set forth therein. There can be no assurance as to values that would
 actually be realized in a chapter 7 liquidation nor can there be any assurance that a Bankruptcy Court will
 accept the Debtors’ conclusions or concur with such assumptions in making its determinations under
 section 1129(a)(7) of the Bankruptcy Code.

                       (d)     Feasibility

 Also as noted above, section 1129(a)(11) of the Bankruptcy Code requires that a debtor demonstrate that
 confirmation of a plan is not likely to be followed by liquidation or the need for further financial
 reorganization, unless the Plan provides for the liquidation of the Debtors. Since the Plan provides for the
 liquidation of the Debtors, the Bankruptcy Court will find that the Plan is feasible if it determines that the
 Debtors will be able to satisfy the conditions precedent to the Effective Date and otherwise have sufficient
 funds to meet their post-Confirmation Date obligations to pay for the costs of administering and fully
 consummating the Plan, including sufficient funds for the Plan Administrator to liquidate the Debtors’
 remaining assets. Accordingly, the Debtors believe the Plan satisfies the financial feasibility requirement
 imposed by the Bankruptcy Code.

                2.     The Debtor Releases, Third-Party Releases, and Exculpation Provisions

                       (a)     Debtor Releases

 Section 11.9 of the Plan provides a release of certain claims and Causes of Action of the Debtors and the
 Estates against the Released Parties in exchange for good and valuable consideration and valuable
 compromises made by the Released Parties. The Debtor Releases do not release any claims or Causes of
 Action arising after the Effective Date against any party or affect the rights of the Debtors, Liquidating
 Trustee or Liquidating Trust to enforce the terms of the Plan or any right or obligation arising under the
 Definitive Documents that remain in effect after the Effective Date.

 The Debtors believe that the Debtor Releases constitute a sound exercise of the Debtors’ business
 judgment and are an essential component of the Plan. It is well-settled that debtors are authorized to
 settle or release their claims in a chapter 11 plan. See 11 U.S.C. § 1123(b)(3)(A) (permitting a plan to
 provide for the “settlement or adjustment of any claim or interest belonging to the debtor or to the
 estate”); see also In re Adelphia Commc’ns Corp., 368 B.R. 140, 263 n.289 (Bankr. S.D.N.Y. 2007)
 (debtor has “considerable leeway” in releasing its own claims). Debtor releases are granted by courts in
 the Second Circuit where the Debtors establish that such releases are a valid exercise of the Debtors’
 business judgment and in the best interests of the estate. See JP Morgan Chase Bank, N.A. v. Charter
 Commc’ns Operating, LLC (In re Charter Commc’ns), 419 B.R. 221, 257-61 (Bankr. S.D.N.Y. 2009)
 (“When reviewing releases in a debtor’s plan, courts consider whether such releases are in the best
 interest of the estate.”).




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                       (b)     Third-Party Releases

 The Third-Party Releases in Section 11.9(b) of the Plan provide for the release of claims and Causes of
 Action held by the Releasing Parties against the Released Parties in exchange for good and valuable
 consideration and the valuable compromises made by the Released Parties.

 The Plan provides that all holders of Claims who are entitled to vote on the Plan who (a) vote to accept or
 are presumed to accept the Plan, or (b) abstain from voting or vote to reject the Plan and do not check the
 box on the ballot to opt out of the Third-Party Releases, will grant a release of any claims or rights they
 have or may have as against the Released Parties. The Third-Party Releases include, among other things,
 any and all claims that such holders may have against the Released Parties, which in any way relate to the
 Debtors, including any securities of the Debtors, whether purchased or sold, including sales or purchases
 which have been rescinded, and any transaction that the Released Parties had with the Debtors that gave
 rise to a Claim or Interest treated under the Plan.

                                (i)   Subject Matter Jurisdiction

 The Debtors will be prepared to demonstrate at confirmation that the Bankruptcy Court has subject matter
 jurisdiction to grant the Third-Party Releases.

 A Bankruptcy Court has subject matter jurisdiction over “all civil proceedings arising under title 11, or
 arising in or related to cases under title 11.” 28 U.S.C. § 1334(b) (emphasis added). “Related to”
 jurisdiction is extremely broad, encompassing any action that might have any conceivable effect on the
 debtor’s estate. SPV Osus Ltd. v. UBS AG, 882 F.3d 333, (339-40) (2d Cir. 2018) (“a civil proceeding is
 related to a title 11 case if the action’s outcome might have any conceivable effect on the bankrupt
 estate.”). See also In re SunEdison, Inc., 576 B.R. 453, 461 (Bankr. S.D.N.Y. 2017) (“[T]he touchstone
 for bankruptcy jurisdiction over a non-debtor’s claim remains whether its outcome might have any
 ‘conceivable effect’ on the bankruptcy estate.”); In re Sabine Oil & Gas Corp., 555 B.R. 180, 288 (Bankr.
 S.D.N.Y. 2016)(citing In re Quigley Co., Inc., 676 F.3d 45, 57 (2d Cir. 2012)). In fact, “related to”
 jurisdiction can be exercised even when the debtor’s liability has not yet ripened. See In re Masterwear
 Corp., 241 B.R. 511, 516–17 (Bankr. S.D.N.Y. 1999) (finding that a “debtor’s liability need not . . . be
 definite” for there to be “related to” subject matter jurisdiction and that there is subject matter jurisdiction
 where third-party defendants articulated a “reasonable legal basis” to recover indemnification from the
 debtor); In re Chateaugay Corp., 213 B.R. 633, 639–40 (S.D.N.Y. 1997). See also In re Kirwan Offices
 S.À R.L., 17 Civ. 4339 (CM), 2018 WL 5095675, at *8–9 (S.D.N.Y. Oct. 10, 2018).

 The Debtors believe that the Bankruptcy Court has “related to” subject matter jurisdiction to consider the
 Third-Party Releases, including because certain of the Released Parties have, among other things,
 indemnification rights against the Debtors. See, e.g., In re Sabine Oil & Gas Corp., 555 B.R. at 290
 (citing In re Quigley, 676 F. 3d at 57 (concluding there was jurisdiction to grant third-party releases
 where debtors had contingent indemnification obligations to creditors); In re Adelphia Commcn’s Corp.,
 368 B.R. at 268; see also, e.g. Hr’g Tr. 31:17-18, 33:12-15, In re Walter Inv. Mgmt. Corp., Case No. 17-
 13446 (JLG) (ECF No. 178) (Bankr. S.D.N.Y. Jan. 17, 2018). But see In re Johns-Manville Corp., 517
 F.3d 52, 65 (2d Cir. 2008) (finding that “related to” subject matter jurisdiction did not extend to the third
 party claims to be enjoined). But cf SPV Osus Ltd. v. UBS AG, 882 F.3d at 339–40 (noting broad subject
 matter jurisdiction in the Second Circuit to issue injunctions of third party claims, particularly with
 respect to “related to” jurisdiction).

 The Debtors believe that the Bankruptcy Court also has constitutional authority to enter a final judgment
 approving the Third-Party Releases given that the operative proceeding before the Court is plan
 confirmation. See, e.g., In re MPM Silicones, LLC, 2014 WL 4436335 at *34, rev’d on other grounds,


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 874 F.3d 787 (2d Cir. 2017) (“I firmly believe that I have jurisdiction over [the releases] . . . and that I can
 issue a final order on it . . . given that this is in the context of the confirmation of the plan . . . That would
 hold true, even post-confirmation or with regard to a post-confirmation effect on the estate”); In re
 Kirwan Offices S.À R.L., 2018 WL 5095675, at *14 (finding constitutional authority to approve injunction
 and exculpation provisions in plan where such “clauses ‘deriv[] from bankruptcy law’ – they are
 embedded within a confirmed reorganization plan, the ‘operative proceeding’ for constitutional purposes).

                               (ii)   Consensual and Appropriate Third-Party Releases

 In the Second Circuit, third-party releases are permissible where “unusual circumstances” render the
 release terms integral to the success of the plan. In re Metromedia Fiber Network, Inc., 416 F.3d 136,
 143 (2d Cir. 2005). “Unusual circumstances” include instances in which: (a) the estate received a
 substantial contribution; (b) the enjoined claims were “channeled” to a settlement fund rather than
 extinguished; (c) the enjoined claims would indirectly impact the debtors’ reorganization “by way of
 indemnity or contribution”; (d) the plan otherwise provided for the full payment of the enjoined claims;
 and (e) the affected creditors consent. Id. at 142 (emphasis added).

 Pursuant to Section 11.9(b)(ii) of the Plan, holders of Impaired Claims who abstain from voting on the
 Plan or vote to reject the Plan but do not opt out of the Third-Party Releases on the ballots, and those who
 vote to accept the Plan, or are deemed to accept the Plan, will release and discharge the Released Parties.

 For those who vote to accept the Plan, it is well-established that as to those voting to accept a plan that
 provides for third-party releases, that vote constitutes consent. See, e.g., In re Adelphia Commc’ns Corp.,
 368 B.R. at 268 (if, as here, third-party release is appropriately disclosed, consent is established by a vote
 to accept the plan); In re Lear Corp., Case No. 09-14326 (ALG), 2009 WL 6677955, at *2 (Bankr.
 S.D.N.Y. Nov. 5, 2009) (finding that non-debtor releases for creditors who voted to accept plan were
 permissible).

 For parties who are deemed to accept the Plan because they are unimpaired, this Court and other courts in
 the Second Circuit have approved chapter 11 plans of reorganization where unimpaired classes deemed to
 accept the plan are bound by releases. See Hr’g Tr. 140:17-18, In re BCBG Max Azria Glob. Holdings,
 LLC, et al., Case No. 17-10466 (SCC) (ECF No. 624) (Bankr. S.D.N.Y. July 26, 2017); In re Nautilus
 Holdings Ltd., et al., Case No. 14-22885 (RDD) (Bankr. S.D.N.Y. Jan. 30, 2015) (ECF No. 318); but see
 In re Chassix Holdings, Inc., 533 B.R. 64, 81 (Bankr. S.D.N.Y. 2015) (concluding that the “unimpaired
 creditors should not be deemed to have consented to the third party releases set forth in the Plan.”).

 For those who abstain from voting or vote to reject the Plan but do not opt out of the Third-Party Releases
 on the ballots, the Debtors will demonstrate at confirmation that such releases are an integral part of the
 Plan and can be approved on a consensual basis or on a nonconsensual basis under the Metromedia
 standard. The Debtors believe such releases are consensual because voting creditors will be given the
 opportunity to “opt out” of the releases on their ballots. Several courts in the Second Circuit have
 explicitly held that providing rejecting or abstaining parties with an “opt out” mechanism that includes
 clear and appropriate notice of the consequences of not opting out constitutes consent. See, e.g., Hr’g Tr.
 36:24-56:17, 59:11-67:11, In re Tops Holding II Corporation, Case No. 18-22279 (RDD) (Bankr.
 S.D.N.Y. Nov. 8, 2018) (ECF No. 783); Hr’g Tr. 94:13-17, 140:20-22, In re Cenveo, Inc., Case No. 18-
 22178 (RDD) (Bankr. S.D.N.Y. Aug. 22, 2018) (ECF No. 687); Hr’g Tr. 43:6-11, In re 21st Century
 Oncology Holdings, Inc., Case No. 17-22770 (RDD) (Bankr. S.D.N.Y. Jan. 9, 2018) (ECF No. 926); Hr’g
 Tr. 139:20-140:18, In re Genco Shipping & Trading Ltd., 513 B.R. at 271. See also In re MPM Silicones,
 LLC, 2014 WL 4436335, at *34. But see In re SunEdison, Inc., 576 B.R. at 461 (finding that failure to
 object to or reject the plan is insufficient to constitute consent to third-party releases for abstaining



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 creditors); In re Chassix Holdings, Inc., 533 B.R. 64, 81 (Bankr. S.D.N.Y. 2015) (holding that “inaction”
 by abstaining creditors was insufficient to constitute consent to third-party releases).

 THE DEADLINE TO OPT OUT OF THE THIRD-PARTY RELEASES IS [______], 2019 AT 5:00 P.M.
 (PREVAILING EASTERN TIME).

                                (iii) Section 1141(a) of the Bankruptcy Code

 Even if the Court were to determine that (i) the opt-out mechanism is insufficient to render the Third-
 Party Releases consensual as to those creditors abstaining or those rejecting and not opting out, and/or
 (ii) that it is inappropriate to deem consent for unimpaired creditors who are deemed to accept the plan, if
 no such creditors object to confirmation of the Plan, the Plan, including the Third-Party Releases,
 nevertheless should be binding under section 1141(a) of the Bankruptcy Code. Section 1141(a) of the
 Bankruptcy Code provides that “[e]xcept as provided in subsections (d)(2) and (d)(3) of this section, the
 provisions of a confirmed plan bind the debtor . . . and any creditor . . . whether or not the claim or
 interest of such creditor . . . is impaired under the plan and whether or not such creditor . . . has accepted
 the plan.” 11 U.S.C. §1141(a). Even if a creditor is not deemed to have consented to plan releases as a
 matter of contract law, section 1141(a) of the Bankruptcy Code binds creditors to a plan’s provisions –
 including third-party releases contained therein – if creditors receive proper notice but fail to object to
 confirmation of the plan. See, e.g., Hr’g Tr. 33:25-34:8, 34:9-24, 35:6-13, In re Tops Holding II Corp.,
 Case No. 18-22279 (RDD) (Bankr. S.D.N.Y. Nov. 8, 2018) (ECF No. 783). See also Lawski v. Frontier
 Ins. Grp., LLC (In re Frontier Ins. Grp., Inc.), 585 B.R. 685, 693 (Bankr. S.D.N.Y. 2018).

                                (iv)   If Non-Consensual, Third-Party Releases Satisfy Metromedia
                                       Requirements

 Assuming the Third-Party Releases are neither consensual nor binding by reason of section 1141(a) of the
 Bankruptcy Code, they nevertheless are entirely consistent with the requirements for the approval of non-
 consensual releases articulated by the Second Circuit. The Third-Party Releases are an important and
 integral part of the Plan and the Released Parties have made substantial contributions to these Chapter 11
 Cases. As noted by the Second Circuit in the Drexel case, although limited, third-party releases are
 appropriate where the releases play an important part in the debtor’s chapter 11 plan. SEC v. Drexel
 Burnham Lambert Grp., Inc. (In re Drexel Burnham Lambert Grp., Inc.), 960 F.2d 285, 293 (2d Cir.
 1992). Similarly, a non-consensual third-party release “can be appropriate where a party provides a
 substantial contribution to the estates,” including by making substantial concessions in plan negotiations,
 providing exit financing, forgoing distributions to which they would otherwise be entitled to, and settling
 adequate protection claims. In re Sabine Oil & Gas Corp., 555 B.R. at 291. See also In re Genco
 Shipping & Trading Ltd., 513 B.R. at 269; Rosenberg v. XO Commc’ns, Inc. (In re XO Commc’ns, Inc.),
 330 B.R. 394, 440 (Bankr. S.D.N.Y. 2005).

                       (c)     Exculpation

 Section 11.10 of the Plan provides for the exculpation of each Exculpated Party for acts and omissions
 taken in connection with the Chapter 11 Cases.

 The Debtors believe that the exculpation provision in Section 11.10 of the Plan is an integral part of the
 Plan and otherwise satisfies the governing standards in the Second Circuit. This provision provides
 customary protections to those parties in interest (whether estate fiduciaries or otherwise) whose efforts
 were instrumental in achieving the confirmation of the Plan and the conclusion of these Chapter 11 Cases.
 In light of the record of these Chapter 11 Cases, the protections afforded by the exculpation provisions are
 reasonable and appropriate.


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                                                      XI.
                               ALTERNATIVES TO CONFIRMATION AND
                                  CONSUMMATION OF THE PLAN

 The Debtors have evaluated alternatives to the Plan. After studying these alternatives, the Debtors have
 concluded that the Plan is the best alternative and will maximize recoveries to parties in interest,
 assuming confirmation and consummation of the Plan. If the Plan is not confirmed and consummated,
 the alternatives to the Plan are (i) the preparation and presentation of an alternative plan of reorganization
 or (ii) a liquidation under chapter 7 of the Bankruptcy Code.

           A.     Alternative Chapter 11 Plan

 If the Plan is not confirmed, the Debtors (or if the Debtors’ exclusive period in which to file a plan of
 reorganization has expired, any other party in interest) could attempt to formulate a different plan. Such a
 plan might involve either a compromise and settlement that differs from the economic proposal embodied
 by the Plan or an orderly liquidation of its assets in a different manner than as proposed herein. The
 Debtors, however, submit that the Plan, as described herein, enables their creditors to realize the most
 value under the circumstances.

           B.     Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law

 If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter 7 of the
 Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of the Debtors
 for distribution to their creditors in accordance with the priorities established by the Bankruptcy Code.
 The effect a chapter 7 liquidation would have on the recovery of holders of allowed Claims and Interests
 is set forth in the Liquidation Analysis attached hereto as Exhibit D.




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                                                     XII.
                               CONCLUSION AND RECOMMENDATION

          The Debtors believe the Plan is in the best interests of all stakeholders and urge the holders of the
 PBGC Claims in Class 3, General Unsecured Claims in Class 4, and ESL Unsecured Claims in Class 5 to
 vote in favor thereof.

 Dated: April 17, 2019

 Respectfully submitted,




 By: /s/ Mohsin Meghji            .
 Name: Mohsin Meghji
 Title: Chief Restructuring Officer

 On Behalf of the Debtors and
 Debtors in Possession




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                                              Exhibit A

                                                Plan




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------ x
 In re                                                              :
                                                                    :      Chapter 11
 SEARS HOLDINGS CORPORATION, et al.,                                :
                                                                    :      Case No. 18-23538 (RDD)
                                                                    :
                     Debtors. 1                                     :      (Jointly Administered)
 ------------------------------------------------------------------ x

                               JOINT CHAPTER 11 PLAN OF
                SEARS HOLDINGS CORPORATION AND ITS AFFILIATED DEBTORS




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                                                                  Garrett A. Fail
                                                                  Sunny Singh

                                                                  Attorneys for Debtors
                                                                  and Debtors in Possession


 Dated: April 17, 2019
        New York, New York


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
 Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
 Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
 Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
 Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
 (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
 Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
 Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
 Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings
 Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
 LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding Corporation (4816). The location of
 the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.




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                 Sears Holdings Corporation, Kmart Holding Corporation, Kmart Operations LLC,
 Sears Operations LLC, Sears, Roebuck and Co., ServiceLive Inc., SHC Licensed Business LLC,
 A&E Factory Service, LLC, A&E Home Delivery, LLC, A&E Lawn & Garden, LLC, A&E Signature
 Service, LLC, FBA Holdings Inc., Innovel Solutions, Inc., Kmart Corporation, MaxServ, Inc.,
 Private Brands, Ltd., Sears Development Co., Sears Holdings Management Corporation, Sears Home &
 Business Franchises, Inc., Sears Home Improvement Products, Inc., Sears Insurance Services, L.L.C.,
 Sears Procurement Services, Inc., Sears Protection Company, Sears Protection Company (PR) Inc.,
 Sears Roebuck Acceptance Corp., Sears, Roebuck de Puerto Rico, Inc., SYW Relay LLC, Wally Labs
 LLC, SHC Promotions LLC, Big Beaver of Florida Development, LLC, California Builder Appliances,
 Inc., Florida Builder Appliances, Inc., KBL Holding Inc., KLC, Inc., Kmart of Michigan, Inc., Kmart of
 Washington LLC, Kmart Stores of Illinois LLC, Kmart Stores of Texas LLC, MyGofer LLC,
 Sears Brands Business Unit Corporation, Sears Holdings Publishing Company, LLC, Sears Protection
 Company (Florida), L.L.C., SHC Desert Springs, LLC, SOE, Inc., StarWest, LLC, STI Merchandising,
 Inc., Troy Coolidge No. 13, LLC, BlueLight.com, Inc., Sears Brands, L.L.C., Sears Buying Services,
 Inc., Kmart.com LLC, Sears Brands Management Corporation, and SRe Holding Corporation (each, a
 “Debtor” and, collectively, the “Debtors”) propose the following joint chapter 11 plan of liquidation
 pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the
 meanings set forth in Article I.A.

                       ARTICLE I       DEFINITIONS AND INTERPRETATION.

         A.      Definitions. The following terms shall have the respective meanings specified below:

         1.1     “Accepting Class” means a Class that votes to accept the Plan in accordance with
 section 1126 of the Bankruptcy Code.

          1.2    “Administrative Expense Claim” means any right to payment constituting a cost or
 expense of administration incurred during the Chapter 11 Cases of a kind specified under section 503(b)
 of the Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of the
 Bankruptcy Code, including, without limitation, (a) the actual and necessary costs and expenses incurred
 after the Commencement Date and through the Effective Date of preserving the Estates and operating the
 businesses of the Debtors; and (b) Fee Claims; provided, that, Administrative Expense Claims shall not
 include ESL 507(b) Priority Claims or Other 507(b) Priority Claims.

          1.3    “Administrative Expense Claims Bar Date” means the date fixed by the Bankruptcy
 Court as the deadline to file Administrative Expense Claims, ESL 507(b) Priority Claims, or Other 507(b)
 Priority Claims entered in the Chapter 11 Cases.

        1.4    “Affiliates” means “Affiliates” as such term is defined in section 101(2) of the
 Bankruptcy Code.

          1.5     “Allowed” means, with reference to any Claim, a Claim (a) arising on or before the
 Effective Date as to which (i) no objection to allowance or priority, and no request for estimation or other
 challenge, including, without limitation, pursuant to section 502(d) of the Bankruptcy Code or otherwise,
 has been interposed and not withdrawn within the applicable period fixed by the Plan or applicable law,
 or (ii) any objection has been determined in favor of the holder of the Claim by a Final Order; (b) that is
 compromised, settled, or otherwise resolved pursuant to the authority of the Debtors or Liquidating
 Trustee; (c) as to which the liability of the Debtors and the amount thereof are determined by a Final
 Order of a court of competent jurisdiction; or (d) expressly allowed hereunder; provided, that
 notwithstanding the foregoing, (x) unless expressly waived by the Plan, the Allowed amount of Claims
 shall be subject to and shall not exceed the limitations or maximum amounts permitted by the Bankruptcy
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 Code, including sections 502 or 503 of the Bankruptcy Code, to the extent applicable, and (y) the Debtors
 shall retain all claims and defenses with respect to Allowed Claims that are Reinstated or otherwise
 Unimpaired pursuant to the Plan.

         1.6     “Allowed PBGC Unsecured Claim” shall have the meaning set forth in Section 4.3.

         1.7      “Asset” means all of the right, title, and interest of the Debtors in and to property of
 whatever type or nature (including, without limitation, real, personal, mixed, intellectual, tangible, and
 intangible property).

         1.8     “Asset Purchase Agreement” means the Asset Purchase Agreement, dated as of
 January 17, 2019 (as amended, restated, supplemented, or otherwise modified from time to time),
 between the Debtors and certain other sellers party thereto and Transform, approved by the Bankruptcy
 Court pursuant to the Sale Order.

        1.9     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. § 101, et seq.,
 as amended from time to time, as applicable to the Chapter 11 Cases.

         1.10    “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
 of New York having jurisdiction over the Chapter 11 Cases or any other court having jurisdiction over the
 Chapter 11 Cases, including, to the extent of the withdrawal of any reference under 28 U.S.C. § 157, the
 United States District Court for the Southern District of New York.

         1.11     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated
 by the United States Supreme Court under section 2075 of title 28 of the United States Code and any
 Local Bankruptcy Rules of the Bankruptcy Court, in each case, as amended from time to time and
 applicable to the Chapter 11 Cases.

         1.12     “Business Day” means any day other than a Saturday, a Sunday, or any other day on
 which banking institutions in New York, New York are required or authorized to close by law or
 executive order.

          1.13     “Canadian Causes of Action” means, Causes of Action of the Debtors and their estates
 that have been asserted (or may be asserted in connection with these Claims and Causes of Action) by or
 on behalf of any party in interest in the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C36
 cases captioned In the Matter of a Plan of Compromise or Arrangement of Sears Canada Inc., 9370-2751
 Quebec Inc., 191020 Canada Inc., The Cut Inc., Sears Contact Services Inc., Initium Logistics Services
 Inc., Initium Commerce Labs Inc., Initium Trading and Sourcing Corp., Sears Floor Covering Centers
 Inc., 173470 Canada Inc., 2497089 Ontario Inc., 6988741 Canada Inc., 10011711 Canada Inc., 1592580
 Ontario Limited, 955041 Alberta Ltd., 4201531 Canada Inc., 168886 Canada Inc., and 3339611 Canada
 Inc., Ontario Superior Court of Justice Court File No.: CV-17-11846-00CL; and in the cases captioned
 Sears Canada Inc., by its Court-appointed Litigation Trustee, J. Douglas Cunningham, Q.C. v. ESL Invs.
 Inc., et al., Ont. Sup. Ct. J. (Commercial List) No.: CV-18-00611214-00CL; Morneau Shepell Ltd. In its
 capacity as administrator of the Sears Canada Inc. Registered Pension Plan v. ESL Invs. Inc., et al., Ont.
 Sup. Ct. J. (Commercial List) No.: CV-18-00611217-00CL; FTI Consulting Canada Inc., in its capacity
 as Court-appointed monitor in proceedings pursuant to the Companies’ Creditors Arrangement Act, RSC
 1985, c. c-36 v. ESL Invs. Inc., et al., Ont. Sup. Ct. J. (Commercial List) No.: CV-18-00611219-00CL;
 and 1291079 Ontario Ltd. V. Sears Canada Inc., et al., Ont. Sup. Ct. J. No.: 4114/15CP.

         1.14    “Cash” means legal tender of the United States of America.


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         1.15     “Carve Out Account” shall have the meaning ascribed to such term in the DIP Order.

          1.16    “Causes of Action” means any action, Claim, cross-claim, third-party claim, cause of
 action, controversy, demand, right, lien, indemnity, guaranty, suit, obligation, liability, loss, debt, damage,
 judgment, account, defense, remedies, offset, power, privilege, license and franchise of any kind or
 character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising, contingent
 or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
 or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or
 after the Commencement Date, in contract or in tort, in law or in equity or pursuant to any other theory of
 law (including, without limitation, under any state or federal securities laws). Causes of Action also
 includes: (a) any right of setoff, counterclaim or recoupment and any claim for breach of contract or for
 breach of duties imposed by law or in equity; (b) the right to object to Claims; (c) any claim pursuant to
 section 362 or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake,
 duress and usury and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any state
 law fraudulent transfer claim.

        1.17   “Chapter 11 Cases” means the jointly administered cases under chapter 11 of the
 Bankruptcy Code commenced by the Debtors on the Commencement Date in the Bankruptcy Court.

        1.18      “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code, as against
 any Debtor.

        1.19     “Claims Procedures Order” means the Order Approving (I) Claims Objections
 Procedures, (II) Claims Settlement Procedures, and (III) Claims Hearings Procedures, entered by the
 Bankruptcy Court on April 2, 2019 (ECF No. 3014).

         1.20    “Class” means any group of Claims or Interests classified as set forth in Article III of the
 Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

         1.21   “Closing Date” means the date upon which all of the Chapter 11 Cases have been closed
 in accordance with Section 11.5 of the Plan.

          1.22      “Commencement Date” means (i) October 15, 2018 for the Debtors other than those
 listed in (ii) through (iv) hereof, (ii) October 18, 2018 for SHC Licensed Business LLC, (iii) October 22,
 2018 for SHC Promotions LLC, and (iv) January 7, 2019 for SRe Holding Corporation.

        1.23    “Confirmation Date” means the date on which the Clerk of the Bankruptcy Court enters
 the Confirmation Order.

         1.24    “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court to
 consider confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

        1.25      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code.

         1.26     “Consummation” means the occurrence of the Effective Date of the Plan.

       1.27       “Credit Bid Release” shall have the meaning given to it in the Asset Purchase
 Agreement.



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        1.28    “Credit Bid Release Consideration” shall have the meaning ascribed to such term in the
 Asset Purchase Agreement.

         1.29    “Creditors’ Committee” means the statutory committee of unsecured creditors appointed
 by the U.S. Trustee in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code, as set forth
 in the Notice of Appointment of Official Committee of Unsecured Creditors (ECF No. 276) filed on
 October 24, 2018, as reconstituted from time to time.

         1.30    “D&O Claim” means any Preserved Cause of Action against the Specified Directors and
 Officers.

           1.31   “D&O Policy” means any insurance policy for directors, members, trustees, and officers
 liability maintained by the Debtors’ Estates as of the Effective Date.

         1.32    “Debtor” or “Debtors” has the meaning set forth in the introductory paragraph of the
 Plan.

        1.33     “Debtors in Possession” means the Debtors in their capacity as debtors in possession in
 the Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

         1.34    “Definitive Documents” means the documents (including any related orders,
 agreements, instruments, schedules or exhibits) that are necessary or desirable to implement, or otherwise
 relate to the liquidating transaction including, but not limited to: (a) the Plan; (b) the Disclosure
 Statement; (c) the motion seeking approval of the adequacy of the Disclosure Statement and solicitation
 of the Plan; (d) the Disclosure Statement Order; (e) the Liquidating Trust Agreement; (f) each of the
 documents comprising the Plan Supplement; and (g) the Confirmation Order, in each case in form and
 substance reasonably acceptable to the Debtors and to the Creditors’ Committee.

         1.35    “DIP Order” means the Final Order (I) Authorizing the Debtors to (A) Obtain Post-
 Petition Financing, (B) Grant Senior Secured Priming Liens and Superpriority Administrative Expense
 Claims, and (C) Utilize Cash Collateral; (II) Granting Adequate Protection to the Prepetition Secured
 Parties; (III) Modifying the Automatic Stay; and (IV) Granting Related Relief (ECF No. 955), entered by
 the Bankruptcy Court on November 30, 2018.

         1.36    “Disallowed” means, with respect to any Claim, that such Claim has been determined by
 a Final Order or specified in a provision of the Plan not to be Allowed.

          1.37    “Disbursing Agent” means the Liquidating Trustee or such Entity or Entities designated
 by the Liquidating Trustee, with the approval of the Liquidating Trust Board, to make or facilitate
 distributions required by the Plan; provided, that, to the extent the Second Lien Credit Facility Agent,
 Second Lien Notes Trustee, or Unsecured Notes Trustee effectuates, or is requested to effectuate, any
 Distributions hereunder, the Second Lien Credit Facility Agent, Second Lien Notes Trustee, or Unsecured
 Notes Trustee as applicable shall be deemed a “Disbursing Agent” for such purposes under the Plan.

         1.38   “Disclosure Statement” means the disclosure statement related to the Plan, as approved
 by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code.

          1.39    “Disclosure Statement Order” means the order entered by the Bankruptcy Court
 (a) finding that the Disclosure Statement contains adequate information pursuant to section 1125 of the
 Bankruptcy Code; and (b) authorizing solicitation of the Plan.


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         1.40    “Disputed” means with respect to a Claim, that (a) is neither Allowed nor Disallowed
 under the Plan or a Final Order, nor deemed Allowed under sections 502, 503, or 1111 of the Bankruptcy
 Code; or (b) any party in interest has interposed a timely objection or request for estimation, and such
 objection or request for estimation has not been withdrawn or determined by a Final Order.

        1.41    “Disputed Claim Reserve Account” means one or more reserve accounts to be funded
 with Cash and/or proceeds of the Total Assets as applicable in accordance with the terms of the Plan, for
 Disputed Claims.

         1.42    “Distribution” means any initial or subsequent payment or transfer made under the Plan,
 including by the Liquidating Trustee.

         1.43     “Distribution Date” means any date on which a Distribution is made upon at least thirty
 (30) Business Days written notice filed on the docket of the Chapter 11 Cases or otherwise communicated
 to holders of Allowed Claims.

         1.44     “Distribution Record Date” means the Effective Date (or as soon as practicable
 thereafter) or subsequent date that is thirty (30) calendar days prior to a Distribution Date; provided, that
 the Distribution Record Date shall not apply to the Debtors’ publicly-traded securities including Second
 Lien Notes, Senior Unsecured Notes, Unsecured PIK Notes, and Existing SHC Equity Interests.

         1.45    “DTC” means The Depository Trust Company.

          1.46     “Effective Date” means the date on which all conditions to the effectiveness of the Plan
 set forth in Article X hereof have been satisfied or waived in accordance with the terms of the Plan.

          1.47    “Entity” means an individual, corporation, partnership, limited partnership, limited
 liability company, association, joint stock company, joint venture, estate, trust, indenture trustee,
 unincorporated organization, governmental unit (as defined in section 101(27) of the Bankruptcy Code) or
 any political subdivision thereof, or other person (as defined in section 101(41) of the Bankruptcy Code)
 or other entity.

         1.48    “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

         1.49    “ESL” means ESL Investments, Inc.

        1.50     “ESL 507(b) Cap” means Distributions from the Net Proceeds of Other Causes of
 Action not to exceed $50 million in the aggregate.

        1.51    “ESL 507(b) Priority Claim” means a superpriority claim under section 507(b) of the
 Bankruptcy Code in favor of ESL on account of the diminution in value of the collateral securing the
 Second Lien Debt against each Second Lien Loan Party to the extent such ESL 507(b) Priority Claim is
 Allowed; provided that the ESL 507(b) Priority Claim, if Allowed, shall be subject to the ESL 507(b)
 Cap.

         1.52     “ESL Parties” means (a) ESL, (b) ESL Partners, L.P., (c) JPP, LLC, (d) JPP II, LLC,
 (e) Edward S. Lampert, (f) Kunal S. Kamlani, (g) RBS Partners LP, CRK Partners LLC, SPE Master I,
 ESL Partners L.P., SPE Partners I, RBS Investment Management LLC, ESL Institutional Partners
 L.P., and any other entity managed or advised by ESL that at any time has held directly or indirectly
 equity interests in or debt claims against the Debtors, (h) and with respect to any Entity in the foregoing
 clauses (a) through (g), any of their respective directors, officers, employees, family members, heirs,

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 executors, estates, investors, beneficiaries, affiliates or subsidiaries (other than any of the Debtors), in
 such capacities, in any capacity associated with the Debtors at any time, and in their individual
 capacities; provided, that Thomas J. Tisch shall not be an ESL Party in his capacity as a director of the
 Debtors.

         1.53    “ESL Unsecured Claim” means collectively, (a) unsecured deficiency claims held by
 any ESL Party arising under (i) the Real Estate 2020 Loan and (ii) the Second Lien Debt; (b) Claims held
 by any ESL Party arising from or in connection with the Unsecured PIK Note and Senior Unsecured
 Notes; and (c) any other prepetition unsecured claim held by any ESL Party against the Debtors.

        1.54     “Estate” or “Estates” means, individually or collectively, the estate or estates of the
 Debtors created under section 541 of the Bankruptcy Code.

         1.55    “Exchange Act” means the Securities Exchange Act of 1934, as amended.

          1.56    “Exculpated Parties” means collectively: (a) the Debtors; (b) the Creditors’ Committee
 and each of its members; and (c) with respect to each of the foregoing entities in clauses (a) through (b),
 all Related Parties; provided, that ESL Parties shall not be Exculpated Parties under the Plan. For the
 avoidance of doubt, each of the Debtors’ post-Commencement Date directors, officers, and employees
 (other than the ESL Parties) shall be Exculpated Parties under the Plan.

          1.57     “Executory Contract” means a contract to which one or more of the Debtors is a party
 that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

         1.58    “Existing SHC Equity Interest” means any Interests in SHC.

          1.59    “Fee Claim” means a Claim for professional services rendered or costs incurred on or
 after the Commencement Date through the Effective Date by professional persons retained by the Debtors
 or the Creditors’ Committee by an order of the Bankruptcy Court pursuant to sections 327, 328, 329, 330,
 331, or 503(b) of the Bankruptcy Code in the Chapter 11 Cases.

         1.60    “Fee Examiner” means that certain fee examiner appointed pursuant to [•] (ECF No.
 [•]).

         1.61     “First Lien Lenders” means a syndicate of financial institutions and other institutional
 lenders to the Third Amended and Restated Credit Agreement, dated as of July 21, 2015 (as amended,
 supplemented, or otherwise modified), by and between Bank of America, N.A., as administrative agent,
 co-collateral agent and swing line lender, Wells Fargo Bank, National Association, as co-collateral agent,
 Sears Roebuck Acceptance Corp. and Kmart Corporation as borrowers.

           1.62    “Final Order” means an order or judgment of a court of competent jurisdiction that has
 been entered on the docket maintained by the clerk of such court, which has not been reversed, vacated or
 stayed and as to which (a) the time to appeal, petition for certiorari, or move for a new trial, reargument or
 rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for a new
 trial, reargument, or rehearing shall then be pending; or (b) if an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order or judgment shall have been affirmed by the
 highest court to which such order was appealed, or certiorari shall have been denied, or a new trial,
 reargument, or rehearing shall have been denied or resulted in no modification of such order, and the time
 to take any further appeal, petition for certiorari or move for a new trial, reargument, or rehearing shall
 have expired; provided, that no order or judgment shall fail to be a “Final Order” solely because of the
 possibility that a motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous

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 Bankruptcy Rule (or any analogous rules applicable in another court of competent jurisdiction) or sections
 502(j) or 1144 of the Bankruptcy Code has been or may be filed with respect to such order or judgment.

         1.63    “General Assets” means, collectively: (a) Other Causes of Action and (b) Other Assets.

          1.64   “General Unsecured Claim” means any Claim against any Debtor, that is not (a) an
 Administrative Expense Claim; (b) a Priority Tax Claim; (c) a Priority Non-Tax Claim; (d) an
 Other Secured Claim; (e) the PBGC Claims; (f) an Other 507(b) Priority Claim; (g) an ESL 507(b)
 Priority Claim; (h) an ESL Unsecured Claim; or (i) an Intercompany Claim, but shall include deficiency
 claims on account of Second Lien Debt that are not ESL Unsecured Claims.

         1.65   “General Unsecured Liquidating Trust Interest” means a beneficial interest in the
 Liquidating Trust granted to holders of (a) Allowed General Unsecured Claims, (b) the Allowed PBGC
 Unsecured Claim, and the (c) ESL Unsecured Claim, which shall entitle such holders to the General
 Unsecured Trust Recovery in accordance with the Plan.

           1.66  “General Unsecured Trust Recovery” means Net Proceeds of General Assets, after
 payment in full satisfaction of all Allowed Other Secured Claims, ESL 507(b) Priority Claims (subject to
 the ESL 507(b) Cap), Other 507(b) Priority Claims, Administrative Expense Claims, Priority Tax Claims,
 Priority Non-Tax Claims (or maintenance of amounts in the Disputed Claim Reserve Account(s) on
 account of any of the foregoing claims that are Disputed), and the PBGC Liquidating Trust Priority
 Interest.

        1.67    “Impaired” means, with respect to a Claim, Interest, or Class of Claims or Interests,
 “impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

         1.68    “Intercompany Claim” means any pre- or postpetition Claim against a Debtor held by
 another Debtor or by a non-Debtor direct or indirect subsidiary of SHC.

         1.69     “Intercompany Interest” means an Interest in a Debtor held by another of the Debtors or
 an Interest in any Debtors held by a non-Debtor direct or indirect subsidiary of SHC; for the avoidance of
 doubt, Intercompany Interests shall not include Existing SHC Equity Interests.

        1.70     “Intercreditor Agreement” means the Second Amended and Restated Intercreditor
 Agreement, dated as of October 12, 2010 (as amended and restated on September 1, 2016 and further
 amended and restated on March 20, 2018) by and among the First Lien Lenders, lenders under the Second
 Lien Credit Facility, and holders of Second Lien Notes.

          1.71   “Interests” means any equity security (as defined in section 101(16) of the Bankruptcy
 Code) of a Debtor, including all shares, common stock, preferred stock, or other instrument evidencing
 any fixed or contingent ownership interest in any Debtor, whether or not transferable, and any option,
 warrant, or other right, contractual or otherwise, to acquire any such interest in the Debtors, whether fully
 vested or vesting in the future, including, without limitation, equity or equity-based incentives, grants, or
 other instruments issued, granted or promised to be granted to current or former employees, directors,
 officers, or contractors of the Debtors, to acquire any such interests in the Debtors that existed
 immediately before the Effective Date.

         1.72    “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        1.73    “Liquidating Trust” means the liquidating trust created on the Effective Date in
 accordance with the provisions of Article VI of the Plan and the Liquidating Trust Agreement.

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         1.74    “Liquidating Trust Agreement” means the agreement evidencing the terms and
 provisions governing the Liquidating Trust dated as of the Effective Date establishing the terms and
 conditions of the Liquidating Trust and pursuant to which a Liquidating Trustee shall manage and
 administer the Liquidating Trust Assets.

         1.75    “Liquidating Trust Assets” means from and after the Effective Date all assets of the
 Debtors that are not distributed on or prior to the Effective Date (including, for the avoidance of doubt,
 the Total Assets), which shall be described in the Liquidating Trust Agreement.

         1.76    “Liquidating Trust Beneficiaries” means the holders of Liquidating Trust Interests.

         1.77   “Liquidating Trust Board” shall have the meaning set forth in Section 6.5 and the
 Liquidating Trust Agreement.

         1.78   “Liquidating Trustee” means the person or entity appointed prior to the creation of the
 Liquidating Trust to administer the Liquidating Trust in accordance with the Liquidating Trust
 Agreement.

          1.79   “Liquidating Trust Interests” means (a) the PBGC Liquidating Trust Priority Interest;
 (b) the General Unsecured Liquidating Trust Interests; and (c) the Specified Unsecured Liquidating Trust
 Interests.

          1.80     “Net Proceeds” means all Cash proceeds of the Debtors realized from the Total Assets,
 less the fees or any other costs associated with the collection of such proceeds.

        1.81    “NOL Order” means the Final Order Establishing Notification Procedures and
 Approving Restrictions on Certain Transfers of Interests In, and Claims Against, the Debtors and
 Claiming Certain Worthless Stock Deductions (ECF No. 795).

         1.82   “Other 507(b) Priority Claim” means a superpriority claim under section 507(b) of the
 Bankruptcy Code and the DIP Order asserted by the holder of such Claim (other than by ESL Parties),
 against the Second Lien Loan Parties to the extent such Other 507(b) Priority Claim is Allowed,
 excluding any ESL 507(b) Priority Claim.

         1.83   “Other Assets” means all remaining Assets of each of the Debtors, other than the
 Specified Causes of Action, Other Causes of Action, and Credit Bid Release Consideration, including all
 Cash owned by each of the Debtors on the Effective Date other than Cash used to fund or held in the
 Disputed Claim Reserve Account(s), or the Carve Out Account.

          1.84    “Other Causes of Action” means all Causes of Action belonging to the Debtors’
 Estates, other than the Specified Causes of Action, that were not otherwise transferred to Buyer pursuant
 to the Sale Order.

          1.85    “Other Secured Claim” means a Secured Claim, other than: (a) a Second Lien Credit
 Facility Claim; or (b) a Second Lien Notes Claim.

         1.86    “PBGC” means Pension Benefit Guaranty Corporation.

         1.87    “PBGC Agreements” means (a) that certain Pension Plan Protection and Forbearance
 Agreement, dated as of March 18, 2016 (as amended, supplemented or otherwise modified from time to
 time), by and among SHC, certain subsidiaries of SHC party thereto, and PBGC, (b) that certain Consent,

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 Waiver and Amendment, dated as of March 8, 2017 (as amended, supplemented, or otherwise modified
 from time to time), by and among SHC, certain subsidiaries of SHC party thereto, and PBGC, (c) that
 certain Amendment No. 1 to Consent, Waiver and Amendment, dated as of June 29, 2017, by and among
 SHC, certain subsidiaries of SHC party thereto, and PBGC, (d) that certain REMIC Amendment to
 PPPFA, Craftsman Consent and Other Transaction Documents, dated as of November 7, 2017, by and
 among SHC, certain subsidiaries of SHC party thereto, and PBGC, (e) that certain Conditional REMIC
 Entity Waiver, dated as of March 14, 2018, by and among SHC, certain subsidiaries of SHC party thereto,
 and PBGC, (f) the Amendment to Transaction Documents, dated as of August 30, 2018, by and among
 SHC, certain subsidiaries of SHC party thereto, and PBGC, and (g) any document or agreement executed
 in connection with or pursuant to the transactions identified in the foregoing clauses (a)-(f), including,
 without limitation, (i) any “Transaction Document” (as such term is defined in that certain Pension Plan
 Protection and Forbearance Agreement), and (ii) that certain Escrow Agreement, effective as of June 29,
 2017, by and among SHC, PBGC, and U.S. Bank National Association (as amended, extended, restated,
 replaced, supplemented, or otherwise modified from time to time).

       1.88    “PBGC Claims” means all prepetition general unsecured claims of PBGC, including any
 UBL Claims, against the Debtors (but not any non-Debtors).

         1.89      “PBGC Liquidating Trust Priority Interest” means a beneficial interest in the
 Liquidating Trust granted to PBGC, which shall entitle PBGC to and be secured by the first $80 million
 of Net Proceeds of: (i) Specified Causes of Action, after payment in full satisfaction of all Administrative
 Expense Claims, Priority Non-Tax Claims, Priority Tax Claims, Other 507(b) Priority Claims, and Other
 Secured Claims (or the maintenance of amounts in the Disputed Claim Reserve Account on account of
 any of the foregoing Claims that are Disputed); and (ii) Other Causes of Action arising under Chapter 5 of
 the Bankruptcy Code, after payment in full satisfaction of all Administrative Expense Claims, Priority
 Non-Tax Claims, Priority Tax Claims, Other 507(b) Priority Claims, ESL 507(b) Priority Claims, and
 Other Secured Claims (or the maintenance of amounts in the Disputed Claim Reserve Account on account
 of any of the foregoing Claims that are Disputed).

          1.90   “PBGC Settlement” means the settlement with PBGC, the agreed terms of which are set
 forth in the PBGC Settlement Agreement.

         1.91  “PBGC Settlement Agreement” means that certain Agreement memorializing the terms
 of the PBGC Settlement, dated [•], 2019 by and among the Debtors and PBGC (ECF No. [•]).

         1.92    “Pension Plans” means collectively, the following pension plans as to which SHC was
 the plan sponsor, as such term is defined in ERISA Section 3(16)(B): (a) the Sears Holdings Pension Plan
 1 (as amended effective December 1, 2016) and (b) the Sears Holdings Pension Plan 2 (effective
 December 1, 2016).

          1.93    “Plan” means this joint chapter 11 plan, including all appendices, exhibits, schedules,
 and supplements hereto (including, without limitation, any appendices, schedules, and supplements to the
 Plan contained in the Plan Supplement), as the same may be amended, supplemented, or modified from
 time to time in accordance with the provisions of the Bankruptcy Code and the terms hereof.

          1.94   “Plan Supplement” means a supplemental appendix to the Plan containing, among other
 things, forms of applicable documents, schedules, and exhibits to the Plan to be filed with the Court,
 including, but not limited to, the following: (a) a schedule listing potential defendants of an estate Cause
 of Action owned by, or for the benefit of, the Debtors or their Estates, (b) a Liquidating Trust Agreement;
 and (c) schedule of assumed Executory Contracts and Unexpired Leases (if any). The Plan Supplement
 shall be filed with the Bankruptcy Court no later than seven (7) calendar days prior to the deadline to

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 object to the Plan. The Debtors shall have the right to amend the documents contained in the Plan
 Supplement through and including the Effective Date in consultation with the Creditors’ Committee in
 accordance with Article IX of the Plan.

         1.95    “Preserved Causes of Actions” means any Causes of Action that are expressly preserved
 and not released, vested, settled or sold to a third party under the Plan, the Sale Transaction, or any other
 order of the Bankruptcy Court, including the Specified Causes of Action and the Other Causes of Action.
 For the avoidance of doubt, the Liquidating Trustee will retain all rights to commence and pursue all
 Preserved Causes of Actions.

        1.96    “Priority Non-Tax Claim” means any Claim other than an Administrative Expense
 Claim or a Priority Tax Claim, entitled to priority in payment as specified in section 507(a) of the
 Bankruptcy Code.

         1.97   “Priority Tax Claim” means any Secured Claim or unsecured Claim of a governmental
 unit of the kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the
 Bankruptcy Code.

        1.98    “Proof of Claim” means a proof of Claim filed against any of the Debtors in the
 Chapter 11 Cases.

        1.99     “Pro Rata” means (a) for the purpose of calculating the percentage of proceeds of
 General Assets to be received by a holder of: (i) an Allowed General Unsecured Claim, (ii) an Allowed
 PBGC Unsecured Claim, or (iii) an Allowed ESL Unsecured Claim at an applicable Debtor shall be
 determined based on the following formula:

                                                      W2
                                                  X3 + Y4 + Z5

 or (b) for the purpose of calculating the percentage of proceeds of Specified Causes of Action or the
 Credit Bid Release Consideration, to be received by a holder of: (i) an Allowed General Unsecured Claim
 or (ii) an Allowed PBGC Unsecured Claim at an applicable Debtor shall be determined based on the
 following formula:

                                                       X6
                                                     Y7 + Z8

        1.100 “Real Estate 2020 Loan” means that certain Third Amended and Restated Loan
 Agreement, dated as of June 4, 2018, among, among others, Sears, Kmart Stores of Illinois LLC, Kmart
 of Washington LLC, Kmart Corp., SHC Desert Springs, LLC, Innovel Solutions, Inc., Sears Holdings
 Management Corporation, Maxserv, Inc., Troy Coolidge No. 13, LLC, Sears Development Co. and Big
 Beaver of Florida Development, LLC, as borrowers, Sears Holdings, as guarantor, JPP, LLC, as agent,

 2   W = The Allowed amount of a holder’s General Unsecured Claim, PBGC Unsecured Claim or ESL Unsecured Claim at the
     applicable Debtor.
 3   X = The aggregate amount of Allowed and Disputed General Unsecured Claims at the applicable Debtor.
 4
     Y = The aggregate amount of the Allowed PBGC Unsecured Claim at the applicable Debtor.
 5   Z = The amount of Allowed and Disputed ESL Unsecured Claims at the applicable Debtor.
 6   X = The Allowed amount of a holder’s Allowed General Unsecured Claim or PBGC Unsecured Claim at the applicable
     Debtor.
 7   Y = The aggregate amount of Allowed and Disputed General Unsecured Claims at the applicable Debtor.
 8   Z = The amount of the Allowed PBGC Unsecured Claim at the applicable Debtor.
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 and JPP, LLC, JPP II, LLC, and Cascade Investment, L.L.C., as lenders, in an aggregate original principal
 amount of approximately $779.1 million, secured by a lien on, among other things, a portfolio of real
 estate Assets, and maturing on July 20, 2020.

         1.101 “Reinstate,” “Reinstated,” or “Reinstatement” means leaving a Claim Unimpaired
 under the Plan.

          1.102 “Related Parties” means with respect to any Released Party or Exculpated Party, such
 Party’s successors and assigns, managed accounts or funds, and all of their respective postpetition
 officers, postpetition directors, postpetition principals, postpetition employees, postpetition agents,
 postpetition trustees, postpetition advisory board members, financial advisors, attorneys, accountants,
 actuaries, investment bankers, consultants, representatives, management companies, fund advisors and
 other professionals, and persons’ respective heirs, executors, estates, servants, and nominees, including
 the Restructuring Committee, Restructuring Subcommittee, and each of its respective members; provided,
 that, any ESL Party shall not be a Related Party.

          1.103 “Released Parties” means in each case, solely in their capacities as such: (a) the
 Debtors; (b) the Creditors’ Committee and each of its members; (c) the Liquidating Trustee; (d) the
 Liquidating Trust Board; and (e) with respect to each of the foregoing entities in clauses (a) through (b),
 all Related Parties; provided, that the following entities shall not be “Released Parties” under the Plan:
 (i) the ESL Parties; (ii) any person or Entity against which any action has been commenced on behalf of
 the Debtors or their Estates, in this Bankruptcy Court or any court of competent jurisdiction prior to the
 Confirmation Hearing; (iii) any Entity identified as a defendant or a potential defendant of an Estate
 Cause of Action in the Plan Supplement; and (iv) any subsequent transferee of any of the foregoing with
 respect to any Assets of the Debtors; provided, further, that recovery on account of any Causes of Action
 against the Specified Directors and Officers, solely with respect to D&O Claims, shall be subject to the
 limitations set forth in Section 11.11.

         1.104   “Releasing Parties” has the meaning set forth in Section 11.9(b) herein.

         1.105 “Restructuring Committee” means the “restructuring committee” of the Board of
 Directors of SHC, consisting of Alan J. Carr, Paul G. DePodesta, Ann N. Reese, and William L. Transier.

       1.106 “Restructuring Subcommittee” means the subcommittee of the Restructuring
 Committee, consisting of Alan J. Carr and William Transier.

         1.107 “Sale Order” means the Order (I) Approving the Asset Purchase Agreement Among
 Sellers and Buyer, (II) Authorizing the Sale of Certain of the Debtors’ Assets Free and Clear of Liens,
 Claims, Interests and Encumbrances, (III) Authorizing the Assumption and Assignment of Certain
 Executory Contracts, and Leases in Connection Therewith and (IV) Granting Related Relief, entered by
 the Bankruptcy Court on February 8, 2018 (ECF No. 2507).

        1.108 “Sale Transaction” means the transactions effected in accordance with the
 Asset Purchase Agreement and Sale Order.

          1.109 “Schedules” means the schedules of Assets and liabilities and the statement of financial
 affairs filed by the Debtors under section 521 of the Bankruptcy Code, Bankruptcy Rule 1007, and the
 Official Bankruptcy Forms of the Bankruptcy Rules, as such schedules and statements have been or may
 be supplemented or amended from time to time.

         1.110   “SEC” means the United States Securities and Exchange Commission.

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        1.111    “Second Lien Debt” means collectively, the Second Lien Credit Facility and the Second
 Lien Notes.

         1.112 “Second Lien Credit Agreement” means that certain Second Lien Credit Agreement,
 dated as of September 1, 2016 (as amended, supplemented, or otherwise modified from time to time), by
 and among SHC, Sears Roebuck Acceptance Corp., and Kmart Corp., as borrowers, and the Second Lien
 Credit Facility Agent.

         1.113 “Second Lien Credit Facility” means the (a) $300 million term loan and (b) line of
 credit facility, in an amount not to exceed $500 million at any time outstanding provided under the
 Second Lien Credit Agreement.

         1.114 “Second Lien Credit Facility Agent” means JPP, LLC in its capacity as administrative
 agent under the Second Lien Credit Agreement, including any successors thereto.

         1.115 “Second Lien Credit Facility Claims” means any Claims against any Debtor arising
 from or in connection with the Second Lien Credit Agreement.

         1.116 “Second Lien Loan Party” means, in their respective capacities as borrower, issuer or
 guarantor for the Second Lien Debt, California Builder Appliances, Inc., Florida Builder Appliances, Inc.,
 KLC, Inc., Kmart Corporation, Kmart Holding Corporation, Kmart of Michigan, Inc., Kmart of
 Washington LLC, Kmart Operations LLC, Kmart Stores of Illinois LLC, Kmart Stores of Texas LLC,
 Kmart.com LLC, MyGofer LLC, Private Brands, Ltd., Sears Brands Management Corporation, SHC,
 Sears Holdings Management Corporation, Sears Home Improvement Products, Inc., Sears Operations
 LLC, Sears Protection Company, Sears Protection Company (Florida), L.L.C., Sears Roebuck
 Acceptance Corp., Sears, Roebuck and Co., Sears, Roebuck de Puerto Rico, Inc., SOE, Inc., and
 StarWest, LLC.

         1.117 “Second Lien Notes” means the 6 5/8% senior secured notes due 2018 issued pursuant to
 the Second Lien Notes Indenture.

         1.118 “Second Lien Notes Trustee” means Wells Fargo Bank, National Association, in its
 capacity as trustee and collateral agent under the Second Lien Notes Indenture.

        1.119 “Second Lien Notes Claims” means any Claims arising from or in connection with the
 Second Lien Notes Indenture.

          1.120 “Second Lien Notes Indenture” means that certain Indenture, dated as of October 12,
 2010 (as amended, supplemented, or otherwise modified from time to time), by and among SHC, as
 issuer, the Second Lien Notes Agent, and the guarantors listed therein.

        1.121 “Senior Unsecured Notes” means the 8% Senior Unsecured Notes due 2019 issued
 pursuant to the Senior Unsecured Notes Indenture.

         1.122 “Senior Unsecured Notes Indenture” means that certain First Supplemental Indenture,
 dated as of November 21, 2014, to the Unsecured PIK Notes Indenture.

         1.123 “Secured Claim” means a Claim: (a) secured by a Lien on collateral to the extent of the
 value of such collateral as (i) set forth in the Plan, (ii) agreed to by the holder of such Claim and the
 Debtors in consultation with the Creditors’ Committee or the Liquidating Trustee, or (iii) determined by a


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 Final Order in accordance with section 506(a) of the Bankruptcy Code; or (b) secured by the amount of
 any right of setoff of the holder thereof in accordance with section 553 of the Bankruptcy Code.

         1.124   “Security” has the meaning set forth in section 101(49) of the Bankruptcy Code.

         1.125   “SHC” means Sears Holdings Corporation.

          1.126 “Specified Causes of Action” means collectively: any Causes of Action (a) for
 constructive or actual fraudulent transfer under 11 U.S.C. 544(b), 547, 548 or 550(a) or any applicable
 state or federal Law, for breach of fiduciary duty, or for illegal dividend under 8 Del. C. 170-174 or any
 other state Law (including, but not limited to, any Claims for damages or equitable relief (other than
 disallowance of the ESL Claims) in connection with the incurrence of any debt described on Exhibit G to
 the Asset Purchase Agreement) or for common law fraud; (b) that are related to Lands’ End, Inc., the
 “spin-off” (as such term is defined in the Information Statement of Lands’ End, Inc. dated March 18,
 2014), Seritage Growth Properties, Inc., Seritage Growth Properties, L.P, or the “Transaction” (as that
 term is defined in the registration statement on Form S-11 filed by Seritage Growth Properties, which
 registration statement became effective on June 9, 2015), and (c) any Cause of Action involving any
 intentional misconduct by ESL Parties. For the avoidance of doubt, the Specified Causes of Action shall
 not be released pursuant to Article XI of the Plan.

         1.127 “Specified Directors and Officers” means any person who is a director of any of the
 Debtors on the Effective Date and any person who was an officer of any of the Debtors immediately prior
 to the closing of the Sale Transaction, each in their capacity as a director or officer of the Debtors, as
 applicable.

          1.128 “Specified Unsecured Liquidating Trust Interests” means non-certificated beneficial
 interests in the Liquidating Trust granted to holders of (a) Allowed General Unsecured Claims and (b) the
 Allowed PBGC Unsecured Claims, which shall entitle such holder to a Pro Rata share of the Specified
 Unsecured Plan Recovery. For the avoidance of doubt, no Specified GUC Liquidating Trust Interests
 shall be granted to holders of Allowed ESL Unsecured Claims.

         1.129 “Specified Unsecured Recovery” means: (a) proceeds of the Wind Down Account,
 subject to the full satisfaction of all Allowed Administrative Expense Claims, Priority Non-Tax Claims,
 and Priority Tax Claims (or maintenance in the Disputed Claim Reserve Account(s) on account of any of
 the foregoing Claims that are Disputed); and (b) Net Proceeds of the Specified Causes of Action and the
 Credit Bid Release Consideration, subject to payment in full satisfaction of all Allowed Administrative
 Expense Claims, Priority Tax Claims, Other 507(b) Priority Claims, Priority Non-Tax Claims, Other
 Secured Claims (or maintenance in the Disputed Claim Reserve Account(s) on account of any of the
 foregoing Claims that are Disputed), and the PBGC Liquidating Trust Priority Interest.

         1.130 “Subordinated Securities Claims” means a Claim subject to subordination under
 section 510(b) of the Bankruptcy Code.

         1.131   “Tax Code” means the Internal Revenue Code of 1986, as amended from time to time.

         1.132 “Total Assets” means collectively, (a) General Assets, (b) Specified Causes of Action,
 and (c) Credit Bid Release Consideration.

         1.133   “Transform” means Transform Holdco LLC, as established by ESL.



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         1.134 “UBL Claim” means any and all Claims (whether or not reduced to judgment,
 liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, or undisputed) of PBGC for the
 “unfunded benefit liabilities” together with interest of the Pension Plans under ERISA Section
 4062(b)(1)(A) against SHC and each other member of its “controlled group”, as that term is defined in
 ERISA section 4001(a)(14).

          1.135 “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
 subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        1.136 “Unimpaired” means, with respect to a Claim or Class of Claims, not “impaired” within
 the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

        1.137 “Unsecured PIK Notes” means the 8% Senior Unsecured Notes Convertible PIK Notes
 due 2019 issued pursuant to the Unsecured PIK Notes Indenture.

         1.138 “Unsecured PIK Notes Indenture” means that certain Second Supplemental Indenture,
 dated as of March 20, 2018.

          1.139 “Unsecured Notes Trustee” means Computershare Trust Company, N.A., in its capacity
 as trustee and collateral agent under the Unsecured PIK Notes Indenture.

         1.140   “U.S. Trustee” means the United States Trustee for the Southern District of New York.

        1.141 “Voting Deadline” means the date by which all persons or Entities entitled to vote on the
 Plan must vote to accept or reject the Plan.

         1.142 “Wind Down” means, the process of winding down, dissolving, and liquidating the
 Estates and their Assets in accordance with the Plan.

         1.143 “Wind Down Account” means a deposit account at Bank of America, N.A. holding up to
 $240 million, held on behalf of the respective contributing Debtors and, following the Effective Date, the
 Liquidating Trust. The Wind Down Account and the amounts on deposit in the Wind Down Account shall
 be available and used only to satisfy wind down costs of the Debtors and the Liquidating Trust and shall
 not be subject to any prepetition liens or any liens or superpriority Claims granted under the Final DIP
 ABL Order, the Confirmation Order or the Plan; provided that any funds remaining in the Wind Down
 Account at the Closing Date of the Debtors’ estates by the Liquidating Trustee shall be distributed as
 General Assets pursuant to the Plan and the Liquidating Trust Agreement.

         B.      Interpretation; Application of Definitions and Rules of Construction.

                   Unless otherwise specified, all section or exhibit references in the Plan are to the
 respective section in, or exhibit to, the Plan, as the same may be amended, waived, or modified from time
 to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to
 the Plan as a whole and not to any particular section, subsection, or clause contained therein. The
 headings in the Plan are for convenience of reference only and shall not limit or otherwise affect the
 provisions hereof. For purposes herein: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
 feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (b) any reference
 herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a
 particular form or on particular terms and conditions means that the referenced document shall be
 substantially in that form or substantially on those terms and conditions; (c) unless otherwise specified, all

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 references herein to “Sections” are references to Sections hereof or hereto; (d) the rules of construction set
 forth in section 102 of the Bankruptcy Code shall apply; and (e) any term used in capitalized form herein
 that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have
 the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

         C.       Reference to Monetary Figures.

                 All references in the Plan to monetary figures shall refer to the legal tender of the
 United States of America, unless otherwise expressly provided.

         D.       Controlling Document.

                 In the event of any conflict between the terms and provisions in the Plan (without
 reference to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
 Supplement, any other instrument or document created or executed pursuant to the Plan, or any order
 (other than the Confirmation Order) referenced in the Plan (or any exhibits, schedules, appendices,
 supplements, or amendments to any of the foregoing), the Plan (without reference to the Plan
 Supplement) shall govern and control; provided, that, in the event of a conflict between the Confirmation
 Order, on the one hand, and any of the Plan, the Plan Supplement, the Definitive Documents, on the other
 hand, the Confirmation Order shall govern and control in all respects.

                ARTICLE II ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

         2.1.     Administrative Expense Claims.

                  (a)      Except to the extent that a holder of an Allowed Administrative Expense Claim
 agrees to less favorable treatment, each holder of an Allowed Administrative Expense Claim (other than a
 Fee Claim) shall receive, in final satisfaction, settlement, release, and discharge of such Claim from the
 respective Debtor or Liquidating Trust, as applicable, Cash in an amount equal to such Allowed
 Administrative Expense Claim on the latest of (i) the Effective Date, (ii) the first Business Day after the
 date that is thirty (30) calendar days after the date such Administrative Expense Claim becomes an
 Allowed Administrative Expense Claim, and (iii) the next Distribution Date after such Administrative
 Expense Claim becomes an Allowed Administrative Expense Claim. Administrative Expense Claims
 shall be paid (x) first out of the Wind Down Account; and (y) if the amount available for Distribution
 pursuant to the foregoing clause (x) is insufficient to remit all Distributions required to be made to such
 holders pursuant to this sentence, subject to the payment in full of any Allowed ESL 507(b) Priority
 Claims and Other 507(b) Priority Claims in accordance with Sections 2.4 and 2.5 of the Plan,
 respectively, from the Net Proceeds of Total Assets. For the avoidance of doubt, this Section 2.1 shall not
 govern Distributions on Allowed ESL 507(b) Claims and Other 507(b) Priority Claims, and Distributions
 on such Claims shall be governed by Sections 2.4 and 2.5 of the Plan, respectively.

                  (b)     In accordance with the Asset Purchase Agreement:

                          (i)      Holders of Allowed Administrative Expense Claims arising under
                  section 503(b)(9) of the Bankruptcy Code shall be paid, (x) first by or on behalf of the
                  Debtors on or after the date that Transform pays amounts owed pursuant to section
                  2.3(k)(iv) of the Asset Purchase Agreement up to $139 million in the aggregate less any
                  amounts previously paid by Transform in accordance with Section 2.3(k) of the Asset
                  Purchase Agreement, and (y) if the amount available for Distribution pursuant to the
                  foregoing clause (x) is insufficient to remit all Distributions required to be made to such
                  holders pursuant to this sentence, in accordance with Section 2.1(a).

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                         (ii)    Holders of Allowed Administrative Expense Claims arising under Other
                 Payables (as defined in the Asset Purchase Agreement) shall be paid, (x) first by or on
                 behalf of the Debtors on or after the date that Transform pays amounts owed pursuant to
                 section 2.3(k)(v) of the Asset Purchase Agreement up to $166 million in the aggregate
                 less any amounts previously paid by Transform in accordance with Section 2.3(k) of the
                 Asset Purchase Agreement, and (y) if the amount available for Distribution pursuant to
                 the foregoing clause (x) is insufficient to remit all Distributions required to be made to
                 such holders pursuant to this sentence, in accordance with Section 2.1(a).

                  (c)    Holders of Administrative Expense Claims that are required to file a Claim
 for payment of such Administrative Expense Claims and that did not file such a Claim by the
 Administrative Expense Claims Bar Date shall be forever barred, estopped, and enjoined from
 asserting such Administrative Expense Claims against the Debtors or their property (including the
 Liquidating Trust), and such Administrative Expense Claims shall be deemed compromised,
 settled, and released without consideration as of the Effective Date.

         2.2.    Fee Claims.

                  (a)      All Entities seeking an award by the Bankruptcy Court of Fee Claims shall file
 and serve on counsel to (i) the Debtors, (ii) the Creditors’ Committee, (iii) the Liquidating Trustee,
 (iv) the Fee Examiner, and (v) the U.S. Trustee on or before the date that is forty-five (45) days after the
 Effective Date, their respective final applications for allowance of compensation for services rendered and
 reimbursement of expenses incurred from the Commencement Date through the Effective Date.
 Objections to any Fee Claims must be filed and served on counsel to the Debtors, the Creditors’
 Committee, the Liquidating Trustee, the Fee Examiner, and the U.S. Trustee, and the requesting party no
 later than twenty-one (21) calendar days after the filing of the final applications for compensation or
 reimbursement (unless otherwise agreed by the party requesting compensation of a Fee Claim).

                   (b)     Allowed Fee Claims shall be paid in full, in Cash, by the Debtors or Liquidating
 Trust, as applicable, in such amounts as are Allowed by the Bankruptcy Court (i) on the date upon which
 an order relating to any such Allowed Fee Claim is entered or as soon as reasonably practicable
 thereafter; or (ii) upon such other terms as may be mutually agreed upon between the holder of such an
 Allowed Fee Claim, the Debtors (in consultation with the Creditors’ Committee) or the Liquidating
 Trustee, as applicable, (x) first out of the Carve Out Account; and (y) if the amount available for
 Distribution pursuant to the foregoing clause (x) is insufficient to remit all Distributions required to be
 made to such holders pursuant to this sentence, from the Net Proceeds of Total Assets. Notwithstanding
 the foregoing, any Fee Claims that are authorized to be paid pursuant to any administrative orders entered
 by the Bankruptcy Court may be paid at the times and in the amounts authorized pursuant to such orders.

                  (c)      On or about the Effective Date, holders of Fee Claims shall provide a reasonable
 estimate of unpaid Fee Claims incurred in rendering services five (5) Business Days before the
 Effective Date to the Debtors, the Creditors’ Committee, and the Liquidating Trustee and the Debtors or
 Liquidating Trustee, as applicable, shall fund such estimated amounts into the Carve Out Account for the
 benefit of the holders of the Fee Claims until the fee applications related thereto are resolved by Final
 Order or agreement of the parties. If a holder of a Fee Claim does not provide an estimate, the Debtors, in
 consultation with the Creditors’ Committee, or Liquidating Trustee, as applicable, may estimate the
 unpaid and unbilled reasonable and necessary fees and out-of-pocket expenses of such holder of a Fee
 Claim. When all such Allowed Fee Claims have been paid in full, any remaining amount in such Carve
 Out Account shall promptly be released from such escrow and revert to, and ownership thereof shall vest
 in, the Debtor(s) that funded such amounts without any further action or order of the Bankruptcy Court.


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                (d)    The Liquidating Trustee is authorized to pay compensation for services rendered
 or reimbursement of expenses incurred after the Effective Date in the ordinary course and without the
 need for Bankruptcy Court approval.

         2.3.     Priority Tax Claims.

                   Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less
 favorable treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final
 satisfaction, settlement, release, and discharge of such Allowed Priority Tax Claim from the applicable
 Debtor(s) or the Liquidating Trust, as applicable, (a) Cash in an amount equal to such Allowed Priority
 Tax Claim on the latest of (i) the Effective Date, to the extent such Claim is an Allowed Priority Tax
 Claim on the Effective Date; (ii) the first Business Day after the date that is thirty (30) calendar days after
 the date such Priority Tax Claim becomes an Allowed Priority Tax Claim; (iii) the next Distribution Date
 after such Priority Tax Claim becomes an Allowed Priority Tax Claim; and (iv) the date such Allowed
 Priority Tax Claim is due and payable in the ordinary course as such obligation becomes due; or (b) equal
 annual Cash payments in an aggregate amount equal to the amount of such Allowed Priority Tax Claim,
 together with interest at the applicable rate under section 511 of the Bankruptcy Code, over a period not
 exceeding five (5) years from and after the Commencement Date, paid (x) first out of the Wind Down
 Account, subject to the payment in full of Administrative Expense Claims, and pro rata with any Priority
 Non-Tax Claims; and (y) if the amount available for Distribution pursuant to the foregoing clause (x) is
 insufficient to remit all Distributions required to be made to such holders pursuant to this sentence, from
 the Net Proceeds of Total Assets; provided, that the Debtor reserves the right to prepay all or a portion of
 any such amounts at any time under this option without penalty or premium.

                  In accordance with the Asset Purchase Agreement holders of Allowed Priority Tax
 Claims that are Assumed Property Tax Liabilities as defined in Section 1.1 of the Asset Purchase
 Agreement shall be paid, (x) first by or on behalf of the Debtors on or after the date that Transform pays
 amounts owed pursuant to section 2.1(i) of the Asset Purchase Agreement up to $135 million in the
 aggregate, and (y) if the amount available for Distribution pursuant to the foregoing clause (x) is
 insufficient to remit all Distributions required to be made to such holders pursuant to this sentence, in
 accordance with Section 2.1(a).

         2.4.     ESL 507(b) Priority Claims.

                 Unless otherwise agreed by the holder of such Claims, to the extent any ESL 507(b)
 Priority Claims are Allowed, ESL shall receive, from the respective Second Lien Loan Party or the
 Liquidating Trust, as applicable, and, in full and final satisfaction, settlement, release, and discharge of
 such ESL 507(b) Priority Claims at the applicable Debtor(s) against which such ESL 507(b) Priority
 Claims are Allowed, payment in Cash from (a) Net Proceeds of Other Causes of Action up to the ESL
 507(b) Cap, with any remaining ESL 507(b) Priority Claims that would have resulted in Distributions
 from the Net Proceeds of Other Causes of Action treated as ESL Unsecured Claims and (b) Net Proceeds
 from Other Assets; provided, that, for the avoidance of doubt, any Allowed ESL 507(b) Priority Claim in
 excess of the ESL 507(b) Cap shall be treated as an ESL Unsecured Claim without duplication in respect
 of any deficiency claim allocable to the subject debt instrument for which the ESL 507(b) Priority Claim
 was Allowed.

                 Holders of Allowed ESL 507(b) Priority Claims, if any, shall be entitled to superpriority
 administrative expense status (a) on a pro rata basis with Other 507(b) Priority Claims against the Second
 Lien Loan Parties (solely with respect to the Net Proceeds of General Assets at the applicable Second
 Lien Loan Party), and (b) senior to all Administrative Expense Claims against the Second Lien Loan
 Parties, and shall be entitled to payment pursuant to the Plan from the Net Proceeds of General Assets,

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 prior to the payment of any other Administrative Expense Claims at the Second Lien Loan Parties other
 than Fee Claims from such Net Proceeds (provided, that, Distributions to administrative and junior
 Claims may be made if an adequate Disputed Claim Reserve Account is maintained for Disputed ESL
 507(b) Priority Claims).

                  Notwithstanding the foregoing, in accordance with the DIP Order, the ESL 507(b)
 Priority Claims, if any, shall not be entitled to any Cash proceeds of the Wind Down Account. For the
 avoidance of doubt, pursuant to the terms of the Sale Order and the Asset Purchase Agreement,
 notwithstanding any order of the Bankruptcy Court to the contrary or section 1129 of the Bankruptcy
 Code, it shall not be a condition to confirmation of the Plan that the ESL 507(b) Priority Claims be paid in
 full or in part.

         2.5.     Other 507(b) Priority Claims.

                  Unless otherwise agreed by the holders of such Claims, to the extent any Other 507(b)
 Priority Claims are Allowed, each holder of such Allowed 507(b) Priority Claim shall receive, from the
 respective Second Lien Loan Party or Liquidating Trust, as applicable, and, in full and final satisfaction,
 settlement, release, and discharge of such Other 507(b) Priority Claims at the applicable Debtor(s) against
 which such Other 507(b) Priority Claims are Allowed, payment in full in Cash from the Net Proceeds of
 Total Assets on the latest of (i) the Effective Date, (ii) the first Business Day after the date that is thirty
 (30) calendar days after the date such Other 507(b) Priority Claim becomes an Allowed Other 507(b)
 Priority Claim, and (iii) the next Distribution Date after such Other 507(b) Priority Claim becomes an
 Allowed Other 507(b) Priority Claim.

                 Holders of Other 507(b) Priority Claims shall be entitled to superpriority administrative
 expense priority status (a) on a pro rata basis with ESL 507(b) Priority Claims against the Second Lien
 Loan Parties (solely with respect to the Net Proceeds of General Assets at the applicable Second Lien
 Loan Party), and (b) senior to all other Administrative Expense Claims against the Second Lien Loan
 Parties and payment pursuant to the Plan prior to the payment of any other Administrative Expense
 Claims against the Second Lien Loan Parties other than Fee Claims (provided, that, Distributions to
 administrative and junior Claims may be made if an adequate Disputed Claim Reserve Account is
 maintained for disputed Other 507(b) Priority Claims).

                 Notwithstanding the foregoing, in accordance with the DIP Order, the Other 507(b)
 Priority Claims shall not be entitled to any Cash proceeds of the Wind Down Account.

                 ARTICLE III CLASSIFICATION OF CLAIMS AND INTERESTS.

         3.1.     Classification in General.

                   A Claim or Interest is placed in a particular Class for all purposes, including voting,
 confirmation, and Distribution under the Plan and under sections 1122 and 1123(a)(1) of the
 Bankruptcy Code; provided, that a Claim or Interest is placed in a particular Class for the purpose of
 receiving Distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed
 Claim or Allowed Interest in that Class and such Allowed Claim or Allowed Interest has not been
 satisfied, released, or otherwise settled prior to the Effective Date.

         3.2.     Summary of Classification.

                The following table designates the Classes of Claims against and Interests in the Debtors
 and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to

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 accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code; and (c) presumed to
 accept or deemed to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code,
 Administrative Expense Claims, Other 507(b) Priority Claims, ESL 507(b) Priority Claims, and Priority
 Tax Claims have not been classified.

   Class                   Designation              Treatment                Entitled to Vote
     1          Priority Non-Tax Claims             Unimpaired           No (Presumed to Accept)
     2          Other Secured Claims                Unimpaired           No (Presumed to Accept)
     3          PBGC Claims                          Impaired                      Yes
     4          General Unsecured Claims             Impaired                      Yes
     5          ESL Unsecured Claims                 Impaired                      Yes
     6          Intercompany Claims                  Impaired             No (Deemed to Reject)
     7          Intercompany Interests               Impaired             No (Deemed to Reject)
     8          Subordinated Securities Claims       Impaired             No (Deemed to Reject)
     9          Existing SHC Equity Interests        Impaired             No (Deemed to Reject)

         3.3.      Special Provision Governing Unimpaired Claims.

                Nothing under the Plan shall affect the rights of the Debtors, as applicable, in respect of
 any Unimpaired Claims, including all rights in respect of legal and equitable defenses to, or setoffs or
 recoupments against, any such Unimpaired Claims.

         3.4.      Elimination of Vacant Classes.

                   Any Class of Claims against or Interests in the Debtors that, as of the commencement of
 the Confirmation Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an
 amount greater than zero for voting purposes shall be considered vacant, deemed eliminated from the Plan
 for purposes of voting to accept or reject the Plan, and disregarded for purposes of determining whether
 the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to that Class.

         3.5.      Voting Classes; Presumed Acceptance by Non-Voting Classes

                If a Class contains Claims eligible to vote and no holders of Claims eligible to vote in
 such Class vote to accept or reject the Plan, the Debtors shall request the Bankruptcy Court at the
 Confirmation Hearing to deem the Plan accepted by the holders of such Claims in such Class.

         3.6.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

                 The Debtors shall seek Confirmation of the Plan pursuant to section 1129(b) of the
 Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The Debtors reserve the right
 to modify the Plan in consultation with the Creditors’ Committee, to the extent, if any, that Confirmation
 pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying the
 treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests
 Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

         3.7.      Second Lien Debt Claims.

                 Claims arising under the Second Lien Debt are undersecured pursuant to section 506(a)
 of the Bankruptcy Code and are classified entirely as deficiency Claims.

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                 ARTICLE IV TREATMENT OF CLAIMS AND INTERESTS.

       4.1.    Priority Non-Tax Claims (Class 1).

               (a)    Classification: Class 1 consists of Priority Non-Tax Claims.

               (b)    Treatment: Except to the extent that a holder of an Allowed Priority Non-Tax
                      Claim agrees to less favorable treatment of such Claim in full and final
                      satisfaction, settlement, release, and discharge of such Allowed Priority Non-Tax
                      Claim, at the option of the Debtors (in consultation with the Creditors’
                      Committee) or the Liquidating Trustee, each such holder shall receive from the
                      respective Debtor or the Liquidating Trust, as applicable:

                      (i)     payment in full in Cash in an amount equal to such Claim, payable on the
                              latest of (i) the Effective Date, (ii) the date that is ten (10) Business Days
                              after the date on which such Priority Non-Tax Claim becomes an
                              Allowed Priority Non-Tax Claim, or (iii) the next Distribution Date after
                              such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax
                              Claim, paid (x) first out of the Wind Down Account, subject to the
                              payment in full of Administrative Expense Claims, and pro rata with any
                              Priority Tax Claims; and (y) if the amount available for Distribution
                              pursuant to the foregoing clause (x) is insufficient to remit all
                              Distributions required to be made to such holders pursuant to this
                              sentence, from the Net Proceeds of Total Assets; or

                      (ii)    such other treatment so as to render such holder’s Allowed Priority Non-
                              Tax Claim Unimpaired.

               (c)    Voting: Class 1 is Unimpaired, and holders of Priority Non-Tax Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                      the Bankruptcy Code. Therefore, holders of Priority Non-Tax Claims are not
                      entitled to vote to accept or reject the Plan, and the votes of such holders will not
                      be solicited with respect to Priority Non-Tax Claims.

       4.2.    Other Secured Claims (Class 2).

               (a)    Classification: Class 2 consists of the Other Secured Claims. To the extent that
                      Other Secured Claims are secured by different collateral or different interests in
                      the same collateral, such Claims shall be treated as separate subclasses of Class 2
                      for purposes of voting to accept or reject the Plan and receiving Distributions
                      under the Plan.

               (b)    Treatment: Except to the extent that a holder of an Allowed Other Secured
                      Claim agrees to different treatment, on the latest of (i) the Effective Date, (ii) the
                      date that is ten (10) Business Days after the date such Other Secured Claim
                      becomes an Allowed Claim, or (iii) the next Distribution Date after such Other
                      Secured Claim becomes an Allowed Other Secured Claim, each holder of an
                      Allowed Other Secured Claim will receive, on account of such Allowed Claim, at
                      the option of the Debtors (in consultation with the Creditors’ Committee) or
                      Liquidating Trustee, as applicable:


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                      (i)     Cash in an amount equal to the Allowed amount of such Other Secured
                              Claim;

                      (ii)    transfer of the collateral securing such Other Secured Claim in
                              satisfaction of the Allowed amount of such Other Secured Claim; or

                      (iii)   such other treatment sufficient to render such holder’s Allowed Other
                              Secured Claim Unimpaired.

               (c)    Voting: Class 2 is Unimpaired, and holders of Other Secured Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                      the Bankruptcy Code. Therefore, holders of Other Secured Claims are not
                      entitled to vote to accept or reject the Plan, and the votes of such holders will not
                      be solicited with respect to such Other Secured Claims.

       4.3.    PBGC Claims (Class 3).

               (a)    Classification: Class 3 consists of the PBGC Claims.

               (b)    Allowance: Pursuant to the PBGC Settlement, the PBGC shall have an Allowed
                      unsecured claim in the aggregate amount of $800 million against each Debtor
                      (the “Allowed PBGC Unsecured Claims”).

               (c)    Treatment: Confirmation of the Plan shall constitute approval of the PBGC
                      Settlement Agreement. In accordance therewith, PBGC shall receive from the
                      Liquidating Trust, (i) the PBGC Liquidating Trust Priority Interest and (ii) in
                      respect of the Allowed PBGC Unsecured Claims, PBGC’s Pro Rata share of
                      (x) the General Unsecured Liquidating Trust Interests and (y) the Specified
                      Unsecured Liquidating Trust Interests, in full and final satisfaction, settlement,
                      release, and discharge of all PBGC Claims.

               (d)    Voting: Class 3 is Impaired and, thus, PBGC, as the holder of the PBGC Claims
                      in Class 3, is entitled to vote to accept or reject the Plan.

       4.4.    General Unsecured Claims (Class 4).

               (a)    Classification: Class 4 consists of General Unsecured Claims.

               (b)    Treatment: Except to the extent that a holder of an Allowed General Unsecured
                      Claim agrees to less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of an Allowed General Unsecured Claim, each such holder
                      thereof shall receive its Pro Rata share of (i) the General Unsecured Liquidating
                      Trust Interests and (ii) the Specified Unsecured Liquidating Trust Interests.

               (c)    Voting: Class 4 is Impaired and, thus, holders of General Unsecured Claims are
                      entitled to vote to accept or reject the Plan.

       4.5.    ESL Unsecured Claims (Class 5).

               (a)    Classification: Class 5 consists of ESL Unsecured Claims.


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               (b)    Treatment: Except to the extent that a holder of an Allowed ESL Unsecured
                      Claim agrees to less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of an Allowed ESL Unsecured Claim, each such holder
                      thereof shall receive its Pro Rata share of the General Unsecured Liquidating
                      Trust Interests.

               (c)    Voting: Class 5 is Impaired, and, thus, holders of Allowed ESL Unsecured
                      Claims are entitled to vote to accept or reject the Plan.

       4.6.    Intercompany Claims (Class 6).

               (a)    Classification: Class 6 consists of Intercompany Claims.

               (b)    Treatment: In full and final satisfaction, settlement, release, and discharge of an
                      Allowed Intercompany Claim, each such holder thereof shall receive its Pro Rata
                      share of (i) the General Unsecured Liquidating Trust Interests and (ii) the
                      Specified Unsecured Liquidating Trust Interests.

               (c)    Voting: Class 6 is Impaired. Holders of Intercompany Claims are conclusively
                      presumed to have rejected the Plan pursuant to section 1126(f) of the Bankruptcy
                      Code. Therefore, holders of Intercompany Claims are not entitled to vote to
                      accept or reject the Plan, and the votes of such holders will not be solicited with
                      respect to such Intercompany Claims.

       4.7.    Intercompany Interests (Class 7).

               (a)    Classification: Class 7 consists of Intercompany Interests.

               (b)    Treatment: On or after the Effective Date, all Intercompany Interests shall be
                      cancelled. Each such holder thereof shall neither receive nor retain any property
                      of the Estate or direct interest in property of the Estate of the Debtors on account
                      of such Intercompany Interest.

               (c)    Voting: Class 7 is Unimpaired. Holders of Intercompany Interests are
                      conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                      Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled
                      to vote to accept or reject the Plan, and the votes of such holders will not be
                      solicited with respect to such Intercompany Interests.

       4.8.    Subordinated Securities Claims (Class 8).

               (a)    Classification: Class 8 consists of Subordinated Securities Claims.

               (b)    Treatment: Holders of Subordinated Securities Claims shall not receive or retain
                      any property under the Plan on account of such Subordinated Securities Claims.
                      On the Effective Date, all Subordinated Securities Claims shall be deemed
                      cancelled without further action by or order of the Bankruptcy Court, and shall be
                      of no further force and effect, whether surrendered for cancellation or otherwise.

               (c)    Voting: Class 8 is Impaired. Holders of Subordinated Securities Claims are
                      conclusively deemed to have rejected the Plan. Therefore, holders of

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                             Subordinated Securities Claims are not entitled to vote to accept or reject the
                             Plan, and the votes of such holders of Subordinated Securities Claims will not be
                             solicited.

            4.9.    Existing SHC Equity Interests (Class 9).

                    (a)      Classification: Class 9 consists of Existing SHC Equity Interests.

                    (b)      Treatment: On the Effective Date, all Existing SHC Equity Interests shall be
                             cancelled. Each such holder thereof shall neither receive nor retain any property
                             of the Estate or direct interest in property of the Estate of SHC on account of
                             such Existing SHC Equity Interest.

                    (c)      Voting: Class 9 is Impaired. Holders of Existing SHC Equity Interests are
                             conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                             Bankruptcy Code. Therefore, holders of Existing SHC Equity Interests are not
                             entitled to vote to accept or reject the Plan, and the votes of such holders will not
                             be solicited with respect to such Existing SHC Equity Interests.

                             ARTICLE V        MEANS FOR IMPLEMENTATION.

            5.1.    [No Substantive Consolidation.

                  The Plan is being proposed as a joint plan of reorganization of the Debtors for
 administrative purposes only, and constitutes a separate chapter 11 plan of reorganization for each Debtor.
 The Plan is not premised upon the substantive consolidation of the Debtors with respect to the Classes of
 Claims or Interests set forth in the Plan. Accordingly, if the Bankruptcy Court does not confirm the Plan
 with respect to one or more Debtors, the Debtors may request that the Bankruptcy Court confirm the Plan
 with respect to any Debtor that satisfies the confirmation requirements of section 1129 of the Bankruptcy
 Code.] 9

            5.2.    Compromise and Settlement of Claims, Interests, and Controversies.

                  Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule
 9019 and in consideration for the Distributions and other benefits provided pursuant to the Plan, the
 provisions of the Plan shall constitute a good faith compromise of Claims, Interests, and controversies
 relating to the contractual, legal, and subordination rights that a creditor or an Interest holder may have
 with respect to any Claim or Interest or any Distribution to be made on account of an Allowed Claim or
 Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
 compromise or settlement of all such Claims, Interests, and controversies, as well as a finding by the
 Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors, their Estates,
 and holders of such Claims and Interests, and is fair, equitable, and reasonable.

            5.3.    Sources of Consideration for Plan Distributions.

                  The Debtors and Liquidating Trust shall fund Distributions and satisfy applicable
 Allowed Claims under the Plan using: (a) Cash on hand; (b) Cash from Net Proceeds of Total Assets
 (subject to the limitations set forth in the Plan); (c) Cash from the Wind Down Account (subject to the
 limitations set forth in the DIP Order and the Plan); provided, that the Cash proceeds of the Wind Down

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     [NTD: Subject to further review and discussion with the Creditors’ Committee and PBGC.]

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 Account shall first be used to pay Administrative Expense Claims; provided, further, that any funds
 remaining in the Wind Down Account at the Closing Date shall be distributed by the Liquidating Trustee
 as General Assets in accordance with the Plan and the Liquidating Trust Agreement; and (d) Cash from
 the Carve Out Account; provided, that the Cash proceeds of the Carve Out Account shall first be used to
 pay Fee Claims; provided, further, that any funds remaining in the Carve Out Account after the payment
 in full of Allowed Fee Claims shall be distributed by the Liquidating Trustee as General Assets in
 accordance with the Plan and the Liquidating Trust Agreement.

                 [To the extent a particular Debtor has insufficient Assets to satisfy Allowed
 Administrative Expense Claims, Allowed ESL 507(b) Claims or Allowed Other 507(b) Claims, another
 Debtor with sufficient Assets may, in consultation with the Creditors’ Committee and PBGC, make an
 intercompany loan to the applicable Debtor on or about the Effective Date to allow such Debtor to satisfy
 such Claims. Such intercompany loan shall be secured by the proceeds and Preserved Causes of Action
 of the borrowing Debtor.] 10

            5.4.    Preservation of Causes of Action.

                    Other than Causes of Action against an Entity that are waived, relinquished,
 exculpated, released, compromised, or settled in the Plan or by a Bankruptcy Court order, the
 Debtors reserve any and all Preserved Causes of Action, including for the avoidance of doubt all
 Specified Causes of Action. No Entity may rely on the absence of a specific reference in the Plan or the
 Disclosure Statement to any Cause of Action against them as any indication that the Debtors or the
 Liquidating Trustee will not pursue any and all available Causes of Action against them. No preclusion
 doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion
 (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as a
 consequence of the Confirmation Date or Consummation. Prior to the Effective Date, the Debtors, and
 after the Effective Date, the Liquidating Trustee shall retain and shall have, including through its
 authorized agents or representatives, the exclusive right, authority, and discretion to determine and to
 initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment
 any such Causes of Action and to decline to do any of the foregoing without the consent or approval of
 any third party or further notice to or action, order, or approval of the Bankruptcy Court except as
 provided in Section 6.7 of the Plan.

            5.5.    Corporate Governance; Dissolution.

                  On the Effective Date, all Liquidating Trust Assets of the Debtors shall be transferred to
 the respective Liquidating Trust of such Debtor in accordance with Article VI of the Plan and all Debtors
 shall be dissolved without the necessity for any other or further actions to be taken by or on behalf of such
 dissolving Debtor or its shareholder or any payments to be made in connection therewith, other than the
 filing of a certificate of dissolution with the appropriate governmental authorities. All directors and
 officers of the dissolved Debtors shall be deemed to have resigned in their capacity as of the Effective
 Date.

            5.6.    Effectuating Documents; Further Transactions.

                 (a)      The Debtors or the Liquidating Trustee, as applicable, subject to any approvals or
 direction of the Liquidating Trust Board as set forth in the Liquidating Trust Agreement, may take all
 actions to execute, deliver, file, or record such contracts, instruments, releases and other agreements or
 documents and take such actions as may be necessary or appropriate to effectuate and implement the

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      [NTD: Subject to review and discussion with Creditors’ Committee and PBGC]

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 provisions of the Plan, including, without limitation, the distribution of the Liquidating Trust Interests to
 be issued pursuant hereto without the need for any approvals, authorizations, actions or consents except
 for those expressly required pursuant hereto. The secretary and any assistant secretary of each Plan
 Debtor or the Liquidating Trustee shall be authorized to certify or attest to any of the foregoing activities.

                  (b)     Before, on or after the Effective Date (as appropriate), all matters provided for
 pursuant to the Plan that would otherwise require approval of the shareholders, directors or members of
 the Debtors shall be deemed to have been so approved and shall be in effect before, on or after the
 Effective Date (as appropriate) pursuant to applicable law and without any requirement of further action
 by the shareholders, directors, managers or partners of the Debtors, or the need for any approvals,
 authorizations, actions or consents.

                  (c)     The restrictions imposed by the NOL Order shall remain effective and binding
 even after the Effective Date with respect to all SHC Equity Interests.

         5.7.    Cancellation of Existing Securities and Agreements.

                  (a)      The Second Lien Credit Agreement, Second Lien Notes Indenture, Senior
 Unsecured Notes Indenture, and Unsecured PIK Notes Indenture, shall continue in effect solely to the
 extent necessary to (i) allow the holders of such Claims to receive Distributions under the Plan; (ii) allow
 the Debtors, the Liquidating Trustee, the Second Lien Credit Facility Agent, Second Lien Notes Trustee,
 or Unsecured Notes Trustee, to make post-Effective Date distributions or take such other action pursuant
 to the Plan on account of such Claims and to otherwise exercise their rights and discharge their
 obligations relating to the interests of the holders of such Claims; (iii) allow holders of Claims to retain
 their respective rights and obligations vis-à-vis other holders of Claims pursuant to any applicable loan
 documents; (iv) allow the Second Lien Credit Facility Agent, Second Lien Notes Trustee, and Unsecured
 Notes Trustee to enforce their rights, claims, and interests vis-à-vis any party other than the Debtors,
 including any rights with respect to priority of payment and/or to exercise charging liens; (v) preserve any
 rights of the Second Lien Credit Facility Agent, Second Lien Notes Trustee, and Unsecured Notes Trustee
 to payment of fees, expenses, and indemnification obligations as against any money or property
 distributable to lenders under the Second Lien Credit Agreement and holders under the Second Lien
 Notes Indenture, Senior Unsecured Notes Indenture, Unsecured PIK Notes Indenture, as applicable,
 including any rights to priority of payment and/or to exercise charging liens; (vi) allow the Second Lien
 Credit Facility Agent, Second Lien Notes Trustee, and Unsecured Notes Trustee to enforce any
 obligations owed to them under the Plan; (vii) permit the Second Lien Credit Facility Agent, the Second
 Lien Notes Trustee, and the Unsecured Notes Trustee to perform any function necessary to effectuate the
 foregoing; and (viii) allow the Second Lien Credit Facility Agent, Second Lien Notes Trustee, and
 Unsecured Notes Trustee to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court
 or any other court relating to the Second Lien Credit Agreement, Second Lien Notes Indenture, Senior
 Unsecured Notes Indenture, or Unsecured PIK Notes Indenture, as applicable; provided, that nothing in
 this Section 5.7 shall affect the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation
 Order, or the Plan or result in any liability or expense to the Liquidating Trustee.

                  (b)     Except for the foregoing, subsequent to the performance by the Second Lien
 Credit Facility Agent of its obligations pursuant to the Plan, the Second Lien Credit Facility Agent and its
 agents shall be relieved of all further duties and responsibilities related to the Second Lien Credit
 Agreement.

                  (c)      Except for the foregoing, subsequent to the performance by the Second Lien
 Notes Trustee of its obligations pursuant to the Plan, the Second Lien Notes Trustee and its agents shall
 be relieved of all further duties and responsibilities related to the Second Lien Notes Indenture.

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                  (d)     Except for the foregoing, subsequent to the performance by the Unsecured Notes
 Trustee of its obligations pursuant to the Plan, the Unsecured Notes Trustee and its agents shall be
 relieved of all further duties and responsibilities related to the Senior Unsecured Notes Indenture and
 Unsecured PIK Notes Indenture, as applicable.

                (e)      Notwithstanding anything to the contrary herein, all rights under the Second Lien
 Credit Agreement, Second Lien Notes Indenture, Senior Unsecured Notes Indenture, and Unsecured PIK
 Notes Indenture shall remain subject to the Intercreditor Agreement.

                  (f)     Notwithstanding the foregoing, any provision in any document, instrument, lease,
 or other agreement that causes or effectuates, or purports to cause or effectuate, a default, termination,
 waiver, or other forfeiture of, or by, the Debtors as a result of the cancellations, terminations, satisfaction,
 releases, or discharges provided for in the Plan shall be deemed null and void and shall be of no force and
 effect.

                                  ARTICLE VI LIQUIDATING TRUST

         6.1.     Establishment of the Liquidating Trust.

                  On the Effective Date, the Liquidating Trust shall be established and become effective for
 the benefit of the Liquidating Trust Beneficiaries. The powers, authority, responsibilities, and duties of
 the Liquidating Trust and the Liquidating Trustee are set forth in and shall be governed by the Plan and
 the Liquidating Trust Agreement. The Liquidating Trust Agreement shall contain provisions customary
 to trust agreements utilized in comparable circumstances, including, without limitation, any and all
 provisions necessary to ensure the continued treatment of the Liquidating Trust as a grantor trust and the
 Liquidating Trust Beneficiaries as the grantors and owners thereof for federal income tax purposes. The
 Liquidating Trust Agreement may provide powers, duties, and authorities in addition to those explicitly
 stated herein, but only to the extent that such powers, duties, and authorities do not affect the status of the
 Liquidating Trust as a “liquidating trust” for United States federal income tax purposes. In the event of
 any conflict between the terms of this Section 6.1 and the terms of the Liquidating Trust Agreement as
 such conflicts relate to the establishment of the Liquidating Trust, the terms of this Section 6.1 shall
 govern.

                  On the Effective Date, the Liquidating Trustee, on behalf of the Debtors, shall execute
 the Liquidating Trust Agreement and shall take all other steps necessary to establish the Liquidating Trust
 pursuant to the Liquidating Trust Agreement and consistent with the Plan.

         6.2.     Purpose of the Liquidating Trust.

                   The Liquidating Trust shall be established pursuant to the Liquidating Trust Agreement
 for the sole purpose of liquidating and administering the Liquidating Trust Assets and making
 distributions on account thereof as provided for under the Plan in accordance with Treas. Reg.
 § 301.7701-4(d). The Liquidating Trust is intended to qualify as a liquidating trust pursuant to Treas.
 Reg. § 301.7701-4(d), with no objective to continue or engage in the conduct of a trade or business. The
 Liquidating Trust shall not be deemed a successor in interest of the Debtors for any purpose other than as
 specifically set forth herein or in the Liquidating Trust Agreement.

         6.3.     Liquidating Trust Assets.

               On the Effective Date, and in accordance with sections 1123 and 1141 of the Bankruptcy
 Code and pursuant to the terms of the Plan, all title and interest in all of the Liquidating Trust Assets, as

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 well as the rights and powers of each Debtor in such Liquidating Trust Assets, shall automatically vest in
 the Liquidating Trust, free and clear of all Claims and Interests for the benefit of the Liquidating Trust
 Beneficiaries. Upon the transfer of the Liquidating Trust Assets, the Debtors shall have no interest in or
 with respect to the Liquidating Trust Assets or the Liquidating Trust. Upon delivery of the Liquidating
 Trust Assets to the Liquidating Trust, the Debtors and their predecessors, successors and assigns, shall be
 discharged and released from all liability with respect to the delivery of such distributions and shall have
 no reversionary or further interest in or with respect to the Liquidating Trust Assets or the Liquidating
 Trust. Notwithstanding the foregoing, for purposes of section 553 of the Bankruptcy Code, the transfer of
 the Liquidating Trust Assets to the Liquidating Trust shall not affect the mutuality of obligations which
 otherwise may have existed prior to the effectuation of such transfer. Such transfer shall be exempt from
 any stamp, real estate transfer, mortgage reporting, sales, use, or other similar tax, pursuant to section
 1146(a) of the Bankruptcy Code. In connection with the transfer of such assets, any attorney client
 privilege, work product privilege, or other privilege or immunity attaching to any documents or
 communications (whether written or oral) transferred to the Liquidating Trust shall vest in the Liquidating
 Trust and its representatives, and the Debtors and the Liquidating Trustee are directed to take all
 necessary actions to effectuate the transfer of such privileges. The Liquidating Trustee shall agree to
 accept and hold the Liquidating Trust Assets in the Liquidating Trust for the benefit of the Liquidating
 Trust Beneficiaries, subject to the terms of the Plan and the Liquidating Trust Agreement.

                 The Debtors, the Liquidating Trustee, the Liquidating Trust Beneficiaries, and any party
 under the control of such parties will execute any documents or other instruments and shall take all other
 steps as necessary to cause title to the Liquidating Trust Assets to be transferred to the Liquidating Trust.

           6.4.    Administration of the Liquidating Trust.

                 The Liquidating Trust shall be administered by the Liquidating Trustee pursuant to the
 Liquidating Trust Agreement and the Plan. Subject to Section 6.1, in the event of any inconsistency
 between the Plan and the Liquidating Trust Agreement as such conflict relates to anything other than the
 establishment of a Liquidating Trust, the Liquidating Trust Agreement shall control.

           6.5.    Post-Effective Date Liquidating Trust Board Members.

                 (a)      Liquidating Trust Board Composition. On the Effective Date, the Liquidating
 Trust Board will be appointed in accordance with the terms of the Liquidating Trust Agreement. The
 initial members of the Liquidating Trust Board shall consist of: [•]. 11

                   (b)     Following the Confirmation Date, the Liquidating Trust Board shall, in addition
 to its other duties including those listed in Section 6.7, be responsible for (v) instructing and supervising
 the Liquidating Trustee with respect to their responsibilities under the Plan; (w) reviewing and approving
 the prosecution of adversary and other proceedings, if any, including approving proposed settlements
 thereof; (x) settling Specified Causes of Action pursuant to Section 6.7; (y) reviewing and approving
 objections to and proposed settlements of Disputed Claims; and (z) performing such other duties that may
 be necessary and proper to assist the Debtors and the Liquidating Trustee and their retained professionals
 as set forth in the Liquidating Trust Agreement. In its discretion, following the Effective Date, the
 Liquidating Trust Board may delegate any duties assigned to the Liquidating Trustee to any other
 committee, entity or individual.




 11
      [TBD – Number of board members and composition of board subject to ongoing negotiations and discussions
       between the Debtors and the Creditors’ Committee].
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                  (c)    The members of the Liquidating Trust Board may be removed in accordance with
 the terms of the Liquidating Trust Agreement. Any objection to any such notice to remove a member of
 the Liquidating Trust Board will be determined by the Bankruptcy Court.

                  (d)     Notwithstanding anything in the Plan or Liquidating Trust Agreement to the
 contrary, the Liquidating Trust Board shall always act consistently with, and not contrary to, the purpose
 of the Liquidating Trust as set forth in the Plan.

           6.6.    Liquidating Trustee.

                  (a)     Appointment. The Liquidating Trustee shall be [___], 12 who will serve on and
 after the Effective Date in accordance with the Liquidating Trust Agreement and the Plan, reporting to,
 [and seeking approval for all material, non-ordinary course decisions from the Liquidating Trust Board.
 The Liquidating Trustee shall be appointed as the representative of each of the Debtors’ Estates pursuant
 to sections 1123(a)(5), (a)(7) and (b)(3)(B) of the Bankruptcy Code, subject to the terms of the Plan, the
 Confirmation Order, and the Liquidating Trust Agreement.

                  (b)      Authority. The duties and powers of the Liquidating Trustee shall include all
 powers necessary to implement the Plan and to administer and monetize the Liquidating Trust Assets,
 including, without limitation, the duties and powers listed herein. The Liquidating Trustee will
 administer the Liquidating Trust in accordance with the Liquidating Trust Agreement. The Liquidating
 Trustee, with the approval of the Liquidating Trust Board and in the exercise of their collective
 reasonable business judgment, shall, in an expeditious but orderly manner, liquidate and convert to Cash
 the assets of the Liquidation Trust, make timely distributions and not unduly prolong the duration of the
 Liquidation Trust. More specifically, the Liquidating Trustee shall have the authority and the right
 (subject to approval by the Liquidating Trust Board as set forth in the Liquidating Trust Agreement),
 without the need for Bankruptcy Court approval (unless otherwise indicated), to carry out and implement
 all provisions of the Plan, including, without limitation:

                           (i)     except to the extent Claims have been previously Allowed, control and
                   effectuate the Claims reconciliation process, including to object to, seek to subordinate,
                   compromise or settle any and all Claims; provided, that the settlement of Specified
                   Causes of Action shall be subject to the procedures set forth in Section 6.7;

                          (ii)    make Distributions to Holders of Allowed Claims as set forth in, and
                   implement the Wind Down pursuant to, the Plan;

                            (iii)   determine Distribution Dates, in accordance with the Plan;

                           (iv)     exercise its reasonable business judgment to direct and control the wind
                   down, liquidation, sale and/or abandoning of the remaining Assets of the Debtors under
                   the Plan and in accordance with applicable law as necessary to maximize Distributions to
                   holders of Allowed Claims;

                           (v)     prosecute any remaining Causes of Action, including Preserved Causes
                   of Action, on behalf of the Liquidating Trust, elect not to pursue any Causes of Action,
                   and determine whether and when to compromise, settle, abandon, dismiss, or otherwise
                   dispose of any such Causes of Action, as the Liquidating Trustee may determine, subject

 12
      [TBD – Selection of Liquidating Trustee subject to ongoing negotiations and discussions between the Debtors
       and the Creditors’ Committee].
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               to approval by the Liquidating Trust Board, is in the best interests of the Liquidating
               Trust;

                        (vi)   retain professionals to assist in performing its duties under the Plan,
               subject to approval of the Liquidating Trust Board;

                       (vii)    maintain the books and records and accounts of the Liquidating Trust;

                       (viii) invest Cash of the Liquidating Trust, including any Cash from Net
               Proceeds realized from the liquidation of any Assets of the Liquidating Trust, including
               any Preserved Causes of Action, and any income earned thereon;

                       (ix)     incur and pay reasonable and necessary expenses in connection with the
               performance of duties under the Plan, including the reasonable fees and expenses of
               professionals retained by the Liquidating Trustee, which shall be subject to approval by
               the Liquidating Trust Board;

                       (x)       administer each Debtor’s tax obligations, including (a) filing tax returns
               and paying tax obligations, (b) requesting, if necessary, an expedited determination of
               any unpaid tax liability of each Debtor or its estate under section 505(b) of the
               Bankruptcy Code for all taxable periods of such Debtor ending after the Commencement
               Date through the liquidation of such Debtor as determined under applicable tax laws, and
               (c) representing the interest and account of each Debtor or its estate before any taxing
               authority in all matters including, without limitation, any action, suit, proceeding or audit;

                        (xi)    administer each Liquidating Trust’s tax obligations, including (a) filing
               tax returns and paying tax obligations, (b) requesting, if necessary, an expedited
               determination of any unpaid tax liability of each Liquidating Trust for all taxable periods
               of such Liquidating Trust through the dissolution of the applicable Liquidating Trust as
               determined under applicable tax laws, and (c) representing the interest and account of
               each Liquidating Trust before any taxing authority in all matters including, without
               limitation, any action, suit, proceeding or audit;

                        (xii)   prepare and file any and all returns, reports, statements, or disclosures
               relating to the Debtors and the Liquidating Trust that are required under the Plan, by any
               governmental unit or applicable law;

                       (xiii) prepare and file on behalf of the Debtors and any non-Debtor
               subsidiaries, certificates of dissolution and any and all other corporate and company
               documents necessary to effectuate the Wind Down without further action under
               applicable law, regulation, order, or rule, including any action by the stockholders,
               members, the board of directors, or board of directors or similar governing body of the
               Debtors;

                       (xiv) maintain appropriate liability insurance for the Liquidating Trustee and
               the Liquidating Trust Board;

                       (xv)     pay statutory fees; and

                      (xvi) perform other duties and functions that are consistent with the
               implementation of the Plan and the Liquidating Trust Agreement.

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 Notwithstanding anything in the Plan or Liquidating Trust Agreement to the contrary, the Liquidating
 Trustee shall always act consistently with, and not contrary to, the purpose of the Liquidating Trust as set
 forth in Section 6.2 of the Plan. The Liquidating Trustee and the members of the Liquidating Trust Board
 shall have fiduciary duties to the Liquidating Trust Beneficiaries consistent with the fiduciary duties that a
 member of an official committee appointed pursuant to section 1102 of the Bankruptcy Code has to the
 creditor constituents represented by such committee and shall exercise his, her or its responsibilities
 accordingly; provided, however, that the Liquidating Trustee and the members of the Liquidating Trust
 Board shall not owe fiduciary obligations to any defendants or potential defendants of Preserved Causes
 of Action in their capacities as such, it being the intent of such fiduciary duties to ensure that the
 Liquidating Trustee’s and the members’ of the Liquidating Trust Board obligations are to maximize the
 value of the Liquidating Trust Assets, including the Preserved Causes of Action.

                 (c)      Indemnification. Each of the Liquidating Trustee and each member of the
 Liquidating Trust Board (and each of their agents and professionals) shall be indemnified in accordance
 with the terms of the Liquidating Trust Agreement.

                  (d)     Reporting. The Liquidating Trustee shall file with the Bankruptcy Court and the
 SEC periodic public reports on the status of claims reconciliation and Distributions, which reports may be
 included in the quarterly reporting required by the U.S. Trustee.

                 (e)     Payment. Unless an alternate fee arrangement has been agreed to, the fees and
 expenses of the Liquidating Trustee, including fees and expenses incurred by professionals retained by
 the Liquidating Trustee shall be paid from the Net Proceeds of Liquidating Trust Assets.

         6.7.    Settlement Procedures.

                 The settlement of any (a) Specified Cause of Action, (b) other Claim or Cause of Action
 against the ESL Parties, (c) Claim or Preserved Cause of Action for which the Net Proceeds from such
 settlement are equal or greater than $5,000,000.00, or (d) Intercompany Claims shall be subject to the
 following procedures; provided, however, that notwithstanding the foregoing, no avoidance action arising
 under section 547 of the Bankruptcy Code or any comparable “preference” action arising under applicable
 non-bankruptcy law shall be subject to the following procedures:

                 (a)     The Liquidating Trust Board first must determine whether the terms of a
 proposed settlement are in the best interests of the Liquidating Trust Beneficiaries, in the exercise of its
 reasonable business judgment as determined by majority vote.

                  (b)     Following such a determination by the Liquidating Trust Board, the
 Liquidating Trustee shall file or cause to be filed on the docket of the Chapter 11 Cases written notice of
 the material terms of the proposed settlement.

                (c)     Any parties in interest with standing shall have fourteen (14) days to object to
 any proposed settlement after the filing of such proposed settlement by the Liquidating Trustee.

                 (d)     If any party in interest with standing imposes an objection to such settlement, a
 hearing before the Bankruptcy Court shall be scheduled and the Liquidating Trustee shall only be
 permitted to consummate the settlement by a finding by the Court that the terms of the proposed
 settlement meet the applicable standards set forth in 11 U.S.C. § 363 and Bankruptcy Rule 9019

               (e)      If no party in interest with standing objects to the proposed settlement, the
 Bankruptcy Court shall be deemed to have approved such settlement pursuant to the applicable standards

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 set forth in section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and the Liquidating Trustee
 shall be permitted to consummate the settlement.

         6.8.    Liquidating Trustee’s Tax Power for Debtors.

                  The Liquidating Trustee shall have the same authority in respect of all taxes of the
 Debtors, and to the same extent, as if the Liquidating Trustee were the Debtor.

         6.9.    Non-Transferability of Liquidating Trust Interests.

                  The Liquidating Trust Interests shall be non-transferable other than if transferred by will,
 intestate succession or otherwise by operation of law.

         6.10.   Cash Investments.

                  The Liquidating Trustee may invest Cash (including any earnings thereon or proceeds
 therefrom); provided, that such investments are investments permitted to be made by a “liquidating trust”
 within the meaning of Treas. Reg. § 301.7701-4(d), as reflected therein, or under applicable IRS
 guidelines, rulings or other controlling authorities.

         6.11.   Federal Income Tax Treatment of the Liquidating Trust.

                  Subject to definitive guidance from the IRS or a court of competent jurisdiction to the
 contrary (including the receipt of an adverse determination by the IRS upon audit if not contested by such
 Liquidating Trustee), for all United States federal income tax purposes, all parties (including, without
 limitation, the Debtors, the Liquidating Trustee and the Liquidating Trust Beneficiaries) shall treat the
 transfer of Liquidating Trust Assets to the Liquidating Trust as (1) a transfer of Liquidating Trust Assets
 (subject to any obligations relating to those assets) directly to Liquidating Trust Beneficiaries (other than
 to the extent Liquidating Trust Assets are allocable to Disputed Claims), followed by (2) the transfer by
 such beneficiaries to the Liquidating Trust of Liquidating Trust Assets in exchange for Liquidating Trust
 Interests. Accordingly, except in the event of contrary definitive guidance, Liquidating Trust
 Beneficiaries shall be treated for United States federal income tax purposes as the grantors and owners of
 their respective share of Liquidating Trust Assets (other than such Liquidating Trust Assets as are
 allocable to Disputed Claims). The foregoing treatment shall also apply, to the extent permitted by
 applicable law, for state and local income tax purposes.

         6.12.   Tax Reporting.

                  (a)     The Liquidating Trustee shall file tax returns for the Liquidating Trust treating
 the Liquidating Trust as a grantor trust pursuant to Treas. Reg. § 1.671-4(a) and in accordance with this
 Section 6.12. A Liquidating Trustee also shall annually send to each holder of a Liquidating Trust
 Interest a separate statement regarding the receipts and expenditures of the Liquidating Trust as relevant
 for U.S. federal income tax purposes and will instruct all such holders to use such information in
 preparing their U.S. federal income tax returns or to forward the appropriate information to such holders’
 underlying beneficial holders with instructions to utilize such information in preparing their U.S. federal
 income tax returns.

                 (b)     Allocations of Liquidating Trust taxable income among Liquidating Trust
 Beneficiaries (other than taxable income allocable to any assets allocable to, or retained on account of,
 Disputed Claims) shall be determined by reference to the manner in which an amount of Cash
 representing such taxable income would be distributed (were such Cash permitted to be distributed at

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 such time) if, immediately prior to such deemed Distribution, the Liquidating Trust had distributed all its
 assets (valued at their tax book value, other than assets allocable Disputed Claims) to the holders of
 Liquidating Trust Interests, adjusted for prior taxable income and loss and taking into account all prior
 and concurrent Distributions from the Liquidating Trust. Similarly, taxable loss of the Liquidating Trust
 shall be allocated by reference to the manner in which an economic loss would be borne immediately
 after a hypothetical liquidating distribution of the remaining Liquidating Trust Assets. The tax book value
 of Liquidating Trust Assets for purpose of this paragraph shall equal their fair market value on the date
 Liquidating Trust Assets are transferred to the Liquidating Trust, adjusted in accordance with tax
 accounting principles prescribed by the IRC, the applicable Treasury Regulations, and other applicable
 administrative and judicial authorities and pronouncements.

                  (c)      As soon as reasonably practicable after Liquidating Trust Assets are transferred
 to the Liquidating Trust, but in no event later than one hundred and twenty (120) days thereafter, the
 Liquidating Trustee shall make a good faith valuation of Liquidating Trust Assets and the Liquidating
 Trustee shall apprise, in writing, the Liquidating Trust Beneficiaries of such valuation. In connection
 with the preparation of the valuation contemplated hereby and by the Plan, the Liquidating Trust shall be
 entitled to retain such professionals and advisors as the Liquidating Trust shall determine to be
 appropriate or necessary, and the Liquidating Trustee shall take such other actions in connection
 therewith as it determines to be appropriate or necessary. Such valuation shall be used consistently by
 such parties for all United States federal income tax purposes. The Liquidating Trust shall bear all of the
 reasonable costs and expenses incurred in connection with determining such value, including the fees and
 expenses of any professionals retained in connection therewith.

                  (d)       Subject to definitive guidance from the IRS or a court of competent jurisdiction
 to the contrary (including the receipt by the Liquidating Trustee of a private letter ruling if such
 Liquidating Trustee so requests one, or the receipt of an adverse determination by the IRS upon audit if
 not contested by such Liquidating Trustee), such Liquidating Trustee (i) may timely elect to treat any
 Liquidating Trust Assets allocable to Disputed Claims as a “disputed ownership fund” governed by Treas.
 Reg. § 1.468B-9, and (ii) to the extent permitted by applicable law, shall report consistently for state and
 local income tax purposes. If a “disputed ownership fund” election is made, all parties (including such
 Liquidating Trustee, the Debtors and Liquidating Trust Beneficiaries) shall report for United States
 federal, state and local income tax purposes consistently with the foregoing.

                  (e)     The Liquidating Trustee shall be responsible for payment, out of Liquidating
 Trust Assets, of any taxes imposed on the Liquidating Trust or the Liquidating Trust Assets.

                  (f)      The Liquidating Trustee may request an expedited determination of taxes of the
 Liquidating Trust, including any reserve for Disputed Claims, or of the Debtor as to whom the
 Liquidating Trust was established, under section 505(b) of the Bankruptcy Code for all tax returns filed
 for, or on behalf of, such Liquidating Trust or the Debtor for all taxable periods through the dissolution of
 such Liquidating Trust.

                 (g)      Dissolution.

                          (i)     The Liquidating Trustee, the Liquidating Trust Board and the
                 Liquidating Trust shall be discharged or dissolved, as the case may be, at such time as (i)
                 all of the Liquidating Trust Assets have been distributed pursuant to the Plan and the
                 Liquidating Trust Agreement, (ii) the Liquidating Trustee determines, with the approval
                 of the Liquidating Trust Board, that the administration of any remaining Liquidating
                 Trust Assets is not likely to yield sufficient additional Liquidating Trust proceeds to
                 justify further pursuit, or (iii) all Distributions required to be made by the Liquidating

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                 Trustee under the Plan and the Liquidating Trust Agreement have been made; provided,
                 that in no event shall the Liquidating Trust be dissolved later than five (5) years from the
                 creation of such Liquidating Trust pursuant to Section 6.1 of the Plan unless the
                 Bankruptcy Court, upon motion within the six-month period prior to the third (3rd)
                 anniversary (or within the six-month period prior to the end of an extension period),
                 determines that a fixed period extension (not to exceed three (3) years, together with any
                 prior extensions, without a favorable private letter ruling from the IRS or an opinion of
                 counsel satisfactory to the Liquidating Trustee that any further extension would not
                 adversely affect the status of the trust as a Liquidating Trust for United States federal
                 income tax purposes) is necessary to facilitate or complete the recovery and liquidation of
                 the Liquidating Trust Assets.

                          (ii)    If at any time the Liquidating Trustee determines, with the approval of
                 the Liquidating Trust Board, in reliance upon such professionals as the Liquidating
                 Trustee may retain, that the expense of administering the Liquidating Trust so as to make
                 a final Distribution to Liquidating Trust Beneficiaries is likely to exceed the value of the
                 assets remaining in such Liquidating Trust, such Liquidating Trustee may apply to the
                 Bankruptcy Court for authority to (i) reserve any amount necessary to dissolve such
                 Liquidating Trust, (ii) donate any balance to a charitable organization (A) described in
                 section 501(c)(3) of the IRC, (B) exempt from United States federal income tax under
                 section 501(a) of the IRC, (C) not a “private foundation”, as defined in section 509(a) of
                 the IRC, and (D) that is unrelated to the Debtors, such Liquidating Trust, and any insider
                 of such Liquidating Trustee, and (iii) dissolve such Liquidating Trust.

         6.13.   Separate Allocation.

                  Notwithstanding that there is only one Liquidating Trust, the Assets, Claims, and
 proceeds thereof that are contributed to the Liquidating Trust shall be allocated to the applicable Debtor in
 accordance with the Plan. Holders of Allowed Claims against a particular Debtor may only recover from
 the proceeds of the Assets and Claims allocated to such Debtor in accordance with the Plan.

                                    ARTICLE VII DISTRIBUTIONS.

         7.1.    Distributions Generally.

                  On or after the Effective Date, the Liquidating Trust (with the assistance of the
 Disbursing Agent as necessary) shall make all Distributions under the Plan to holders of Allowed Claims
 in accordance with the terms of the Plan. After the Effective Date, the Liquidating Trustee (with the
 assistance of the Disbursing Agent as necessary) at least annually, shall make all Distributions under the
 Plan to holders of Allowed Claims from the Liquidating Trust, in accordance with the terms of the Plan.

         7.2.    Distribution Record Date.

                  As of the close of business on the Distribution Record Date relating to each Distribution,
 which Distribution Record Date shall be the date that is thirty (30) calendar days prior to a Distribution
 Date, the various transfer registers for each of the Classes of Claims as maintained by the Debtors, the
 Liquidating Trustee or their respective agents shall be deemed closed for purposes of determining whether
 a holder of such a Claim or Interest is a record holder entitled to Distributions under the Plan, and there
 shall be no further changes in the record holders or the permitted designees of any such Claims for such
 Distribution. The Debtors or the Liquidating Trustee shall have no obligation to recognize any transfer or
 designation of such Claims for such Distribution occurring after the close of business on the Distribution

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 Record Date relating to such Distribution. For the avoidance of doubt, the Distribution Record Date shall
 not apply to the Debtors’ publicly-traded securities including Second Lien Notes, Senior Unsecured
 Notes, and Unsecured PIK Notes, the holders of which shall receive a distribution in accordance with
 Article IV of the Plan and, as applicable, the customary procedures of the DTC on or as soon as
 practicable after the Effective Date.

         7.3.    Date of Distributions.

                  Except as otherwise provided in the Plan, any Distribution and deliveries to be made
 under the Plan shall be made on the Effective Date or as otherwise determined in accordance with the
 Plan, including, without limitation, the treatment provisions of Article IV of the Plan, or as soon as
 practicable thereafter; provided, that the Liquidating Trustee, shall from time to time (and at least
 annually) determine subsequent Distribution Dates as appropriate. In the event that any payment or act
 under the Plan is required to be made or performed on a date that is not a Business Day, then the making
 of such payment or the performance of such act may be completed on or as soon as reasonably practicable
 after the next succeeding Business Day, but shall be deemed to have been completed as of the required
 date.

         7.4.    Reserve on Account of Disputed Claims.

                  (a)      From and after the Effective Date, and until such time as all Disputed Claims
 have been compromised and settled or determined by Final Order pursuant to Article VIII hereof, the
 Liquidating Trustee shall, consistent with and subject to section 1123(a)(4) of the Bankruptcy Code,
 reserve from Distributions under the Plan (to the extent such Disputed Claim would receive a Distribution
 under the Plan had it been an Allowed Claim at the time of such Distribution) in the Disputed
 Claim Reserve Account(s) of the respective Debtor, any amounts that would otherwise have been
 received by a holder of a Disputed Claim from the Debtors or the Liquidating Trust, as applicable, had
 such Disputed Claim been an Allowed Claim on the Effective Date, determined based on the least of: (i)
 the filed amount of such Disputed Claim, (ii) the amount determined, to the extent permitted by the
 Bankruptcy Code and Bankruptcy Rules, by the Bankruptcy Court for purposes of fixing the amount to be
 retained for such Disputed Claim, and (iii) such other amount as may be agreed upon by the holder of
 such Disputed Claim and the Liquidating Trustee. On the date of the first Distribution Date that is at least
 forty-five (45) days (or such fewer days as may be agreed between the applicable Debtor and the holder
 of the applicable Disputed Claim) after the date on which a Disputed Claim becomes an Allowed Claim
 against a Debtor, the Liquidating Trustee shall remit to the holder of such Allowed Claim, Net Proceeds
 equal to the amount that would have been distributed on account of such Claim under the Plan from the
 Effective Date through and including the date of such Distribution on account of such Allowed Claim had
 such Claim been Allowed as of the Effective Date; provided, that (x) such amount shall be paid first out
 of the Disputed Claim Reserve Account(s) and (y) if the amount available for Distribution pursuant to the
 foregoing clause (x) is insufficient to remit all Distributions required to be made to such holder pursuant
 to this sentence, such holder shall receive the amount of such insufficiency on the next subsequent
 Distribution Dates before the holders of any other Claims against such Debtor receive any further
 Distributions out of the available General Assets from such Debtor under the Plan.

                   (b)    Nothing in this Section 7.4 of the Plan shall preclude any holder of a Disputed
 Claim from seeking, on notice to the Liquidating Trustee, an order of the Bankruptcy Court in respect of
 or relating to the amount retained with respect to such holder’s Disputed Claim.

                (c)      Unless otherwise ordered by the Bankruptcy Court, the Disputed Claim Reserve
 Account(s) shall not be used by, on behalf of or for the benefit of a Debtor or Liquidating Trust for
 operating expenses, costs or any purpose other than as set forth in this section.

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                 (d)     After the resolution of all Disputed Claims, the Liquidating Trustee shall treat
 any amounts that were reserved for Disputed Claims that do not become Allowed Claims as General
 Assets in accordance with this Plan and the Liquidating Trust Agreement.

         7.5.    Delivery of Distributions.

                  Subject to Bankruptcy Rule 9010, Distribution to any holder or permitted designee of an
 Allowed Claim shall be made to a Disbursing Agent, as applicable, who shall transmit such Distribution
 to the applicable holders or permitted designees of Allowed Claims on behalf of the Debtors. In the event
 that any Distribution to any holder or permitted designee is returned as undeliverable (see Section 7.11
 below), no further Distributions shall be made to such holder or such permitted designee unless and until
 such Disbursing Agent is notified in writing of such holder’s or permitted designee’s, as applicable, then-
 current address, at which time all currently-due, missed Distributions shall be made to such holder as soon
 as reasonably practicable thereafter without interest. Nothing herein shall require the Disbursing Agent to
 attempt to locate holders or permitted designees, as applicable, of undeliverable Distributions and, if
 located, assist such holders or permitted designees, as applicable, in complying with Section 7.21 of the
 Plan.

         7.6.    Disbursing Agent.

                  Certain Distributions under this Plan shall be made by the applicable Disbursing Agent
 on and after the Effective Date as provided herein. The Disbursing Agent shall not be required to give
 any bond or surety or other security for the performance of its duties. The Liquidating Trustee shall use
 all commercially reasonable efforts to provide the Disbursing Agent (if other than the Debtors or
 Liquidating Trustee) with the amounts of Claims and the identities and addresses of holders of Claims, in
 each case, as set forth in the Debtors’ books and records. The Liquidating Trustee shall cooperate in good
 faith with the applicable Disbursing Agent (if other than the Liquidating Trustee) to comply with the
 reporting and withholding requirements outlined in Section 7.21 of the Plan.

         7.7.    Rights and Powers of Disbursing Agent.

                  (a)     From and after the Effective Date, the Disbursing Agent, solely in its capacity as
 Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of Claims
 against the Debtors and other parties in interest, from any and all Claims, Causes of Action, and other
 assertions of liability arising out of the discharge of the powers and duties conferred upon such
 Disbursing Agent by the Plan or any order of the Bankruptcy Court entered pursuant to or in furtherance
 of the Plan, or applicable law, except for actions or omissions to act arising out of the gross negligence or
 willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of such Disbursing Agent. No
 holder of a Claim other party in interest shall have or pursue any claim or Cause of Action against the
 Disbursing Agent, solely in its capacity as Disbursing Agent, for making Distributions in accordance with
 the Plan or for implementing provisions of the Plan, except for actions or omissions to act arising out of
 the gross negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of
 such Disbursing Agent.

                 (b)     The Disbursing Agent shall be empowered to (i) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties hereunder; (ii) make all
 Distributions contemplated hereby; and (iii) exercise such other powers as may be vested in the
 Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing
 Agent to be necessary and proper to implement the provisions hereof.



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         7.8.    Expenses of Disbursing Agent.

                Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented
 fees and expenses incurred by the Disbursing Agent acting in such capacity (including reasonable
 documented attorneys’ fees and expenses) on or after the Effective Date shall be paid in Cash by the
 Liquidating Trustee in the ordinary course of business.

         7.9.    No Postpetition Interest on Claims.

                 Except as otherwise provided in the Plan, the Confirmation Order or another order of the
 Bankruptcy Court or required by the Bankruptcy Code (including postpetition interest in accordance with
 sections 506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue or be paid on any Claims
 on or after the Commencement Date; provided, that if interest is payable pursuant to the preceding
 sentence, interest shall accrue at the federal judgment rate pursuant to 28 U.S.C. § 1961 on a non-
 compounded basis from the date the obligation underlying the Claim becomes due and is not timely paid
 through the date of payment.

         7.10.   Distributions after Effective Date.

                Distributions made after the Effective Date to holders of Disputed Claims that are not
 Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed to have
 been made on the Effective Date.

         7.11.   Unclaimed Property.

                  Undeliverable Distributions or unclaimed Distributions shall remain in the possession of
 the Liquidating Trustee until such time as a Distribution becomes deliverable or holder accepts
 Distribution, or such Distribution reverts back to the Liquidating Trust, as applicable, and shall not be
 supplemented with any interest, dividends, or other accruals of any kind. Such Distributions shall be
 deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of three
 hundred and sixty-five (365) days from the date of Distribution. After such date all unclaimed property or
 interest in property shall revert to the Liquidating Trustee, and the Claim of any other holder to such
 property or interest in property shall be discharged and forever barred.

         7.12.   Time Bar to Cash Payments.

                  Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and
 void if not negotiated within one hundred and twenty (120) days after the date of issuance thereof.
 Thereafter, the amount represented by such voided check shall irrevocably revert to the Liquidating Trust,
 and any Claim in respect of such voided check shall be discharged and forever barred, notwithstanding
 any federal or state escheat laws to the contrary. Requests for re-issuance of any check shall be made to
 the Disbursing Agent by the holder of the Allowed Claim to whom such check was originally issued.

         7.13.   Manner of Payment under Plan.

                  Except as otherwise specifically provided in the Plan, at the option of the Debtors or the
 Liquidating Trustee, as applicable, any Cash payment to be made hereunder may be made by a check or
 wire transfer or as otherwise required or provided in applicable agreements or customary practices of the
 Debtors.



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         7.14.   Satisfaction of Claims.

                 Except as otherwise specifically provided in the Plan, any Distributions and deliveries to
 be made on account of Allowed Claims under the Plan shall be in complete and final satisfaction,
 settlement, and discharge of and exchange for such Allowed Claims.

         7.15.   Minimum Cash Distributions.

                  The Liquidating Trustee shall not be required to make a Distribution pursuant to the Plan
 if the Liquidating Trustee determines that the expense associated with making the Distribution would
 likely utilize a substantial portion of the amount to be distributed, thus making the Distribution
 impractical; provided, that if any Distribution is not made pursuant to this Section 7.15, such Distribution
 shall be added to any subsequent Distribution to be made on behalf of the holder’s Allowed Claim. Cash
 shall be rounded down to the nearest penny. DTC shall be considered a single holder for rounding and
 distribution purposes.

         7.16.   Setoffs and Recoupments.

                 The Debtors and the Liquidating Trustee, as applicable, or such entity’s designee
 (including, without limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup
 against any Claim, and any Distribution to be made on account of such Claim, any and all claims, rights,
 and Causes of Action of any nature whatsoever that the Debtors or the Liquidating Trustee may have
 against the holder of such Claim pursuant to the Bankruptcy Code or applicable non-bankruptcy law;
 provided, that neither the failure to do so nor the allowance of any Claim hereunder shall constitute a
 waiver or release by a Debtor or Liquidating Trustee or its successor of any claims, rights, or Causes of
 Action that a Debtor or Liquidating Trustee or its successor or assign may possess against the holder of
 such Claim.

         7.17.   Allocation of Distributions between Principal and Interest.

                   To the extent that any Allowed Claim entitled to a distribution under the Plan consists of
 indebtedness and other amounts (such as accrued but unpaid interest thereon), such distribution shall be
 allocated first to the principal amount of the Claim (as determined for federal income tax purposes) and
 then, to the extent the consideration exceeds the principal amount of the Claim, to other such amounts.

         7.18.   No Distribution in Excess of Amount of Allowed Claim.

                 Except as provided in Section 7.9 of the Plan, no holder of an Allowed Claim shall
 receive, on account of such Allowed Claim, Distributions in excess of the Allowed amount of such Claim.

         7.19.   Distributions Free and Clear.

                Except as otherwise provided herein, any Distributions under the Plan shall be free and
 clear of any Liens, Claims and encumbrances, and no other entity, including the Debtors or the
 Liquidating Trustee shall have any interest, legal, beneficial or otherwise, in Assets transferred pursuant
 to the Plan.

         7.20.   Claims Register.

                The register of Claims maintained by the Debtors shall remain open after the Effective
 Date and the Liquidating Trustee shall recognize any transfer of Claims at any time thereafter, provided

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 that for purposes of each Distribution, the Liquidating Trustee will not recognize any transfer of Claims
 for such Distribution after the Distribution Record Date relating to such Distribution; and, provided,
 further, for the avoidance of doubt, [all Liquidating Trust Interests shall be non-transferable except as
 provided in Section 6.9]. Except as otherwise provided in the Plan, any transfer of a Claim, whether
 occurring prior to or after the Confirmation Date, shall not affect or alter the classification and treatment
 of such Claim under the Plan and any such transferred Claim shall be subject to classification and
 treatment under the Plan as if such Claim was held by the transferor who held such Claim on the
 Commencement Date.

         7.21.    Withholding and Reporting Requirements.

                  (a)     Withholding Rights. In connection with the Plan, any party issuing any
 instrument or making any Distributions described in the Plan shall comply with all applicable withholding
 and reporting requirements imposed by any federal, state, or local taxing authority, and all Distributions
 pursuant to the Plan and all related agreements shall be subject to any such withholding or reporting
 requirements. In the case of a non-Cash Distribution that is subject to withholding, the distributing party
 may withhold an appropriate portion of such distributed property and either (i) sell such withheld property
 to generate Cash necessary to pay over the withholding tax (or reimburse the distributing party for any
 advance payment of the withholding tax), or (ii) pay the withholding tax using its own funds and retain
 such withheld property. Any amounts withheld pursuant to the preceding sentence shall be deemed to
 have been distributed to and received by the applicable recipient for all purposes of the Plan.
 Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity that receives a
 Distribution pursuant to the Plan shall have responsibility for any taxes imposed by any governmental
 unit, including, without limitation, income, withholding, and other taxes, on account of such Distribution.
 Any party issuing any instrument or making any Distribution pursuant to the Plan has the right, but not
 the obligation, not to make a Distribution until such holder has made arrangements satisfactory to such
 issuing or disbursing party for payment of any such tax obligations.

                    (b)     Forms. Any party entitled to receive any property as an issuance or Distribution
 under the Plan shall, upon request, deliver to the Disbursing Agent or such other Entity designated by the
 Liquidating Trustee (which Entity shall subsequently deliver to the Disbursing Agent any applicable IRS
 Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is a foreign Entity)
 Form W-8. If such request is made by the Liquidating Trustee, the Disbursing Agent, or such other Entity
 designated by the Liquidating Trustee or Disbursing Agent and the holder fails to comply before the
 earlier of (i) the date that is [one hundred and eighty (180) days] after the request is made and (ii) the date
 that is [one hundred and eighty (180) days] after the date of Distribution, the amount of such Distribution
 shall irrevocably revert to the applicable Liquidating Trustee and any Claim in respect of such
 Distribution shall be discharged and forever barred from assertion against such Liquidating Trustee or its
 respective property.

                  ARTICLE VIII              PROCEDURES FOR DISPUTED CLAIMS.

         8.1.     Claims Reconciliation.

                  (a)     Subject to Section 6.7 of the Plan or any order of the Bankruptcy Court,
 including the Claims Procedures Order and the rights of the Creditors’ Committee set forth therein, the
 Liquidating Trustee shall be entitled to reconcile, object to, or settle Claims filed against the Debtors.
 After the Effective Date, the Liquidating Trustee shall have and retain any and all rights and defenses that
 the Debtors had with regard to any Claim to which they may object, except with respect to any Claim that
 is Allowed. Any objections to Claims (including any Administrative Expense Claims, Other Secured
 Claims, ESL 507(b) Priority Claims, Other 507(b) Priority Claims, Priority Tax Claims, Priority Non-Tax

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 Claims, General Unsecured Claims, ESL Unsecured Claims), shall be served and filed on or before the
 later of (a) one-hundred and eighty (180) days after the Effective Date, and (b) on such later date as
 ordered by the Bankruptcy Court for cause.

                (b)      Intercompany Claims shall be determined and Allowed or Disallowed by the
 Liquidating Trustee subject to approval by the Liquidating Trust Board and compliance with Section 6.7
 of the Plan.

         8.2.    Resolution of Disputed Claims.

                 Except as provided herein, on and after the Effective Date, the Liquidating Trustee shall
 have the authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims without
 approval of the Bankruptcy Court, other than with respect to Fee Claims.

         8.3.    Payments and Distributions with Respect to Disputed Claims.

                 Notwithstanding anything herein to the contrary, if any portion of a Claim is a Disputed
 Claim, no payment or Distribution provided hereunder shall be made on account of such Claim unless and
 until such Disputed Claim becomes an Allowed Claim.

         8.4.    Estimation of Claims.

                  The Liquidating Trustee may (a) determine, resolve and otherwise adjudicate all
 contingent, unliquidated, and Disputed Claims in the Bankruptcy Court and (b) at any time request that
 the Bankruptcy Court estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c)
 of the Bankruptcy Code regardless of whether the Debtors previously objected to such Claim or whether
 the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court will retain jurisdiction to
 estimate any Claim at any time during litigation concerning any objection to any Claim, including,
 without limitation, during the pendency of any appeal relating to any such objection. In the event that the
 Bankruptcy Court estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated
 shall constitute either the Allowed amount of such Claim or a maximum limitation on such Claim, as
 determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the
 amount of such Claim, the Debtors or the Liquidating Trustee, as applicable, may pursue supplementary
 proceedings to object to the allowance of such Claim; provided, that such limitation shall not apply to
 Claims requested by the Debtors to be estimated for voting purposes only.

         8.5.    No Distributions Pending Allowance.

                   If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
 Distribution provided under the Plan shall be made on account of such Claim unless and until (and only to
 the extent that) such Claim becomes an Allowed Claim.

         8.6.    Claim Resolution Procedures Cumulative.

               All of the objection, estimation, and resolution procedures in the Plan are intended to be
 cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
 compromised, withdrawn, or resolved in accordance with the Plan without further notice or
 Bankruptcy Court approval.




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         8.7.     Interest.

                 To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date,
 the holder of such Claim shall not be entitled to any interest that accrued thereon from and after the
 Effective Date.

                ARTICLE IX EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

         9.1.     Rejection of Executory Contracts and Unexpired Leases.

                 On the Effective Date, except as otherwise provided in the Plan or Plan Supplement, each
 Executory Contract and Unexpired Lease not previously rejected, assumed, or assumed and assigned shall
 be deemed automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such
 Executory Contract or Unexpired Lease: (1) as of the Effective Date is subject to a pending motion to
 assume such Unexpired Lease or Executory Contract; (2) is a contract, engagement letter that has been
 approved by an order of the Bankruptcy Court, release, or other agreement or document entered into in
 connection with the Plan; or (3) is a D&O Policy or an insurance policy.

         9.2.     Claims Based on Rejection of Executory Contracts and Unexpired Leases.

                  Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim
 based on the rejection of the Debtors’ Executory Contracts or Unexpired Leases pursuant to the Plan must
 be filed with Bankruptcy Court and served on the Liquidating Trustee no later than thirty (30) days after
 the filing and service of the notice of the occurrence of the Effective Date. In addition, any objection to
 the rejection of an Executory Contract or Unexpired Lease must be filed with the Bankruptcy Court and
 served on the Liquidating Trustee, no later than thirty (30) days after the filing and service of the notice of
 the occurrence of the Effective Date. All Allowed Claims arising from the rejection of the Debtors’
 Executory Contracts or Unexpired Leases shall be classified as General Unsecured Claims, except as
 otherwise provided by order of the Bankruptcy Court.

                 Any Claims arising from the rejection of an Executory Contract or Unexpired Lease
 not filed with the Bankruptcy Court within thirty (30) days after the filing and service of the notice
 of the occurrence of the Effective Date will be automatically disallowed, forever barred from
 assertion, and shall not be enforceable against the Debtors, the Liquidating Trustee, the Debtors’
 Estates, or the property for any of the foregoing without the need for any objection by the
 Liquidating Trustee or further notice to, or action, order, or approval of the Bankruptcy Court or
 any other Entity, and any Claim arising out of the rejection of the Executory Contract or
 Unexpired Lease shall be deemed fully compromised, settled, and released, notwithstanding
 anything in the Schedules or a Proof of Claim to the contrary.

         9.3.     Modifications, Amendments, Supplements, Restatements, or Other Agreements.

                  Unless otherwise provided in the Plan, each assumed Executory Contract or Unexpired
 Lease shall include all modifications, amendments, supplements, restatements, or other agreements that in
 any manner affect such Executory Contract or Unexpired Lease, and all Executory Contracts and
 Unexpired Leases related thereto, if any, including all easements, licenses, permits, rights, privileges,
 immunities, options, rights of first refusal, and any other interests, unless any of the foregoing agreements
 has been previously rejected or repudiated or is rejected or repudiated under the Plan.

                Modifications, amendments, supplements, and restatements to prepetition Executory
 Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases

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 shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
 validity, priority, or amount of any Claims that may arise in connection therewith.

         9.4.    Insurance Policies.

                  Notwithstanding anything to the contrary in the Definitive Documents, the Plan, the Plan
 Supplement, any bar date notice or claim objection, and any other document related to any of the
 foregoing, all insurance policies pursuant to which the Debtors have any obligations in effect as of the
 Effective Date shall be deemed and treated as executory contracts pursuant to the Plan and shall be
 assumed by the Debtors and Liquidating Trustee and shall continue in full force and effect thereafter in
 accordance with their respective terms. All other insurance policies shall vest in the Liquidating Trustee.

         9.5.    Indemnification Obligations.

                Subject to the occurrence of the Effective Date, the obligations of each Debtor to
 indemnify, defend, reimburse or limit the liability of any Released Parties, against any Claims or
 Causes of Action as provided in the Debtor’s articles of organization, certificates of incorporation,
 bylaws, other organizational documents or applicable law, shall survive confirmation of the Plan, and
 shall be assumed by such Debtor solely to the extent necessary to recover and have access to insurance
 proceeds. Prepetition indemnification claims shall be treated as General Unsecured Claims against the
 Debtors to the extent Allowed. Postpetition indemnification claims shall be treated as Administrative
 Expense Claims to the extent Allowed.

         9.6.    Reservation of Rights.

                 (a)      Neither the exclusion nor inclusion of any contract or lease by the Debtors on any
 exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the
 Plan, will constitute an admission by the Debtors that any such contract or lease is or is not in fact an
 executory contract or unexpired lease or that the Debtors or the Debtors’ Estates have any liability
 thereunder.

                  (b)     Except as otherwise provided in the Plan, nothing herein shall waive, excuse,
 limit, diminish, or otherwise alter any of the defenses, Claims, Causes of Action, or other rights of the
 Debtors and the Liquidating Trustee under any executory or non-executory contract or any unexpired or
 expired lease.

                 (c)      Nothing in the Plan will increase, augment, or add to any of the duties,
 obligations, responsibilities, or liabilities of the Debtors, as applicable, under any executory or non-
 executory contract or any unexpired or expired lease.



 ARTICLE X       CONDITIONS PRECEDENT TO CONFIRMATION OF PLAN AND EFFECTIVE
                                      DATE.

         10.1.   Conditions Precedent to Effective Date.

                 The following are conditions precedent to the occurrence of the Effective Date of the
 Plan:

                 (a)     the Disclosure Statement Order shall have been entered;

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                  (b)     the Plan Supplement and all of the schedules, documents, and exhibits contained
 therein shall have been filed;

                  (c)     the Confirmation Order shall have been entered by the Bankruptcy Court in form
 and substance reasonably acceptable to the Debtors and the Creditors’ Committee, be in full force and
 effect and not be subject to any stay or injunction;

                 (d)     all Definitive Documents shall be in form and substance reasonably acceptable to
 the Debtors and the Creditors’ Committee;

                 (e)      KCD IP, LLC shall have waived the assertion of any administrative or
 superpriority administrative expense claim in these Chapter 11 Cases;

                  (f)     all actions, documents, and agreements necessary to implement and consummate
 the Plan shall have been effected or executed and binding on all parties thereto and, to the extent required,
 filed with the applicable governmental units in accordance with applicable laws;

                  (g)     all governmental approvals and consents, including Bankruptcy Court approval,
 necessary in connection with the transactions contemplated by the Plan shall have been obtained, not be
 subject to unfulfilled conditions, and be in full force and effect, and all applicable waiting periods shall
 have expired without any action being taken or threatened by any competent authority that would restrain,
 prevent, or otherwise impose materially adverse conditions on such transactions; and

                 (h)      the Carve Out Account as provided for by the Plan shall be fully funded.

         10.2.   Waiver of Conditions Precedent.

                 (a)     Except as otherwise provided herein, all actions required to be taken on the
 Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
 shall be deemed to have occurred prior to the taking of any other such action. Each of the conditions
 precedent in Section 10.1 of the Plan may be waived in writing by the Debtors in consultation with the
 Creditors’ Committee.

                 (b)    The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e) shall be
 deemed waived by and upon the entry of the Confirmation Order, and the Confirmation Order shall take
 effect immediately upon its entry.

         10.3.   Effect of Failure of a Condition.

                  If the conditions listed in Section 10.1 of the Plan are not satisfied or waived in
 accordance with Section 10.2 of the Plan on or before the first Business Day that is more than sixty (60)
 days after the date on which the Confirmation Order is entered or by such later date as set forth by the
 Debtors in a notice filed with the Bankruptcy Court prior to the expiration of such period, the Plan shall
 be null and void in all respects and anything contained in the Plan or the Disclosure Statement shall not
 (a) constitute a waiver or release of any Claims by or against or any Interests in the Debtors, (b) prejudice
 in any manner the rights of any Entity, or (c) constitute an admission, acknowledgement, offer, or
 undertaking by the Debtors or any other Entity.




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                       ARTICLE XI EFFECT OF CONFIRMATION OF PLAN.

         11.1.   Vesting of Assets.

                   On and after the Effective Date, the Liquidating Trustee may take any action, including,
 without limitation, the operation of its businesses; the use, acquisition, sale, lease and disposition of
 property; and the entry into transactions, agreements, understandings, or arrangements, whether in or
 other than in the ordinary course of business, and execute, deliver, implement, and fully perform any and
 all obligations, instruments, documents, and papers or otherwise in connection with any of the foregoing,
 free of any restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects as if there was no
 pending case under any chapter or provision of the Bankruptcy Code, except as expressly provided
 herein. Without limiting the foregoing, the Liquidating Trustee may pay the charges that they incur on or
 after the Effective Date for professional fees, disbursements, expenses, or related support services without
 application to the Bankruptcy Court.

         11.2.   Subordinated Claims.

                  The allowance, classification, and treatment of all Allowed Claims and Interests and the
 respective Distributions and treatments under the Plan take into account and conform to the relative
 priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
 equitable subordination rights relating thereto, whether arising under general principles of equitable
 subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the
 Bankruptcy Code, the Liquidating Trustee reserves the right to reclassify any Allowed Claim or Interest
 in accordance with any contractual, legal, or equitable subordination relating thereto.

         11.3.   Binding Effect.

                 As of the Effective Date, the Plan shall bind all holders of Claims against and Interests in
 the Debtors and their respective successors and assigns, notwithstanding whether any such holders were
 (a) Impaired or Unimpaired under the Plan; (b) presumed to accept or deemed to reject the Plan; (c) failed
 to vote to accept or reject the Plan; (d) voted to reject the Plan; or (e) received any Distribution under the
 Plan.

         11.4.   Sale Order.

                  Nothing contained in the Plan, the Disclosure Statement or the Confirmation Order
 constitutes or shall be construed to be inconsistent with the terms of the Sale Order or any modification or
 amendment to the Sale Order.

         11.5.   Closing of Chapter 11 Cases.

                After an Estate has been fully administered, the Liquidating Trustee shall seek authority
 from the Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the Bankruptcy
 Code and Bankruptcy Rules.

         11.6.   Notice of Effective Date.

                 As soon as practicable, but not later than three (3) Business Days following the Effective
 Date, the Debtors shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.



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         11.7.   Term of Injunctions or Stays.

                 Unless otherwise provided herein, the Confirmation Order, or in a Final Order of the
 Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Cases under
 section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
 remain in full force and effect until the later of the Effective Date and the date indicated in the order
 providing for such injunction or stay.

         11.8.   Injunction.

                  (a)     Upon entry of the Confirmation Order, all holders of Claims and Interests
 and other parties in interest, along with their respective present or former employees, agents,
 officers, directors, principals, and affiliates, shall be enjoined from taking any actions to interfere
 with the implementation or consummation of the Plan.

                  (b)     Except as expressly provided in the Plan, the Confirmation Order, or a
 separate order of the Bankruptcy Court, all Entities who have held, hold, or may hold Claims
 against or Interests in any or all of the Debtors (whether proof of such Claims or Interests has been
 filed or not and whether or not such Entities vote in favor of, against or abstain from voting on the
 Plan or are presumed to have accepted or deemed to have rejected the Plan) and other parties in
 interest, along with their respective present or former employees, agents, officers, directors,
 principals, and affiliates are permanently enjoined, on and after the Effective Date, with respect to
 such Claims and Interests, from (i) commencing, conducting, or continuing in any manner, directly
 or indirectly, any suit, action, or other proceeding of any kind (including any proceeding in a
 judicial, arbitral, administrative or other forum) against or affecting the Debtors or the Liquidating
 Trustee or the property of any of the Debtors or the Liquidating Trustee, (ii) enforcing, levying,
 attaching (including any prejudgment attachment), collecting, or otherwise recovering by any
 manner or means, whether directly or indirectly, any judgment, award, decree, or order against the
 Debtors or the Liquidating Trustee or the property of any of the Debtors or the Liquidating
 Trustee, (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
 encumbrance of any kind against the Debtors or the Liquidating Trustee or the property of any of
 the Debtors or the Liquidating Trustee, (iv) asserting any right of setoff, directly or indirectly,
 against any obligation due from the Debtors or the Liquidating Trustee or against property or
 interests in property of any of the Debtors or the Liquidating Trustee; and (v) acting or proceeding
 in any manner, in any place whatsoever, that does not conform to or comply with the provisions of
 the Plan.

                  (c)   By accepting Distributions pursuant to the Plan, each holder of an Allowed
 Claim extinguished, discharged, or released pursuant to the Plan shall be deemed to have
 affirmatively and specifically consented to be bound by the Plan, including the injunctions set forth
 in this Section 11.8.

               (d)     The injunctions in this Section 11.8 shall extend to any successors of the
 Debtors and their respective property and interests in property.

         11.9.   Releases.

                 (a)     Debtor Release.

                 As of the Effective Date, except for the right to enforce the Plan or any right or
 obligation arising under the Definitive Documents that remain in effect after the Effective Date, for

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 good and valuable consideration, on and after the Effective Date, the Released Parties shall be
 deemed released and discharged, by the Debtors, the Liquidating Trustee, and the Estates, and any
 Entity seeking to exercise the rights of or on behalf of the Estates, and any successors to the Debtors
 or any Estate representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy
 Code, to the maximum extent permitted by law, as such law may be extended subsequent to the
 Effective Date, from any and all Causes of Action that the Debtors, the Liquidating Trustee, or the
 Debtors’ Estates would have been legally entitled to assert in their own right (whether individually
 or collectively) or on behalf of the holder of any Claim or Interest or other Entity, based on or
 relating to, or in any manner arising from, in whole or in part, the Debtors, the Debtors’ Estates,
 the conduct of the Debtors’ businesses, the filing and administration of the Chapter 11 Cases,
 including the Asset Purchase Agreement, the purchase, sale or rescission of the purchase or sale of
 any security of the Debtors, the subject matter of, or the transactions or events giving rise to, any
 Claim or Interest that is treated in the Plan, the business or contractual arrangements between any
 Debtor and any Released Party, the restructuring of any Claim or Interest before or during the
 Chapter 11 Cases, the Disclosure Statement, the Plan, and the Definitive Documents, or any related
 agreements, instruments, or other documents, and the negotiation, formulation, or preparation or
 implementation thereof, the solicitation of votes with respect to the Plan, or any other act or
 omission, in all cases based upon any act or omission, transaction, agreement, or other event taking
 place on or before the Effective Date; provided, that, nothing in this Section 11.9(a) shall be
 construed to release the Released Parties from gross negligence, willful misconduct, criminal
 misconduct or intentional fraud as determined by a Final Order by a court of competent
 jurisdiction; provided, further, that nothing shall be construed to release the Released Parties from
 any Canadian Causes of Action. For the avoidance of doubt, nothing herein shall release any Claim
 or Cause of Action that is expressly preserved and not released pursuant to the terms of the Asset
 Purchase Agreement.

                (b)     Third Party Release.

                  As of the Effective Date, except for the right to enforce the Plan or any right or
 obligation arising under the Definitive Documents that remains in effect after the Effective Date
 (including the right of the Liquidating Trust Board to prosecute, enforce, abandon, settle,
 compromise, release, withdraw, or litigate to judgment any Preserved Causes of Action, including
 the Specified Causes of Action), for good and valuable consideration, on and after the Effective
 Date, in accordance with section 1141 of the Bankruptcy Code, each of the Released Parties shall be
 deemed released and discharged, to the maximum extent permitted by law, as such law may be
 extended subsequent to the Effective Date, except as otherwise provided herein, by each of the
 following (all such persons or Entities, the “Releasing Parties”):

                      (i)     the holders of all Claims or Interests who vote to accept or are
                presumed to accept the Plan,

                       (ii)    the holders of Claims or Interests who reject the Plan or abstain
                from voting on the Plan but do not opt out of these releases on the Ballots,

                        (iii)   each of the Released Parties (other than the Debtors), and

                        (iv)    with respect to any entity in the foregoing clauses (i) through (iii),
                (x) such entity’s predecessors, successors, and assigns, and (y) all persons entitled to
                assert Claims through or on behalf of such entities with respect to the matters for
                which the releasing entities are providing releases.


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 in each case, from any and all Causes of Action that such Entity would have been legally entitled to
 assert in its own right (whether individually or collectively) based on or relating to, or in any
 manner arising from, in whole or in part, the Debtors, the Debtors’ Estates, the Plan, the filing and
 administration of the Chapter 11 Cases, including the Asset Purchase Agreement, the Sale
 Transaction, the purchase, sale or rescission of the purchase or sale of any security of the Debtors,
 the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
 treated in the Plan, the business or contractual arrangements between any Debtor and any
 Released Party (other than assumed contracts or leases), the restructuring of Claims and Interests
 before or during the Chapter 11 Cases, the negotiation, formulation, preparation or consummation
 of the Plan (including the Plan Supplement), the Definitive Documents, or any related agreements,
 instruments or other documents, or the solicitation of votes with respect to the Plan, in all cases
 based upon any other act or omission, transaction, agreement, event or other occurrence taking
 place on or before the Effective Date; provided, that, nothing in this Section 11.9(b) shall be
 construed to release the Released Parties from gross negligence, willful misconduct, criminal
 misconduct or intentional fraud as determined by a Final Order by a court of competent
 jurisdiction; provided, further, that, nothing in this Section 11.9(b) shall be construed to release any
 Claim or Cause of Action relating to or arising from the Sale Transaction following entry of the
 Sale Order by the Bankruptcy Court. The Releasing Parties shall be permanently enjoined from
 prosecuting any of the foregoing Claims or Causes of Action released under this Section 11.9(b)
 against each of the Released Parties.

                 (c)    PBGC Release. As of the Effective Date, to the maximum extent permitted
 by applicable law:

                         (i)     the Debtors, the Liquidating Trustee, the Liquidating Trust, and the
                Estates, and any successors to the Debtors or any Estate representative appointed or
                selected pursuant to section 1123(b)(3) of the Bankruptcy Code, and the Debtors’
                professionals, employees, officers, directors, attorneys, financial advisors,
                representatives, administrators, and all persons or entities acting by, through, or in
                any way on behalf of the Debtors, for good and valuable consideration, shall be
                deemed to be absolutely, unconditionally, and irrevocably released and forever
                discharged by the PBGC and the Pension Plans from any and all pension funding
                Claims, UBL Claims, and any Causes of Action based on or relating to the PBGC
                Agreements other than the Allowed PBGC Unsecured Claims or the PBGC
                Liquidating Trust Priority Interest; provided, that, notwithstanding the foregoing,
                or any contrary term in any Definitive Document (including, without limitation, any
                ballot executed by PBGC in connection with a Chapter 11 Plan), all of PBGC’s
                claims and rights under the PBGC Agreements and all related agreements (each as
                amended), pension funding Claims, UBL Claims, other claims, and any causes of
                action against non-Debtor third parties (including, without limitation, any ESL
                Party or any other party to any PBGC Agreement) and non-Debtor members of the
                SHC controlled group, including, without limitation, KCD IP, LLC and Sears
                Reinsurance Company, Ltd., shall remain in full force and effect and not impaired
                in any respect whatsoever; provided, further, for the avoidance of doubt, that
                nothing in the Definitive Documents shall in any way release, affect, or impair any
                lien or security interest held by PBGC as a result of any PBGC Agreement; and

                        (ii)   the Debtors, the Liquidating Trustee, the Liquidating Trust, the
                Estates, and any successors to the Debtors or any Estate representative appointed or
                selected pursuant to section 1123(b)(3) of the Bankruptcy Code, for good and
                valuable consideration, shall be deemed to have absolutely, unconditionally, and

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                 irrevocably released and forever discharged the Pension Plans, any of the Pension
                 Plans’ assets, PBGC, and PBGC’s professionals, employees, officers, directors,
                 attorneys, financial advisors, representatives, administrators, and all persons or
                 entities acting by, through, or in any way on behalf of PBGC, of and from any and
                 all Causes of Action (including, without limitation, all Causes of Action based on or
                 relating to the PBGC Agreements or arising pursuant to 11 U.S.C. §§ 544-550),
                 claims, debts, defenses, set off or recoupment rights, liabilities, costs, attorneys’ fees,
                 actions, suits at law or equity, demands, contracts, expenses, and damages, of any
                 kind or nature whatsoever; provided that nothing contained herein releases any
                 claims of any non-Debtors as against PBGC; provided, further, that nothing shall be
                 construed to release any party from any Canadian Causes of Action.

                   (d)     Notwithstanding anything to the contrary herein, nothing in the Plan shall
 limit the liability of professionals to their clients pursuant to applicable law.

         11.10. Exculpation.

                 To the maximum extent permitted by applicable law, no Exculpated Party will have
 or incur, and each Exculpated Party is hereby released and exculpated from, any claim, obligation,
 suit, judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and liability for
 conduct occuring on or after the Commencement Date in connection with or arising out of the filing
 and administration of the Chapter 11 Cases, including the Asset Purchase Agreement; the
 negotiation and pursuit of the Disclosure Statement, the restructuring transactions, the Plan, or the
 solicitation of votes for, or confirmation of, the Plan; the funding or consummation of the Plan
 (including the Plan Supplement), the Definitive Documents, or any related agreements,
 instruments, or other documents, the solicitation of votes on the Plan, the offer, issuance, and
 Distribution of any securities issued or to be issued pursuant to the Plan, whether or not such
 Distributions occur following the Effective Date; the occurrence of the Effective Date, negotiations
 regarding or concerning any of the foregoing; or the administration of the Plan or property to be
 distributed under the Plan; the wind down of the businesses of any of the Debtors; or the
 transactions in furtherance of any of the foregoing; except for acts or omissions of an Exculpated
 Party arising out of or related to acts or omissions that constitute fraud, gross negligence, criminal
 misconduct or willful misconduct. This exculpation shall be in addition to, and not in limitation of,
 all other releases, indemnities, exculpations, and any other applicable law or rules protecting such
 Exculpated Parties from liability.

         11.11. Limitations on Executable Assets with Respect to the D&O Claims.

                  Any recovery by or on behalf of the Liquidating Trust (and the beneficiaries thereof) on
 account of any Preserved Cause of Action against any of the Specified Directors and Officers, solely in
 his or her capacity as a director of the Debtors prior to the Effective Date, or officer of the Debtors prior
 to the closing of the Sale Transaction, as applicable, including in each case by way of settlement or
 judgment, shall be limited to the Debtors’ available D&O Policies’ combined limits, after payment from
 such D&O Policies of any and all covered costs and expenses incurred by the covered parties in
 connection with the defense of any D&O Claim (the “Insurance Coverage”). No party, including the
 Liquidating Trustee, shall execute, garnish or otherwise attempt to collect on any settlement of or
 judgment in the D&O Claims upon any assets of the Specified Directors and Officers except to the extent
 necessary to trigger the Insurance Coverage. In the event Insurance Coverage is denied for any settlement
 or judgment in the Liquidating Trust’s favor, the Specified Directors and Officers shall assign any claims
 for coverage or other rights of recovery they may have against the D&O Policy insurers to the Liquidating
 Trust.

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         11.12. Solicitation of Plan.

                  As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be
 deemed to have solicited acceptances of the Plan in good faith and in compliance with the applicable
 provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the
 Bankruptcy Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of
 disclosure in connection with such solicitation; and (b) the Debtors and each of their respective directors,
 officers, employees, affiliates, agents, financial advisors, investment bankers, professionals, accountants,
 and attorneys shall be deemed to have participated in good faith and in compliance with the applicable
 provisions of the Bankruptcy Code in the offer and issuance of any securities under the Plan, and
 therefore are not, and on account of such offer, issuance, and solicitation shall not be, liable at any time
 for any violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
 rejections of the Plan or the offer and issuance of any securities under the Plan.

         11.13. Corporate and Limited Liability Company Action.

                  Upon the Effective Date, all actions contemplated by the Plan (including any action to be
 undertaken by the Liquidating Trustee) shall be deemed authorized and approved in all respects, and, to
 the extent taken prior to the Effective Date, ratified without any requirement for further action by holders
 of Claims or Interests, the Debtors, or any other Entity or person. All matters provided for in the Plan
 involving the corporate structure of the Debtors, and any corporate action required by the Debtors in
 connection with the Plan shall be deemed to have occurred and shall be in effect, without any requirement
 of further action by the Security holders, directors, members, managers, or officers of the Debtors, the
 Liquidating Trust, the Liquidating Trustee or the Liquidating Trust Board. On or (as applicable) before
 the Effective Date, the authorized officers of the Debtors, as applicable, shall be authorized and directed
 to issue, execute, and deliver the agreements, documents, and instruments contemplated by the Plan (or
 necessary or desirable to effect the transactions contemplated by the Plan). The authorizations and
 approvals contemplated by this Section 11.13 shall be effective notwithstanding any requirements under
 non-bankruptcy law.

                           ARTICLE XII RETENTION OF JURISDICTION.

         12.1.   Retention of Jurisdiction.

                  On and after the Effective Date, the Bankruptcy Court shall retain non-exclusive
 jurisdiction over all matters arising in, arising under, and related to the Chapter 11 Cases for, among other
 things, the following purposes:

                  (a)     to allow, disallow, determine, liquidate, classify, estimate, or establish the
 priority, secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
 request for payment of any administrative or priority Claim and the resolution of any and all objections to
 the secured or unsecured status, priority, amount, or allowance of claims or interests;

                  (b)     to hear and determine settlements and disputes with respect to any Liquidating
 Trust Asset, including the Preserved Causes of Action;

                 (c)      to decide and resolve all matters related to the granting and denying, in whole or
 in part, any applications for allowance of compensation or reimbursement of expenses to professionals
 authorized pursuant to the Bankruptcy Code or the Plan;



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                  (d)     to resolve any matters related to: (1) the assumption, assumption and assignment,
 or rejection of any executory contract or unexpired lease to which a Debtor is party or with respect to
 which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any claims arising
 therefrom, including cure amounts pursuant to section 365 of the Bankruptcy Code, (2) any potential
 contractual obligation under any executory contract or unexpired lease that is assumed or assumed and
 assigned, and (3) any dispute regarding whether a contract or lease is or was executory or expired;

                 (e)      to ensure that Distributions to holders of Allowed claims are accomplished
 pursuant to the provisions of the Plan and the Liquidating Trust Agreement; enter and implement such
 orders as may be necessary or appropriate to execute, implement, or consummate the provisions of the
 Plan and all contracts, instruments, releases, indentures and other agreements or documents created in
 connection with the Plan or the Disclosure Statement;

                  (f)    to hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
 expedited determinations under section 505(b) of the Bankruptcy Code filed, or to be filed, with respect to
 tax returns of the Debtors and of any Liquidating Trust for any and all taxable periods ending after the
 Commencement Date through the dissolution of such Debtor or Liquidating Trust, as applicable);

                (g)      to issue injunctions, enter and implement other orders, or take such other actions
 as may be necessary to restrain interference by any entity with consummation or enforcement of the Plan;

                 (h)     to determine any other matters that may arise in connection with or relate to the
 Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release, indenture or
 other agreement or document created in connection with the Plan or the Disclosure Statement;

                 (i)     to enter an order or final decree concluding or closing the Chapter 11 Cases;

                 (j)     to consider any modifications of the Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

                  (k)     to determine requests for the payment of claims and interests entitled to priority
 pursuant to section 507 of the Bankruptcy Code;

                (l)     to hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising under
 agreements, documents or instruments executed or deemed executed in connection with the Plan;

                (m)     to hear and determine all disputes involving the existence, nature, scope or
 enforcement of any exculpations, discharges, injunctions and releases granted in the Plan;

                (n)      to enter, implement, or enforce such orders as may be appropriate in the event the
 Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

                (o)    to hear and determine all disputes with the respect to the Sale Order and the
 Asset Purchase Agreement;

                (p)    to determine disputes with respect to removal of Liquidating Trust Board
 Members or the Liquidating Trustee;

                 (q)     to enforce the PBGC Settlement and PBGC Settlement Agreement;

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                 (r)     to enforce all orders previously entered by the Bankruptcy Court; and

                 (s)     to hear any other matter not inconsistent with the Bankruptcy Code.

         12.2.   Courts of Competent Jurisdiction.

                  If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or
 is otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or
 failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of
 jurisdiction by any other court having competent jurisdiction with respect to such matter.

                       ARTICLE XIII            MISCELLANEOUS PROVISIONS.

         13.1.   Payment of Statutory Fees.

                  On the Effective Date and thereafter as may be required, the Liquidating Trustee shall
 pay all fees incurred pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States
 Code, together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for the
 Debtors’ cases, or until such time as a final decree is entered closing the Debtors’ cases, a Final Order
 converting the Debtors’ cases to cases under chapter 7 of the Bankruptcy Code is entered, or a Final
 Order dismissing the Debtors’ cases is entered.

         13.2.   Substantial Consummation of the Plan.

                 On the Effective Date, the Plan shall be deemed to be substantially consummated under
 sections 1101 and 1127(b) of the Bankruptcy Code.

         13.3.   Plan Supplement.

                  The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court. Upon its
 filing with the Bankruptcy Court, the Plan Supplement may be inspected in the office of the Clerk of the
 Bankruptcy Court during normal court hours. Documents included in the Plan Supplement will be posted
 at the website of the Debtors’ notice, claims, and solicitation agent.

         13.4.   Amendments.

                  (a)    Plan Modifications. The Debtors reserve the right, in accordance with the
 Bankruptcy Code and the Bankruptcy Rules, and in consultation with the Creditors’ Committee, to
 amend, modify, or supplement the Plan (i) prior to the entry of the Confirmation Order, including
 amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code, and (ii) after entry of the
 Confirmation Order, in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
 permitted by law, in each case, without additional disclosure pursuant to section 1125 of the Bankruptcy
 Code. In addition, after the Confirmation Date, so long as such action does not materially and adversely
 affect the treatment of holders of Allowed Claims pursuant to this Plan, the Debtors may remedy any
 defect or omission or reconcile any inconsistencies in this Plan or the Confirmation Order with respect to
 such matters as may be necessary to carry out the purposes or effects of this Plan, and any holder of a
 Claim that has accepted this Plan shall be deemed to have accepted this Plan as amended, modified, or
 supplemented.

                 (b)     Other Amendments. Before the Effective Date, the Debtors may make
 appropriate technical adjustments and modifications to the Plan, the documents contained in the Plan

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 Supplement, and the documents prepared in connection herewith without further order or approval of the
 Bankruptcy Court.

         13.5.   Revocation or Withdrawal of Plan.

                   The Debtors reserve the right, in consultation with the Creditors’ Committee to revoke or
 withdraw the Plan prior to the Effective Date. If the Plan has been revoked or withdrawn prior to the
 Effective Date, or if confirmation or the occurrence of the Effective Date does not occur, then: (a) the
 Plan shall be null and void in all respects; (b) any settlement or compromise embodied in the Plan
 (including the fixing or limiting to an amount any Claim or Interest or Class of Claims or Interests),
 assumption of executory contracts or unexpired leases affected by the Plan, and any document or
 agreement executed pursuant to the Plan shall be deemed null and void; and (c) nothing contained in the
 Plan shall (i) constitute a waiver or release of any Claim by or against, or any Interest in, the Debtors or
 any other Entity; (ii) prejudice in any manner the rights of the Debtors or any other Entity; or
 (iii) constitute an admission of any sort by the Debtors or any other Entity.

         13.6.   Dissolution of Creditors’ Committee.

                 On the Effective Date, the Creditors’ Committee shall dissolve and, on the Effective
 Date, each member (including each officer, director, employee, or agent thereof) of the Creditors’
 Committee and each professional retained by the Creditors’ Committee shall be released and discharged
 from all rights, duties, responsibilities, and obligations arising from, or related to, the Debtors, their
 membership on the Creditors’ Committee, the Plan, or the Chapter 11 Cases; provided, however, that the
 Creditors’ Committee shall stay in existence for the purposes of filing and prosecuting any final fee
 applications and any other matters concerning any Fee Claims held or asserted by any professional or any
 appeals of the Confirmation Order. The Debtors or the Liquidating Trust, as applicable, shall not be
 responsible for paying the fees or expenses incurred by the members of or advisors to the Creditors’
 Committee after the Effective Date, except for the fees and expenses incurred by the professionals to the
 Creditors’ Committee in connection with any matters concerning any Fee Claims or any appeals of the
 Confirmation Order.

         13.7.   Severability of Plan Provisions.

                  If, before the entry of the Confirmation Order, any term or provision of the Plan is held
 by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
 Debtors, shall have the power to alter and interpret such term or provision to make it valid or enforceable
 to the maximum extent practicable, consistent with the original purpose of the term or provision held to
 be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
 interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms
 and provisions of the Plan will remain in full force and effect and will in no way be affected, impaired or
 invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a
 judicial determination and shall provide that each term and provision of the Plan, as it may have been
 altered or interpreted in accordance with the foregoing, is (a) valid and enforceable pursuant to its terms,
 (b) integral to the Plan and may not be deleted or modified without the consent of the Debtors or the
 Liquidating Trustee (as the case may be), and (c) nonseverable and mutually dependent.

         13.8.   Additional Documents

                On or before the Effective Date, the Debtors may file with the Bankruptcy Court such
 agreements and other documents as may be necessary or appropriate to effectuate and further evidence
 the terms and conditions of the Plan. The Debtors, the Liquidating Trustee and all holders of Claims

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 receiving Distributions pursuant to the Plan and all other parties in interest shall, prepare, execute, and
 deliver any agreements or documents and take any other actions as may be necessary or advisable to
 effectuate the provisions and intent of the Plan.

         13.9.   Governing Law.

                  Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
 extent an exhibit hereto or a schedule in the Plan Supplement or a Definitive Document provides
 otherwise, the rights, duties, and obligations arising under the Plan shall be governed by, and construed
 and enforced in accordance with, the laws of the State of New York, without giving effect to the
 principles of conflict of laws thereof; provided, that corporate or entity governance matters relating to any
 Debtors shall be governed by the laws of the state of incorporation or organization of the applicable
 Debtors.

         13.10. Time.

                  In computing any period of time prescribed or allowed by the Plan, unless otherwise set
 forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

         13.11. Dates of Actions to Implement the Plan.

                   In the event that any payment or act under the Plan is required to be made or performed
 on a date that is on a Business Day, then the making of such payment or the performance of such act may
 be completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
 deemed to have been completed as of the required date.

         13.12. Immediate Binding Effect.

                  Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
 occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be immediately
 effective and enforceable and deemed binding upon and inure to the benefit of the Debtors, the holders of
 Claims and Interests, the Released Parties, and each of their respective successors and assigns, including,
 without limitation, the Liquidating Trustee.

         13.13. Deemed Acts.

                 Subject to and conditioned on the occurrence of the Effective Date, whenever an act or
 event is expressed under the Plan to have been deemed done or to have occurred, it shall be deemed to
 have been done or to have occurred without any further act by any party, by virtue of the Plan and the
 Confirmation Order.

         13.14. Successor and Assigns.

                   The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
 be binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted
 assign, if any, of each Entity.

         13.15. Entire Agreement.

               On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall
 supersede all previous and contemporaneous negotiations, promises, covenants, agreements,

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 understandings, and representations on such subjects, other than the PBGC Settlement Agreement, all of
 which have become merged and integrated into the Plan.

         13.16. Exhibits to Plan.

                All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
 Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.

         13.17. Notices.

                 All notices, requests, and demands to or upon the Debtors, the Creditors’ Committee, the
 Liquidating Trustee or the Liquidating Trust Board, as applicable, to be effective shall be in writing
 (including by electronic or facsimile transmission) and, unless otherwise expressly provided herein, shall
 be deemed to have been duly given or made when actually delivered or, in the case of notice by facsimile
 transmission, when received and telephonically confirmed, addressed as follows:

                 (a)     If to the Debtors:

                         Sears Holding Corporation
                         3333 Beverly Road
                         Hoffman Estates, Illinois 60179
                         Attn: Mohsin Meghji
                         Email: mmeghji@miiipartners.com

                                 -and-

                         Weil, Gotshal & Manges LLP
                         767 Fifth Avenue
                         New York, New York 10153
                         Attn: Ray C. Schrock, P.C.
                                 Jacqueline Marcus
                                 Garrett A. Fail
                                 Sunny Singh
                         Telephone: (212) 310-8000
                         Facsimile: (212) 310-8007
                         Email: ray.schrock@weil.com
                                 jacqueline.marcus@weil.com
                                 garrett.fail@weil.com
                                 sunny.singh@weil.com

                 (b)     If to the Creditors’ Committee:

                         Akin Gump Strauss Hauer & Feld LLP
                         One Bryant Park
                         New York, New York 10036
                         Attn: Ira S. Dizengoff
                                Philip C. Dublin
                                Sara L. Brauner
                         Telephone: (212) 872-1000
                         Facsimile: (212) 872-1002
                         Email: idizengoff@akingump.com

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                                  pdublin@akingump.com
                                  sbrauner@akingump.com

                 (c)      If to the Liquidating Trustee or Liquidating Trust Board:

                          [●].

                  After the Effective Date, the Liquidating Trustee has authority to send a notice to Entities
 that to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request
 to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Liquidating
 Trustee is authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to
 those Entities who have filed such renewed requests.

 Dated: April 17, 2019
        New York, New York


                                                           Respectfully submitted,


                                                           By: /s/ Mohsin Meghji       _
                                                           Name: Mohsin Meghji
                                                           Title: Chief Restructuring Officer


                                                           On behalf of the Debtors and Debtors in
                                                           Possession




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                                             Exhibit B

                                   Corporate Organizational Chart




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      1L Credit Agreement          Outstanding         ESL %     Cyrus %                Collateral                     Real Estate Loan           Outstanding      ESL %      Cyrus %                  Collateral
  1L RCF                             $836.0mm            -            -                                           Note A (Cascade)                 $108.1mm           -             -
                                                                                                                                                                                              88 properties
  RCF Letters of Credit              $123.8mm            -            -        ꞏ credit card receivables          Note B (JPP)                     $723.3mm         100%            -
                                                                               ꞏ pharmacy assets
  2013 1L Term Loan (“A”)              $0mm              -            -                                           TOTAL                            $831.4mm         87%             -
                                                                               ꞏ inventory
  2016 1L Term Loan (“B”)            $570.8mm            -            -        ꞏ cash
  FILO Term Loan                     $125.0mm          56%            -                                             Sparrow (former REMIC)        Outstanding      ESL %      Cyrus %                  Collateral                                   Unsecured Notes                Outstanding     ESL %       Cyrus %                  Collateral
  TOTAL                             $1,656mm            4%            -                                          2018 Term Loan (UBS)              $111.0mm           -            -          138 properties                                 8.00% PIK Toggle Notes                 $222.6mm        88%             -
                                                                                                                                                                                                                                                                                                                             [unsecured]
                                                                                                                                                                                                                                             8.00% Notes                            $411.0mm          -             -
         Standalone L/C            Outstanding         ESL %     Cyrus %                Collateral                    Sparrow Mezzanine           Outstanding      ESL %      Cyrus %                  Collateral                            TOTAL                                  $633.6mm        31%             -
  1.5L L/C Facility                 $271.1mm           39%           60%       substantially same as 1L          Mezzanine Term Loan               $513.2mm         100%           -          equity of SRC O.P. LLC
                                                                                                                                                                                                                                                      SRAC Notes                   Outstanding     ESL %       Cyrus %                  Collateral
      2L Credit Agreement          Outstanding         ESL %     Cyrus %                Collateral                     IP / Ground Lease          Outstanding      ESL %      Cyrus %                  Collateral                            SRAC Unsecured PIK Notes               $107.9mm          -           94%
                                                                                                                                                                                                                                                                                                                              [unsecured]
  2L PIK Term Loan                   $317.1mm          99%            -        substantially same as 1L;          IP / Ground Lease Term Loan      $231.2mm         66%         20%           non-KCD IP; ground leases                      SRAC Unsecured Notes                   $185.6mm          -           0.2%
  2L Line of Credit Loans            $570.0mm          89%            -        no pharmacy assets or cash                                                                                                                                    TOTAL                                  $293.5mm          -           35%
  TOTAL                              $887.1mm          92%            -
                                                                                                                                                                                                                                               SRAC Intercompany Notes             Outstanding     ESL %       Cyrus %                  Collateral
             2L Notes              Outstanding         ESL %     Cyrus %                Collateral                                                     Sears Holdings Corporation                                                            SRAC Medium Term Notes                $2,312mm           -             -        [unsecured]
  6.625% 2L PIK Toggle Notes         $175.4mm           12%          86%       substantially same as 1L;                                                    (“HoldCo”) (DE)
  6.625% 2L Notes                    $89.0mm             -            -        no pharmacy assets or cash                                                                                                                                              KCD Notes                   Outstanding     ESL %       Cyrus %                  Collateral
  TOTAL                              $264.4mm           8%           57%                                                                         G G G G                           G G                                                       KCD Asset-Backed Notes                $900.0mm           -             -        IP (Kenmore®; DieHard®)




 Kmart Operations LLC           Sears Operations LLC                      Kmart Holding Corporation                Sears, Roebuck and Co.                                          ServiceLive, Inc. (DE)                                    SHC Licensed                              Other Direct HoldCo Subs                   SRe Holding Corporation
         (DE)                           (DE)                                        (DE)                              (“Roebuck”) (NY)                                                                                                     Business LLC (DE)                                                                               (DE)

G G G G G                   G G G G G                                      G G G                  G G            G G G               G G G G




                                                                                                        20%     80%
                                                                                                                                                                    Innovel                Sears Development                        Sears Roebuck                  Sears, Roebuck                                                     Sears Reinsurance
                                                                                                    Sears Holdings                     MaxServ, Inc.
  Kmart Corporation                                                                                                                                              Solutions, Inc.                   Co.                             Acceptance Corp.              de Puerto Rico, Inc.            SRC Sparrow 1 LLC                      Company Ltd.
                                                                                                Management Corporation                    (DE)                                                                                                                                                                                      (“Sears Re”) (Bermuda)
   (“Kmart”) (MI)                                                                                                                                                     (DE)                        (DE)                              (“SRAC”) (DE)                       (DE)                           (DE)
                                                                                                         (DE)
                                                                                                                                                                                                                                                                                                                                  HOLDER               HOLDER
G G                                                                                            G G G                  G G                                                                 G                                    G                                 G G G G G

                                                                                                                                                                                                                                                                                                                                        Other Sub Guarantors
                                                                                                                                                                                                                                                                                                                                    1 Private Brands, Ltd. (DE);
                                                                                                                                                                                                                                                                                                 SRC Sparrow 2 LLC                  A&E Factory Services, LLC
                                                                                                                                                                                                                                                                                                       (DE)                         (DE); A&E Home Delivery,
                                                  Sears Brands Business                                                                                                                                                                                                                                                             LLC (DE); A&E Lawn &
                                                   Unit Corporation (IL)                                                                                                                                                                                                                                                            Garden, LLC (DE); A&E
                                                                                                                                                                                                                                                                                                                                    Signature Service, LLC (DE)
                                              G                                                                                                                                                                                                                                                                                     2 Florida Builder
                                                                                                                                                                                                                                                                                                    SRC O.P. LLC                    Appliances, Inc (DE);
                                                                                                                                                                                                                                                                                                                                    Starwest, LLC (DE);
                                                                                                                                                                                                                                                                                                        (DE)                        California Builder
                                                                                                                                                                                                                                                                                                                                    Appliances, Inc. (DE);
                                                                                                     Sears Home Improvement      Sears Protection Company             FBA Holdings, Inc.              Other Roebuck Sub Guarantors1                      Other Roebuck Subs                                                         SOE, Inc. (DE)
                                                                                                        Products, Inc. (PA)                 (IL)                            (DE)
                                Sears Brands, L.L.C.           Sears Buying Services, Inc.                                                                                                                                                                                                                                          3 KLC, Inc. (TX);
                                        (IL)                              (DE)                    G G G G G                      G G G G           G HOLDER       G G G G                             G G G G G                                                                                                                     Kmart.com LLC (DE); Kmart
                                                                                                                                                                                                                                                                                                  SRC Facilities LLC                Stores of Texas LLC (TX);
                            G                                                                                                                                                                                                                                                                           (DE)                        Kmart of Michigan, Inc.
                                                                                                                                                                                                                                                                                                                                    (MI); MyGofer LLC (DE)
                                                                                                                                                                                                        Other Roebuck Debtor Subs                   Sears Procurement Services, Inc.
                                                                                                                                 Sears Protection Company           Other FBA Sub Guarantors2                                                                    (IL)                                                               Note: KBL Holding Inc.
                                                                                                                                                                                                      Sears Home & Business Franchises, Inc. (DE)
                                    KCD IP, LLC                Sears Brands Management                                               (Florida) LLC (FL)                                                 Sears Protection Company (PR) Inc. (PR)                                                                                     (DE) and BlueLight.com,
                                                                                                                                                                                                                  SYW Relay LLC (DE)
                                       (DE)                        Corporation (DE)                                                                               G G G G G                               Sears Insurance Services, L.L.C. (IL)
                                                                                                                                                                                                                                                                                                                                    Inc. (DE) are intermediate
                                                                                                                                 G G G G          G HOLDER                                                                                             Sears Holdings Publishing                                                    parents of Kmart.com LLC
                                                                                                                                                                                                              Sears Promotions LLC (VA)                                                          SRC Real Estate (TX)
                                                               G G G G G                                                                                                                                          Wally Labs LLC (DE)                     Company, LLC (IL)                                                         (DE).
                                 PBGC Springing Lien                                                                                                                                                                                                                                                  LLC (DE)

                                                                                                                                                                                                                                                                                                                                Legend
                                                                                                                                                                                                                                                                                                     Each entity shaded in a solid color is a borrower under the
                                                                                                                                                                                                                                                                                                     corresponding debt facility at the top of this page.

          Kmart of Washington LLC              Kmart of Stores                      Troy Coolidge                 SHC Desert Springs             Big Beaver of Florida             STI Merchandising, Inc.                                                                                           Each entity featuring a [G] shaded in a particular color is a
                                                                                                                                                                                                                           Other Kmart Sub Guarantors3                    Other Kmart Subs
                                              of Illinois LLC (IL)                                                    LLC (DE)                   Development LLC (FL)                       (MI)                                                                                                     guarantor under the corresponding debt facility at the top of
                    (WA)                                                            No. 13 LLC (MI)
                                                                                                                                                                                                                                                                                                     this page.
                                                                                                                                                                               G                                          G G G G G
         G G                              G G                                                                                                                                                                                                                                                        G - guarantor of SRAC Unsecured PIK Notes only
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                                             Exhibit C

                                         Recovery Analysis

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                                               Exhibit D

                                         Liquidation Analysis


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